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                     Part 1
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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig “Deepwater        *
   Horizon” in the Gulf of Mexico, on April       *   MDL No. 2179
   20, 2010                                       *
                                                  *   SECTION: J
                                                  *
This document relates to all actions.             *
                                                  *   HONORABLE CARL J. BARBIER
                                                  *
                                                  *   MAGISTRATE JUDGE SHUSHAN
                                                  *
                                                  *


Bon Secour Fisheries, Inc. et al., on behalf of   *
themselves and all others similarly situated,     *   No. 12-970
                                                  *
              Plaintiffs,                         *   SECTION: J
                                                  *
v.                                                *
                                                  *   HONORABLE CARL J. BARBIER
BP Exploration & Production Inc.;                 *
BP America Production Company;                    *   MAGISTRATE JUDGE SHUSHAN
BP p.l.c.,                                        *
                                                  *
              Defendants.                         *
                                                  *
                                                  *


     EXHIBITS TO DEEPWATER HORIZON ECONOMIC AND PROPERTY DAMAGES
            SETTLEMENT AGREEMENT AS AMENDED ON MAY 2, 2012
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                                 EXHIBITS

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      1A                  Map of Economic Loss Zones             028314-028328
      1B                Geographical Definitions of Zones        028269-028290
      1C             Zone Classifications and Implementation         26397
       2                        Tourism Definition               028973-028988
       3              Seafood Distribution Chain Definitions     028950-028954
      4A            Documentation Requirements for Business      026539-026542
                              Economic Loss Claims
      4B               Causation Requirements for Business        028725-028738;
                              Economic Loss Claims                028779-028780
      4C              Compensation Framework for Business        026294 - 026298;
                              Economic Loss Claims                028779-028780
      4D          Attachment A - Compensation Framework for
                   Business Economic Loss Claims - Fixed and
                                   Variable Costs                    28778
      4E             Addendum to Compensation for Business       028781-028786
                    Economic Loss Claims - Compensation for
                            Spill-Related Cancellations
       5           Compensation for Multi-Facility Businesses    028019-028022
       6            Failed Business Compensation Framework       028690-028704
       7             Framework for Start-Up Business Claims      028661-028674
      8A             Framework for Individual Economic Loss      028839-028890
                                      Claims
      8B           Individual Economic Loss Claims Examples      028582-028607
      8C          Addendum Regarding Compensation Related
                  to a Claimant’s Loss of Employment Related
                  Benefits Income as a Result of the DWH Spill   025226-025235
      8D               Addendum to Individual Framework          027375-027392
      8E          Addendum Regarding Interviews of Claimants     027180-027181
                  Alleging Individual Economic Loss and Other
                    Individuals Providing Sworn Statements in
                              Support of Such Claim
       9                Framework for Subsistence Claims         028015-028018
      10                 Seafood Compensation Program            029298-029392
     11A            Compensation Framework for Coastal Real      027505-027537
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     11B          Appendix A to Compensation Framework for       025288-025355
                   Coastal Real Property Claims: Coastal Real
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     11C          Appendix D to Compensation Framework for        025356-025498
                  Coastal Real Property Claims: Eligible Parcel
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     12A          Compensation Framework for Wetlands Real        027808-027838
                                 Property Claims
     12B          Appendix A to Compensation Framework for        028028-028039
                    Wetlands Real Property Claims: Wetlands
                         Real Property Claim Zone Map
     12C          Appendix C to Compensation Framework for        028040-028051
                     Wetlands Real Property Claims: Eligible
                       Parcel Compensation Category Map
     12D          Appendix D to Compensation Framework for        028052-028063
                     Wetlands Real Property Claims: Area of
                             Potential Eligibility Map
     13A           Compensation Framework for Real Property       026375-026384
                                       Sales
     13B                 Appendix A Real Property Sales           026307-026374
                             Compensation Zone Map
      14          Compensation Framework for Vessel Physical      027893-027905
                                 Damage Claims
      15               RTP Chart (Risk Transfer Premium)          028739-028742
      16                     Excluded Industries Chart            026686-026693
      17                  Oil & Gas Industry Exclusions           026694-026703
      18          Economic Loss and Property Class Definition     028759-028772
                                    Exclusions
      19           Industry Types Subject to Review by Claims     026613-026631
                   Administrator for Potential Moratoria Losses
      20                      Other Released Parties              028895-028899
      21                   Assignment and Protections             028989-029000
      22                       Gulf Coast Area Map                    28894
      23                    Specified Gulf Waters Map             028891-028893
     24A          BP Corporation North America Inc. Guarantee     029261-029267
     24B                   BP PLC Back-up Guarantee               029001-029008
      25          Procedures for Filing and Briefing of Appeals   028955-028956
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      27                          Fees and Costs                  029289-029297
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  Economic Loss Zones




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                           All Economic Loss Zones




LEGEND
    Zone A
   Zone B
   Zone C
   Zone D


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                                       Economic Loss Zones                                       2
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                           Economic Loss Zones A-C




LEGEND
    Zone A
   Zone B
   Zone C


                                                                                        028316
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                               Texas




                                                                           LEGEND
                                                                               Zone A
                                                                              Zone B
                                                                              Zone C
                                                                              Zone D


                                                                               028317
                          Economic Loss Zones                                           4
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                                   South Louisiana




LEGEND
    Zone A
   Zone B
   Zone C
   Zone D

                                                                                          028318
                                        Economic Loss Zones                                        5
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                               Southwest Louisiana




LEGEND
    Zone A
   Zone B
   Zone C
   Zone D
                                                                                          028319
                                        Economic Loss Zones                                        6
             Case
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                                Southeast Louisiana




LEGEND
    Zone A
   Zone B
   Zone C
   Zone D
                                                                                          028320
                                        Economic Loss Zones                                        7
Case
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                         New Orleans




                                                                             LEGEND
                                                                                 Zone A
                                                                                Zone B
                                                                                Zone C
                                                                                Zone D




                                                                                 028321
                           Economic Loss Zones                                            8
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                                       Mi i i i
                                       Mississippi
LEGEND
    Zone A
   Zone B
   Zone C
   Zone D




                                                                                        028322
                                        Economic Loss Zones                                      9
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                            Alabama
                                                                           LEGEND
                                                                               Z
                                                                               Zone A
                                                                               Zone B
                                                                               Zone C
                                                                               Zone D




                                                                              028323
                           Economic Loss Zones                                         10
             Case
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                 Florida Panhandle (Western Section)




LEGEND
    Zone A
   Zone B
   Zone C
   Zone D


                                                                                        028324
                                        Economic Loss Zones                                      11
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     Fl id Panhandle
     Florida P h dl (Central
                     (C t l Section)
                             S ti )




                                                                           LEGEND
                                                                               Zone A
                                                                              Zone B
                                                                              Zone C
                                                                              Zone D


                                                                               028325
                           Economic Loss Zones                                          12
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                  Florida Panhandle (Eastern Section)




LEGEND
    Zone A
   Zone B
   Zone C
   Zone D


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                                        Economic Loss Zones                                      13
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                    Florida (Tampa to Marco Island)




LEGEND
    Zone A
   Zone B
   Zone C
   Zone D



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                                        Economic Loss Zones                                      14
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                                      Florida Keys
LEGEND
    Zone A
   Zone B
   Zone C
   Zone D




                                                                                        028328
                                        Economic Loss Zones                                      15
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GEOGRAPHICAL DEFINITIONS OF ZONES

This document contains a written description of the boundaries of the proposed zones for the Economic
Loss Class. The descriptions for the zones are organized to move roughly from westernmost
geographical area within the class definition for which there is a zone to the easternmost geographical
area within the class definition for which there is a zone, beginning with Zone A, followed by Zone B, and
concluding with Zone C. Each zone is given a name which corresponds to the general geographical area
or areas it covers; these names are intended for reference purposes only. Each zone is also given a
number which indicates the type of zone and the order in which it appears in this document. The names
of streets and highways are written to correspond as closely as possible with those which appear on the
“base map” on which these zones were drawn. The base map used in the creation of the zones is the
Microsoft Bing Hybrid map.

ZONE A DEFINITIONS

A‐1, South Louisiana, Zone 1: This zone consists of two sections divided roughly in the middle by the
Vermilion Bay/Atchafalaya Bay. The western zone is bounded by the Texas/Louisiana state line (Sabine
Pass) to the west, the Gulf of Mexico to the south, and the eastern shore of Marsh Island to the east.
The northern boundary of this zone is as follows:

       Highway 82 from the eastern shore of Sabine Pass to Bayou Road
       Bayou Road from Highway 82 to Parish Road 548
       Parish Road 548 from Bayou Road to its terminus
       The line connecting the terminus of Parish Road 548 to the northern shore of Mud Lake
       The line connecting the northern shore of Mud Lake to the intersection of Highway 82 and the
        Calcasieu River
       Highway 82 to the intersection of Schooner Bayou Canal
       Southern bank of Schooner Bayou Canal from Highway 82 to Vermilion Bay
       The southern shoreline of Vermilion Bay and West Cote Blanche Bay from Schooner Bayou Canal
        to the end of Marsh Island

The eastern section of this zone is bounded by the eastern shore of East Cote Blanche Bay to the west
and the northern shore of the Gulf of Mexico to the south. The northern boundary is defined as the line
connecting the following points :

       The southern terminus of Highway 317 (St. Mary Parish)
       The southern terminus of Levee Road (Terrebonne Parish)
       The southern terminus of Bayou Dularge Road (Terrebonne Parish)
       The southern terminus of Four Point Road (Terrebonne Parish)
       The intersection of the Houma Navigation Canal and Bayou Petit (Terrebonne Parish)
       The southern terminus of Island Road (Terrebonne Parish)
       The southern terminus of Lower Highway 665 (Terrebonne Parish)
       The eastern terminus of the Jean Plaisance Canal (Lafourche Parish)

                                                                                                         1

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The eastern boundary of this section is defined as follows:

       Federal levee system from Jean Plaisance Canal to southern terminus
       Up to but not including properties abutting Highway 1 from the southern terminus of the federal
        levee system until Highway 1 splits from Bayou Lafourche
       Bayou Lafourche from the split with Highway 1 to the Gulf of Mexico

A‐2, South Louisiana, Zone 2: This zone consists of two sections divided roughly by the Mississippi River
and the developed areas surrounding it (as described in Zone B‐2 in the following section). It also
includes the Chandeleur Islands off the coast of the St. Bernard Parish wetlands. The western section of
this zone has the following northern boundary:

       Southern bank of Intercoastal Waterway from Station No. 7 Road to the Hero Canal
       Southern bank of Hero Canal from Station No. 7 Road to canal/federal levee system west of
        Highway 23

The eastern boundary of the western section is as follows:

       Canal/federal levee west of Highway 23 from Hero Canal to Wilkinson Canal
       Wilkinson Canal toward Mississippi River to canal/levee west of Highway 23
       Canal/levee from Wilkinson to Deer Range Canal
       Deer Range Canal to Canal/Levee East of Hermitage Road
       Canal/Levee from Hermitage Road to Pipeline Canal
       Pipeline Canal to Highway 23 in West Pointe a la Hache
       Highway 23 from Pipeline Canal in West Pointe a la Hache to Canal/Levee in Happy Jack
        (southeast of Fosters Road)
       Canal/Levee from Happy Jack to eastern shore of Adams Bay west of Highway 23
       Eastern shore of Adams Bay/Long Bay/Hospital Bay/Yellow Cotton Bay from canal/levee to
        Spanish Pass
       Southern shoreline of Spanish Pass from eastern shore of Yellow Cotton Bay to Highway 23
       Highway 23 from Spanish Pass intersection of Venice Boat Harbor Road
       Line connecting intersection of Venice Boat Harbor Road and Pass Tante Phine
       Southern bank of Pass Tante Phine to Tiger Pass
       Eastern shore of Tiger Pass from Pass Tante Phine to the western shoreline of the Mississippi
        River
       Western Shoreline of Mississippi River through the Southwest Pass to the Gulf of Mexico

The southern boundary of the western section is as follows:

       Area just north of (but not including) Highway 1 from Highway 3090 to end of mainland
       Gulf of Mexico, south end of Grand Terre Islands, Lanaux Island, Shell Islands, Pelican Island,
        and other wetlands

The western boundary of the western section is as follows:

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       Federal levee system from Intracoastal Waterway to Bayou Lafourche
       Eastern bank of Bayou Lafourche from federal levee system to Leeville Bridge
       Areas up to (but not including) Highway 1 from Leeville Bridge to Highway 3090

The eastern portion of the zone contains the following boundaries. The section’s southern boundary is
Pass a Loutre from the Gulf of Mexico to the Mississippi River. The northern boundary of the eastern
section of this zone is as follows:

       Southern/eastern levee along Joe Brown Canal from Bertrandville to Forty Arpent Canal
       Southern/eastern levee along Forty Arpent Canal to Highway 39 east of Braithwaite Golf Course
       Highway 39 from Forty Arpent Canal to Bayou Road
       Bayou Road from Highway 39 to Highway 46
       Highway 46 from Bayou Road to the Levee in Verret
       From Levee in Verret through the Mississippi River‐Gulf Outlet (MR‐GO) to Lake Borgne west of
        Stump Bayou
       Southern shore of Lake Borgne from Stump Bayou to Isle au Pitre

The western boundary of the eastern section is as follows:

       Eastern shore of Mississippi River from Pass a Loutre to Ostrica Locks at Bayou Tortillen
       Bayou Tortillen from the Ostrica Locks to Bayou Lamoque
       Bayou Lamoque from Bayou Tortillen to Breton Sound
       Western shore of Breton Sound from Bayou Lamoque to Fucich Bayou
       Nothern bank of Fucich Bayou from Breton Sound to Back Levee Canal
       Eastern bank of Back Levee Canal from Fucich Bayou to Highway 39
       Highway 39 from Back Levee Canal to Canal/Levee in Belair east of Highway 39
       Canal/levee in Belair east of Highway 39 from Highway 39 to Joe Brown Canal

The eastern boundary of the eastern section is as follows:

       From Isle au Pitre along the western shores of Chandeleur Sound past Brush Island, Martin
        Island, Mitchell Island, Comfort Island, Deadman Island, Gardener Island to the south shore of
        the Breton Sound
       South shore of Breton Sound from Bay Denesse to the North pass of the mouth of the
        Mississippi River

The southern boundary of the eastern section is as follows:

       Northern bank of Pass a Loutre from Breton Sound to the Mississippi River

A‐3, Grand Isle: This zone consists exclusively and entirely of the island containing Grand Isle.




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A‐4, Downtown New Orleans: This zone is bounded by Calliope Street (which runs underneath the
Pontchartrain Expressway) in the south and extends to Elysian Fields Avenue in the north. The eastern
boundary is the Mississippi River. The western boundary consists of the following streets:

       St. Charles Avenue from Calliope Street to St. Joseph Street
       St. Joseph Street from St. Charles Avenue to S. Peters Street
       S. Peters Street from St. Joseph Street to Notre Dame Street
       Notre Dame Street from S. Peters Street to Convention Center Boulevard
       Convention Center Boulevard from Notre Dame Street to Poydras Street
       Poydras Street from Convention Center Boulevard to S. Peters Street
       S. Peters Street from Poydras Street to Canal Street
       Canal Street from S. Peters Street to N. Rampart Street
       Rampart Street (which becomes St. Claude Avenue) from Canal Street to Elysian Fields Avenue.

A‐5, Slidell Area: This zone begins at the intersection of Highway 90 (Chef Menteur Boulevard) at
Interstate 510 and includes all properties fronting Highway 90 until the north side of the Rigolets Pass.
The zone then broadens to include areas between Front Street (and the railroad tracks) in the west, the
Louisiana/Mississippi state line (the Pearl River) in the east, and the continuous shoreline of Lake
Pontchartrain, the Rigolets Pass, and Lake Borgne in the south. The northern boundary consists of the
following roads:

       Old Spanish Trail to Interstate 10
       Interstate 10 from Old Spanish Trail to Highway 190 East
       Highway 190 East from Interstate 10 to Highway 90
       Highway 90 from Highway 190 to the Louisiana/Mississippi state line (the Pearl River)

This zone also includes the wetlands south of the Rigolets Pass to the Mississippi River‐Gulf Outlet and
all wetlands.

A‐6, Bay St. Louis: This zone is bounded in the south by the Mississippi Sound/Lake Borgne shoreline. Its
northern boundary begins at the crossing of Interstate 10 over the Pearl River and continues along
Interstate 10 until Highway 607. It runs along Highway 607 until the intersection with Highway 90, and
continues along Highway 90 and terminates at the beginning of the bridge over Bay St. Louis, where it
meets the zone’s southern boundary. The western boundary of the zone is configured as follows:

       The Pearl River from Interstate 10 to Highway 90
       Highway 90 from Pearl River to to Lower Bay Road
       Lower Bay Road to (30.236ᵒN, ‐89.52ᵒW), at which point the boundary cuts due south to
        intersect with John’s Bayou
       John’s Bayou from point described above to Grand Plains Bayou
       Grand Plains Bayou from John’s Bayou to the Pearl River




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A‐7, Gulfport/Biloxi/Ocean Springs: This zone begins at the Highway 90 bridge on the east side of Bay St.
Louis. Its western boundary is the shoreline of Bay St. Louis south of the bridge and its southern
boundary is the shoreline of the Mississippi Sound but includes Cat Island, Ship Island, Horn Island, and
Deer Island. Its eastern boundary is Halstead Road in Ocean Springs. The northern boundary is as
follows:

       W. Beach Boulevard (Highway 90) to CSX Railroad
       CSX Railroad from Beach Boulevard to Tegarden Road
       Tegarden Road from CSX Railroad to E. Pass Road
       E. Pass Road from Tegarden Road to Lorraine Road
       Lorraine Road from E. Pass Road to Bernard Bayou
       Southern bank of Bernard Bayou from Lorraine Road to Big Lake/Back Bay of Biloxi
       Southern shore of Back Bay of Biloxi from Bernard Bayou to Highway 90
       Highway 90 from western shore of Back Bay of Biloxi to eastern shore of Back Bay of Biloxi
       Eastern shore of Back Bay of Biloxi from Highway 90 to Old Fort Bayou
       Southern shore of Old Fort Bayou from Back Bay of Biloxi to Washington Avenue
       Washington Avenue from Old Fort Bayou to Highway 90
       Highway 90 from Washington Avenue to Halstead Road

A‐8: Interstate 110 to Biloxi: This zone consists of Interstate 110 south of Interstate 10 and within one
quarter‐mile of the exit ramp on Rodriguez Street.

A‐9, Bayou LaBatre: This zone is triangular in shape and contains the area between Bayou LaBatre to
Highway 188 (Alabama Coastal Connection). It continues on Highway 188 to the bayou southwest of
Coden. Its southern boundary is the Gulf of Mexico.

A‐10, Dauphin Island: This zone consists exclusively and entirely of Dauphin Island.

A‐11, Gulf Shores/Orange Beach: This zone is bounded by the Gulf of Mexico to the south, from the
western tip of Fort Morgan State Park to the Alabama/Florida state line. It also includes the entirety of
Ono Island. Its northern boundary begins at the canal connecting Mobile Bay and Wolf Bay and
continues to Bayou la Launch, Arnica Bay, Bayou St. John, and Old River.

A‐12, Highway 59 to Gulf Shores: This zone consists of properties fronting Highway 59 from Interstate 10
to the canal connection Bon Secour Bay and Wolf Bay

A‐13, Perdido Key: This zone is bounded by the Gulf of Mexico in the south, beginning at the
Alabama/Florida state line. The western boundary is the state line situated in the Old River and Perdido
Bay. The northern boundary is as follows:

       Bayou Garcon to the point due north of the end of Corinna Street
       Corinna Street from terminus to Highway 292A (Gulf Beach Highway)
       Highway 292A from Corinna Street to Radford Boulevard
       Radford Boulevard from Highway 292A to Fuel Farm Road

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      Fuel Farm Road from Radford Boulevard to Big Lagoon
      Big Lagoon from Fuel Farm Road to its outlet to the Gulf of Mexico

A‐14, Gulf Breeze: This zone is bounded by Pensacola Bay to the west, the Santa Rosa Sound to the
south, and the eastern edge of the Tiger Point Golf Course development to the east. Its northern
boundary runs from Pensacola Bay to Highway 98, then along Highway 98 to the eastern edge of the
Tiger Point Golf Course development.

A‐15, Navarre Beach/Pensacola Beach: This zone contains the areas between the Santa Rosa Sound to
the north and the Gulf of Mexico to the south. The western boundary is the eastern edge of Fort
Pickens State Park, and the eastern boundary is the Escambia County/Santa Rosa County line.

A‐16, Okaloosa Island: This zone contains the areas between the Santa Rosa Sound to the north and the
Gulf of Mexico to the south. The western boundary is the Escambia County/Santa Rosa County line, and
the eastern boundary is East Pass, where Choctawhatchee Bay enters the Gulf of Mexico.

A‐17, Destin: This zone is bounded by the Gulf of Mexico to the south and Choctawhatchee Bay/East
Pass to the west. The eastern boundary is the Okaloosa County/Walton County line. The northern
boundary is as follows:

      Choctawhatchee Bay to Joe’s Bayou
      Joe’s Bayou from Choctawhatchee Bay to Bayview Street
      Bayview Street from Joe’s Bayou to Spring Lake Drive
      Spring Lake Drive from Bayview Street to Beach Drive
      Beach Drive from Spring Lake Drive to Highway 98
      Highway 98 from Beach Drive to Okaloosa County/Walton County line

A‐18, Walton County: This zone is bounded by the Okaloosa/Walton County line to the west, the Gulf of
Mexico to the south, and the Walton/Bay County line to the east. The northern boundary is as follows:

      Highway 98 from the Okaloosa/Walton County line to Ponce de Leon Street.
      Ponce de Leon Street. from Highway 98 to Choctawhatchee Bay
      Choctawhatchee Bay from Ponce de Leon Street to E. Hewett Road
      E. Hewett Road from Choctawhatchee Bay to Highway 98
      Highway 98 from E. Hewett Road to Walton/Bay County line

A‐19, Panama City Beach: This zone is bounded by the Walton/Bay County line to the west, East Pass
between the Gulf of Mexico and Upper Grand Lagoon to the east, and the Gulf of Mexico to the south.
Its northern boundary is as follows:

      Highway 98 (Back Beach Road) from the Walton/Bay County line to Clara Avenue
      Clara Avenue from Back Beach Road to Hutchison Boulevard
      Hutchison Boulevard from Clara Avenue to Front Beach Boulevard
      Front Beach Boulevard from Hutchison Boulevard to Highway 98

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       Highway 98 from Front Beach Boulevard to East Pass

A‐20, Bay County East of Tyndall AFB: This zone is bounded by the Gulf of Mexico to the south, Crooked
Island Beach Road to the west, and the Bay County/Gulf County line to the east. The northern boundary
is as follows:

       Highway 98 from Crooked Island Beach Road to the beginning of dirt roads immediately north of
        developed land (commonly known as the “Bear Swamp Roads”)
       “Bear Swamp Roads” from Highway 98 to northern terminus of Paradise Cove Boulevard
       Paradise Cove Boulevard from northern terminus to 15th Street
       15th Street from Paradise Cove Boulevard to County Road 386 S (also the Bay County/Gulf
        County line)

A‐21, Gulf County: This zone is bounded by the Gulf of Mexico to the south, the Bay County/Gulf County
line to the west, and the Gulf County/Franklin County line (Ochlockonee River) to the east. The northern
boundary consists of the edge of developed residential properties until Westview Boulevard/Sea Turtle
Drive, at which point the boundary becomes Highway 319. The zone also includes the entirety of St.
Joseph Peninsula surrounding St. Joseph Bay.

A‐22, Franklin County: This zone is bounded by the Gulf of Mexico to the south, the Gulf County/Franklin
County line to the west, and the Franklin County/Wakulla County line to the east. The northern
boundary is as follows:

       Highway 98 from the Gulf County/Franklin County line to Big Bend Scenic Byway (Highway 319)
       Big Bend Scenic Byway (Highway 319) from Highway 98 to the southern bank of the
        Ochlockonee River/Bay.

The zone also includes St. Vincent Island, Little St. George Island, St. George Island, Dog Island, and St.
James Island.

A‐23, Wakulla County: This zone is bounded by the Gulf of Mexico to the south, the Franklin
County/Wakulla County line to the west, the Wakulla County/Jefferson County line to the east, and
Highway 98 to the north.

A‐24, Horseshoe Beach: This zone is bounded by the Gulf of Mexico on the south and west, by the
eastern terminus of 1st Avenue at the north , and by the canal at the eastern edge of the island on the
east.

A‐25, Cedar Key: This zone consists exclusively and entirely of the island of Cedar Key.

A‐26, Clearwater/Tampa Islands: This zone consists of the entirety of the series of islands/keys off the
Gulf Coast of Florida stretching from Anclote Key in the north to Lido Key in the south.

A‐27, Sanibel/Captiva: This zone consists of the entirety of the series of islands off the Gulf Coast of
Florida stretching from Lacosta Island in the north to Sanibel Island in the south.


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A‐28: Florida Keys: This zone consists of the entirety of the series of islands off the south coast of Florida
stretching from Key West in the south/west to Key Largo in the north/east.

ZONE B DEFINITIONS

B‐1, South Louisiana 1: This zone consists of an area of southern Louisiana spanning from the
Louisiana/Texas state line to Caminada Bay. Although the zone is one contiguous polygon, this
description divides it into two parts. The first of these parts includes the larger areas moving as far east
and south as Golden Meadow, and the second includes the narrower portion of the zone south of
Golden Meadow/Bayou Lafourche. Its western boundary is the Texas/Louisiana state line.

The zone’s northern/eastern boundary is as follows:

       The southern boundary of Calcasieu Parish from the Texas/Louisiana state line until the eastern
        boundary of Calcasieu Parish intersects Interstate 10
       Interstate 10 from the Calcasieu Parish line to the Lafayette Parish line
       The Lafayette Parish line south of Interstate 10 until it intersects again with Interstate 10 on the
        east side of Lafayette Parish
       Interstate 10 from the Lafayette Parish line to Highway 1 west of Baton Rouge
       Highway 1 from Interstate 10 to the Intracoastal Waterway in Larose
       Intracoastal Waterway from Highway 1 to Station No. 7 Road/Canal and levee system
       Station No. 7 Road/canal and levee system from Intracoastal Waterway to Bayou Lafourche

Its southern boundary is as follows:

       Highway 82 from Sabine Pass to Bayou Road
       Bayou Road from Highway 82 to Parish Road 548
       Parish Road 548 from Bayou Road to its terminus
       The line connecting the terminus of Parish Road 548 to the northern shore of Mud Lake
       The line connecting the northern shore of Mud Lake to the intersection of Highway 82 and the
        Calcasieu River
       Highway 82 to Schooner Bayou Canal
       The northern bank of Schooner Bayou Canal from Highway 82 to Vermilion Bay
       The northern shoreline of Vermilion Bay and West Cote Blanche Bay from Schooner Bayou Canal
        to southern terminus of Highway 317
       The boundary continues throughout southern Louisiana east of Vermilion Bay in a line
        connecting the end of the following roads:
            o Highway 317 (St. Mary Parish)
            o Levee Road (Terrebonne Parish)
            o Bayou Dularge Road (Terrebonne Parish)
            o Four Point Road (Terrebonne Parish)
            o Mouth of Houma Navigation Canal (Terrebonne Parish)
            o Island Road (Terrebonne Parish)

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            o   Lower Highway 665 (Terrebonne Parish)
            o   Eastern terminus of Jean Plaisance Canal (Lafourche Parish)

The portions of this zone south of Golden Meadow are bounded on the west by Highway 1 until it splits
from Bayou Lafourche, and Bayou Lafourche until the Gulf of Mexico. It is bounded on the east by the
end of developed land east of Highway 1, continuing until Highway 1 crosses into Grand Isle (Caminada
Pass). The southern boundary of this portion of the zone is the Gulf of Mexico.

B‐2, South Louisiana 2: This zone consists of developed land on the east and west banks of the
Mississippi River from approximately the Belle Chasse Naval Station to the Gulf of Mexico. Its northern
boundary is Buccaneer Road on the west bank and the Perez Canal on the east bank, and the line that
connects the end of Buccanneer Road with the Perez Canal across the Mississippi River. Its southern
boundary is Southwest Pass/Pass a Loutre at the mouth of the Mississippi River. Its western boundary is
as follows:

       Bayou Barriere from Buccaneer Road to the Hero Canal
       North bank of Hero Canal from Bayou Barriere to levee west of Highway 23
       Levee west of Highway 23 from Hero Canal to Wilkinson Canal
       Western bank of Wilkinson Canal toward Mississippi River to levee west of Highway 23
       Levee west of Highway 23 from Wilkinson Canal to Deer Range Canal
       Eastern bank of Deer Range Canal to Canal/Levee East of Hermitage Road
       Northern/eastern levee from Hermitage Road to Highway 23 in West Point a la Hache
       Highway 23 from West Pointe a la Hache to levee in Happy Jack
       Levee in Happy Jack to Adams Bay Shoreline west of Highway 23
       Eastern shoreline of Adams Bay/Long Bay/Hospital Bay/Yellow Cotton Bay from levee to Spanish
        Pass
       Northern/eastern shoreline of Spanish Pass from Yellow Cotton Bay to Highway 23 Highway 23
        from Spanish Pass to intersection of Venice Boat Harbor Road
       Line connecting intersection of Venice Boat Harbor Road with Pass Tante Phine
       Northern bank of Pass Tante Phine to Tiger Pass
       Western shore of Tiger Pass from Pass Tante Phine to the western shoreline of the Mississippi
        River
       Western Shoreline of Mississippi River through the Southwest Pass to the Gulf of Mexico

The eastern boundary is as follows:

       Western bank of Joe Brown Canal from Perez Canal to Belair Canal
       Northern bank of Belair Canal from Joe Brown Canal to Highway 39
   
       Highway 39 from Belair Canal to Back Levee Canal (just east of Phoenix)
       Southern/western bank of Back Levee Canal from Highway 39 to Fucich Bayou
       Southern bank of Fucich Bayou from Back Levee Canal to western shore of Breton Sound
       western shore of Breton Sound from past Fucich Bayou to Bayou Lamoque

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       Northern bank of Bayou Lamoque from western shore of California Bay to Bayou Tortillen
       Southern bank of Bayou Tortillen from Bayou Lamoque to Ostrica Locks
       Ostrica Locks from Bayou Tortillen to eastern shore of Mississippi River
       Eastern shore of Mississippi River from Ostrica Locks to Pass a Loutre

B‐3, Downtown New Orleans: This zone is bounded by Calliope Street (which runs underneath the
Pontchartrain Expressway) to the west, Claiborne Avenue (which runs underneath Interstate 10) to the
north, and Esplanade Avenue to the east. The southern boundary is as follows:

       St. Charles Avenue from Calliope Street to St. Joseph Street
       St. Joseph Street from St. Charles Avenue to S. Peters Street
       S. Peters Street from St. Joseph Street to Notre Dame Street
       Notre Dame Street from S. Peters Street to Convention Center Boulevard
       Convention Center Boulevard from Notre Dame Street to Poydras Street
       Poydras Street from Convention Center Boulevard to S. Peters Street
       S. Peters Street from Poydras Street to Canal Street
       Canal Street from S. Peters Streetto N. Rampart Street
       Rampart Street from Canal Street to Esplanade Avenue

B‐4, Uptown New Orleans: This zone is bounded by Calliope Street (which runs underneath the
Pontchartrain Expressway) to the east, St. Charles Avenue to the north, and Walnut Street (at the edge
of Audubon Park) to the west. The southern boundary is as follows:

       Railroad tracks from Front Street/Walnut Street to River Drive
       The Mississippi River from River Drive to River Drive/East Drive
       East Drive from River Driveto Tchoupitoulas Street
       Tchoupitoulas Street from East Drive to Calliope Street

B‐5, Bucktown/Lakeshore, New Orleans: This zone is bounded by Lake Pontchartain to the north and
Bonnabel Boulevard to the west. The southern boundary is as follows:

       West Esplanade Avenue from Bonnabel Boulevard to the 17th Street Canal (Jefferson/Orleans
        Parish line)
       17th Street Canal from W. Esplanade Avenue to 38th Street
       38th Street from the 17th Street Canal to Pontchartrain Boulevard/West End Boulevard

The eastern boundary is as follows:

       Pontchartrain Boulevard/West End Boulevard from 38th Street to Hammond Highway/Robert E.
        Lee Boulevard
       Lakeshore Drive from Hammond Highway/Robert E. Lee Boulevard to beginning of harbor/boat
        slips
       Harbor/boat slips to Lake Pontchartrain


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B‐6, St. Tammany Parish: This zone is bounded by the north shore of Lake Pontchartrain to the south,
Causeway Boulevard to the west, and the Highway 11 railroad to the east. The northern boundary is as
follows:

       Monroe Street from Causeway Boulevard to Girod Street
       Girod Street from Monroe Street to Highway 190
       Highway 190 from Girod Street to Thompson Road
       Thompson Road from Highway 190 to Bayou Liberty Road
       Bayou Liberty Road to Highway 11 railroad tracks

B‐5, Battleship Parkway: This zone consists of the following roads:

       Battleship Parkway (U.S. Highway 90) from Interstate 10 near Polecat Bay to Spanish Fort
        Boulevard (U.S. Highway 31)
       Spanish Fort Boulevard (U.S. Highway 31) from Battleship Parkway to Mobile Plantation Parkway
        (Highway 181)
       Mobile Plantation Parkway (Highway 181) from Spanish Fort Boulevard to Interstate 10

B‐7, Daphne/Fairhope: This zone is bounded by Mobile Bay to the west, Spanish Fort Boulevard to the
north, Highway 98 to the east, and Highway 98 to the south.

B‐8, Gulf Breeze: This zone is bounded by the Santa Rosa Sound to the north and Highway 98 to south
and west. The eastern boundary is the line between Baltar Drive and Hickory Shores Drive, including the
eastern terminus of Sandy Bluff Drive.

B‐9, Foley Area: This zone is bounded on the north by Highway 98 from the eastern shore of Mobile Bay
to the Foley Beach Expressway. Its southern boundary is the northern bank of the Intracoastal
Waterway from Mobile Bay to the Foley Beach Expressway. Its western boundary is Mobile Bay from
the intersection of Alabama’s Coastal Connection and U.S Highway 98 to the northern bank of the
Intracoastal Waterway. Its eastern boundary is the Foley Beach Expressway from Highway 98 to the
northern bank of the Intracoastal Waterway. This zone excludes the portions of Zone A‐12 which run
through it.

B‐10, Foley Beach Expressway: This zone consists of Foley Beach Expressway from Highway 59 to
Highway 98.

B‐11, Downtown Pensacola: This zone is bounded in the south by the northern bank of Bayou Grande
from S. Navy Boulevard to the northern shore of Pensacola Bay, and by the northern shore of Pensacola
Bay from Bayou Grande to the Pensacola Bay Bridge (Highway 98). Its western boundary is S. Navy
Boulevard from Barrancas Avenue to the northern bank of Bayou Grande. Its northern boundary is as
follows:

       Barrancas Avenue from S. Navy Road to W. Garden Street
       W. Garden Street from Barrancas Avenue to N. Alcaniz Street


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       N. Alcaniz Street from E. Garden Street to E. Gregory Street
       E. Gregory Street from N. Alcaniz Avenue to the Pensacola Bay Bridge

B‐12, Highway 98 from Gulf Breeze to Fort Walton Beach: This zone consists of U.S. Highway 98 (Gulf
Breeze Parkway, Navarre Parkway, or Miracle Strip Parkway) from the eastern edge of Zone A‐14 (edge
of the Tiger Point Golf Course development) to the northern shore of Santa Rosa Sound.

B‐13, Highway 293 in Destin: This zone consists of Highway 293 from the northern shore of
Choctawhatchee Bay to Highway 98 (Emerald Coast Parkway).

B‐14, Panama City Beach: This zone is bounded on the north by Highway 98 (Back Beach Road) from
Clara Avenue to Front Beach Road. Its western boundary is Clara Avenue from Highway 98 to
Hutchinson Boulevard. Its southern boundary is as follows:

       Hutchinson Boulevard from Clara Avenue to Front Beach Road
       Front Beach Road from Hutchinson Avenue to Highway 98

B‐15, Panama City: This zone consists of two roads, as described below:

       W. Highway 98/W. 18th Street from the western shore of the Upper Grand Lagoon to Beck
        Avenue
       W. 23rd Street/E. 23rd Street from Highway 98 to N. Cove Boulevard/Martin Luther King, Jr.
        Boulevard

B‐16, Port St. Joe: This zone is bounded on the west by Monument Avenue from 1st Street to Cecil G.
Costin Boulevard. Its northern boundary is 1st Street from Monument Avenue to Woodward Avenue. Its
eastern boundary is Woodward Avenue from 1st Street to Cecil G. Costin Boulevard. It southern
boundary is Cecil G. Costin Boulevard from Monument Avenue to Woodward Avenue.

B‐17, Apalachicola: This zone is bounded on the east by the western bank of Scipio Creek/Apalachicola
River. Its northern boundary is as follows:

       Avenue M from 12th Street to Market Street
       Market street from Avenue M to marina/inlet at Scipio Creek
       Northern bank of inlet/marina to Scipio Creek

Its western boundary is as follows:

       12th Street from Avenue M to Avenue L
       Avenue L from 12th Street to 14th Street
       14th Street from Avenue L to Avenue E

Its southern boundary is as follows:

       Avenue E from 14th Street to Market Street
       Market Street from Avenue E to the eastern shore of the Apalachicola River

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ZONE C DEFINITIONS

C‐1, Galveston: This zones contains the entirety of Galveston Island and the Bolivar Peninsula/Crystal
Beach. The zone’s eastern boundary is the water passageway from the Gulf of Mexico to Rollover Bay,
located just east of N. Bauer Street.

C‐2, Port Arthur: This zone consists of the following boundaries, moving clockwise beginning at its
northernmost tip at the intersection of Highway 82 and Taylor Bayou.

       Highway 82 from the eastern bank of Taylor Bayou to the Sabine Neches Canal
       Southern bank of Sabine Neches Canal from Highway 82 to northern terminus of S. Levee Road
       S. Levee Road from southern bank of Sabine Neches Canal to the southern shore of Sabine Lake
       Southern shore of Sabine Lake/Sabine Pass from S. Levee Road to eastern terminus ofJetty Road
       Jetty Road/1st Street from eastern terminus to Quinn Street
       Quinn Street from Jetty Road to S. 8th Avenue (Route 3322)
       S. 8th Avenue (Route 3322/Highway 87) from Quinn Street to northern bank of Intracoastal
        Waterway
       Northern bank of Intracoastal Waterway from S. 8th Avenue to eastern bank of Taylor Bayou
       Eastern bank of Taylor Bayou from northern bank of Intracoastal Waterway to Highway 82

C‐3, South Louisiana: This zone consists of three parts spanning across southern Louisiana. The first
portion consists of Calcasieu Parish south of Interstate 10. The second portion consists of Lafayette
Parish south of Interstate 10.

The third and largest portion is bounded on the south/west by Highway 1 from Interstate 10 to the
Intracoastal Waterway in Larose. Its eastern boundary is as follows:

       Western/northern bank of Intracoastal Waterway from Highway 1 to the western bank of Bayou
        Barataria
       Western/northern bank of Bayou Barataria from northern bank of Intracoastal Waterway to
        Highway 3134
       Highway 3134 from northern bank of Bayou Barataria to Barataria Boulevard (Highway 45)
       Barataria Boulevard from Highway 3134 to Westbank Expressway (Highway 90)
       Westbank Expressway from Barataria Boulevard to Interstate 310
       Interstate 310 from Westbank Expressway to Interstate 10
       Interstate 10 from Interstate 310 to end of Bonnet Carret Spillway, where it meets the shore of
        Lake Pontchartrain
       Southern/western/northern shore of Lake Pontchartrain from Bonnet Carret Spillway to N.
        Causeway Boulevard on the northshore
       N. Causeway Boulevard from northern shore of Lake Pontchartrain to Monroe Street
       Monroe Street from N. Causeway Boulevard to Girod Street
       Girod Street from Monroe Street to Florida Street (Highway 190)



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The northern boundary is as follows:

       Interstate 10 from Highway 1 west of Baton Rouge to Highway 22 east of Gonzales
       Highway 22 from Interstate 10 to Causeway Boulevard, where it becomes Highway 190
       Highway 190 (Florida Street) from Highway 22 to Girod Street

C‐4, Uptown New Orleans: This zone is bounded on the west by Monticello Avenue (the
Orleans/Jefferson Parish line) from Oak Street to S. Claiborne Avenue. Its eastern boundary is as
follows:

       Canal Street from S. Broad Street to Interstate 10/S. Claiborne Avenue
       Interstate 10/S. Claiborne Avenue from Canal Street to the Pontchartrain Expressway/Calliope
        St.
       Pontchartrain Expressway/Calliope Street from Claiborne Avenue to St. Charles Avenue

Its southern boundary is as follows:

       Oak Street from Monticello Avenue to Leake Avenue
       Leake Avenue/Front Street from Oak Street to Walnut Street (western edge of Audubon Park)
       Walnut Street from Front Street to St. Charles Avenue
       St. Charles Avenue from Walnut Street to the Pontchartrain Expressway/Calliope Street

Its northern boundary is as follows:

       S. Claiborne Avenue from Monticello Avenue to S. Carrollton Avenue
       S. Carrollton Avenue from S. Claiborne Avenue to Fontainebleau Drive
       Fontainebleau Drive from S. Carrollton Avenue to Broad Street
       S. Broad Street from Fontainebleau Avenue to Canal Street

C‐5, Pearlington: This zone is situated between the Slidell Area and Bay St. Louis Zones A. Its
boundaries are Highway 90 between the Pearl River (Mississippi/Louisiana state line) and Old Lower Bay
Road to the north, the eastern bank of the Pearl River from Highway 90 to the northern bank of Campell
Inside Bayou in the west, and the northern bank of Campbell Inside Bayou to the south. Its eastern
boundary is as follows:

       Old Lower Bay Road from Highway 90 to Lower Bay Road
       Lower Bay Road from Old Lower Bay Road to (30.236ᵒN, ‐89.52ᵒW) at which point the boundary
        cuts due south to intersect with the western bank of John’s Bayou
       Western bank of John’s Bayou from line due south of (30.236ᵒN, ‐89.52ᵒW) to northern bank of
        Grand Plains Bayou
       Northern/western bank of Grand Plains Bayou from western bank of John’s Bayou to the
        northern bank of Campbell Inside Bayou




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C‐6, Bay St. Louis: This zone is bounded by Interstate 10 from Highway 607 to Interstate 110 in the
north and Highway 607 from Interstate 10 to Highway 90 in the west. Its eastern boundary is the
western boundary of the Interstate 110 Zone A. Its southern boundary is as follows:

       Highway 607 from Interstate 10 to its merger with Highway 90
       Highway 90 from Highway 607 to Everett Street/Railroad Avenue in Pass ChristianRailroad
        Avenue from Highway 90 to Tegarden Road
       Tegarden Road from Railroad Avenue to E. Pass Road
       E. Pass Road from Tegarden Road to Lorraine Road
       Lorraine Road from Pass Road to the northern shore of Big Lake/Back Bay of Biloxi
       Back Bay of Biloxi from Lorraine Road to the beginning of the Interstate 110 Zone A

C‐7, Biloxi/Pascagoula/Mobile: This zone spans three cities from Interstate 110 to Mobile Bay. Its
western boundary is the eastern boundary of the Interstate 110 Zone A. Its northern boundary is as
follows:

       Interstate 10 from the Interstate 110 Zone A 1 zone to Interstate 65
       Interstate 65 from Interstate 10 to southern bank of Chickasaw Creek
       Southern bank of Chickasaw Creek from Interstate 65 to western bank of Black Bayou
       Western bank of Black Bayou from southern bank of Chickasaw Creek to the eastern bank of the
        Mobile River
       Eastern bank of Mobile River to the western bank of the Spanish River

Its southern boundary is as follows:

       The northern shore of Back Bay of Biloxi from the Interstate 110 Zone A to Washington Avenue
       Washington Avenue from the northern shore of the Back Bay of Biloxi to Highway 90
       Highway 90 from Washington Avenue to Halstead Road
       Halstead Road from Highway 90 to the northern shore of Davis Bayou/Mississippi Sound
       Northern shore of Davis Bayou/Mississippi Sound from Halstead Road to the western bank of
        Bayou La Batre
       Western bank of Bayou La Batre from the Gulf of Mexico to Highway 188
       Highway 188 from Bayou La Batre to the eastern bank of Bayou Coden
       Eastern bank of Bayou Coden to the northern shore of the Gulf of Mexico
       Northern shore of the Gulf of Mexico from Bayou Coden to the western shore of Mobile Bay

Its eastern boundary is as follows:

       The western bank of the Spanish River from the Mobile River to the western shore of Mobile
        Bay
       The western shore of Mobile Bay from the Spanish River to the Gulf of Mexico

C‐8, Orange Beach/Pensacola: This zone spans from the Zone B‐7 and B‐8 in the west to the eastern
shores of Pensacola Bay and Escambia Bay south of Interstate 10 to the east. It is bisected by the

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Highway 59 to Gulf Shores (Zone A‐12) and by the Foley Beach Expressway north of Highway 98 (Zone B‐
10). Its northern boundary is Interstate 10 from Highway 98 to Escambia Bay. Its western boundary is
as follows:

       U.S. Highway 98/42 from Interstate 10 to Highway 98 (Alabama’s Coastal Connection)
       Highway 98 (Alabama’s Coastal Connection) from U.S. Highway 98 to the Foley Beach
        Expressway
       Foley Beach Expressway from Highway 98 to the northern bank of the Intracoastal Waterway

Its southern boundary is as follows:

       The northern shore of the Intracoastal Waterway from Mobile Bay to Wolf Bay
       The northern shores of Wolf Bay, Bayou La Launch, Amica Bay, and Perdido Bay from the
        Intracoastal Waterway to the northern bank of Bayou Garcon
        The northern bank ofBayou Garcon from Perdido Bay to (30.323ᵒN, ‐87.425ᵒW), a point due
        north of the end of Corinna Street
       Corinna Street from the line due south of (30.323ᵒN, ‐87.425ᵒW)to Highway 292A
       Highway 292A from Corinna Street to Highway 173
       Highway 173 from Highway 292A to Fuel Farm Road
       Fuel Farm Road from Highway 173 to the northern shore of Big Lagoon
       Northern shore of Big Lagoon from Fuel Farm Road to the west shore of Pensacola Bay

Its eastern boundary is as follows:

       Western shore of Escambia Bay/Pensacola Bay from Interstate 10 to Highway 98 (Pensacola Bay
        Bridge).
       Highway 98 (E. Gregory Street) from Pensacola Bay to S. Alcaniz Street
       S. Alcaniz Street from E. Gregory Street to E. Garden Street.
       E. Garden Street/W. Garden Street from E. Gregory Street to Barrancas Avenue
       Barrancas Avenue from W. Garden Street to S. Navy Boulevard
       S. Navy Boulevard from Barrancas Avenue to the northern bank of Bayou Grande
       Northern bank of Bayou Grande from S. Navy Boulevard to the western shore of Pensacola Bay
       Western shore of Pensacola Bay from Bayou Grande to the northern shore of Big Lagoon

C‐9, Gulf Breeze/Fort Walton/Niceville: This zone is bounded on the south by the northern shores of the
Santa Rosa Sound and Choctawhatchee Bay. Its western boundary is as follows:

       The green space between Baltar Drive and Hickory Shores Boulevard from the southern shore of
        East Bay to Highway 98
       Highway 98 (Gulf Breeze Parkway) from the green space to the eastern edge of the Tiger Point
        Golf Course development.
       The eastern edge of the Tiger Point Golf Course development from Highway 98 to the northern
        shore of Santa Rosa Sound


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The northern and eastern boundary is as follows:

      The southern shore of East Bay from the green space between Baltar Drive and Hickory Shores
       Boulevard (at the eastern terminus of Sandy Bluff Drive E.) to the East Bay River
      East Bay River from the East Bay to (30.429ᵒN, ‐86.807ᵒW), due north of Crescent Wood Road
      Crescent Wood Road from the point described above to Highway 98 (Navarre Parkway)
      Highway 98 from Crescent Wood Road to Cody Avenue
      Cody Avenue from Highway 98 to Independence Road
      Independence Road from Cody Avenue to S. Golf Course Road
      S. Golf Course Road from Independence Road to Heritage Road
      Heritage Road from S. Golf Course Road to Martin Luther King, Jr. Boulevard
      Martin Luther King, Jr. Boulevard from Heritage Road to Green Acres Road
      Green Acres Road from Martin Luther King, Jr. Boulevard to Highway 189 (Lewis Turner
       Boulevard)
      Highway 189 from Green Acres Road to Highway 85
      Highway 85 from Highway 189 to E. John Sims Parkway
      E. John Sims Parkway from Highway 85 to Route 285
      Route 285 (N. Partin Drive) from E. John Sims Parkway to E. College Boulevard
      E. College Boulevard from Route 285 to Forest Road
      Forest Road from E. College Boulevard to Rocky Bayou Road
      Rocky Bayou Road from Forest Road to Huntington Road
      Huntington Road from Rocky Bayou Road to the north shore of Rocky Bayou
      North shore of Rocky Bayou from Huntington Road to Highway 20
      Highway 20 from Rocky Bayou to Highway 293
      Highway 293 (White Point Road) from Highway 20 to the north shore of Choctawhatchee Bay

Zone B‐12 runs from east to west through the middle of this zone between Gulf Breeze and Fort Walton
Beach.

C‐10, Destin: This zone is bounded by the south shore of Choctawhatchee Bay on the north and
Highway 98 to the south. Its eastern boundary is Ponce de Leon Street from Choctawhatchee Bay to
Highway 98 Its western boundary is as follows:

      The eastern shore of Joe’s Bayou from Choctawhatchee Bay to Bayview Street
      Bayview Street from Joe’s Bayou to Spring Lake Drive
      Spring Lake Drive from Bayview Street to Beach Drive
      Beach Drive from Spring Lake Drive to Highway 98

This zone is bisected by Zone B‐13, which runs along Highway 293.

C‐11: Eglin AFB: This zone is bounded by Interstate 10 to the north and Highway 331 to the east. Its
western boundary consists of the eastern shores of Escambia Bay and Backwater Bay/East Bay, and its
southern boundary is as follows:

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       The northern shore of East Bay to the East Bay River
       East Bay River from East Bay to (30.429ᵒN, ‐86.807ᵒW)
       The line connecting (30.429ᵒN, ‐86.807ᵒW)to the end of Crescent Wood Road
       Crescent Wood Road to Highway 98
       Highway 98 from Crescent Wood Road to Cody Avenue
       Cody Avenue from Highway 98 to Independence Road
       Independence Road from Cody Avenue to South Golf Course Road
       South Golf Course Road from Independence Road to Heritage Road
       Heritage Road from South Golf Course Road to Martin Luther King Boulevard
       Martin Luther King Boulevard from Heritage Road to Green Acres Road
       Green Acres Road from Martin Luther King Boulevard to Highway 189
       Highway 189 from Green Acres Road to Highway 85
       Highway 85 from Highway 189 to W. John Sims Parkway
       W. John Sims Parkway/E. John Sims Parkway from Highway 85 to North Partin Drive
       North Partin Drive from Highway 85 to East College Boulevard
       East College Boulevard from North Partin Drive to Forest Road
       Forest Road from East College Boulevard to Rocky Bayou Drive
       Rocky Bayou Drive from Forest Road to Huntington Road
       Huntington Road from Rocky Bayou Drive to the north shore of Rocky Bayou
       The eastern and southern shore of Rocky Bayou from Huntington Road to Highway 20
       Highway 20 from Rocky Bayou to White Point Road (Highway 293)
       White Point Road (Highway 293) from Highway 20 to the north shore of Choctawhatchee Bay
       North shore of Choctawhatchee Bay from White Point Road to Highway 331 South

C‐12, Walton County: This zone is bounded by the south shore of Choctawhatchee Bay and Hogtown
Bayou on the north (although this boundary extends slightly into Tucker Bayou at its eastern edge) and
Highway 98 to the south. Its western boundary is E. Hewett Road from Choctawhatchee Bay to Highway
98. Its eastern boundary is Peach Creek from the Intracoastal Waterway to Highway 98.

C‐13, Panama City: This zone is bounded by the southern shore of North Bay to the north and the
northern shores of Upper Grand Lagoon and St. Andrew Bay to the south. Its eastern boundary is as
follows:

       Highway 2321 from North Bay to Nehi Road at N. Highway 231
       Nehi Road from N. Highway 231 to Highway 2315 (N. Star Avenue)
       Highway 2315 from Nehi Road to E. Highway 22
       E. Highway 22 from Highway 2315 to Callaway Bayou

Zone B‐15, consisting of W. 18th Street and W. 23rd Street, is also contained within Zone C‐13.

C‐14: Walton County to Franklin County: This zone is bounded on the west by Peach Creek and on the
east by Highway 98. Its northern boundary is as follows:


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       The Intracoastal Waterway from Peach Creek to Highway 79
       Highway 79 from Intracoastal Waterway to Highway 388
       Highway 388 from the Highway 79 to Highway 231
       Highway 231 from Highway 388 to Highway 2315
       Highway 2315 from Highway 231 to Highway 22
       Highway 22 from Highway 2315 to Lake Grove Road
       Lake Grove Road from Highway 22 to eastern terminus at the Apalachicola River
       Western bank of the Apalachicola River from Lake Grove Road to the southern edge of
        Apalachicola National Forest
       Southern edge of Apalachicola National Forest from the Apalachicola River to the western bank
        of the Ochlocknee River at point (30.333ᵒN, ‐84.594ᵒW)
       Western bank of the Ochlocknee River from point described above to Highway 319
       Highway 319 from Ochlocknee River to Highway 98

Its southern boundary is as follows:

       Highway 98 from Peach Creek to the western shore of West Bay
       The shoreline of West Bay, North Bay, Deer Point Lake, and Bayou George from Highway 98 to
        Highway 2321
       Highway 2321 from Deer Point Lake/Bayou George to Nehi Road
       Nehi Road from Highway 2321 to Highway 2315
       Highway 2315 from Nehi Road to Highway 22
       Highway 22 from Highway 2315 to St. Andrew Bay
       Shore of St. Andrew Bay from Highway 2315 to Highway 98
       Highway 98 from St. Andrew Bay to Sabre Drive
       Sabre Drive from Highway 98 to Bambi Trail
       Bambi Trail from Sabre Drive to Beacon Beach Road
       Beacon Beach Road from Sabre Drive to St. Andrew Bay
       St. Andrew Bay to Hurricane Island and Gulf of Mexico
       Gulf of Mexico from edge of Hurricane Island to western edge of Tyndall AFB Zone A
       Northern edge of Tyndall AFB Zone A, including “Bear Swamp Roads” to Highway 98/319
       Highway 98/319 from Bear Swamp Roads to 1st Street in downtown Port St. Joe
       1st Street from Highway 98 (Monument Avenue) to Woodward Avenue
       Woodward Avenue from Monument Avenue to Cecil G. Costin Boulevard
       Cecil G. Costin Boulevard from Woodward Avenue to Monument Avenue (Highway 98/319)
       Highway 98/319 from Cecil G. Costin Boulevard to 14th Street in downtown Apalachicola
       14th Street from Highway 98/319 (Avenue E) to Avenue L
       Avenue L from 14th Street to 12th Street
       12th Street from Avenue L to Avenue M
       Avenue M from 12th Street to Market Street
       Market Street from Avenue M to the inlet at the marina at Scipio Creek

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       Marina/inlet to western bank of Scipio Creek
       Western bank of Scipio Creek/Apalachicola River to Highway 98/319
       Highway 319 from Apalachicola River to Ochlockonee River

C‐15, Tyndall Air Force Base: This zone consists of the peninsula west of Highway 98 and Tyndall Air
Force Base. Its northern, western, and southern boundaries are defined by St. Andrew’s Bay. Its eastern
boundary is as follows:

       Highway 98 (Tyndall Parkway) from St. Andrew’s Bay to Sabre Drive
       Sabre Drive from Highway 98 to Bambi Trail
       Bambi Trail from Sabre Drive to Beacon Beach Road
       Beacon Beach Road from Bambi Trail to beach access road beginning at ‐83.623, 30.083
       Beach access road from point described above to northern shore of St. Andrew’s Bay

C‐16, Apalachee Bay to Holiday: This zone extends from the Wakulla/Jefferson County line to the
Pinellas/Pasco County line, with its western boundary being the Gulf of Mexico. Its eastern/northern
boundary is as follows:

       Highway 98 from the Wakulla/Jefferson County line to Highway 356 (Hampton Springs Avenue)
       Hampton Springs Avenue from Highway 98 to CR‐593
       CR‐593 from Hampton Springs Avenue to Turkey Roost Road
       Turkey Roost Road from CR‐593 to Puckett Road
       Puckett Road from Turkey Roost Road to Spring Warrior Road
       Spring Warrior Road from Puckett Road to CR‐535
       CR‐535 from Spring Warrior Road to Beach Road
       Beach Road until it becomes 2nd Street NW in Steinhatchee
       2nd Street NW from Beach Road to 1st Avenue S
       1st Avenue S from 2nd Street NW to 10th Street E/SW 875th Street
       10th Street E/SW 875th Street from 1st Avenue SW to Highway 358
       Highway 358 from SW 875th Street Street to Highway 361
       Highway 361 from Highway 358 to SW 477th Avenue
       SW 477th Avenue from Highway 361 to SW 623rd Street
       SW 623rd Street from SW 477th Avenue to SW 586th Avenue
       SW 586th Avenue from SW 623rd Street to Highway 351
       Highway 351 from SW 586th Street to SW 782nd Avenue
       SW 782nd Avenue from Highway 351 to SE 54th Street
       SE 54th Street from SW 782nd Avenue to SE 198th Street
       SE 198th Street from SE 54th Street to Highway 349
       Highway 349 from SE 198th Street to Highway 19/98
       Highway 19/98 from Highway 349 to Highway 320 (NW 115th Street)
       NW 115th Street from Highway 19/98 to NW 107th Terrace
       NW 107th Terrace from NW 115th Street to NW 102nd Place

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       NW 102nd Place from NW 107th Terrace to NW 128th Court
       NW 128th Court from NW 102nd Place to NW 90th Street
       NW 90th Street from NW 128th Court to NW Camp Azalea Road
       NW Camp Azalea Road from NW 90th Street to NW County Road 347
       NW County Road 347 from NW Camp Azalea Road Place to SR‐24
       SR‐24 from County Road 347 to SW SW 95th Avenue
       SW 95th Avenue from SR‐24 to SW 94th Terrace
       SW 94th Terrace from SR‐24 to SW Hodge Road/SW Main Line Road
       SW Main Line Road from SW 94th Terrace to Fiber Factory Road
       Fiber Factory Road from SW Main Line Road to SE 80th Street
       SE 80th Street from Fiber Factory Road to SE 25th Avenue
       SE 25th Avenue from SE 80th Street to SE 76th Lane
       SE 76th Lane from SE 25th Street to Highway 19/98
       Highway 19/98 from SE 76th Lane to Pasco/Pinellas County line

C‐17, Tampa to Marco Island: This zone is bounded by the eastern shores of the Gulf of Mexico
(excluding the islands included in Zone A), Tampa/Hillsborough Bay, and Charlotte Harbor Bay to the
west. Its northern boundary is the Pasco/Pinellas County line, and its southern boundary is the edge of
Marco Island. Its eastern boundary is as follows:

       Highway 19 from the Pasco/Pinellas County line to Ulmerton Road
       Ulmerton Road from Highway 18 to Interstate 275
       Interstate 275 from Ulmerton Road to Interstate 4
       Interstate 4 from Interstate 275 to Highway 41
       Highway 41 from Interstate 4 to Highway 951
       Highway 951 to Marco Island/Big Marco River

FEEDER ROUTES

The following road segments are included in Zone C. The zones are described in order from west to
east, grouped in the states in which they terminate.

Texas

       Highway 124 from Interstate 10 to Highway 87, and Highway 87 from Highway 124 to the
        beginning of the Bolivar Peninsula

Louisiana

       Canal Street from Claiborne Avenue to City Park Avenue
       Barataria Boulevard from the Westbank Expressway (Highway 90) to Highway 3134, and
        Highway 3134 from Barataria Boulevard to intersection with Barataria Boulevard nearest the
        Intercoastal Waterway


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         Peters Road from Westbank Expressway to Engineers Road, and Engineers Road from Peters
          Road to Belle Chasse Highway
         Belle Chasse Highway (Highway 23) from Westbank Expressway (Highway 90) to beginning of
          the South Louisiana Zone B zone
         General de Gaulle Drive from Westbank Expressway (Highway 90) to Behrman Highway, and
          Behrman Highway from General de Gaulle Drive to Highway 23
         Westbank Expressway (Highway 90) from Barataria Boulevard to the west bank of the
          Mississippi River
         Interstate 59 from Highway 98 south of Hattiesburg to Interstate 12 in Slidell

Mississippi

         Highway 49 from Highway 98 south of Hattiesburg to Interstate 10 north of Gulfport

Alabama

         Highway 98 from Interstate 59 south of Hattiesburg to Interstate 65 in Mobile
         Interstate 65 from East Old Fort Road east of Fort Deposit to Interstate 165 in Mobile
         Interstate 10 across Mobile Bay
         Highway 98 across Mobile Bay
         Highway 59 from Interstate 65 to Interstate 10
         Highway 287 (Rabun Road) from Interstate 65 to Highway 59

Florida

         Interstate 10 from west shore of Escambia Bay to Highway 231
         Highway 331 from Interstate 10 to south shore of Choctawhatchee Bay
         Highway 331 from Interstate 10 to Highway 54
         Highway 79 from Florida/Alabama state line to Highway 30A
         Highway 109/77 from Highway 231 south of Dothan to south shore of North Bay
         Highway 231 from 231/431 loop south of Dothan to Panama City buffer zone
         Highway 319 from split from Highway 61 to Highway 98




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                                                         Tourism

Tourism means businesses which provide services such as attracting, transporting, accommodating or
catering to the needs or wants of persons traveling to, or staying in, places outside their home
community. Therefore, if you are in one of the following businesses or work for such a business, you are
in the Tourism Industry.1

         447110 - Gasoline Stations with Convenience Stores
             This industry comprises establishments engaged in retailing automotive fuels (e.g., diesel fuel,
             gasohol, gasoline) in combination with convenience store or food mart items. These
             establishments can either be in a convenience store (i.e., food mart) setting or a gasoline station
             setting. These establishments may also provide automotive repair services.
                         Convenience food with gasoline stations
                         Gasoline stations with convenience stores
                         Gasoline with convenience stores
         447190 - Other Gasoline Stations
             This industry comprises establishments known as gasoline stations (except those with
             convenience stores) primarily engaged in one of the following: (1) retailing automotive fuels
             (e.g., diesel fuel, gasohol, gasoline) or (2) retailing these fuels in combination with activities, such
             as providing repair services; selling automotive oils, replacement parts, and accessories; and/or
             providing food services.
                         Gasoline stations without convenience stores
                         Marine service stations
                         Service stations, gasoline
                         Truck stops
         448110 - Men's Clothing Stores
             This industry comprises establishments primarily engaged in retailing a general line of new men's
             and boys' clothing. These establishments may provide basic alterations, such as hemming, taking
             in or letting out seams, or lengthening or shortening sleeves.
                         Apparel stores, men's and boys' clothing
                         Clothing stores, men's and boys'
         448120 - Women's Clothing Stores
             This industry comprises establishments primarily engaged in retailing a general line of new
             women's, misses'; and juniors' clothing, including maternity wear. These establishments may
             provide basic alterations, such as hemming, taking in or letting out seams, or lengthening or
             shortening sleeves.
                         Apparel stores, women's and girls' clothing
                         Clothing stores, women's and girls'
                         Maternity shops
         448130 - Children's and Infants' Clothing Stores
             This industry comprises establishments primarily engaged in retailing a general line of new
             children's and infants' clothing. These establishments may provide basic alterations, such as
             hemming, taking in or letting out seams, or lengthening or shortening sleeves.
                          Apparel stores, children's and infants' clothing
                          Baby clothing shops
                          Clothing stores, children's and infants'

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    This Tourism Definition substitutes for the Tourism Definition previously at Bates 026632 - 026646.

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   448140 - Family Clothing Stores
       This industry comprises establishments primarily engaged in retailing a general line of new
       clothing for men, women, and children, without specializing in sales for an individual gender or
       age group. These establishments may provide basic alterations, such as hemming, taking in or
       letting out seams, or lengthening or shortening sleeves.
                   Clothing stores, family
                   Family clothing stores
                   Unisex clothing stores
                   Western wear stores
   448150 - Clothing Accessories Stores
       This industry comprises establishments primarily engaged in retailing single or combination lines
       of new clothing accessories, such as hats and caps, costume jewelry, gloves, handbags, ties, wigs,
       toupees, and belts.
                   Apparel accessory stores
                   Clothing accessories stores
                   Costume jewelry stores
                   Furnishings stores, men's and boys'
                   Furnishings stores, women's and girls'
                   Handbag stores
                   Hat and cap stores
                   Jewelry stores, costume
                   Neckwear stores
                   Tie shops
                   Wig and hairpiece stores
   448190 - Other Clothing Stores
       This industry comprises establishments primarily engaged in retailing specialized lines of new
       clothing (except general lines of men's, women's, children's, infants', and family clothing). These
       establishments may provide basic alterations, such as hemming, taking in or letting out seams,
       or lengthening or shortening sleeves.
                   Bridal gown shops (except custom)
                   Coat stores
                   Costume stores (including theatrical)
                   Dress shops
                   Fur apparel stores
                   Furriers
                   Hosiery stores
                   Leather coat stores
                   Lingerie stores
                   School uniform stores
                   Swimwear stores
                   T-shirt shops, custom printed
                   Uniform stores (except athletic)
   451110 - Sporting Goods Stores
       This industry comprises establishments primarily engaged in retailing new sporting goods, such
       as bicycles and bicycle parts; camping equipment; exercise and fitness equipment; athletic
       uniforms; specialty sports footwear; and sporting goods, equipment, and accessories.
                   Athletic equipment and supply stores (including uniforms)
                   Bicycle (except motorized) shops
                   Bowling equipment and supply stores
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                   Diving equipment stores
                   Exercise equipment stores
                   Fishing supply stores (e.g., bait)
                   Footwear (e.g., bowling, golf, spiked), specialty sports, stores
                   Golf pro shops
                   Gun shops
                   Outdoor sporting equipment stores
                   Pro shops (e.g., golf, skiing, tennis)
                   Saddlery stores
                   Shoe stores, specialty sports footwear (e.g., bowling, golf, spiked)
                   Sporting goods stores
                   Sports gear stores (e.g., outdoors, scuba, skiing)
                   Tack shops
                   Tackle shops (i.e., fishing)
                   Uniform stores, athletic
   452111 - Department Stores (except Discount Department Stores)
       This U.S. industry comprises establishments known as department stores that have separate
       departments for various merchandise lines, such as apparel, jewelry, home furnishings, and
       linens, each with separate cash registers and sales associates. Department stores in this industry
       generally do not have central customer checkout and cash register facilities.
                   Department stores (except discount department stores)
   452990 - All Other General Merchandise Stores
       This industry comprises establishments primarily engaged in retailing new goods in general
       merchandise stores (except department stores, warehouse clubs, superstores, and
       supercenters). These establishments retail a general line of new merchandise, such as apparel,
       automotive parts, dry goods, hardware, groceries, housewares or home furnishings, and other
       lines in limited amounts, with none of the lines predominating.
                   Catalog showrooms, general merchandise (except catalog mail-order)
                   Dollar stores
                   General stores
                   Home and auto supply stores
                   Limited price variety stores
                   Trading posts, general merchandise
                   Variety stores
   453220 - Gift, Novelty, and Souvenir Stores
       This industry comprises establishments primarily engaged in retailing new gifts, novelty
       merchandise, souvenirs, greeting cards, seasonal and holiday decorations, and curios.
                   Balloon shops
                   Card shops, greeting
                   Christmas stores
                   Collectible gift shops (e.g., crystal, pewter, porcelain)
                   Craft (except craft supply) stores
                   Curio shops
                   Gift shops
                   Gift stands, permanent location
                   Greeting card shops
                   Novelty shops
                   Party goods (e.g., paper supplies, decorations, novelties) stores
                   Seasonal and holiday decoration stores

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                   Souvenir shops
   481111 - Scheduled Passenger Air Transportation
       This U.S. industry comprises establishments primarily engaged in providing air transportation of
       passengers or passengers and freight over regular routes and on regular schedules.
       Establishments in this industry operate flights even if partially loaded. Scheduled air passenger
       carriers including commuter and helicopter carriers (except scenic and sightseeing) are included
       in this industry.
                   Air commuter carriers, scheduled
                   Air passenger carriers, scheduled
                   Commuter air carriers, scheduled
                   Helicopter passenger carriers, scheduled
                   Passenger air transportation, scheduled
                   Passenger carriers, air, scheduled
                   Scheduled air passenger carriers
                   Scheduled air passenger transportation
   485310 - Taxi Service
       This industry comprises establishments primarily engaged in providing passenger transportation
       by automobile or van, not operated over regular routes and on regular schedules.
       Establishments of taxicab owner/operators, taxicab fleet operators, or taxicab organizations are
       included in this industry.
                   Cab (i.e., taxi) services
                   Taxicab dispatch services
                   Taxicab fleet operators
                   Taxicab organizations
                   Taxicab owner-operators
                   Taxicab services
   487110 - Scenic and Sightseeing Transportation, Land
       This industry comprises establishments primarily engaged in providing scenic and sightseeing
       transportation on land, such as sightseeing buses and trolleys, steam train excursions, and horse-
       drawn sightseeing rides. The services provided are usually local and involve same-day return to
       place of origin.
                   Buses, scenic and sightseeing operation
                   Cable car, land, scenic and sightseeing operation
                   Carriage, horse-drawn, operation
                   Cog railway, scenic and sightseeing, operation
                   Horse-drawn carriage operation
                   Monorail, scenic and sightseeing, operation
                   Railroad transportation, scenic and sightseeing
                   Railroad, scenic and sightseeing, operation
                   Railway transportation, scenic and sightseeing
                   Scenic and sightseeing excursions, land
                   Sightseeing bus operation
                   Sightseeing operation, human-drawn vehicle
                   Steam train excursions
                   Tour bus, scenic and sightseeing, operation
                   Tracked vehicle sightseeing operation
                   Trolley, scenic and sightseeing, operation



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   487210 - Scenic and Sightseeing Transportation, Water
       This industry comprises establishments primarily engaged in providing scenic and sightseeing
       transportation on water, with the exception that Charter Fishing, as defined in the Settlement
       Agreement, is excluded from this Tourism definition. The services provided are usually local and
       involve same-day return to place of origin.
                   Airboat (i.e., swamp buggy) operation
                   Dinner cruises
                   Excursion boat operation
                   Harbor sightseeing tours
                   Hovercraft sightseeing operation
                   Scenic and sightseeing excursions, water
                   Sightseeing boat operation
                   Swamp buggy operation
                   Whale watching excursions
   487990 - Scenic and Sightseeing Transportation, Other
       This industry comprises establishments primarily engaged in providing scenic and sightseeing
       transportation (except on land and water). The services provided are usually local and involve
       same-day return to place of departure.
                   Aerial cable car, scenic and sightseeing, operation
                   Aerial tramway, scenic and sightseeing, operation
                   Glider excursions
                   Helicopter ride, scenic and sightseeing, operation
                   Hot air balloon ride, scenic and sightseeing, operation
                   Scenic and sightseeing excursions, aerial
                   Tramway, aerial, scenic and sightseeing operation
   532111 - Passenger Car Rental
       This industry comprises establishments primarily engaged in renting passenger cars without
       drivers, generally for short periods of time.
                   Automobile rental
                   Car rental
                   Car rental agencies
                   Hearse rental
                   Limousine rental without driver
                   Luxury automobile rental
                   Passenger car rental
                   Passenger van rental
                   Passenger van rental agencies
                   Sport utility vehicle rental
                   Van (passenger) rental
   532292 - Recreational Goods Rental
       This U.S. industry comprises establishments primarily engaged in renting recreational goods,
       such as bicycles, canoes, motorcycles, skis, sailboats, beach chairs, and beach umbrellas.
                   Beach chair rental
                   Beach umbrella rental
                   Bicycle rental
                   Boat rental, pleasure
                   Canoe rental
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                    Exercise equipment rental
                    Golf cart rental
                    Houseboat rental
                    Moped rental
                    Motorcycle rental
                    Personal watercraft rental
                    Pleasure boat rental
                    Recreational goods rental
                    Rowboat rental
                    Sailboat rental
                    Ski equipment rental
                    Snow ski equipment rental
                    Sporting goods rental
                    Sports equipment rental
                    Surfboard rental
                    Tent, camping, rental
                    Water ski rental
                    Yacht rental without crew
   561520 - Tour Operators
       This industry comprises establishments primarily engaged in arranging and assembling tours. The
       tours are sold through travel agencies or tour operators. Travel or wholesale tour operators are
       included in this industry.
                    Tour operators (i.e., arranging and assembling tours)
                    Travel tour operators
                    Wholesale tour operators
   561599 - All Other Travel Arrangement and Reservation Services
       This U.S. industry comprises establishments (except travel agencies, tour operators, and
       convention and visitors bureaus) primarily engaged in providing travel arrangement and
       reservation services. Illustrative Examples: Condominium time-share exchange services Ticket
       (e.g., airline, bus, cruise ship, sports, theatrical) offices Reservation (e.g., airline, car rental, hotel,
       restaurant) services Ticket (e.g., amusement, sports, theatrical) agencies Road and travel
       services automobile clubs.
                    Airline reservation services
                    Airline ticket offices
                    Automobile clubs, road and travel services
                    Bus ticket offices
                    Car rental reservation services
                    Condominium time share exchange services
                    Cruise ship ticket offices
                    Hotel reservation services
                    Motor travel clubs
                    Railroad ticket offices
                    Reservation (e.g., airline, car rental, hotel, restaurant) services
                    Sports ticket offices
                    Theatrical ticket offices
                    Ticket (e.g., airline, bus, cruise ship, sports, theatrical) offices
                    Ticket (e.g., airline, bus, cruise ship, sports, theatrical) sales offices
                    Ticket (e.g., amusement, sports, theatrical) agencies
                    Ticket (e.g., amusement, sports, theatrical) sales agencies

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                   Ticket agencies, amusement
                   Ticket agencies, sports
                   Ticket agencies, theatrical
                   Ticket offices for foreign cruise ship companies
                   Time share exchange services, condominium
   711211 - Sports Teams and Clubs
       This U.S. industry comprises professional or semiprofessional sports teams or clubs primarily
       engaged in participating in live sporting events, such as baseball, basketball, football, hockey,
       soccer, and jai alai games, before a paying audience. These establishments may or may not
       operate their own arena, stadium, or other facility for presenting these events.
                   Baseball clubs, professional or semiprofessional
                   Baseball teams, professional or semiprofessional
                   Basketball clubs, professional or semiprofessional
                   Basketball teams, professional or semiprofessional
                   Boxing clubs, professional or semiprofessional
                   Football clubs, professional or semiprofessional
                   Football teams, professional or semiprofessional
                   Hockey clubs, professional or semiprofessional
                   Hockey teams, professional or semiprofessional
                   Ice hockey clubs, professional or semiprofessional
                   Jai alai teams, professional or semiprofessional
                   Major league baseball clubs
                   Minor league baseball clubs
                   Professional baseball clubs
                   Professional football clubs
                   Professional sports clubs
                   Roller hockey clubs, professional or semiprofessional
                   Semiprofessional baseball clubs
                   Semiprofessional football clubs
                   Semiprofessional sports clubs
                   Soccer clubs, professional or semiprofessional
                   Soccer teams, professional or semiprofessional
                   Sports clubs, professional or semiprofessional
                   Sports teams, professional or semiprofessional
   712110 - Museums
       This industry comprises establishments primarily engaged in the preservation and exhibition of
       objects of historical, cultural, and/or educational value.
                   Art galleries (except retail)
                   Art museums
                   Community museums
                   Contemporary art museums
                   Decorative art museums
                   Fine arts museums
                   Galleries, art (except retail)
                   Halls of fame
                   Herbariums
                   Historical museums
                   Human history museums
                   Interactive museums
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                   Marine museums
                   Military museums
                   Mobile museums
                   Multidisciplinary museums
                   Museums
                   Natural history museums
                   Natural science museums
                   Observatories (except research institutions)
                   Planetariums
                   Science and technology museums
                   Sports halls of fame
                   Traveling museum exhibits
                   War museums
                   Wax museums
   712120 - Historical Sites
       This industry comprises establishments primarily engaged in the preservation and exhibition of
       sites, buildings, forts, or communities that describe events or persons of particular historical
       interest. Archeological sites, battlefields, historical ships, and pioneer villages are included in this
       industry.
                   Archeological sites (i.e., public display)
                   Battlefields
                   Heritage villages
                   Historical forts
                   Historical ships
                   Historical sites
                   Pioneer villages
   712130 - Zoos and Botanical Gardens
       This industry comprises establishments primarily engaged in the preservation and exhibition of
       live plant and animal life displays.
                   Animal exhibits, live
                   Animal safari parks
                   Aquariums
                   Arboreta
                   Arboretums
                   Aviaries
                   Botanical gardens
                   Conservatories, botanical
                   Gardens, zoological or botanical
                   Menageries
                   Parks, wild animal
                   Petting zoos
                   Reptile exhibits, live
                   Wild animal parks
                   Zoological gardens
                   Zoos
   712190 - Nature Parks and Other Similar Institutions
       This industry comprises establishments primarily engaged in the preservation and exhibition of
       natural areas or settings.
                   Bird sanctuaries
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                    Caverns (i.e., natural wonder tourist attractions)
                    Conservation areas
                    Interpretive centers, nature
                    National parks
                    Natural wonder tourist attractions (e.g., caverns, waterfalls)
                    Nature centers
                    Nature parks
                    Nature preserves
                    Nature reserves
                    Parks, national
                    Parks, nature
                    Provincial parks
                    Waterfalls (i.e., natural wonder tourist attractions)
                    Wildlife sanctuaries
   713110 - Amusement and Theme Parks
       This industry comprises establishments, known as amusement or theme parks, primarily
       engaged in operating a variety of attractions, such as mechanical rides, water rides, games,
       shows, theme exhibits, refreshment stands, and picnic grounds. These establishments may lease
       space to others on a concession basis.
                    Amusement parks (e.g., theme, water)
                    Parks (e.g., theme, water), amusement
                    Piers, amusement
                    Theme parks, amusement
                    Water parks, amusement
   713120 - Amusement Arcades
       This industry comprises establishments primarily engaged in operating amusement (except
       gambling, billiard, or pool) arcades and parlors.
                    Amusement arcades
                    Amusement device (except gambling) parlors, coin-operated
                    Amusement devices (except gambling) operated in own facilities
                    Arcades, amusement
                    Electronic game arcades
                    Family fun centers
                    Indoor play areas
                    Pinball arcades
                    Video game arcades (except gambling)
   713910 - Golf Courses and Country Clubs
       This industry comprises (1) establishments primarily engaged in operating golf courses (except
       miniature) and (2) establishments primarily engaged in operating golf courses, along with dining
       facilities and other recreational facilities that are known as country clubs. These establishments
       often provide food and beverage services, equipment rental services, and golf instruction
       services.
                    Country clubs
                    Golf and country clubs
                    Golf courses (except miniature, pitch-n-putt)




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   713990 - All Other Amusement and Recreation Industries
       This industry comprises establishments (except amusement parks and arcades; gambling
       industries; golf courses and country clubs; skiing facilities; marinas; fitness and recreational
       sports centers; and bowling centers) primarily engaged in providing recreational and amusement
       services.
                  Amateur sports teams, recreational
                  Amusement device (except gambling) concession operators (i.e., supplying and
                  servicing in others' facilities)
                  Amusement ride concession operators (i.e., supplying and servicing in others'
                  facilities)
                  Archery ranges
                  Athletic clubs (i.e., sports teams) not operating sports facilities, recreational
                  Aviation clubs, recreational
                  Ballrooms
                  Baseball clubs, recreational
                  Basketball clubs, recreational
                  Bathing beaches
                  Beach clubs, recreational
                  Beaches, bathing
                  Billiard parlors
                  Billiard rooms
                  Boating clubs without marinas
                  Boccie ball courts
                  Bowling leagues or teams, recreational
                  Boxing clubs, recreational
                  Boys' day camps (except instructional)
                  Bridge clubs, recreational
                  Camps (except instructional), day
                  Canoeing, recreational

                  Carnival ride concession operators (i.e., supplying and servicing in others' facilities)
                  Coin-operated nongambling amusement device concession operators (i.e., supplying
                  and servicing in others' facilities)
                  Concession operators, amusement device (except gambling) and ride
                  Curling facilities
                  Dance halls
                  Discotheques (except those serving alcoholic beverages)
                  Driving ranges, golf
                  Fireworks display services
                  Fishing clubs, recreational
                  Fishing guide services
                  Fishing piers
                  Flying clubs, recreational
                  Football clubs, recreational
                  Galleries, shooting
                  Girls' day camps (except instructional)
                  Gocart raceways (i.e., amusement rides)
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             Gocart tracks (i.e., amusement rides)
             Golf courses, miniature
             Golf courses, pitch-n-putt
             Golf driving ranges
             Golf practice ranges
             Guide services (i.e., fishing, hunting, tourist)
             Guide services, fishing
             Guide services, hunting
             Guide services, tourist
             Gun clubs, recreational
             Hockey clubs, recreational
             Hockey teams, recreational
             Horse rental services, recreational saddle
             Horseback riding, recreational
             Hunting clubs, recreational
             Hunting guide services
             Ice hockey clubs, recreational
             Jukebox concession operators (i.e., supplying and servicing in others' facilities)
             Kayaking, recreational
             Lawn bowling clubs
             Miniature golf courses
             Mountain hiking, recreational
             Nightclubs without alcoholic beverages
             Nudist camps without accommodations
             Observation towers
             Outdoor adventure operations (e.g., white water rafting) without accommodations
             Pack trains (i.e., trail riding), recreational
             Para sailing, recreational
             Picnic grounds
             Pinball machine concession operators (i.e., supplying and servicing in others' facilities)
             Ping pong parlors
             Pool halls
             Pool parlors
             Pool rooms
             Racetracks, slot car (i.e., amusement devices)
             Raceways, gocart (i.e., amusement rides)
             Recreational camps without accommodations
             Recreational day camps (except instructional)
             Recreational sports clubs (i.e., sports teams) not operating sports facilities
             Recreational sports teams and leagues
             Riding clubs, recreational
             Riding stables
             Rifle clubs, recreational
             River rafting, recreational
             Rowing clubs, recreational
             Saddle horse rental services, recreational
             Sailing clubs without marinas
             Sea kayaking, recreational

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                    Shooting clubs, recreational
                    Shooting galleries
                    Shooting ranges
                    Skeet shooting facilities
                    Slot car racetracks (i.e., amusement devices)
                    Snowmobiling, recreational
                    Soccer clubs, recreational
                    Sports clubs (i.e., sports teams) not operating sports facilities, recreational
                    Sports teams and leagues, recreational or youth
                    Stables, riding
                    Summer day camps (except instructional)
                    Tourist guide services
                    Trail riding, recreational
                    Trampoline facilities, recreational
                    Trapshooting facilities, recreational
                    Waterslides (i.e., amusement rides)
                    White water rafting, recreational
                    Yacht clubs without marinas
                    Youth sports leagues or teams
   721110 - Hotels (except Casino Hotels) and Motels
       This industry comprises establishments primarily engaged in providing short-term lodging in
       facilities known as hotels, motor hotels, resort hotels, and motels. The establishments in this
       industry may offer food and beverage services, recreational services, conference rooms and
       convention services, laundry services, parking, and other services.
                    Alpine skiing facilities with accommodations (i.e., ski resort)
                    Auto courts, lodging
                    Automobile courts, lodging
                    Health spas (i.e., physical fitness facilities) with accommodations
                    Hotel management services (i.e., providing management and operating staff to run
                    hotel)
                    Hotels (except casino hotels)
                    Hotels (except casino hotels) with golf courses, tennis courts, and/or other health spa
                    facilities (i.e., resorts)
                    Hotels, membership
                    Hotels, resort, without casinos
                    Hotels, seasonal, without casinos
                    Membership hotels
                    Motels
                    Motor courts
                    Motor hotels without casinos
                    Motor inns
                    Motor lodges
                    Resort hotels without casinos
                    Seasonal hotels without casinos
                    Ski lodges and resorts with accommodations
                    Summer resort hotels without casinos
                    Tourist lodges



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   721191 - Bed-and-Breakfast Inns
       This U.S. industry comprises establishments primarily engaged in providing short-term lodging in
       facilities known as bed-and-breakfast inns. These establishments provide short-term lodging in
       private homes or small buildings converted for this purpose. Bed-and-breakfast inns are
       characterized by a highly personalized service and inclusion of a full breakfast in a room rate.
                    Bed and breakfast inns
                    Inns, bed and breakfast
   721199 - All Other Traveler Accommodation
       This U.S. industry comprises establishments primarily engaged in providing short-term lodging
       (except hotels, motels, casino hotels, and bed-and-breakfast inns).
                    Cabins, housekeeping
                    Cottages, housekeeping
                    Guest houses
                    Hostels
                    Housekeeping cabins
                    Housekeeping cottages
                    Tourist homes
                    Youth hostels
   721211 - RV (Recreational Vehicle) Parks and Campgrounds
       This U.S. industry comprises establishments primarily engaged in operating sites to
       accommodate campers and their equipment, including tents, tent trailers, travel trailers, and RVs
       (recreational vehicles). These establishments may provide access to facilities, such as
       washrooms, laundry rooms, recreation halls and playgrounds, stores, and snack bars.
                    Campgrounds
                    Recreational vehicle parks
                    RV (recreational vehicle) parks
                    Travel trailer campsites
   721214 - Recreational and Vacation Camps (except Campgrounds)
       This U.S. industry comprises establishments primarily engaged in operating overnight
       recreational camps, such as children's camps, family vacation camps, hunting and fishing camps,
       and outdoor adventure retreats that offer trail riding, white-water rafting, hiking, and similar
       activities. These establishments provide accommodation facilities, such as cabins and fixed
       campsites, and other amenities, such as food services, recreational facilities and equipment, and
       organized recreational activities.
                   Boys' camps (except day, instructional)
                   Camps (except day, instructional)
                   Children's camps (except day, instructional)
                   Dude ranches
                   Fishing camps with accommodation facilities
                   Girls' camps (except day, instructional)
                   Guest ranches with accommodation facilities
                   Hunting camps with accommodation facilities
                   Nudist camps with accommodation facilities
                   Outdoor adventure retreats with accommodation facilities
                   Recreational camps with accommodation facilities (except campgrounds)
                   Summer camps (except day, instructional)
                   Trail riding camps with accommodation facilities
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                   Vacation camps (except campgrounds, day instructional)
                   Wilderness camps
   721310 - Rooming and Boarding Houses
       This industry comprises establishments primarily engaged in operating rooming and boarding
       houses and similar facilities, such as fraternity houses, sorority houses, off-campus dormitories,
       residential clubs, and workers' camps. These establishments provide temporary or longer-term
       accommodations which, for the period of occupancy, may serve as a principal residence. These
       establishments also may provide complementary services, such as housekeeping, meals, and
       laundry services.
                   Boarding houses
                   Clubs, residential
                   Dormitories, off campus
                   Fraternity houses
                   Migrant workers' camps
                   Off campus dormitories
                   Residence clubs, organizational
                   Residential clubs
                   Rooming and boarding houses
                   Sorority houses
                   Workers' camps
                   Workers' dormitories
   722110 - Full-Service Restaurants
       This industry comprises establishments primarily engaged in providing food services to patrons
       who order and are served while seated (i.e. waiter/waitress service) and pay after eating. These
       establishments may provide this type of food services to patrons in combination with selling
       alcoholic beverages, providing carry out services, or presenting live nontheatrical entertainment.
                   Bagel shops, full service
                   Diners, full service
                   Doughnut shops, full service
                   Family restaurants, full service
                   Fine dining restaurants, full service
                   Full service restaurants
                   Pizza parlors, full service
                   Pizzerias, full service
                   Restaurants, full service
                   Steak houses, full service
   722211 - Limited-Service Restaurants
       This U.S. industry comprises establishments primarily engaged in providing food services (except
       snack and nonalcoholic beverage bars) where patrons generally order or select items and pay
       before eating. Food and drink may be consumed on premises, taken out, or delivered to the
       customer's location. Some establishments in this industry may provide these food services in
       combination with selling alcoholic beverages.
                   Carryout restaurants
                   Delicatessen restaurants
                   Drive-in restaurants
                   Family restaurants, limited-service
                   Fast-food restaurants
                   Pizza delivery shops
                   Pizza parlors, limited-service

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                   Pizzerias, limited-service (e.g., take-out)
                   Restaurants, carryout
                   Restaurants, fast food
                   Sandwich shops, limited-service
                   Steak houses, limited-service
                   Take out eating places
   722213 - Snack and Nonalcoholic Beverage Bars
       This U.S. industry comprises establishments primarily engaged in (1) preparing and/or serving a
       specialty snack, such as ice cream, frozen yogurt, cookies, or popcorn or (2) serving nonalcoholic
       beverages, such as coffee, juices, or sodas for consumption on or near the premises. These
       establishments may carry and sell a combination of snack, nonalcoholic beverage, and other
       related products (e.g., coffee beans, mugs, coffee makers) but generally promote and sell a
       unique snack or nonalcoholic beverage.
                   Bagel shops, on premise baking and carryout service
                   Beverage (e.g., coffee, juice, soft drink) bars, nonalcoholic, fixed location
                   Canteens, fixed location
                   Coffee shops, on premise brewing
                   Confectionery snack shops, made on premises with carryout services
                   Cookie shops, on premise baking and carryout service
                   Doughnut shops, on premise baking and carryout service
                   Fixed location refreshment stands
                   Frozen custard stands, fixed location
                   Ice cream parlors
                   Pretzel shops, on premise baking and carryout service
                   Snack bars (e.g., cookies, popcorn, pretzels), fixed location
                   Soft drink beverage bars, nonalcoholic, fixed location
   722310 - Food Service Contractors
       This industry comprises establishments primarily engaged in providing food services at
       institutional, governmental, commercial, or industrial locations of others based on contractual
       arrangements with these type of organizations for a specified period of time. The establishments
       of this industry provide food services for the convenience of the contracting organization or the
       contracting organization's customers. The contractual arrangement of these establishments with
       contracting organizations may vary from type of facility operated (e.g., cafeteria, restaurant,
       fast-food eating place), revenue sharing, cost structure, to providing personnel. Management
       staff is always provided by the food service contractors.
                   Airline food services contractors
                   Cafeteria food services contractors (e.g., government office cafeterias, hospital
                   cafeterias, school cafeterias)
                   Food concession contractors (e.g., convention facilities, entertainment facilities,
                   sporting facilities)
                   Food service contractors, airline
                   Food service contractors, cafeteria
                   Food service contractors, concession operator (e.g., convention facilities,
                   entertainment facilities, sporting facilities)
                   Industrial caterers (i.e., providing food services on a contractural arrangement (except
                   single-event basis))




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   722410 - Drinking Places (Alcoholic Beverages)
       This industry comprises establishments known as bars, taverns, nightclubs, or drinking places
       primarily engaged in preparing and serving alcoholic beverages for immediate consumption.
       These establishments may also provide limited food services.
                   Alcoholic beverage drinking places
                   Bars (i.e., drinking places), alcoholic beverage
                   Cocktail lounges
                   Drinking places (i.e., bars, lounges, taverns), alcoholic
                   Lounges, cocktail
                   Nightclubs, alcoholic beverage
                   Taverns (i.e., drinking places)




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                  ATTACHMENT A - SEAFOOD DISTRIBUTION CHAIN DEFINITIONS

Seafood shall be defined as fish and shellfish, including shrimp, oysters, crab, and finfish, caught in the
Specified Waters of the Gulf of Mexico. Seafood shall exclude menhaden.

This document shall establish Seafood distribution chain definitions, as set forth below:

1. Commercial Fishermen, Seafood Crew, Oyster Leaseholders and Seafood Vessel Owners

    Economic loss claims by Commercial Fishermen, Seafood Crew, Oyster Leaseholders and
    Seafood Vessel Owners shall be governed by the Seafood Program.

    Definitions for Commercial Fisherman, Seafood Crew, Oyster Leaseholder and Seafood Vessel
    Owner are set forth below:

        a. Commercial Fisherman shall be defined as a Natural Person or entity that holds a
           commercial fishing license issued by the United States and/or the State(s) of Alabama,
           Florida, Louisiana, Mississippi and/or Texas and derives income from catching and selling
           Seafood that he caught. The following additional definitions are relevant with regard to the
           Commercial Fisherman definition:

             i. Shrimp Fisherman shall be defined as a Commercial Fisherman that catches shrimp.

             ii. Oyster Harvester shall be defined as a Commercial Fisherman that harvests oysters.

            iii. Crab Fisherman shall be defined as a Commercial Fisherman that catches crab.

            iv. Finfish Fisherman shall be defined as a Commercial Fisherman that catches finfish.

        b. Seafood Crew shall be defined as the Seafood Boat Captain, Seafood First Mate,
           Seafood Second Mate, Seafood Boatswain, Seafood Deckhand, working for a
           Commercial Fisherman.

             i. Seafood Boat Captain shall be defined as a Natural Person who owns or operates a
                Commercial Fishing vessel. In addition, the Seafood Boat Captain may plan and
                oversee the fishing operation, the fish to be sought, the location of the best fishing
                grounds, the method of capture, the duration of the trip, and the sale of the catch. A
                person with the job of skipper will be considered to satisfy this definition.

             ii. Seafood First Mate shall be defined as a Natural Person who assists a Seafood Boat
                 Captain and assumes control of the Commercial Fishing vessel when the Seafood
                 Boat Captain is off duty, and who assists in directing the fishing operations and sailing
                 responsibilities of the Seafood Deckhands, including the operation, maintenance, and
                 repair of the vessel and the gathering, preservation, stowing, and unloading of the catch.

            iii. Seafood Second Mate shall be defined as a Natural Person who assists in performing
                 the duties of a Seafood First Mate.




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           iv. Seafood Boatswain shall be defined as a Natural Person who is a highly skilled
               Seafood Deckhand with supervisory responsibilities on a Commercial Fishing vessel,
               and who directs the Seafood Deckhands as they carry out sailing and fishing
               operations.

           v. Seafood Deckhand shall be defined as a Natural Person who provides services on
              marine vessels (not personally owned or leased) to any type of Commercial Fisherman,
              including, but not limited to, the following:

                   1.   Operating fishing gear;
                   2.   Letting out and pulling in nets and lines;
                   3.   Extracting the catch;
                   4.   Washing, salting, icing and stowing the catch;
                   5.   Ensuring the decks are clear and clean at all times;
                   6.   Loading equipment and supplies prior to departure; and/or
                   7.   Unloading the catch.

      c.   An Oyster Leaseholder shall be defined as a Natural Person or entity that is a lessee
           holding one or more private oyster leases.

      d. Seafood Vessel Owner shall be defined as a Natural Person or entity that owns a vessel
         and earns income from leasing or renting that vessel to a Commercial Fisherman and/or
         Oyster Leaseholder. A Seafood Vessel Owner may also be a Commercial Fisherman
         and/or an Oyster Leaseholder.

2. Primary Seafood Industry

   The Primary Seafood Industry shall be comprised of entities and Natural Persons that satisfy the
   definitions of Landing Site, Commercial Wholesale or Retail Dealer A, and Primary Seafood
   Processor, and Natural Persons employed by a Landing Site, Commercial Wholesale or Retail
   Dealer A, or Primary Seafood Processor, including Seafood Dockside Workers.

   Economic loss claims by entities and Natural Persons claiming losses related to business income
   required to be reported on Internal Revenue Service Form 1040 Schedules C, E or F, and that satisfy
   the Primary Seafood Industry definition above shall be compensated pursuant to the
   Compensation Framework for Business Economic Loss Claims.

   Economic loss claims by Individuals satisfying the Primary Seafood Industry definition above shall
   be compensated pursuant to the Framework for Individual Economic Loss Claims.

   Definitions of Landing Site, Commercial Wholesale or Retail Dealer A, Primary Seafood
   Processor, and Seafood Dockside Worker are set forth below:

      a. Landing Site shall be defined as a business at which boats first land their catch, including
         facilities for unloading and handling Seafood. A landing site may also include the provision
         of ice, fresh water fuel and boat repair or service in connection with the landing of Seafood.
         The following additional definition is relevant with regard to Landing Site:

            i. Seafood Dockside Worker shall be a Natural Person performing services for a Landing



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               Site.

      b. Commercial Wholesale or Retail Dealer A shall be defined as an entity or Natural Person
         that holds a commercial wholesale or retail dealer license issued by the State(s) of Alabama,
         Florida, Louisiana, Mississippi and/or Texas for which 75% or more of the 2009 cost or weight
         in pounds of the product it purchases constitutes Seafood purchased directly from
         Commercial Fisherman or Landing Site and re-sells to Primary Seafood Processors,
         Seafood Distributors, Seafood Wholesalers and Seafood Retailers.

      c.   Primary Seafood Processor shall be defined as an entity or Natural Person that receives
           and prepares Seafood purchased from a Commercial Fisherman, Landing Site, or
           Commercial Wholesale or Retail Dealer including, but not limited to, cleaning, cooking,
           canning, smoking, salting, drying or freezing, grading by size, packing storing Seafood for
           shipment.

3. Secondary Seafood Industry

   The Secondary Seafood Industry shall be comprised of entities that satisfy the definitions of
   Commercial Wholesale or Retail Dealer B, Secondary Seafood Processor, Seafood Wholesaler
   or Distributor, and Seafood Retailer, and Natural Persons employed by a Commercial Wholesale
   or Retail Dealer B, Secondary Seafood Processor, Seafood Wholesaler or Distributor, or
   Seafood Retailer.

   Economic loss claims by entities and Natural Persons claiming losses related to business income
   required to be reported on Internal Revenue Service Form 1040 Schedules C, E or F, and that satisfy
   the Secondary Seafood Industry definition above shall be compensated pursuant to the
   Compensation Framework for Business Economic Loss Claims.

   Economic loss claims by Individuals satisfying the Secondary Seafood Industry definition above
   shall be compensated pursuant to the Framework for Individual Economic Loss Claims.

   Definitions of Commercial Wholesale or Retail Dealer B, Secondary Seafood Processor,
   Seafood Wholesaler or Distributor, and Seafood Retailer are set forth below:

      a. Commercial Wholesale or Retail Dealer B shall be defined as an entity or Natural Person
         that holds a commercial wholesale or retail dealer license issued by the State(s) of Alabama,
         Florida, Louisiana, Mississippi and/or Texas for which less than 75% of the cost or weight in
         pounds of the product it purchases constitutes Seafood purchased directly from a
         Commercial Fisherman or Landing Site, and re-sells to Primary Seafood Processors,
         Seafood Distributors, Seafood Wholesalers and Seafood Retailers.

      b. Secondary Seafood Processor shall be defined as an entity or Natural Person that
         purchases Seafood from a Primary Seafood Processor in order to add further value
         including, but not limited to, cleaning, cooking, canning, smoking, salting, drying or freezing,
         grading by size packing and storing Seafood for shipment.

      c.   Seafood Wholesaler or Distributor shall be defined as an entity or Natural Person that
           purchases Seafood in bulk quantities and sells to retailers such as restaurants, fish shop and
           supermarkets.



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    d. Seafood Retailer shall be defined as an entity that is an end user of Seafood such as a
       restaurant, fish market or super market for which 25% or more of total food costs for 2009
       constitute Seafood.




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          Documentation Requirements for Business Economic Loss Claims



The framework detailed below describes the documentation requirements for business
economic loss claims.

In order to be eligible for compensation, a business claimant must provide the following:

1.       A Claim Form which the claimant (or claimant’s representative) shall verify under
         penalties of perjury. The Claim Form shall direct the claimant to provide information,
         including the claimant’s chosen Compensation Period and corresponding Benchmark
         Period2 in the year(s) selected by the claimant. The claimant shall attach required
         documents supporting the claim. All statements made in and documents submitted
         with the Claim Form may be verified as judged necessary by the Claims Administrator.

2.       Documents reflecting the business structure and ownership of the claimant, including
         but not limited to articles of incorporation, shareholder list(s), and partnership or
         limited partnership agreements.

3.       Federal tax returns (including all schedules and attachments) for the years included in
         the claimant-selected Benchmark Period, 2010, and, if applicable, 2011.3

         a) Provide the complete federal tax return and the applicable supporting
            documentation.
         b) For self employed individuals, provide Form 1040, pages 1 and 2, along with
            Schedules C, D, E, and F and Form 1099 if applicable.

4.       Monthly and annual profit and loss statements (which identify individual expense line
         items and revenue categories), or alternate source documents establishing monthly
         revenues and expenses for the claimed Benchmark Period,4 2010 and, if applicable,


1
  These Documentation Requirements also apply generally to (i) start-up businesses and (ii) businesses claiming to
have ceased operations due to and resulting from the DWH Spill, subject to such exclusions as may be noted in the
frameworks governing compensation for such businesses. Other provisions of the settlement agreement might
require additional documentation for specific business types.
2
  As used herein, Benchmark Period will have the meaning set forth in the Compensation Framework for Business
Economic Loss Claims), and may include (i) 2009, (ii) 2008 and 2009, or (iii) 2007-2009. If the claimant selects a
Benchmark Period including dates in years prior to 2009, the claimant shall provide the relevant documents for
each of those years.
3
  Claimants who must satisfy the requirements of Sections II and III of the Causation Requirements for Business
Economic Loss Claims are required to submit 2011 federal tax returns.
4
  If the claimant’s Benchmark Period includes dates in years prior to 2009, the claimant shall provide the relevant
documents for the applicable years.


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         2011.5 Profit and loss statements shall identify the dates on which they were created.
         The Claims Administrator may, in his discretion, request source documents for profit
         and loss statements. If there is a discrepancy between amounts reflected in a tax return
         and comparable items reflected in a profit and loss statement for the same period, the
         Claims Administrator may request the claimant to provide additional information or
         documentation.

5.       If the claimant falls within any of the specific business types listed below, the following
         additional documents are required for the years included in the Benchmark Period,
         2010, and, if applicable, 2011:

         a) Retail
              i. Monthly sales and use tax returns.
         b) Lodging (including hotels, motels, and vacation rental properties):
               i. Lodging tax returns;
              ii. Occupancy reports or historical rental records, on a per unit basis if available;
             iii. Documentation to identify how the rental property is managed, such as (i) a
                   management contract from a third-party management company or (ii) a
                   Sworn Written Statement from an owner that manages its own property.

6.       Additional documents may be required depending on the causation provisions the
         claimant is seeking to satisfy, as reflected in “Causation Requirements for Business
         Economic Loss Claims”. These documents include, where applicable:

         a) Documents used to satisfy the Customer Mix Tests accompanying the Modified V-
            Test and/or Down Only Revenue Pattern Test:
                i.  Credit card receipts, or other contemporaneously-maintained records of
                    payment from customers;
               ii.  Customer registration logs, such as hotel registries;
              iii.  Documentation maintained in the ordinary course of business that lists
                    customers by location and monthly sales associated with those customers;
              iv.   Business documents reflecting contemporaneous recording of receipts or
                    invoices listing customers by location.
         b) Documents providing contemporaneous written evidence of the cancellation of a
            contract as the direct result of the DWH Spill, which the claimant was not able to
            replace, under the same terms, or a Sworn Written Statement from an individual
            third party affirming that the cancellation was Spill-related. A copy of all
            corresponding contracts shall also be provided.

5
 Claimants included in Sections II or III of the Causation Requirements for Business Economic Loss Claims are
required to submit 2011 monthly profit and loss statements or alternate source documents.
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      c) Specific documentation identifying factors outside the control of the claimant that
         prevented the recovery of revenues in 2011, such as:
            i.   The entry of a competitor in 2011;
            ii.  Bankruptcy of a significant customer;
           iii.  Nearby road closures affecting the business;
           iv.   Unanticipated interruption resulting in the closure of the business;
            v.   Product/service replacement by customer; or
           vi.   Loss of financing and/or reasonable terms of renewal.
      d) Documents created during the period April 21, 2010 - December 31, 2010, that
         evidence spill-related reservation cancellations during that period that the claimant
         was not able to rebook under the same terms, such as letters, emails, hotel logs for
         the relevant time, or a Sworn Written Statement from an independent third party
         citing the DWH Spill as the reason for the cancellation. Written evidence of the
         original reservation shall also be provided.
      e) Documents demonstrating expenses associated with purchases of seafood
         harvested in the Gulf of Mexico during 2009, such as historical purchase orders or
         invoices.
      f) Other business documents the claimant believes establish causation pursuant to the
         terms of the Economic and Property Damages Settlement Agreement. Purchase
         orders or invoices documenting seafood purchase costs for the compensation
         period, and for the year 2010 or 2011 if applicable.

7.    Claimant must provide a copy of any applicable federal, state, or local governmental
      license required to operate its business. For example, claimants shall produce the
      following for the Benchmark Period, 2010 and, if applicable, 2011:

      a) Real estate sales licenses
      b) Occupancy licenses (lodging businesses, including hotels, motels, and vacation rental
         properties)
      c) Business or occupational licenses
            i. Restaurant licenses
           ii. Bars (liquor) licenses
          iii. Taxi/livery licenses
          iv.   Service licenses or permits

8.    Claimants who have received any of the payments listed below must provide
      documentation of the amount of payments received:

      a) VoO payments
      b) Payments from GCCF
      c) Payments from BP as part of its OPA claims process.
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9.    Additional documentation for claimants with annual revenue of $75,000 or less which
      seek to establish causation on the basis of a Causation Proxy Claimant:

      a)   Sworn Written Statement from Claimant documenting the following:
             i.   Contact information and verification of status in MDL 2179 Settlement of the
                  Causation Proxy Claimant to be used by the claimant to satisfy causation;
            ii.   Business linkage between the claimant and the Causation Proxy Claimant;
                  and
           iii. Proximity of the claimant to the Causation Proxy Claimant (must be within
                  100 yards for urban claimants and within one-quarter mile for rural
                  claimants).
      b)   Sworn Written Statement from Causation Proxy Claimant authorizing claimant’s use
           of the Causation Proxy Claimant’s documentation to satisfy causation.

10.   Form affirming that the individual filing the claim on behalf of the business is an
      authorized representative of the claimant.




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                CAUSATION REQUIREMENTS FOR BUSINESSES ECONOMIC LOSS CLAIMS1


     I.         Business Claimants for Which There is No Causation Requirement

           1) If you are a business in Zone A, you are not required to provide any evidence of causation
              unless you fall into one of the exceptions agreed to by the parties, and listed in footnote (1).

           2) If you are a “Landing Site,” or “Commercial Wholesale or Retail Dealer A,” or “Primary
              Seafood Processor,” as set forth in “Seafood Distribution Chain Definitions,” you are not
              required to provide any evidence of causation.

           3) If you are in Zone A, B or C and you are a “Commercial or Wholesale or Retail Dealer B,” or a
              “Secondary Seafood Processor,” or a “Seafood Wholesaler or Distributor,” or a “Seafood
              Retailer,” as set forth in “Seafood Distribution Chain Definition,” you are not required to
              provide any evidence of causation.

           4) If you are in Zone A or Zone B, and you meet the “Tourism Definition,” you are not required
              to provide any evidence of causation.

           5) If you are in Zone A, B or C, and you meet the “Charter Fishing Definition” you are not
              required to provide any evidence of causation.

     II.        Causation Requirements for Zone B and Zone C

           If you are not entitled to a presumption as set forth in (I) above and you are located in Zone B
           or Zone C then you must satisfy the requirements of one of the following sections A-E below:

           A. V-Shaped Revenue Pattern:

                Total business revenue shows the following pattern:

                   1. DOWNTURN: a decline of an aggregate of 8.5% or more in total revenues
                      over a period of three consecutive months between May-December 2010
                      compared to the same months in the Benchmark Period selected by the
                      claimant;2 AND

                   2. LATER UPTURN: an increase of an aggregate of 5% or more in total revenues
                      over the same period of three consecutive months in 2011 compared to
                      2010. 3

           OR

1
  This Causation Requirements for Business Economic Loss Claims does not apply to (i) Start-up Businesses;
(ii) Failed Businesses; (iii) Entities, Individuals or Claims not included within the Economic Class definition; and (iv)
Claims covered under the Seafood Program.
2
  See Compensation Framework for Business Economic Loss Claims.
3
  See Exhibit A attached hereto for an example of how this calculation is performed.
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        B. Modified V-Shaped Revenue Pattern:

             Total business revenue shows the following pattern:

                 1. DOWNTURN: a decline of an aggregate of 5% or more in total revenues over
                    a period of three consecutive months between May-December 2010
                    compared to the same months in the Benchmark Period selected by the
                    claimant;4 AND

                 2. LATER UPTURN: an increase of an aggregate of 5% or more in total revenues
                    over the same period of three consecutive months in 2011 compared to
                    2010;

             AND ONE OR MORE OF THE FOLLOWING:

                 a. The claimant demonstrates a decline of 10% in the share of total revenue
                    generated by non-local customers over the same period of three consecutive
                    months from May-December 2010 as selected by claimant for the Modified
                    V-Shaped Revenue Pattern as identified in (II.B.1) compared to the same
                    three consecutive month period in 2009, as reflected in:5

                         customer credit card receipts or other contemporaneously maintained
                          records of payment; or
                         customer registration logs (e.g., hotel registries); or
                         documentation maintained in the ordinary course of business that lists
                          customers by location and monthly sales associated with those
                          customers; or
                         business documents reflecting contemporaneous recording of receipts or
                          invoices listing customers by location.6

                 OR
                 b. For business claimants that have customers in Zones A-C, the claimant
                    demonstrates a decline of 10% in the share of total revenue generated by
                    customers located in Zones A-C over the same period of the three
                    consecutive months from May-December 2010 as selected by claimant for
                    the Modified V-Shaped Revenue Pattern as identified in (II.B.1) compared to
                    the same three consecutive month period in 2009, as reflected in:


4
  See Compensation Framework for Business Economic Loss Claims.
5
  A Customer shall be considered a “non-local customer” if they reside more than 60 miles from a claimant
business location.
6
  See Exhibit B attached hereto for an example of how this calculation is performed.
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                            customer credit card receipts or other contemporaneously maintained
                             records of payment; or
                            customer registration logs (e.g., hotel registries); or
                            documentation maintained in the ordinary course of business that lists
                             customers by location and monthly sales associated with those
                             customers; or
                            business documents reflecting contemporaneous recording of receipts or
                             invoices listing customers by location.7

                    OR

                    c. The claimant provides contemporaneous written evidence of the cancellation
                       of a contract as the direct result of the spill that claimant was not able to
                       replace. Proof of a spill-related contract cancellation only establishes
                       causation for the specific contract substantiated by the claimant and may
                       result in recovery only of damages solely associated with such contract.
           OR

           C. Decline-Only Revenue Pattern:

                         1. DOWNTURN: a decline of an aggregate of 8.5% or more in revenues over
                            a period of three consecutive months between May-December 2010
                            compared to the same months in the Benchmark Period selected by the
                            claimant;8

                         AND

                         2. Specific documentation identifying factors outside the control of the
                            claimant that prevented the recovery of revenues in 2011, such as:
                             The entry of a competitor in 2011
                             Bankruptcy of a significant customer in 2011
                             Nearby road closures affecting the business
                             Unanticipated interruption resulting in closure of the business
                             Product/Service replacement by Customer
                             Loss of financing and/or reasonable terms of renewal;

                         AND

                         3. ONE OF THE FOLLOWING:



7
    See Exhibit C attached hereto for an example of how this calculation is performed.
8
    See Compensation Framework for Business Economic Loss Claims.
                                                           3

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                         The claimant demonstrates proof of a decline of 10% in the share of total
                          revenue generated by non-local customers over the same period of three
                          consecutive months from May-December 2010 as selected by the
                          claimant for the Decline-Only Revenue Pattern as identified in (II.C.1)
                          compared to the same three consecutive month period in 2009, as
                          reflected in:9
                              o customer credit card receipts or other contemporaneously
                                  maintained records of payment; or
                              o customer registration logs (e.g., hotel registries); or
                              o documentation maintained in the ordinary course of business that
                                  lists customers by location and monthly sales associated with
                                  those customers; or
                              o business documents reflecting contemporaneous recording of
                                  receipts or invoices listing customers by location.10


                         For business claimants that have customers in Zones A-C, the claimant
                          demonstrates proof of a decline of 10% in the share of total revenue
                          generated by customers located in Zones A-C over the same period of
                          three consecutive months from May-December 2010 as selected by the
                          claimant for the Decline-Only Revenue Pattern as identified in (II.C.1)
                          compared to the same three consecutive month period in 2009, as
                          reflected in:
                              o customer credit card receipts or other contemporaneously
                                  maintained records of payment; or
                              o customer registration logs (e.g., hotel registries); or
                              o documentation maintained in the ordinary course of business that
                                  lists customers by location and monthly sales associated with
                                  those customers; or
                              o business documents reflecting contemporaneous recording of
                                  receipts or invoices listing customers by location.11

        OR

        D. Proof of Spill-Related Cancellations

                Claimant may establish causation by providing contemporaneous written
                 evidence of spill-related reservation cancellations (i.e., letters, emails, hotel logs
                 for the relevant time, or an affidavit from an independent third party citing the

9
  A Customer shall be considered a “non-local customer” if they reside more than 60 miles from a claimant
business location.
10
   See Exhibit B attached hereto for an example of how this calculation is performed.
11
   See Exhibit C attached hereto for an example of how this calculation is performed.
                                                        4

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                 spill as the reason for cancellation) that the claimant was unable to rebook.
                 Proof of spill-related reservation cancellations only establishes causation for the
                 specific cancellations substantiated by the claimant and may result in recovery
                 only of damages solely associated with such cancellations established as causally
                 resulting from the spill. However, if the lodging facility has food and/or beverage
                 services on site, the evidence of cancellation shall satisfy causation for the
                 specific losses corresponding to such cancellation in those service areas as well.

                The claimant provides contemporaneous written evidence of the cancellation of
                 a contract as the direct result of the spill that claimant was not able to replace.
                 In the absence of contemporaneous written evidence, the claimant must present
                 an affidavit from an independent third party affirming that the cancellation was
                 spill-related. Proof of a spill-related contract cancellation only establishes
                 causation for the specific contract substantiated by the claimant and may result
                 in recovery only of damages solely associated with such contract.

        OR

        E. A non-rural business claimant on a property that is in close proximity (within 100
           yards) to the property of a separate MDL 2179 business claimant that has
           established causation (“Causation Proxy Claimant”) may rely on the documentation
           submitted by such Causation Proxy Claimant to satisfy these Causation
           Requirements for Business Economic Loss Claims. A “Rural Business” claimant
           located within one quarter-mile of the property of the Causation Proxy Claimant
           may rely on the documentation submitted by the Causation Proxy Claimant to satisfy
           these causation requirement only if the claimant provides information sufficient for
           the Claims Administrator to determine that a causal relationship exists between the
           claimant’s financial performance and the financial performance of the Causation
           Proxy Claimant. A Rural Business shall be defined as one is located in area outside an
           Urban Area or Urban Cluster, as defined by the US Census Bureau’s classification.
           Only business claimants with annual revenue of $75,000 or below are eligible to
           establish causation under this Subpart IIE.

 III.        Causation Requirements for Zone D

        If you are not entitled to a presumption as set forth in (I) above and you are located outside of
        Zones A, B or C, then you must satisfy the requirements of one of the following sections A-F
        below:

        A.       V-Shaped Revenue Pattern:

             Business revenue shows the following pattern:



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                 1. DOWNTURN: a decline of an aggregate of 15% or more in total revenues
                    over a period of three consecutive months between May-December 2010
                    compared to the same months in the Benchmark Period selected by the
                    claimant;12

                     AND

                 2. LATER UPTURN: an increase of an aggregate of 10% or more in total
                    revenues over the same period of three consecutive months in 2011
                    compared to 2010. 13

         OR

         B.      Modified V-Shaped Revenue Pattern:

              Total business revenue shows the following pattern:

                 1. DOWNTURN: a decline of an aggregate of 10% or more in total revenues
                    over the same period of three consecutive months between May-December
                    2010 compared to the same months in the Benchmark Period selected by the
                    claimant;14

                     AND

                 2. LATER UPTURN: an increase of an aggregate of 7% or more in total revenues
                    over the same period of three consecutive months in 2011 compared to
                    2010;

                     AND

                 3. ONE OF THE FOLLOWING:

                         The claimant demonstrates proof of a decline of 10% in the share of total
                          revenue generated by non-local customers over the same period of three
                          consecutive months from May-December 2010 as selected by the
                          claimant for the Modified V-Shaped Revenue Pattern identified in (III.B.1)
                          compared to the same three consecutive month period in 2009, as
                          reflected in:15


12
   See Compensation Framework for Business Economic Loss Claims.
13
   See Exhibit A attached hereto for an example of how this calculation is performed.
14
   See Compensation Framework for Business Economic Loss Claims.
15
   A Customer shall be considered a “non-local customer” if they reside more than 60 miles from a claimant
business location.
                                                        6

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                              o customer credit card receipts or other contemporaneously
                                  maintained records of payment; or
                              o customer registration logs (e.g., hotel registries); or
                              o documentation maintained in the ordinary course of business that
                                  lists customers by location and monthly sales associated with
                                  those customers; or
                              o business documents reflecting contemporaneous recording of
                                  receipts or invoices listing customers by location. 16
                         For business claimants that have customers in Zones A-C, the claimant
                          demonstrates proof of a decline of 10% in the share of total revenue
                          generated by customers located in Zones A-C over the same period of the
                          three consecutive months from May-December 2010 as selected by the
                          claimant for the Modified V-Shaped Revenue Pattern identified in (III.B.1)
                          compared to the same three consecutive month period in 2009, as
                          reflected in:
                              o customer credit card receipts or other contemporaneously
                                  maintained records of payment; or
                              o customer registration logs (e.g., hotel registries); or
                              o documentation maintained in the ordinary course of business that
                                  lists customers by location and monthly sales associated with
                                  those customers; or
                              o business documents reflecting contemporaneous recording of
                                  receipts or invoices listing customers by location.17

                         The claimant provides contemporaneous written evidence of the
                          cancellation of a contract as the direct result of the spill that claimant
                          was not able to replace. Proof of a spill-related contract cancellation only
                          establishes causation for the specific contract substantiated by the
                          claimant and may result in recovery only of damages solely associated
                          with such contract.

         OR

         C.      Decline-Only Revenue Pattern:

                      1. DOWNTURN: a decline of an aggregate of 15% or more in total revenues
                         over a period of three consecutive months between May-December 2010
                         compared to the same months in the Benchmark Period selected by the
                         claimant without a recovery in the corresponding months of 2011; 18


16
   See Exhibit B attached hereto for an example of how this calculation is performed.
17
   See Exhibit C attached hereto for an example of how this calculation is performed.
18
   See Compensation Framework for Business Economic Loss Claims.
                                                         7

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                     AND

                     2. Specific documentation identifying factors outside the control of the
                        claimant that prevented the recovery of revenues in 2011:
                         The entry of a competitor in 2011
                         Bankruptcy of a significant customer in 2011
                         Nearby road closures affecting the business
                         Unanticipated interruption resulting in closure of the business
                         Produce/Source replacement by Customer,
                         Loss of financing and/or reasonable terms of renewal;

                     AND

                     3. ONE OR MORE OF THE FOLLOWING:

                         The claimant demonstrates proof of a decline of 10% in the share of total
                          revenue generated by non-local customers over the same period of three
                          consecutive months from May-December 2010 as selected by the
                          claimant for the Decline-Only Revenue Patter as identified in (III.C.1)
                          compared to the same three consecutive month period in 2009, as
                          reflected in:19
                              o customer credit card receipts or other contemporaneously
                                  maintained records of payment; or
                              o customer registration logs (e.g., hotel registries); or
                              o documentation maintained in the ordinary course of business that
                                  lists customers by location and monthly sales associated with
                                  those customers; or
                              o business documents reflecting contemporaneous recording of
                                  receipts or invoices listing customers by location. 20

                         For business claimants that have customers in Zones A-C, the claimant
                          demonstrates proof of a decline of a 10% in the share of total revenue
                          generated by customers located in Zone A, Zone B, or Zone C over the
                          same period of three consecutive months from May-December 2010 as
                          selected by the claimant for the Decline-Only Revenue Pattern as
                          identified in (III.C.1) compared to the same three consecutive month
                          period in 2009, as reflected in:
                              o customer credit card receipts or other contemporaneously
                                  maintained records of payment; or
                              o customer registration logs (e.g., hotel registries); or

19
   A Customer shall be considered a “non-local customer” if they reside more than 60 miles from a claimant
business location.
20
   See Exhibit B attached hereto for an example of how this calculation is performed.
                                                        8

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                                 o documentation maintained in the ordinary course of business that
                                   lists customers by location and monthly sales associated with
                                   those customers; or
                                 o business documents reflecting contemporaneous recording of
                                   receipts or invoices listing customers by location.21

           OR

                D. Proof of Spill-Related Reservation Cancellations

                   Claimant may establish causation by providing contemporaneous written
                    evidence of spill-related reservation cancellations (i.e., letters, emails, hotel logs
                    for the relevant time) that the claimant was unable to rebook. Proof of spill-
                    related reservation cancellations only establishes causation for the specific
                    cancellations substantiated by the claimant and may result in recovery only of
                    damages solely associated with such cancellations established as causally
                    resulting from the spill. However, if the lodging facility has food and/or beverage
                    services on site, the evidence of cancellation shall satisfy causation for the losses
                    in those service areas as well.

                   The claimant provides contemporaneous written evidence of the cancellation of
                    a contract as the direct result of the spill that claimant was not able to replace.
                    In the absence of contemporaneous written evidence, the claimant must present
                    an affidavit from an independent third party affirming that the cancellation was
                    spill-related. Proof of a spill-related contract cancellation only establishes
                    causation for the specific contract substantiated by the claimant and may result
                    in recovery of damages solely associated with such contract.

           OR

           E.       For claimants defined as “Seafood Retailers” (including restaurants):

                        o Claimant demonstrates purchases of Gulf of Mexico harvested seafood
                          from Zone A, Zone B or Zone C vendors represented at least 10% of food
                          costs during 2009, as reflected in historical purchase orders and/or
                          invoices.

                    AND




21
     See Exhibit C attached hereto for an example of how this calculation is performed.
                                                           9

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                       o Claimant demonstrates a decline of 7.5% in gross profit (gross sales less
                         cost of goods sold) over a period of three consecutive months between
                         May-December 2010 compared to the same months in 2009.

       OR

       F. A non-rural business claimant on a property that is in close proximity (within 100
          yards) to the property of a separate MDL 2179 business claimant that has
          established causation (“Causation Proxy Claimant”) may rely on the documentation
          submitted by such Causation Proxy Claimant to satisfy these Causation
          Requirements for Business Economic Loss Claims. A “Rural Business” claimant
          located within one quarter-mile of the property of the Causation Proxy Claimant
          may rely on the documentation submitted by the Causation Proxy Claimant to satisfy
          these causation requirement only if the claimant provides information sufficient for
          the Claims Administrator to determine that a causal relationship exists between the
          claimant’s financial performance and the financial performance of the Causation
          Proxy Claimant. A Rural Business shall be defined as one is located in area outside an
          urban area or urban cluster, as defined by the US Census Bureau’s classification.
          Only business claimants with annual revenue of $75,000 or below are eligible to
          establish causation under this Subpart IIIF.
Exhibit A

                  Summary of Revenue Pattern Requirements for Causation Tests
                                                               Zone B
                                                          (Non-Tourism and                  Zone C
        Test                       Zone A                   Non-Seafood)                (Non-Seafood)                Zone D
                               Down       Up              Down          Up             Down        Up             Down      Up

        V-Test                         N/A                -8.5%           5%           -8.5%         5%               -15%   10%


        Modified V-Test *              N/A                 -5%            5%            -5%          5%               -10%   7%


        Down Only Test *               N/A                 -8.50%       N/A             -8.50%      N/A               -15%   N/A




        * = For the Modified V-Test and the Down Only Test, additional requirements apply, as described in Sections
        IIB, IIC, IIIB, and IIIC above.




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                   Examples of Revenue Pattern Requirements for Causation Tests

       In these examples, the claimant is located in Zone B or C, uses 2008-2009 average as Benchmark
       Period, and has selected June, July and August as its three consecutive months.

       Example 1:                                   Revenue by Year
                                                      Average of
       Month                       2008        2009   2008-2009     2010               2011

       June                       325,000      300,000     312,500      285,000        305,000
       July                       360,000      350,000     355,000      330,000        345,000
       August                     340,000      325,000     332,500      295,000        330,000

       3-Month Aggregate:       1,025,000      975,000 1,000,000        910,000        980,000
       [Sum of June, July, August]
                                                         Down Percentage:                -9.0% =(910,000 - 1,000,000)/1,000,000
                                                         Up Percentage:                   7.7% =(980,000 - 910,000)/910,000
       Claimant passes V-Test. Note: A claimant that satisfies the revenue pattern
       requirements for the V-Test will always also satisfy the requirements for the
       Modified V-Test and Down Only Test.


       Example 2:                                     Revenue by Year
                                                         Average of
       Month                       2008        2009      2008-2009      2010           2011

       June                       325,000      300,000     312,500      295,000        320,000
       July                       360,000      350,000     355,000      335,000        355,000
       August                     340,000      325,000     332,500      315,000        340,000

       3-Month Aggregate:       1,025,000      975,000 1,000,000        945,000    1,015,000
       [Sum of June, July, August]
                                                         Down Percentage:                -5.5% =(945,000 - 1,000,000)/1,000,000
                                                         Up Percentage:                   7.4% =(1,015,000 - 945,000)/945,000
       Claimant fails V Test and the Down Only Test.
       Claimant has satisfied the revenue pattern requirement for the Modified V-Test and
       can establish causation if able to satisfy the additional requirements described in
       Section IIB above.


       Example 3:                                     Revenue by Year
                                                         Average of
       Month                       2008        2009      2008-2009      2010           2011

       June                       325,000      300,000     312,500      285,000        300,000
       July                       360,000      350,000     355,000      330,000        325,000
       August                     340,000      325,000     332,500      295,000        310,000

       3-Month Aggregate:       1,025,000      975,000 1,000,000        910,000        935,000
       [Sum of June, July, August]
                                                         Down Percentage:                -9.0% =(910,000 - 1,000,000)/1,000,000
                                                         Up Percentage:                   2.7% =(935,000 - 910,000)/910,000
       Claimant fails V Test and the Modified V-Test.
       Claimant has satisfied the revenue pattern requirement for the Down Only Test and
       can establish causation if able to satisfy the additional requirements described in
       Section IIC above.

       Notes:

       The causation tests would work in the same way for claimants in Zone D with higher thresholds for the tests. In
       Zone D, the V-Test thresholds are -15% decline, 10% upturn; the Modified V-Test thresholds are -10% decline, 7%
       upturn; the Down-Only Test threshold is -15%.




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                   Examples of Revenue Pattern Requirements for Causation Tests

       In these examples, the claimant is located in Zone B or C, uses 2008-2009 average as Benchmark
       Period, and has selected June, July and August as its three consecutive months.

       Example 4 demonstrates that under an aggregate test, three months of revenues are summed.
       The individual months may be up or down, as long as the three month aggregate period passes
       the test.

       Example 4A:                                  Revenue by Year
                                                      Average of
       Month                       2008        2009   2008-2009     2010               2011

       June                       325,000      300,000     312,500      285,000        305,000
       July                       360,000      350,000     355,000      330,000        345,000
       August                     340,000      325,000     332,500      295,000        330,000

       3-Month Aggregate:       1,025,000      975,000 1,000,000        910,000        980,000
       [Sum of June, July, August]
                                                         Down Percentage:                -9.0% =(910,000 - 1,000,000)/1,000,000
                                                         Up Percentage:                   7.7% =(980,000 - 910,000)/910,000
       Claimant passes V-Test. Note: A claimant that satisfies the revenue pattern
       requirements for the V-Test will always also satisfy the requirements for the
       Modified V-Test and Down Only Test.


       Example 4B:                                    Revenue by Year
                                                         Average of
       Month                       2008        2009      2008-2009      2010           2011

       June                       325,000      300,000     312,500      385,000        305,000
       July                       360,000      350,000     355,000      230,000        345,000
       August                     340,000      325,000     332,500      295,000        330,000

       3-Month Aggregate:       1,025,000      975,000 1,000,000        910,000        980,000
       [Sum of June, July, August]
                                                         Down Percentage:                -9.0% =(910,000 - 1,000,000)/1,000,000
                                                         Up Percentage:                   7.7% =(980,000 - 910,000)/910,000
       Claimant passes V-Test.


       Example 4C:                                    Revenue by Year
                                                         Average of
       Month                       2008        2009      2008-2009      2010           2011

       June                       325,000      300,000     312,500      385,000        305,000
       July                       360,000      350,000     355,000      430,000        345,000
       August                     340,000      325,000     332,500       95,000        330,000

       3-Month Aggregate:       1,025,000      975,000 1,000,000        910,000        980,000
       [Sum of June, July, August]
                                                         Down Percentage:                -9.0% =(910,000 - 1,000,000)/1,000,000
                                                         Up Percentage:                   7.7% =(980,000 - 910,000)/910,000
       Claimant passes V-Test.

       Notes:

       The causation tests would work in the same way for claimants in Zone D with higher thresholds for the tests. In
       Zone D, the V-Test thresholds are -15% decline, 10% upturn; the Modified V-Test thresholds are -10% decline, 7%
       upturn; the Down-Only Test threshold is -15%.




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Exhibit B


                Example of Customer Mix Test (Non-Local Customers)
            The claimant in this Exhibit B uses the same three-month time period as the
            claimant in Exhibit A (June-July-August).
            To pass the test, claimants must demonstrate proof of a decline of 10% or more
            in the share of total revenue generated by non-local customers over the same
            period of three consecutive months from May-December 2010 as selected by the
            claimant for the Modified V-Test or Down Only Tests compared to the same
            three consecutive months in 2009.

            Example 1:                  LT= Less than                 GE=Greater than or equal to
            Customer Residence                June-August '09              June-August '10

            LT 60 miles from claimant            $80,000                           $66,000
            GE 60 miles from claimant            $20,000                           $14,000
            Total                              $100,000                            $80,000
            % GE 60 miles                          20%                              17.5%
                                        Claimant passes Customer Mix Test: Claimant has a 12.5
                                        percent decline in share of total revenue from non-local
                                        customers [12.5%= .125 = (20-17.5)/20].



            Example 2:
            Customer Residence               June-August '09                 June-August '10

            LT 60 miles from claimant            $50,000                         $40,000
            GE 60 miles from claimant            $50,000                         $40,000
            Total                               $100,000                         $80,000
            % GE 60 miles                          50%                            50%
                                        Claimant fails Customer Mix Test: No change in share of
                                        total revenue from non-local customers. [0% = 0 = (50-
                                        50)/50].

            Example 3:
            Customer Residence               June-August '09                 June-August '10

            LT 60 miles from claimant             $50,000                         $48,000
            GE 60 miles from claimant             $50,000                         $40,000
            Total                                $100,000                         $88,000
            % GE 60 miles                            50%                           45.5%
                                        Claimant fails Customer Mix Test: Claimant has a 9%
                                        decline in share of total revenue from non-local customers
                                        [9% = .09 = (50-45.5)/50].




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Exhibit C


              Example of Customer Mix Test (Customers in Zones A-C)
            The claimant in this Exhibit B uses the same three-month time period as the
            claimant in Exhibit A (June-July-August).
            To pass the test, claimants must demonstrate proof of a decline of 10% or more
            in the share of total revenue generated by customers in Zones A-C over the
            same period of three consecutive months from May-December 2010 as selected
            by the claimant for the Modified V-Test or Down Only Tests compared to the
            same three consecutive months in 2009.

            Example 1:
            Customer Residence            June-August '09                 June-August '10

            Zone D                            $80,000                           $66,000
            Zones A-C                         $20,000                           $14,000
            Total                           $100,000                            $80,000
            % Zones A-C                         20%                              17.5%
                                     Claimant passes Customer Mix Test: Claimant has a 12.5
                                     percent decline in share of total revenue from customers in
                                     Zones A-C [12.5%= .125 = (20-17.5)/20]



            Example 2:
            Customer Residence            June-August '09                 June-August '10

            Zone D                            $50,000                        $40,000
            Zones A-C                         $50,000                        $40,000
            Total                            $100,000                        $80,000
            % Zones A-C                         50%                            50%
                                     Claimant fails Customer Mix Test: No change in share of
                                     total revenue from customers in Zones A-C. [0% = 0 = (50-
                                     50)/50]

            Example 3:
            Customer Residence            June-August '09                 June-August '10

            Zone D                             $50,000                         $48,000
            Zones A-C                          $50,000                         $40,000
            Total                             $100,000                         $88,000
            % Zones A-C                           50%                           45.5%
                                     Claimant fails Customer Mix Test: Claimant has a 9%
                                     decline in share of total revenue from customers in Zones A-
                                     C [9% = .09 = (50-45.5)/50]




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                                          Addendum To
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                    Compensation Framework for Business Economic Loss Claims

       The term “Benchmark Period” is defined at pp. 1-2 in the Compensation Framework for
Business Economic Loss Claims (Ex. 4C). That definition provides:

               The Benchmark Period is the pre-DWH Spill time period which claimant
               chooses as the baseline for measuring its historical financial
               performance. The claimant can select among the following Benchmark
               Periods: 2009; the average of 2008-2009; or the average of 2007-2009,
               provided that the range of years selected by the claimant will be utilized
               for all Benchmark Period purposes.

Footnote 2 of the Causation Requirements For Business Economic Loss Claims (Ex. 4B) specifically
incorporates that definition of Benchmark Period by reference.

        Accordingly, once the claimant selects the Benchmark Period year(s) (2009, the average of 2008-
2009, or the average of 2007-2009), the same Benchmark Period year(s) are used “for all Benchmark
Period purposes” -- specifically, the same Benchmark Period year(s) are used for purposes of
determining both causation and compensation.

       In contrast, a claimant is not required to use the same months in the Benchmark Period for
purposes of establishing causation pursuant to Ex. 4B and determining compensation pursuant to Ex. 4C.

        For example, when evaluating whether a claimant can satisfy causation using the “V Test,” the
claimant may select any consecutive 3-month period between May and December 2010 for comparison
to a comparable period in the Benchmark Period (i.e., 2009, the average of 2008-2009, or the average of
2007-2009). After establishing causation, however, the claimant may select a different 3 or more
consecutive months between May and December 2010 in determining compensation in accordance with
the Compensation Framework for Business Economic Loss Claims, so long as the claimant uses the
same Benchmark Period years as the basis for comparison. Thus, if the claimant selected for causation
the three months of May - July in the Benchmark Period years of the average of 2008-2009, the claimant
can select for compensation different months -- e.g., August - October -- but must use the same average
of 2008-2009 Benchmark Period. The same Benchmark Period year(s) thus must be used both for
causation (Ex. 4B) and compensation (Ex. 4C).

       The additional examples on the next page illustrate these rules:




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Scenario 1:

   1) Claimant selected the months of May-July 2010 for the purpose of determining causation, and
      the claimant, using these months, meets the causation test for the Benchmark period years of
      2009, 2008-2009 and 2007-2009;
   2) In determining Compensation, Claimant would be allowed to select the months of August
      through November 2010 as compared to the months of August through November in either
      2009, 2008-2009 or 2007-2009 as the Benchmark years – whichever provides the highest
      compensation.

Scenario 2:

       1) Claimant selected the months of October – December 2010 for the purpose of determining
          causation and the claimant, using these months, meets the causation test for the
          Benchmark period years of 2009, 2008-2009;
       2) In determining compensation, Claimant could select the months of May-September 2010 as
          compared to the months of May-September in either 2009 or 2008-2009 – whichever
          provides the highest compensation.

Scenario 3:

       1) Claimant selected the months of June – August 2010 for the purpose of determining
          causation and the claimant, using these months, meets the causation test for the
          Benchmark period year of 2009. In addition, Claimant selected the months of August –
          October 2010 for the purpose of determining causation, and the claimant, using these
          months, meets the causation test for the Benchmark period years of 2007-2009;
       2) In determining compensation, Claimant could select the months of May-December 2010 as
          compared to the months of May-December in either 2009 or 2007-2009 – whichever
          provides the highest compensation.




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                        Compensation Framework for Business Economic Loss Claims

 The compensation framework for business claimants compares the actual profit of a business during a
 defined post-spill period in 2010 to the profit that the claimant might have expected to earn in the
 comparable post-spill period of 2010.1 The calculation is divided into two steps:

         Step 1 – Compensates claimants for any reduction in profit between the 2010 Compensation
         Period selected by the claimant and the comparable months of the Benchmark Period. Step 1
         compensation reflects the reduction in Variable Profit (which reflects the claimant’s revenue
         less its variable costs) over this period.

         Step 2 – Compensates claimants for incremental profits or losses the claimant might have been
         expected to generate in the absence of the spill relative to sales from the Benchmark Period.
         This calculation reflects a Claimant-Specific Factor that captures growth or decline in the pre-
         spill months of 2010 compared to the comparable months of the Benchmark Period and a
         General Adjustment Factor.

 For purposes of the two step calculation, the parties have agreed to a defined list of fixed and variable
 expenses as reflected in Attachment A.

 In order to allocate payroll expenses (including Salaries and Wages, Employee Benefits, and, where
 applicable, 401K Payments, but excluding Owner/Officer Compensation) into fixed and variable
 components, a minimum level of fixed payroll costs will be measured based on the average of the two
 months between May 2010 and December 2010 in which the claimant had its lowest payroll costs.
 Certain exceptions are identified below for identifying months with the claimant’s lowest payroll costs.

 For claimants that include Cost of Goods Sold (COGS) in their financial statements, COGS will be treated
 as a variable expense after excluding, to the extent possible, the following cost items which may be
 embedded in COGS and are likely to be fixed in nature: Fixed COGS Payroll, Amortization, Depreciation,
 Insurance Expense, Interest Expense, and Contract Services.

 Based on these considerations, the resulting calculations are performed to determine compensation for
 claimants.

I.    Definitions

 For the purposes of this calculation, the following are defined terms:

 Compensation Period: The Compensation Period is selected by the Claimant to include three or more
 consecutive months between May and December 2010.

 Benchmark Period: The Benchmark Period is the pre-DWH Spill time period which claimant chooses as
 the baseline for measuring its historical financial performance. The claimant can select among the

 1
  This Compensation Framework for Business Claims does not apply to (i) start-up businesses and (ii) failed
 businesses. Compensation frameworks for these types of businesses will be presented separately.
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following Benchmark Periods: 2009; the average of 2008-2009; or the average of 2007-2009, provided
that the range of years selected by the claimant will be utilized for all Benchmark Period purposes.

Claimant-Specific Factor: In order to capture the impact of pre-DWH Spill trends in the claimant’s
revenue performance that might have been expected in the post-DWH Spill Benchmark Period, revenue
will be adjusted by a Claimant-Specific Factor. The following steps will be used to compute the
Claimant-Specific Factor:

            A. Calculate the difference between claimant’s total revenue for January through April
               2010 and total revenue in January through April of the corresponding claimant –
               selected Benchmark Period.

            B. Divide the revenue change calculated in Step A by total revenue in January through April
               of the Benchmark Period to derive the Claimant-Specific Factor. If the calculated
               Claimant-Specific Factor falls below -2% or exceeds +10%, then it will be set at -2% or
               +10%, respectively.

General Adjustment Factor: In addition to the Claimant-Specific factor, all Claimants shall be entitled to
a 2.0% General Adjustment Factor.

Variable Profit: This is calculated for both the Benchmark Period and the Compensation Period as
follows:

    1. Sum the monthly revenue over the period.
    2. Subtract the corresponding variable expenses from revenue over the same time period.
       Variable expenses include:
       a. Variable Costs as identified in Attachment A.
       b. Variable portion of salaries, calculated as described below in the definition of Fixed and
           Variable Payroll Expenses.
       c. Variable portion of COGS, calculated by excluding salary costs (which are discussed below in
           the definition of Fixed and Variable Payroll Expenses) and fixed expenses included within
           COGS, including Amortization, Depreciation, Insurance Expense, and Interest Expense and
           Contract Services.

Variable Margin: This is calculated only for the Benchmark Period and is calculated as follows:

        1. Sum Variable Profit from May through December of the years selected by the claimant to be
           used for the Benchmark Period.
        2. Sum total revenue from May through December of the years selected by the claimant to be
           used for the Benchmark Period.
        3. Calculate Variable Margin percent as Variable Profit calculated in (1) divided by total
           revenue calculated in (2).

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  Fixed and Variable Payroll Expenses: Fixed and Variable Payroll Expenses are calculated based on the
  understanding that every business must operate with a minimum core staff and are defined using
  monthly profit and loss statements and/or those documents listed in the Documentation Requirements
  for Business Claims, for May through December 2010. Fixed and Variable Payroll expenses are
  calculated as follows:

          1. Obtain monthly amounts for the following payroll expenses (excluding Owner/Officer
             Compensation): (a) Salaries & wages; (b) Payroll taxes (including FICA, workers compensation
             insurance, unemployment tax); (c) Employer costs for employee benefits. Calculations include
             components of salaries and related expenses included in both Selling, General & Administrative
             Expenses (“SG&A”) and COGS.
          2. Sum these payroll expenses on a monthly basis to determine the Total Payroll Expense for each
             month.
          3. Identify the two months between May and December 2010 with the lowest Total Payroll
             Expense.
                 • Months in which the claimant has zero revenue, zero non-officer payroll expenses, or
                      the business is closed, will be excluded from this calculation.
          4. Define “Fixed Payroll Expenses” as the average payroll expense over the two months with the
             lowest Total Payroll Expense.
          5. For any month with Total Payroll Expenses less than Fixed Payroll Expenses, all payroll costs will
             be considered fixed expenses.
          6. For any month with Total Payroll Expenses greater than Fixed Payroll Expenses, the excess
             amount of Total Payroll Expenses will be considered variable expenses.

  Incremental Revenue: Incremental revenue shall be calculated as (i) the claimant’s revenue in a
  claimant-selected period of six, seven or eight consecutive months (as set forth in Step 2 below)
  between May and December of the years selected by the claimant to be included in the Benchmark
  Period, multiplied by (ii) the Claimant-Specific Factor and the General Adjustment Factor.


II.       Description of Compensation Calculation

  Step 1 Compensation

      Step 1 of the compensation calculation is determined as the difference in Variable Profit between the
      2010 Compensation Period selected by the claimant and the Variable Profit over the comparable
      months of the Benchmark Period.

      As noted above, the Compensation Period is selected by the Claimant to include three or more
      consecutive months between May and December 2010.




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For claimants that participated in the VoO program, Variable Profit in the Compensation Period will
exclude revenue generated by or costs incurred in connection with VoO.2

Step 2 Compensation

Step 2 of the Compensation Calculation for Business Economic Loss Claims is intended to compensate
claimants for incremental profits the claimant might have been expected to generate in 2010 in the
absence of the spill, based on the claimant’s growth in revenue in January-April of 2010 relative to the
claimant-selected Benchmark Period (2009 or (average of 2008 and 2009) or (average of 2007, 2008 and
2009)).

Calculation:

Using monthly profit and loss statements and/or those documents listed in the Documentation
Requirements for Business Claims:

     1. Claimant may select from the following six-consecutive month periods for calculating
        Step 2 Compensation:
            a. May-October
            b. June-November
            c. July-December
        Unless claimant chose a seven-consecutive-month or eight-consecutive-month period in
        Step 1, in which case that same period of identical consecutive months in 2010 shall be
        used for Step 2.
     2. Calculate the Claimant-Specific Factor:
            a. Calculate the difference between claimant’s total revenue for January through April
                 2010 and total revenue in January through April of the Benchmark Period.
            b. Divide the revenue change calculated in [2.a] by total revenue in January through April
                 of the Benchmark Period to derive the Claimant-Specific Factor. If the calculated
                 Claimant-Specific Factor falls below -2% or exceeds +10%, then it will be set at -2% or
                 +10%, respectively.
     3. Calculate Incremental Revenue:
            a. Calculate total revenue in the consecutive months of the Benchmark Period selected in
                 [1] above.
            b. Multiply total revenue by the sum of the Claimant-Specific Factor and the General
                 Adjustment Factor of 2% to calculate Incremental Revenue.
     4. Multiply Incremental Revenue by the Variable Margin in the Benchmark Period to calculate Step
        2 Compensation.



2
 Claimants are required to report payments received under the VoO program. If claimants that received VoO
payments fail separately to report costs incurred in VoO and non-VoO activities, then Step 1 Compensation for
non-VoO activity alone can be determined through a pro-rata revenue based allocation of variable costs between
VoO and non-VoO related activities.
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Example 1:
In this example, the claimant selects June-November as the six-consecutive month period in the
Benchmark Period to calculate Step 2 Compensation:

          June-November Revenue in the Benchmark Period        [a]                   $200,000
          Claimant-Specific Factor                             [b]                         8%
          General Adjustment Factor                            [c]                         2%
          Incremental Revenue                                  [d] = [a]*([b]+[c])    $20,000
          Variable Margin Percentage                           [e]                       50%
          Step 2 Compensation                                  [f] = [d]*[e]          $10,000


Example 2:
In this example, the claimant selected June-December as the seven-consecutive month Compensation
Period in Step 1 and therefore must use the same period of identical consecutive months in the
Benchmark Period to calculate Step 2 Compensation:

          June-December Revenue in the Benchmark Period        [a]                   $220,000
          Claimant-Specific Factor                             [b]                         8%
          General Adjustment Factor                            [c]                         2%
          Incremental Revenue                                  [d] = [a]*([b]+[c])    $22,000
          Variable Margin Percentage                           [e]                       50%
          Step 2 Compensation                                  [f] = [d]*[e]          $11,000


Total Compensation

Total Compensation is calculated as follows:

(1)     Add Step 1 Compensation to Step 2 Compensation.

(2)     Apply the agreed-upon Risk Transfer Premium (RTP).

(3)     Where applicable, subtract from the sum of Step 1 Compensation and Step 2 Compensation any
        payments received by the claimant from BP or the GCCF pursuant to BP’s OPA claims process, as
        well as any VoO Settlement Payment Offset and VoO Earned Income Offset.




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                    Compensation Framework for Business Economic Loss Claims

       The term “Benchmark Period” is defined at pp. 1-2 in the Compensation Framework for
Business Economic Loss Claims (Ex. 4C). That definition provides:

               The Benchmark Period is the pre-DWH Spill time period which claimant
               chooses as the baseline for measuring its historical financial
               performance. The claimant can select among the following Benchmark
               Periods: 2009; the average of 2008-2009; or the average of 2007-2009,
               provided that the range of years selected by the claimant will be utilized
               for all Benchmark Period purposes.

Footnote 2 of the Causation Requirements For Business Economic Loss Claims (Ex. 4B) specifically
incorporates that definition of Benchmark Period by reference.

        Accordingly, once the claimant selects the Benchmark Period year(s) (2009, the average of 2008-
2009, or the average of 2007-2009), the same Benchmark Period year(s) are used “for all Benchmark
Period purposes” -- specifically, the same Benchmark Period year(s) are used for purposes of
determining both causation and compensation.

       In contrast, a claimant is not required to use the same months in the Benchmark Period for
purposes of establishing causation pursuant to Ex. 4B and determining compensation pursuant to Ex. 4C.

        For example, when evaluating whether a claimant can satisfy causation using the “V Test,” the
claimant may select any consecutive 3-month period between May and December 2010 for comparison
to a comparable period in the Benchmark Period (i.e., 2009, the average of 2008-2009, or the average of
2007-2009). After establishing causation, however, the claimant may select a different 3 or more
consecutive months between May and December 2010 in determining compensation in accordance with
the Compensation Framework for Business Economic Loss Claims, so long as the claimant uses the
same Benchmark Period years as the basis for comparison. Thus, if the claimant selected for causation
the three months of May - July in the Benchmark Period years of the average of 2008-2009, the claimant
can select for compensation different months -- e.g., August - October -- but must use the same average
of 2008-2009 Benchmark Period. The same Benchmark Period year(s) thus must be used both for
causation (Ex. 4B) and compensation (Ex. 4C).

       The additional examples on the next page illustrate these rules:




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Scenario 1:

   1) Claimant selected the months of May-July 2010 for the purpose of determining causation, and
      the claimant, using these months, meets the causation test for the Benchmark period years of
      2009, 2008-2009 and 2007-2009;
   2) In determining Compensation, Claimant would be allowed to select the months of August
      through November 2010 as compared to the months of August through November in either
      2009, 2008-2009 or 2007-2009 as the Benchmark years – whichever provides the highest
      compensation.

Scenario 2:

       1) Claimant selected the months of October – December 2010 for the purpose of determining
          causation and the claimant, using these months, meets the causation test for the
          Benchmark period years of 2009, 2008-2009;
       2) In determining compensation, Claimant could select the months of May-September 2010 as
          compared to the months of May-September in either 2009 or 2008-2009 – whichever
          provides the highest compensation.

Scenario 3:

       1) Claimant selected the months of June – August 2010 for the purpose of determining
          causation and the claimant, using these months, meets the causation test for the
          Benchmark period year of 2009. In addition, Claimant selected the months of August –
          October 2010 for the purpose of determining causation, and the claimant, using these
          months, meets the causation test for the Benchmark period years of 2007-2009;
       2) In determining compensation, Claimant could select the months of May-December 2010 as
          compared to the months of May-December in either 2009 or 2007-2009 – whichever
          provides the highest compensation.




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                                               Attachment A

Fixed Costs

Advertising Expense             Fixed
Auto Expense                    Fixed
Bank Charges                    Fixed
Cleaning and Housekeeping Costs Fixed
COGS - Fixed                    Fixed
Computer and Internet Expenses Fixed
Contract Services               Fixed
Dues and Subscriptions          Fixed
Fees                            Fixed
Franchise Fees - Fixed          Fixed
Insurance                       Fixed
Interest Expense                Fixed
Lease Expense                   Fixed
Licenses And Taxes              Fixed
*Maintenance                    Fixed
Misc Expense                    Fixed
Overhead                        Fixed
Postage                         Fixed
Professional Services           Fixed
Property Taxes                  Fixed
Renovation Expense              Fixed
Rental Expense                  Fixed
Retirement Expense              Fixed
Security Services               Fixed
Storage Expense                 Fixed
Supplies                        Fixed
Unemployment Tax                Fixed
Uniforms                        Fixed
Utilities                       Fixed


Variable Costs
Bad Debt Expense                       Variable
COGS - Variable                        Variable
Commissions                            Variable
Consumable Goods                       Variable
Contract Labor                         Variable
Credit Card Fees                       Variable
Discounts & Rebates                    Variable
Donations / Contributions              Variable
Drug Testing                           Variable
Franchise Fees - Variable              Variable
Freight                                Variable
Fuel Expense                           Variable
Inventory Adjustment                   Variable
*Repairs (excluding Maintenance)       Variable
Sales/Lodging Tax                      Variable
Training & Education                   Variable
Travel & Entertainment                 Variable


Note: Payroll expenses (including Salaries and Wages, Employee Benefits, Overtime Wages, and, where applicable,
401K Payments, but excluding Owner/Officer Compensation) will be allocated between fixed and variable
components based on the agreed-upon payroll methodology.

*If claimant’s financial statements, books and/or records do not separately identify Maintenance costs and Repair
costs, claimant shall allocate costs associated with Repairs and Maintenance 50% to Fixed Costs and 50% to
Variable Costs.
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                           Addendum to Compensation for Business Economic Loss Claims:
                                  Compensation for Spill-Related Cancellations

A. Eligibility
   This addendum sets forth the exclusive compensation methodology for business claimants that
   provide appropriate documentation and which establish causation by demonstrating (a) a Spill-
   Related Cancellation pursuant to Causation for Business Economic Loss Claims Section II.D or Section
   III.D, or (b) the Modified V-Shaped Revenue Pattern and a contract cancellation pursuant to
   Causation for Business Economic Loss Claims Section II.B or Section III.B.

B. Definitions

      1. A “Canceled Contract” shall be a contract (i) which was in place as of April 20, 2010, (ii) to be
         performed between April 21, 2010 and December 31, 2010, (iii) which was canceled between
         April 21, 2010 and December 31, 2010, (iv) which the claimant was unable to replace on the
         same or similar terms between April 21, 2010 and the date the claimant’s claim is filed, and
         (v) for which causation was established pursuant to the provisions of Causation for Business
         Economic Loss Claims specified in Addendum Section A above.1

      2. A “Canceled Reservation” shall be a reservation (i) which was in place as of April 20, 2010,
         (ii) which was to occur between April 21, 2010 and December 31, 2010, (iii) which was canceled
         between April 21, 2010 and December 31, 2010, (iv) which the claimant was unable to rebook
         on the same or similar terms, and (v) for which causation was established pursuant to the
         provisions of Causation for Business Economic Loss Claims specified in Addendum Section A
         above.

      3. A “Replacement Contract” shall be a contract (i) which the claimant entered after April 21, 2010
         and after the Canceled Contract was canceled, but before December 31, 2010, (ii) which
         provided complete or partial replacement of profit expected from the Canceled Contract, and
         (iii) for which services were performed between April 21, 2010 and December 31, 2010.

      4. A “Replacement Reservation” shall be a reservation (i) which the claimant booked between April
         21, 2010 and December 31, 2010, and after the Canceled Reservation was canceled, (ii) which
         provided partial replacement of profit expected from the Canceled Reservation, and (iii) which
         was completed between April 21, 2010 and December 31, 2010.

C. Compensation:

      Compensation for the claimants listed in Addendum Section A above shall be calculated as follows:




1
 As used in this Addendum, “contracts” shall refer to agreements entered in the normal course of business and
shall specifically exclude contracts for the sale of real property, fixed assets, non-operating assets, or for all or a
portion of the business itself.




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  1. Determine lost revenue from the Canceled Contract or Canceled Reservation

     a. “Lost Contract Revenue” shall be the amount that a claimant would have been paid by a
        customer between April 21, 2010 and December 31, 2010 in connection with a Canceled
        Contract, had that contract not been canceled as a result of the DWH Spill.

         Lost Contract Revenue shall be determined based on information set forth in the Canceled
         Contract, and, if necessary, other contemporaneous documentation provided by the
         claimant, such as purchase orders or shipping schedules. Lost Contract Revenue may
         include any food, beverage, or other ancillary revenue that the claimant can demonstrate
         would have been expected in connection with the Canceled Contract.

     b. “Lost Reservation Revenue” shall be the amount that a claimant would have been paid by a
        customer (or customers) between April 21, 2010 and December 31, 2010 in connection with
        a Canceled Reservation, had that reservation not been canceled as a result of the DWH Spill.

         Lost Reservation Revenue shall be determined based on information set forth in the
         documentation reflecting the terms of the Canceled Reservation, and/or other
         contemporaneous documentation provided by the claimant. Lost Reservation Revenue may
         include food and beverage sales that the claimant can demonstrate would have been
         expected in connection with the Canceled Reservation.

  2. Determine lost profit associated with the Canceled Contract or Canceled Reservation

     “Lost Contract Profit” shall be the amount of variable profit that a claimant would have earned
     between April 21, 2010 and December 31, 2010 in connection with a Canceled Contract, had
     that contract not been canceled as a result of the DWH Spill.

     “Lost Reservation Profit” shall be the amount of variable profit that a claimant would have
     earned between April 21, 2010 and December 31, 2010 in connection with a Canceled
     Reservation, had that reservation not been canceled as a result of the DWH Spill.

     If (i) the Canceled Contract or Canceled Reservation documentation either specifies costs to be
     incurred by the claimant, or specifies a profit margin in connection with the Canceled Contract
     or Canceled Reservation, or (ii) the claimant is otherwise able to provide a specific estimate of
     the profit expected from the Canceled Contract or Canceled Reservation based on specific
     accounting for prior events that took place after January 1, 2007 and were comparable in terms
     of type, size and revenue, the claimant’s lost profits associated with the Canceled Contract or
     Canceled Reservation shall be determined according to (a) below. Otherwise the claimant’s lost
     profits associated with the Canceled Contract or Canceled Reservation shall be determined
     according to (b) below.

     a. Canceled Contracts or Canceled Reservations with Explicit Cost Information

         For Canceled Contracts and/or Canceled Reservations with explicit cost information, Lost
         Contract Profit and Lost Reservation Profit shall be determined as follows:


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           i.    Identify the variable expenses that would have been incurred (but were not actually
                 incurred) by the claimant in carrying out the Canceled Contract or Canceled
                 Reservation according to either (i) the information set forth in the Canceled
                 Contract or Canceled Reservation documentation, or (ii) documentation provided by
                 the claimant regarding variable expenses incurred in connection with prior events
                 which were comparable in terms of type, size and revenue and took place after
                 January 1, 2007. The total variable expenses shall also include any commissions or
                 bonuses that would have been paid to sales or other staff had the Canceled
                 Contract or Canceled Reservation not been canceled.

           ii.   Sum (a) total variable expenses associated with the Canceled Contract or Canceled
                 Reservation and (b) any cancellation fees, non-refundable deposits or other
                 amounts received by the claimant in connection with the Canceled Contract or
                 Canceled Reservation and (c) the liquidation or salvage value of any product which
                 remains unsold as of the claim filing date.

          iii.   Subtract the sum of (ii) from the Lost Contract Revenue or Lost Reservation Revenue
                 as applicable.

     b. Canceled Contracts or Canceled Reservations without Explicit Cost Information

         For Canceled Contracts and/or Canceled Reservations without explicit cost information, Lost
         Contract Profit and Lost Reservation Profit shall be determined as follows:

           i.    Determine the variable margin for the claimant’s business for the period May
                 through December 2009 by dividing:

                     1. The claimant’s total variable expenses from May through December 2009
                        (where variable expenses include those identified in Attachment A to the
                        Compensation Framework for Business Economic Loss Claims) by

                     2. The claimant’s total revenues from May through December 2009.

           ii.   Multiply the claimant’s variable margin calculated in A.2.b.i by the claimant’s Lost
                 Contract Revenue or Lost Reservation Revenue, as appropriate.

          iii.   From the result of (ii), subtract any non-refundable deposits or other amounts
                 received by the claimant in connection with the Canceled Contract or Canceled
                 Reservation and the liquidation or salvage value of any product which remains
                 unsold as of the claim filing date.

  3. Determine revenue from the Replacement Contract or Replacement Reservation

     a. “Replacement Contract Revenue” shall be the amount that a claimant was paid by a
        customer between April 21, 2010 and December 31, 2010 in connection with a Replacement
        Contract.

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         Replacement Contract Revenue shall be determined based on documentation establishing
         actual revenue received (such as, for example, purchase orders and/or shipping schedules)
         including, if relevant, information set forth in the Replacement Contract, provided that
         actual cash receipts or other activity shall be used if conflicting information is provided.
         Replacement Contract Revenue must include any food, beverage, or other ancillary revenue
         that the claimant earned in connection with the Replacement Contract, if relevant.

     b. “Replacement Reservation Revenue” shall be the amount that a claimant was paid by a
        customer (or customers) between April 21, 2010 and December 31, 2010 in connection with
        a Replacement Reservation.

         Replacement Reservation Revenue shall be determined based on documentation
         establishing actual revenue received, including, if relevant, information set forth in the
         documentation reflecting the terms of the Replacement Reservation, provided that actual
         cash receipts or other activity shall be used if conflicting information is provided.
         Replacement Reservation Revenue must include food and beverage sales that the claimant
         made in connection with the Replacement Reservation, if relevant.

  4. Determine profit associated with the Replacement Contract or Replacement Reservation

     “Replacement Contract Profit” shall be the amount of variable profit that a claimant earned
     between April 21, 2010 and December 31, 2010 in connection with a Replacement Contract.

     “Replacement Reservation Profit” shall be the amount of profit that a claimant earned between
     April 21, 2010 and December 31, 2010 in connection with a Replacement Reservation.

     If contemporaneous documentation regarding the Replacement Contract or Replacement
     Reservation establishes the actual costs incurred by the claimant in carrying out the
     Replacement Contract or Replacement Reservation, the claimant’s variable profits associated
     with the Replacement Contract or Replacement Reservation shall be determined according to
     (a) below. Otherwise the claimant’s variable profit associated with the Replacement Contract or
     Replacement Reservation shall be determined according to (b) below.

     a. Replacement Contracts or Replacement Reservations with Actual Cost Information

            i.   Identify the variable expenses that were actually incurred by the claimant in
                 carrying out the Replacement Contract or Replacement Reservation according to
                 documentation provided by the claimant and/or information set forth in the
                 Replacement Contract or Replacement Reservation documentation, provided that
                 information regarding actual costs shall be used where conflicting sources of cost
                 information exist. The total variable expenses shall also include any commissions or
                 bonuses that were paid to sales or other staff had the Replacement Contract or
                 Replacement Reservation not been canceled.

           ii.   Subtract the total variable expenses associated with the Replacement Contract or
                 Replacement Reservation from the Replacement Contract Revenue or Replacement
                 Reservation Revenue, respectively.
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      b. Replacement Contracts or Replacement Reservations without Actual Cost Information

             i.    Determine the variable margin for the claimant’s business for the period May
                   through December 2009 by dividing:

                       1. The claimant’s total variable expenses from May through December 2009
                          (where variable expenses include those identified in Attachment A to the
                          Compensation Framework for Business Economic Loss Claims) by

                       2. The claimant’s total revenues from May through December 2009.

            ii.    Multiply the claimant’s variable margin calculated in A.2.b.i by the claimant’s Lost
                   Contract Revenue or Lost Reservation Revenue, as appropriate.

   5. Calculate Total Compensation Related to the Canceled Contract or Canceled Reservation

      “Spill-Related Cancellation Compensation” shall be compensation for the Canceled Contract or
      Canceled Reservation, net of amounts received in connection with any Replacement Contract(s)
      or Replacement Reservation(s), as applicable, and shall be calculated as follows:

          a. The claimant’s Lost Contract Profit/Lost Reservation Profit (calculated in Step 2), less
          b. Any Replacement Contract Profit or Replacement Reservation Profit (calculated in Step
             4), less
          c. Any payments received by the claimant from BP or the GCCF pursuant to BP’s OPA
             claims process compensating for the loss, as well as VoO Settlement Payment Offset and
             VoO Earned Income Offset related to the Canceled Contract or Canceled Reservation.

       An RTP shall apply to claimant’s Spill-Related Cancellation Compensation consistent with the
      claimants industry and/or zone.

D. Documentation

   A claimant shall also provide documentation establishing any Replacement Contract or Replacement
   Reservation, including the following:

   1. Documentation regarding any Canceled Contract(s) or Canceled Reservation(s), including the
      following:

          a. A copy of each Canceled Contract and documentation establishing the terms of each
             Canceled Reservation.

          b. Documentation providing contemporaneous written evidence that each Canceled
             Contract and each Canceled Reservation was canceled as the direct result of the DWH
             Spill, and/or a Sworn Written Statement from an individual third party affirming that
             each cancellation was due to or resulting from the DWH Spill.

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         c. Documentation providing contemporaneous written evidence that the claimant was not
            able to replace each Canceled Contract or Canceled Reservation on the same or similar
            terms, provided, that if no such documentation exists, the claimant may provide a
            Sworn Written Statement (1) stating that no such contemporaneous written evidence
            exists, (2) describing the claimant’s efforts to replace the Canceled Contract or Canceled
            Reservation, and (3) describing the extent to which the claimant was not able to replace
            the Canceled Contract or Canceled Reservation.

         d. If not provided in a Canceled Contract or the Canceled Reservation documentation, the
            claimant shall provide documentation establishing revenue (including any food,
            beverage or other ancillary revenue) expected in connection with that Canceled
            Contract and/or Canceled Reservation and one of the following:

              i. Documentation establishing variable expenses (including any variable expenses
                 related to any food, beverage or other ancillary revenues) incurred in connection
                 with prior events which were comparable in terms of type, size and revenue and
                 took place after January 1, 2007

                 OR

              ii. Documentation establishing the total revenue and total variable expenses for the
                  claimant’s business for the period May 1 through December 31, 2009.

              Variable expenses include those identified in Attachment A to the Compensation
              Framework for Business Economic Loss Claims.

         e. Documentation establishing any cancellation fees, non-refundable deposits or other
            amounts received by the claimant in connection with the Canceled Contract or Canceled
            Reservation.

         f.   Documentation reflecting the liquidation or salvage value of any product which remains
              unsold as of the claim filing date.

  2. Documentation regarding any Replacement Contract(s) or Replacement Reservation(s), if
     relevant, including the following:

         a. A copy of each Replacement Contract and documentation establishing the terms of each
            Replacement Reservation.

         b. Documentation establishing projected and actual revenues and variable expenses
            related to each Replacement Contract and each Replacement Reservation, including any
            food, beverage or other ancillary revenue and/or expenses recognized in connection
            with each Replacement Contract and each Replacement Reservation. The claimant
            must also provide the basis for such amounts and any corresponding supporting
            documentation. Variable expenses include those identified in Attachment A to the
            Compensation Framework for Business Economic Loss Claims.


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                               Compensation for Multi-Facility Businesses


This document is intended to provide options, or other guidance, to a Multi-Facility Business making a
Business Economic Loss Claim. Each Multi-Facility Business must satisfy all documentation
requirements set forth in Documentation Requirements for Business Economic Loss Claims and in II
below.

The choices available to Multi-Facility Businesses are dictated by: (i) where the business’ Headquarters
are located; (ii) whether the business maintained separate contemporaneous profit and loss statements
for each Facility; and (iii) whether all of the business’ Facilities are located within the Gulf Coast Areas.

A Multi-Facility Business with its Headquarters and all Facilities located within the Gulf Coast Areas that
maintained separate contemporaneous profit and loss statements for each Facility during the
Benchmark Period and 2010, may, at its option, elect to file claims in one of two ways: 1) A claim for
each individual Facility that the Multi-Facility Business chooses to include in the claim, or 2) a
consolidated claim. If the Multi-Facility Business chooses to file separate claims for one, some, or all of
its Facilities, the applicable Causation standard and RTP shall be applied separately to each claiming
Facility based on its location and industry. If the Multi-Facility Business chooses to file a consolidated
facility claim, the Causation standard and RTP applicable to the Headquarters shall be applied to the
entire consolidated claim.

A Multi-Facility Business with its Headquarters and all Facilities located within the Gulf Coast Areas that
did not maintain separate contemporaneous profit and loss statements for each Facility during the
Benchmark Period and 2010, may, at its option, elect to file claims in one of two ways: 1) A claim for
each individual Facility that the Multi-Facility Business chooses to include in the claim, or 2) a
consolidated claim. If the Multi-Facility Business chooses to file separate claims for one, some, or all of
its Facilities, the Additional Multi-Facility Business Documentation must be provided, and the Settlement
Program shall apply the relevant Causation standard and RTP separately to each claiming Facility based
on its location and industry. If the Multi-Facility Business chooses to file a consolidated claim, the
Causation standard and RTP applicable to the Headquarters shall be applied to the entire consolidated
claim.

A Multi-Facility Business with its Headquarters located within the Gulf Coast Areas that has one or more
Facilities located outside of the Gulf Coast Areas and maintained separate contemporaneous profit and
loss statements for each Facility during the Benchmark Period and 2010, may, at its option, elect to file
claims in one of two ways: 1) A claim for each individual Facility located in the Gulf Coast Areas that the
Multi-Facility Business chooses to include in the claim, or 2) a consolidated claim on behalf of all
Facilities located in the Gulf Coast Areas. If the Multi-Facility Business chooses to file separate claims for
one, some, or all of its Facilities located in the Gulf Coast Areas, the relevant Causation standard and RTP
for each claiming Facility based on its location and industry shall apply. If the Multi-Facility Business
chooses to file a consolidated claim, the Additional Multi-Facility Business Documentation must be



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provided, and the Settlement Program shall utilize the Causation standard and RTP applicable to the
Headquarters to determine the Settlement Payment that is owed with respect to the losses suffered by
all Facilities located within the Gulf Coast Areas.

A Multi-Facility Business with its Headquarters located within the Gulf Coast Areas that has one or more
Facilities located outside of the Gulf Coast Areas and did not maintain separate contemporaneous profit
and loss statements for each Facility during the Benchmark Period and 2010, may, at its option, elect to
file claims in one of two ways: 1) A claim for each individual Facility located in the Gulf Coast Areas that
the Multi-Facility Business chooses to include in the claim, or 2) a consolidated claim on behalf of all
Facilities located in the Gulf Coast Areas. If the Multi-Facility Business chooses to file separate claims for
one, some, or all of its Facilities located in the Gulf Coast Areas, the Additional Multi-Facility Business
Documentation must be provided and the relevant Causation standard and RTP for each claiming Facility
based on its location and industry shall apply. If the Multi-Facility Business chooses to file a
consolidated claim, the Additional Multi-Facility Business Documentation must be provided, and the
Settlement Program shall utilize the Causation standard and RTP applicable to the Headquarters to
determine the Settlement Payment that is owed with respect to the losses suffered by all Facilities
located within the Gulf Coast Areas.

A Multi-Facility Business with its Headquarters located outside of the Gulf Coast Areas that maintained
separate contemporaneous profit and loss statements for each Facility in the Gulf Coast Areas during
the Benchmark Period and 2010, may submit separate claims for one, some or all Facilities located
within the Gulf Coast Areas. The applicable Causation standard and RTP shall be applied separately to
each claiming Facility based on its location and industry.

A Multi-Facility Business with its Headquarters located outside of the Gulf Coast Areas that did not
maintain separate contemporaneous profit and loss statements for each Facility in the Gulf Coast Areas
during the Benchmark Period and 2010, may submit a consolidated claim for all Facilities located within
the Gulf Coast Areas. The Additional Multi-Facility Business Documentation must be provided, and the
Settlement Program shall apply the relevant Causation standard and RTP separately to each Facility
located within the Gulf Coast Areas.



I.      Definitions

Multi-Facility Business: A business entity that, during the period April 1, 2010 through December 31,
2010, maintained Facilities in more than one location and had at least one Facility within the Gulf Coast
Areas.

Facility: A separate and distinct physical location of a Multi-Facility Business at which it performs or
manages its operations.




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II.        Multi-Facility Business Documentation

       1. Separate profit and loss (P&L) statements for each individual Facility that were prepared and
          maintained in the normal course of business must be provided.

       2. Organizational Description: A chart or description detailing all Facilities included in the Multi-
          Facility Business.
III.       Additional Multi-Facility Business Documentation

       1. Consolidating Financial Statements: Consolidating financial statements are required for the
          Multi-Facility Business specifying profit and loss for all Facilities and detailing eliminating
          entries required. In addition, the Multi-Facility Business will complete a Sworn Written
          Statement that separate profit and loss statements for each of the claiming Facilities do not
          exist, and individual Facility P&L statements prepared for the purpose of filing a claim are based
          on the business’s books and records.
       2. Intercompany Transaction Reports: Listing of all intercompany transactions between Facilities
          included in the Multi-Facility Business.
       3. Allocated Cost Schedule: Listing of all shared costs between Facilities of the Multi-Facility
          Business and the calculations used to allocate those expenses between Facilities. Where a
          Multi-Facility Business prepares individual Facility P&L statements based on its books and
          records to support a claim, all shared costs shall be allocated among all Facilities based on their
          share of the total revenue of the Multi-Facility Business.
IV. Cost Allocation
       1. Where a Multi-Facility business maintained separate contemporaneous profit and loss
          statements for each Facility during the Benchmark Period and 2010, and files a claim for one,
          some, or all facilities within the Gulf Coast Areas, all direct expenses associated with each
          claiming Facility in the Facility’s contemporaneously-prepared P&L statements, and only such
          expenses, will be included in the calculation.
       2. Where a Multi-Facility Business prepares individual Facility P&L statements based on its books
          and records to support a claim, all shared costs shall be allocated among all Facilities based on
          their share of the total revenue of the Multi-Facility Business.
V.         Compensation
       1. For a Multi-Facility Business which has all Facilities (including Headquarters) in the Gulf Coast
          Areas and files a consolidated claim on behalf of the entire business, compensation shall be
          determined as set forth in the Business Compensation Framework.
       2. For any other Multi-Facility Business, compensation shall be calculated using the Business
          Compensation Framework modified as follows:
           a. Sum lost profits and RTP(s) for all Facilities in claim.


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     b. Subtract any spill-related Payments from the initial BP claims process and/or the GCCF to
        the Multi-Facility Business claimant.
     c. Subtract any applicable VoO Settlement Payment Offset and/or any applicable VoO Earned
        Income Offset.




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                                 Failed Business Compensation Framework1

I.        Definitions

A “Failed Business” shall be an entity that commenced operations prior to November 1, 2008,
and that, subsequent to May 1, 2010 but prior to December 31, 2011, either (i) ceased
operations and wound down, or (ii) entered bankruptcy (through the filing of a petition for
bankruptcy protection in a court of competent jurisdiction), or (iii) otherwise initiated or
completed a liquidation of substantially all of its assets.

A “Failed Start-Up Business” shall be an entity that commenced operations on or after
November 1, 2008, and, subsequent to May 1, 2010 but prior to December 31, 2011, either (i)
ceased operations and wound down, or (ii) entered bankruptcy (through the filing of a petition
for bankruptcy protection in a court of competent jurisdiction), or (iii) otherwise initiated or
completed a liquidation of substantially all of its assets.

II.       Causation Requirements

If the claim is not excluded by the application of III below, a claimant may establish causation as
follows:

          1.       If the claimant is a Failed Business or a Failed Start-Up Business in Zone A, the
                   claimant is not required to provide any evidence of causation unless you fall into
                   the exception agreed to by the parties, and listed in footnote (1).

          2.       If the claimant is a Failed Business or a Failed Start-Up Business meeting the
                   definition of a “Commercial Fisherman,” or “Landing Site,” or “Commercial
                   Wholesale or Retail Dealer A,” or “Primary Seafood Processor,” as set forth in
                   “Seafood Distribution Chain Definitions,” the claimant is not required to provide
                   any evidence of causation.

          3.       If the claimant is a Failed Business or a Failed Start-Up Business in Zone A, B or C
                   and the claimant is also a “Commercial or Wholesale or Retail Dealer B,” or a
                   “Secondary Seafood Processor,” or a “Seafood Wholesaler or Distributor,” or a
                   “Seafood Retailer,” as set forth in “Seafood Distribution Chain Definition,” the
                   claimant is not required to provide any evidence of causation.

          4.       If the claimant is a Failed Business or a Failed Start-Up Business in Zone A or Zone
                   B, and the claimant also meets the “Tourism Definition,” the claimant is not
                   required to provide any evidence of causation.


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      This Failed Business Compensation Framework does not apply to (i) Start-Up businesses (except Failed Start-
      Ups), (ii) Entities, Individuals or Claims not included within the Economic Class definition; or (iii) Claims
      covered under the Seafood Program.


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           5.       If you are in Zone A, B or C, and you meet the “Charter Fishing Definition” you
                    are not required to provide any evidence of causation.

           6.       If the claimant is a Failed Business in Zone B not receiving a presumption,
                    causation may be established by demonstrating the following:

                    a.       A 8.5% decline in revenues during the months for which it operated
                             between May 2010 and its last full month of operations (not to extend
                             beyond April 2011) as compared to the comparable months during the
                             period of May 2009 through April 2010.

                    AND

                    b.       The Administrator is provided evidence through documentation and/or
                             affidavits that provide a reasonable basis to conclude that the DWH Spill
                             was a substantial cause of the revenue decline. For example, the
                             claimant provides evidence of customer cancellations or lost contracts
                             related to the DWH Spill.

           7.       If the claimant is a Failed Business that meets the definition of “Seafood
                    Retailer” operating outside of Zone A, B, or C, the claimant may alternatively
                    establish causation by showing that it experienced a 15% increase in costs during
                    the months for which it operated between May 2010 and its last full month of
                    operations (not to extend beyond April 2011) as compared to the comparable
                    months during the period from May 2009 through April 2010. The claimant must
                    also establish the specific basis for the cost increase and that, absent the DWH
                    Spill, the increase in costs would not have occurred.

           8.       If the claimant is a Failed Start-Up Business in Zone B not receiving a
                    presumption, causation may be established by demonstrating the following:

                    a.       A 8.5% decline in revenues during the months for which it operated
                             between May 2010 and its last full month of operations (not to extend
                             beyond April 2011) relative to expected revenue in the same time period
                             as demonstrated by contemporaneous financial projections (to the
                             extent available) and expressed as a percentage of expected revenue;2

                    AND

                    b.       The Administrator is provided evidence through documentation and/or
                             affidavits that provide a reasonable basis to conclude that the DWH Spill
                             was a substantial cause of the revenue decline. For example, the

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    See Exhibit A attached hereto for an example of how this calculation is performed.



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                            claimant provides evidence of customer cancellations or lost contracts
                            related to the DWH Spill.

           9.       If the claimant is a Failed Business or Failed Start-Up Business in Zone C, then
                    paragraphs 6 and 8 apply with the percentage of decline changing to 10%.

           10.      If the claimant is a Failed Business or Failed Start-Up Business in Zone D, then
                    paragraphs 6 and 8 apply with the percentage of decline changing to 15%.

III.       Excluded Business Failure

Any Failed Business satisfying subparts (a), (b), or (c), below shall not be entitled to
compensation pursuant to section IV.

                    a.      The Failed Business or Failed Start-Up Business reported negative
                            EBITDA3 for the twelve month period prior to May 1, 2010 (or, in the
                            event that the claimant is a Failed Start-Up Business with less than twelve
                            months of operating history, negative EBITDA for the months during
                            which the business operated prior to May 1, 2010).

                    b.      The Failed Business or Failed Start-Up Business was in default prior to
                            May 1, 2010 under any existing financing agreement.

                    c.      The Failed Business or Failed Start-Up Business is located in Zone D and
                            does not satisfy the “Tourism” or “Seafood Distribution Chain”
                            definitions.

IV.        Documentation Requirements

           1.       Claimant shall provide the following documentation:

                    a.      An affidavit from an authorized representative of the claimant certifying
                            the following:

                    b.      The position of the affiant, his or her relationship to the claimant, and
                            certification that the affiant is authorized to act on behalf of the claimant.

                    c.      The date on which the entity was incorporated and the date on which it
                            began operations.

                    d.      Certification that, as of May 1, 2010:


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    EBITDA is defined as earnings before interest, income taxes, depreciation, amortization and owner’s
       compensation.



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                  i.      No bankruptcy filing, asset liquidation, or debt restructuring had
                          been initiated; (A renewal of a business loan will not be deemed
                          restructuring.)

                  ii.     The business was in full compliance with all covenants as to
                          financial condition governing outstanding borrowing or credit
                          agreements prior to the DWH Spill; and

                  iii.    All documentation submitted consists of or was derived from
                          documents maintained in the ordinary course of business.

     2.    Documents reflecting corporate or partnership organization (e.g., articles of
           incorporation or partnership agreements).

     3.    Actual annual and monthly financial statements (including income statements
           and balance sheets) for at least all of 2009 and January-April of 2010 or if the
           claimant is a Failed Start-Up Business, for all months of operation prior to May 1,
           2010. Claimant may prepare financial statements from contemporaneous
           business records currently maintained, as long as the claimant provides the
           documents or information upon which any subsequently-prepared financial
           statements are based.

     4.    Actual annual and monthly financial statements (including income statements
           and balance sheets) for May 2010 through present, or through the liquidation of
           the company, or cessation of operation, whichever occurs first. Claimant may
           prepare financial statements from contemporaneous business records currently
           maintained, as long as the claimant provides the documents or information upon
           which any subsequently-prepared financial statements are based.

     5.    Any and all credit agreements, promissory notes, lease agreements, letters of
           credit and other loan documentation, including any notices of default, in
           existence as of April 20, 2010 or entered into thereafter including amendments
           related thereto.

     6.    Any and all projections, forecasts or budgets prepared prior to April 20, 2010
           projecting, predicting or forecasting the financial performance of the business
           for any period after April 20, 2010.

     7.    To the extent applicable, any and all bankruptcy schedules, including the original
           petition, any confirmed plans of liquidation or reorganization, and any
           documentation evidencing standing to pursue claims if vested with any entity or
           other party other than the debtor filing bankruptcy. To the extent the claimant
           has not filed for bankruptcy protection, (a) documentation reflecting the
           company’s entry into the liquidation process, (b) any and all documentation
           reflecting the standing or authority of the claimant to pursue any claims of the


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           business, and (c) any documentation evidencing standing to pursue claims if
           vested with any entity or other party other than the claimant pursuing the
           liquidation of its assets.

     8.    Evidence of any asset sales, including a description of each asset and the
           corresponding sales prices, and evidence of any payments of liquidation
           proceeds in satisfaction of debt and/or other creditor obligations.

     9.    A listing of any assets which have not been liquidated at the time of the claim
           submission, including a description of each asset, the recorded net book value of
           each asset, and, if available, all certified appraisals of the value of each asset.

     10.   A listing of any debt and/or trade creditor obligations outstanding at the time of
           the claim submission.

V.   Compensation

     1.    For Failed Businesses that meet one of the causation requirements set forth
           above, claimant compensation shall be determined as follows:

           a.     Sum the latest twelve months EBITDA of the business for the twelve
                  month period prior to May 1, 2010.

           b.     Identify the general industry in which claimant operates and locate the
                  corresponding median Market Value of Invested Capital (“MVIC”) to
                  EBITDA multiple from Table 1 below. If an appropriate industry and
                  multiple cannot be found in the Table 1, use the “All Deals” median MVIC
                  to EBITDA multiple at the bottom of the table.

           c.     Multiply the EBITDA by the MVIC to EBITDA multiple to calculate the Pre-
                  DWH Spill total enterprise value (“TEV”).

           d.     Determine the Liquidation Value of assets as either (i) the court-approved
                  reorganization value, to the extent reorganized under bankruptcy law
                  process or (ii) sales proceeds from assets liquidated plus certified
                  appraisal values of assets yet to be liquidated under a plan of liquidation,
                  net of actual or anticipated liquidation costs (including out-of-pocket
                  costs to the claimant for the liquidation or wind down process), as
                  relevant. If no certified appraisal exists for un-liquidated assets, net book
                  values will be used. The total liquidation value (including both realized
                  and unrealized amounts) shall be increased for any creditor claims
                  existing pre-DWH Spill and discharged during bankruptcy, and any
                  amounts received by the claimant from BP or the GCCF pursuant to BP’s
                  OPA Claims process, or profits earned by the claimant by participating in
                  any BP-sponsored spill remediation program to determine the Net


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                  Liquidation Value. However, no credit will be taken for unliquidated
                  assets that the claimant tenders to BP.

           e.     Calculate claimant compensation by subtracting the Net Liquidation
                  Value from the Pre-DWH Spill TEV.

           f.     A Risk Transfer Premium (“RTP”) will not be applied to claimant
                  compensation for Failed Businesses because the measurement of TEV
                  incorporates the future lost profits of the business.

     2.    For Failed Start-Up Businesses that meet one of the causation requirements set
           forth above, claimant compensation shall be calculated as follows:

           a.     Calculate book value of equity as of May 1, 2010.

           b.     Subtract amounts distributed to equity holders subsequent to the DWH
                  Spill.

           c.     Add the total current amount of unpaid obligations of claimant to its
                  creditors.

           d.     Subtract the book value of assets remaining to be liquidated unless such
                  assets are tendered to BP then the value shall not be subtracted.

           e.     Subtract any other proceeds received by the claimant from BP or the
                  GCCF pursuant to BP’s OPA Claims process, or profits earned by the
                  claimant by participating in any BP-sponsored spill remediation program.

           f.     Where a Failed Start-Up Business receives compensation under this
                  framework, compensation shall be provided to the claimant for an
                  owner’s “sweat equity” if the owners submit affidavits setting forth for
                  each owner (i) the nature of services provided by that owner to the
                  claimant for which the owner received no compensation or less than fair
                  market compensation, (ii) the time period over which the services were
                  rendered, (iii) the average amount of time per week devoted to the
                  Failed Start-Up Business, and, (iv) if employed outside the Failed Start-Up
                  Business during the time the business operated, a description of that
                  employment.

                  Where these criteria are satisfied, claimant shall be entitled to “sweat
                  equity” compensation as set forth below. In addition, two example
                  calculations are attached hereto as Exhibit B.

                     1. Step 1: Calculate the Monthly Sweat Equity Benchmark Income
                        pursuant to Step 1 subparts (a) through (d).


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                       Step 1a: Identify the “Commencement Date”: the day that the
                       Failed Start-Up Business commenced operations.

                       Step 1b: Identify the “Sweat Equity Contribution Start Date”: the
                       date when the owner first began performing sweat equity work or
                       the date six months prior to the Commencement Date, whichever
                       yields the shorter time period.

                       Step 1c: Establish the Sweat Equity Benchmark Period: The
                       Sweat Equity Benchmark Period shall consist of the time period
                       from the “Sweat Equity Benchmark Period Start Date” through the
                       “Sweat Equity Benchmark Period End Date.”

                       The “Sweat Equity Benchmark Period Start Date” will be either:

                              a)     January 1 of the calendar year preceding the year
                                     in which the Sweat Equity Contribution Start Date
                                     occurred, or

                              b)     January 1 of any year prior to the year identified in
                                     (a) above, but not preceding January 1, 2007.

                       For example, for a business with a Commencement Date of
                       January 1, 2010, and a Sweat Equity Contribution Start Date of
                       August 10, 2009, the claimant may choose as the Sweat Equity
                       Benchmark Period Start Date either January 1, 2008 or January 1,
                       2007.

                       The “Sweat Equity Benchmark Period End Date” shall be defined
                       as the end of the last full month preceding the Sweat Equity
                       Contribution Start Date. For example, if the Sweat Equity
                       Contribution Start Date was August 10, 2009, the Sweat Equity
                       Benchmark Period End Date will be July 31, 2009.

                       Step 1d: Calculate the “Monthly Sweat Equity Benchmark
                       Income.” The owner shall provide documentation of income
                       earned for the Sweat Equity Benchmark Period, including tax
                       returns, W-2s, year-end pay stub information and, if available,
                       monthly or other periodic pay stubs or other records reflecting
                       monthly earned income (“Earned Income Documentation”).
                       Monthly Sweat Equity Benchmark Income shall be determined by
                       dividing:

                               (i)    Total income earned from all employers and/or
                                      activities (including self-employment) during the


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                                       Sweat Equity Benchmark Period, as reflected in
                                       Earned Income Documentation

                                       by

                                (ii)   The total number of months in the Sweat Equity
                                       Benchmark Period, adjusted, if relevant, to
                                       exclude months where the owner provides
                                       documents evidencing that

                                       a. No income was earned, and

                                       b. The owner was not employed, functioning as
                                          an independent contractor, or otherwise
                                          engaged in income-generating activities
                                          unrelated to the Failed Start-Up Business. For
                                          example, if the owner was a real estate agent
                                          operating as an independent contractor, the
                                          owner must include all months for which he or
                                          she functioned as a real estate agent, even if
                                          no income was earned in a particular month.



                    2. Step 2: For each owner, determine the “Sweat Equity
                       Compensation Period” as the period from his or her Sweat Equity
                       Contribution Start Date to the date the Failed Start-Up Business (i)
                       ceased operations and wound down, or (ii) entered bankruptcy
                       (through the filing of a petition for bankruptcy protection in a
                       court of competent jurisdiction), or (iii) otherwise initiated or
                       completed a liquidation of substantially all of its assets (“Failure
                       Date”). Total Monthly Sweat Equity across all owners in a given
                       month is calculated by summing the monthly Sweat Equity
                       Benchmark Income for each owner with sweat equity in the
                       relevant month for all months in the Sweat Equity Compensation
                       Period. The maximum amount of Total Monthly Sweat Equity in
                       any month is $12,500. Total Sweat Equity represents the sum of
                       the Total Monthly Sweat Equity for all owners and cannot exceed
                       $150,000.

                    3. Step 3: To determine Net Sweat Equity for each owner, from the
                       Total Sweat Equity in Step 2, subtract (i) any funds (including
                       payroll earnings, draws, cancelled loans or other distributions)
                       actually paid to an owner by the Failed Start-Up during its



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                       operation and (ii) any income earned by the owner from
                       employment outside the Failed Start-Up. These amounts shall be
                       established by the owner providing documentation in the form of
                       tax returns, W-2s, year-end pay stub information or the Failed
                       Start-Up’s contemporaneously maintained payroll records.

          g.    An RTP will not be applied to claimant compensation for Failed Start-Up
                Businesses.




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Table 1: Industry Multiples
                                                                                            Median
 General                                                                                 MVIC to EBITDA
 SIC Code   Industry Description                                                            Multiple
    41      Local And Suburban Transit And Interurban Highway Passenger Transportation        3.1x
    42      Motor Freight Transportation And Warehousing                                      2.9x
    44      Water Transportation                                                              7.1x
    45      Transportation By Air                                                             4.6x
    47      Transportation Services                                                           3.6x
    48      Communications                                                                    5.5x
    50      Wholesale Trade-durable Goods                                                     5.0x
    51      Wholesale Trade-non-durable Goods                                                 3.9x
    52      Building Materials, Hardware, Garden Supply, And Mobile Home Dealers              3.4x
    53      General Merchandise Stores                                                        1.5x
    54      Food Stores                                                                       2.4x
    55      Automotive Dealers And Gasoline Service Stations                                  1.8x
    56      Apparel And Accessory Stores                                                      2.6x
    57      Home Furniture, Furnishings, And Equipment Stores                                 3.5x
    58      Eating And Drinking Places                                                        1.9x
    59      Miscellaneous Retail                                                              3.2x
    65      Real Estate                                                                       2.8x
    70      Hotels, Rooming Houses, Camps, And Other Lodging Places                           1.8x
    72      Personal Services                                                                 2.3x
    73      Business Services                                                                 4.4x
    75      Automotive Repair, Services, And Parking                                          3.3x
    76      Miscellaneous Repair Services                                                     4.0x
    79      Amusement And Recreation Services                                                 2.1x
    81      Legal Services                                                                    3.2x
    82      Educational Services                                                              4.6x
    83      Social Services                                                                   4.1x
    87      Engineering, Accounting, Research, Management, And Related Services               5.0x
            All Deals                                                                         3.2x
Source: Pratt's Stats® - Private Company Merger and Acquisition Transaction Database. Data
reflects all deals in the database with a disclosed MVIC to EBITDA multiple and a report date of
January 1, 2008 or later.




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Exhibit A
        Summary of Revenue Decline Causation Tests for Failed Businesses

                                             Zone B
                                        (Non-Tourism and       Zone C
                             Zone A       Non-Seafood)      (Non-Seafood)    Zone D
                             Decline                           Decline       Decline
                            Threshold   Decline Threshold     Threshold     Threshold

     Revenue Decline Test     N/A              -8.5%           -10.0%         -15%




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Exhibit A (continued)

             Example of Revenue Decline Causation Tests for Failed Business Claims

  In Examples 1 and 2, the claimant is assumed to be in Zone B and the claimant's last full month of
  operations is July 2010. These examples demonstrate a claimant that passes and a claimant that fails the
  Revenue Decline Causation Test.


   Example 1:                                   Revenue by Year
  Month                                     2009              2010

  May                                       300,000             250,000
  June                                      350,000             275,000
  July                                      325,000             225,000

  3-Month Aggregate:                        975,000             750,000
  [Sum of June, July, August]
                            Revenue Decline Percentage:              -23.1% =(750,000 - 975,000)/975,000
  Claimant Passes Revenue Decline Test



   Example 2:                                   Revenue by Year
  Month                                     2009              2010

  May                                       300,000             295,000
  June                                      350,000             335,000
  July                                      325,000             315,000

  3-Month Aggregate:                        975,000             945,000
  [Sum of June, July, August]
                            Revenue Decline Percentage:               -3.1% =(945,000 - 975,000)/975,000
  Claimant Fails Revenue Decline Test

  Notes:

  Revenue Decline Causation Test works in the same way for claimants in Zones C or D, with higher thresholds
  for the revenue decline. In Zone C the revenue decline percentage must be 10%. In Zone D the revenue decline
  percentage must be 15%.




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Exhibit A (continued)

                 Example of Revenue Decline Causation Tests for Failed Business Claims
                            Claimant in Zone B (8.5% Revenue Decline Test)

        In Examples 3A-C the claimant is assumed to be in Zone B and the claimant's last full month of operations
        is July 2010. Examples 3A-C demonstrate that under an aggregate test, three months of revenues are
        summed. The individual months may be up or down, as long as the three month aggregate period passes
        the test.


        Example 3A:                                   Revenue by Year
        Month                                     2009              2010

        May                                       300,000             250,000
        June                                      350,000             275,000
        July                                      325,000             225,000

        3-Month Aggregate:                        975,000             750,000
        [Sum of June, July, August]
                                  Revenue Decline Percentage:              -23.1% =(750,000 - 975,000)/975,000
        Claimant Passes Revenue Decline Test



        Example 3B:                                   Revenue by Year
        Month                                     2009              2010

        May                                       300,000             350,000
        June                                      350,000             175,000
        July                                      325,000             225,000

        3-Month Aggregate:                        975,000             750,000
        [Sum of June, July, August]
                                  Revenue Decline Percentage:              -23.1% =(750,000 - 975,000)/975,000
        Claimant Passes Revenue Decline Test



        Example 3C:                                   Revenue by Year
        Month                                     2009              2010

        May                                       300,000             350,000
        June                                      350,000             375,000
        July                                      325,000              25,000

        3-Month Aggregate:                        975,000             750,000
        [Sum of June, July, August]
                                  Revenue Decline Percentage:              -23.1% =(750,000 - 975,000)/975,000
        Claimant Passes Revenue Decline Test

        Notes:

        Revenue Decline Causation Test works in the same way for claimants in Zones C or D, with higher
        thresholds for the revenue decline. In Zone C the revenue decline percentage must be 10%. In Zone D the
        revenue decline percentage must be 15%.




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Exhibit B
                                                      Examples of Sweat Equity Calculation
Example 1:

Step 1: Calculate Monthly Sweat Equity Benchmark Income

Step 1a: Identify the Commencement Date of Operations                                        January 1, 2010    [a]

Step 1b: Identify the Sweat Equity Contribution Start Date                                   August 10, 2009    [b]
     (6 months or less prior to the Commencement Date)

Step 1c: Establish the Sweat Equity Benchmark Period
     Sweat Equity Bencmark Period Start Date                                    Option 1:    January 1, 2008    [c]
     (Must begin no later than January 1 of the calendar year preceding the                       - or -
     year in which the Sweat Equity Contribution Start Date occurred.           Option 2:    January 1, 2007    [d]
     However, the Claimant may, if relevant, elect a longer period and add
     the twelve months of 2008 or the 24 months of 2007 and 2008. Period
     ends with the last full month preceding the Sweat Equity Contribution
     Start Date.)

     Sweat Equity Benchmark Period End Date                                                   July 31, 2009     [e]
     (Last full month prior to the Sweat Equity Contribution Start Date)

Step 1d: Calculate Monthly Sweat Equity Benchmark Income
     Historical Earned Income
      January - December 2007 Earned Income                                                      $50,000        [f]
      January - December 2008 Earned Income                                                      $55,000        [g]
      January - July 2009 Earned Income                                                          $35,000        [h]

     Sweat Equity Benchmark Period Options
       Option 1: January 1, 2008 - July 30, 2009 [1]
        Total Compensation                                                                       $90,000        [i]=[g]+[h]
        Number of Months in Period with Earned Income                                               19          [j]=count of months from [c] to [e]
        Average Monthly Compensation                                                              $4,737        [k]=[i]/[j]

       Option 2: January 1, 2007 - July 30, 2009 [2]
        Total Compensation                                                                      $140,000        [l]=[f]+[g]+[h]
        Number of Months in Period with Earned Income                                              31           [m]=count of months from [d] to [e]
        Average Monthly Compensation                                                             $4,516         [n]=[l]/[m]

 Owner Selects Option 1 for Monthly Benchmark Period Income                                      $4,737         [o]=maximum of [k] and [n]
    (Maximum of $12,500)

Step 2: Calculate Total Sweat Equity

 Failure Date                                                                               December 31, 2010   [p]
      (Date the Failed Start-Up either (i) ceased operations and wound down,
      (ii) filed for bankruptcy protection, or (iii) otherwise initiated or
      completed a liquidation of substantially all of its assets)

 Selected Average Monthly Benchmark Period Income                                                $4,737         =[o]
 Number of Months Sweat Equity Provided                                                            17           [q]=count of months from [b] to [p]
     (Number of months between the Sweat Equity Contribution Start Date
     and the Failure Date)

 Total Gross Sweat Equity                                                                      $80,526.32       [r]=[o]*[q]
     (Maximum of $150,000)

Step 3: Calculate Net Sweat Equity Compensation by Subtracting Actual Earned Income

 Actual Earned Income after the Sweat Equity Contribution Start Date                               $0           [s]

 Net Sweat Equity Compensation                                                                   $80,526        [t]=[r]-[s]

Notes:
[1] Claimant uses only the minimum time to calculate the Sweat Equity Benchmark Period, which provides a larger monthly amount here.
[2] Claimant uses the full months available to calculate the Sweat Equity Benchmark Period.




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Exhibit B (continued)

Example 2:

Step 1: Calculate Monthly Sweat Equity Benchmark Income

Step 1a: Identify the Commencement Date of Operations                                 December 10, 2008   [a]

Step 1b: Identify the Sweat Equity Contribution Start Date                             August 10, 2008    [b]
     (6 months or less prior to the Commencement Date)

Step 1c: Establish the Sweat Equity Benchmark Period
     Sweat Equity Bencmark Period Start Date                                           January 1, 2007    [c]
     (Must begin no later than January 1 of the calendar year preceding the
     year in which the Sweat Equity Contribution Start Date occurred.
     However, the Claimant may, if relevant, elect a longer period and add
     the twelve months of 2008 or the 24 months of 2007 and 2008. Period
     ends with the last full month preceding the Sweat Equity Contribution
     Start Date.)


     Sweat Equity Benchmark Period End Date                                             July 30, 2008     [d]
     (Last full month prior to the Sweat Equity Contribution Start Date)

Step 1d: Calculate Monthly Sweat Equity Benchmark Income
     Historical Earned Income
      January - December 2007 Earned Income                                               $50,000         [e]
      January - July 2008 Earned Income                                                   $30,000         [f]

     Sweat Equity Benchmark Period (One Option)
      January 1, 2007 - July 30, 2008
        Total Compensation                                                                $80,000         [g]=[e]+[f]
        Number of Months in Period with Earned Income                                        19           [h]=count of months from [c] to [d]
        Average Monthly Compensation                                                       $4,211         [i]=[g]/[h]

 Monthly Benchmark Period Income                                                           $4,211         [j]=[i]
    (Maximum of $12,500)

Step 2: Calculate Total Sweat Equity

 Failure Date                                                                         December 31, 2010   [k]
      (Date the Failed Start-Up either (i) ceased operations and wound down,
      (ii) filed for bankruptcy protection, or (iii) otherwise initiated or
      completed a liquidation of substantially all of its assets)

 Selected Average Monthly Benchmark Period Income                                          $4,211         =[j]
 Number of Months Sweat Equity Provided                                                      29           [l]=count of months from [b] to [k]
     (Number of months between the Sweat Equity Contribution Start Date
     and the Failure Date)

 Total Gross Sweat Equity                                                                 $122,105        [m]=[j]*[l]
     (Maximum of $150,000)

Step 3: Calculate Net Sweat Equity Compensation by Subtracting Actual Earned Income

 Actual Earned Income after the Sweat Equity Contribution Start Date                         $0           [n]

 Net Sweat Equity Compensation                                                            $122,105        [o]=[m]-[n]




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                          Framework for Start-up Business Claims
The framework outlined below applies to claims for start-up businesses. For purposes of this
Framework, a “Start-up Business” is considered to be a claimant with less than eighteen
months of operating history at the time of the DWH Spill.1

I.       DEFINITIONS2

         Business Compensation Framework: Business Compensation Framework is the
         Compensation Framework for Business Economic Loss Claims.

         Compensation Period: The Compensation Period is selected by the claimant to include
         three or more consecutive months between May 2010 and April 2011.

         Benchmark Period: The Benchmark Period is the post-spill time period between May
         2011 and April 2012 corresponding to the months of the Compensation Period that
         serves as the basis for estimating the claimant’s Expected Profit during 2010.

         Fixed and variable payroll expenses shall be calculated in the same manner as in the
         Business Compensation Framework, provided that subpart 3 of the “Fixed & Variable
         Payroll Expenses (SG&A and COGS)” Definition shall be modified to identify the two
         months between May and December 2010 with the lowest Total Payroll Expense.

         Variable Costs shall be determined in accordance with Business Compensation
         Framework Attachment A.

II.      OVERVIEW

         As set forth more fully in the Compensation Calculation section below, 2010 claimant
         compensation (before any adjustments) will be calculated according to the following
         methodology:

         A.       Establish (i) the revenue the claimant would have expected to earn during the
                  Compensation Period in the absence of the DWH Spill (“Expected Revenue”), and
                  (ii) the variable costs the claimant would have expected to incur during the
                  Compensation Period (“Expected Costs”) to generate the Expected Revenue.


1
  This Framework for Start-up Business Claims does not apply to (i) Failed Businesses; (ii) Entities, Individuals or
Claims not included within the Economic Class definition; or (iii) Claims covered under the Seafood Program.
2
  In addition to the following, other terms are defined in this document and indicated by initial capitals.



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              The difference between Expected Revenue and Expected Costs is Expected
              Profit.

       B.     Calculate actual profit/loss realized by the claimant during the Compensation
              Period based on the difference between (i) actual revenue, and (ii) actual
              variable costs.

       C.     Deduct actual profit/loss from Expected Profit over the Compensation Period to
              determine the Base Compensation Loss.

III.   CAUSATION REQUIREMENTS

       A.     Start-Up Businesses in Zones A, B and C For Which Causation Shall Be
              Presumed

       1) If the claimant is a Start-up Business in Zone A that is not excluded pursuant to the
          exception agreed to by the parties, and listed in footnote (1), the claimant is not
          required to provide any evidence of causation.

       2) If the claimant is a Start-up Business meeting the definition of a “Commercial
          Fisherman,” or “Landing Site,” or “Commercial Wholesale or Retail Dealer A,” or
          “Primary Seafood Processor,” as set forth in “Seafood Distribution Chain
          Definitions,” the claimant is not required to provide any evidence of causation.

       3) If the claimant is a Start-up Business in Zone A, B or C and the claimant is also a
          “Commercial or Wholesale or Retail Dealer B,” or a “Secondary Seafood Processor,”
          or a “Seafood Wholesaler or Distributor,” or a “Seafood Retailer,” as set forth in
          “Seafood Distribution Chain Definition,” the claimant is not required to provide any
          evidence of causation.

       4) If the claimant is a Start-up business in Zone B, and the claimant also meets the
          “Tourism Definition,” the claimant is not required to provide any evidence of
          causation.

       5) If you are in Zone A, B or C, and you meet the “Charter Fishing Definition” you are
          not required to provide any evidence of causation.

       B.     Causation Requirements For Start-Up Businesses In Zones B and C

       If the claimant is located within Zones B or C and not entitled to a presumption, it must
       establish:




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                  1.       UPTURN REVENUE PATTERN PLUS

                          a.       Claimant must demonstrate:

                                   1.       If in Zone B, an increase of an aggregate of 8.5% or more in
                                            total revenues over a period of three consecutive months
                                            from May 2011 to April 2012 compared to the same
                                            months from May 2010 to April 2011 as selected by the
                                            claimant;3

                                   2.       If in Zone C, an increase of an aggregate of 10% or more in
                                            total revenues over a period of three consecutive months
                                            from May 2011 to April 2012 compared to the same
                                            months from May 2010 to April 2011 as selected by the
                                            claimant;4


                                   AND

                          b.       one or more of the following:

                                   1.       For business claimants that have customers in Zones A-C,
                                            the claimant demonstrates proof of an aggregate of 10%
                                            increase in the share of total revenue generated by
                                            customers located in Zones A-C over the same period of
                                            three consecutive months from May 2011 to April 2012 as
                                            selected by the claimant for the upturn revenue pattern as
                                            identified in § III.B.1.a compared to the same three
                                            consecutive month period from May 2010 to April 2011,5
                                            as reflected in:

                                            (a)      customer credit card receipts or other
                                                     contemporaneously maintained records of
                                                     payment; or

                                            (b)      customer registration logs (e.g., hotel registries); or

                                            (c)      documentation maintained in the ordinary course
                                                     of business that lists customers by location and
                                                     monthly sales associated with those customers; or


3
  See Exhibit A attached hereto for an example of how this calculation is performed.
4
  See Exhibit A attached hereto for an example of how this calculation is performed.
5
  See Exhibit B attached hereto for an example of how this calculation is performed.
                                                         3



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                                           (d)      business documents reflecting contemporaneous
                                                    recording of receipts or invoices listing customers
                                                    by location; or

                                           (e)      Any other documentation providing evidence of
                                                    the portion of the claimant’s revenue projected to
                                                    be generated by customers in Zones A-C versus
                                                    outside of Zones A-C during the Compensation
                                                    Period. The claimant must be able to demonstrate
                                                    that the projections were prepared prior to the
                                                    DWH Spill and provided to and utilized by a
                                                    financial institution extending credit to the Start-up
                                                    Business.

                                           OR

                                   2.      For businesses meeting the Tourism Definition or the
                                           Seafood Distribution Chain Definition, the claimant
                                           demonstrates proof of an aggregate of 10% increase in the
                                           share of total revenue generated by non-local customers6
                                           over the same period of three consecutive months from
                                           May 2011 to April 2012 as selected by claimant for the
                                           upturn revenue pattern as identified in § III.B.1.a
                                           compared to the same three consecutive month period
                                           from May 2010 to April 2011,7 as reflected in:

                                           (a)      customer credit card receipts or other
                                                    contemporaneously maintained records of
                                                    payment; or

                                           (b)      documentation maintained in the ordinary course
                                                    of business that lists customers by location and
                                                    monthly sales associated with those customers; or

                                           (c)      business documents reflecting contemporaneous
                                                    recording of receipts or invoices listing customers
                                                    by location; or

                                           (d)      customer registration logs (e.g., hotel registries); or


6
  A Customer shall be considered a “non-local customer” if they reside more than 60 miles from a claimant
business location.
7
  See Exhibit C attached hereto for an example of how this calculation is performed.
                                                        4



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                               (e)     Any other documentation providing evidence of
                                       the portion of claimant’s revenue projected to be
                                       generated by local versus non-local customers
                                       during the Compensation Period. The claimant
                                       must be able to demonstrate that the projections
                                       were prepared prior to the DWH Spill and provided
                                       to and utilized by a financial institution extending
                                       credit to the Start-up Business.

            OR

            2.    Proof of Spill-Related Cancellations

                 a.     Claimant may establish causation by providing contemporaneous
                        written evidence of spill-related reservation cancellations (i.e.,
                        letters, emails, hotel logs for the relevant time, or an affidavit
                        from an independent third party citing the DWH Spill as the
                        reason for cancellation) that the claimant was unable to rebook
                        (“Un-replaced Cancellations”). Proof of Un-replaced Cancellations
                        only establishes causation for those specific Un-replaced
                        Cancellations substantiated by the claimant and may result in
                        recovery only with respect to such Un-replaced Cancellations.
                        However, if the lodging facility has food and/or beverage services
                        on site, the evidence of Un-replaced Cancellations shall satisfy
                        causation for the specific losses corresponding to such Un-
                        replaced Cancellations in those service areas as well.

                        OR

                 b.     The claimant provides contemporaneous written evidence of the
                        cancellation of a contract, or loss of previously-committed capital
                        investments from investors and/or business loans arising from the
                        DWH Spill that the claimant was not able to replace. In the
                        absence of contemporaneous written evidence, the claimant must
                        present an affidavit from an independent third party affirming
                        that the cancellation or loss was spill-related. Proof of any spill-
                        related contract cancellations or losses discussed above only
                        establishes causation for the specific loss substantiated by the
                        claimant and may result in recovery of amounts solely associated
                        with such loss.




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           C.       Causation Requirements for Start-Up Businesses in Zone D

                    If the claimant is located within Zone D, it must establish one or more of the
                    following:

                     1.       UPTURN REVENUE PATTERN PLUS

                             a.      an increase of an aggregate of 15% or more in total revenues over
                                     a period of three consecutive months from May 2011 to April
                                     2012 compared to the same months from May 2010 to April 2011
                                     as selected by the claimant;8


                                     AND

                             b.      one of the following:

                                     1.       For business claimants that have customers in Zones A-C,
                                              the claimant demonstrates proof of an aggregate of 10%
                                              increase in the share of total revenue generated by
                                              customers located in Zones A-C over the same period of
                                              three consecutive months from May 2011 to April 2012 as
                                              selected by the claimant for the upturn revenue pattern as
                                              identified in § III.C.1.a compared to the same three
                                              consecutive month period from May 2010 to April 2011,9
                                              as reflected in:

                                              (a)      customer credit card receipts or other
                                                       contemporaneously maintained records of
                                                       payment;

                                              (b)      customer registration logs (e.g., hotel registries);

                                              (c)      documentation maintained in the ordinary course
                                                       of business that lists customers by location and
                                                       monthly sales associated with those customers; or

                                              (d)      business documents reflecting contemporaneous
                                                       recording of receipts or invoices listing customers
                                                       by location.



8
    See Exhibit A attached hereto for an example of how this calculation is performed.
9
    See Exhibit B attached hereto for an example of how this calculation is performed.
                                                           6



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                                      OR

                                      2.       For businesses meeting the Tourism Definition or the
                                               Seafood Distribution Chain Definition, the claimant
                                               demonstrates proof of an aggregate of 10% increase in the
                                               share of total revenue generated by non-local customers
                                               over the same period of three consecutive months from
                                               May 2011 to April 2012 as selected by claimant for the
                                               upturn revenue pattern as identified in § III.C.1.a
                                               compared to the same three consecutive month period
                                               from May 2010 to April 2011,10 as reflected in:

                                               (a)     customer credit card receipts or other
                                                       contemporaneously maintained records of
                                                       payment; or

                                               (b)     customer registration logs (e.g., hotel registries).

                                               (c)     documentation maintained in the ordinary course
                                                       of business that lists customers by location and
                                                       monthly sales associated with those customers; or

                                               (d)     business documents reflecting contemporaneous
                                                       recording of receipts or invoices listing customers
                                                       by location.

                     2.       PROOF OF SPILL-RELATED CANCELLATIONS

                             a.       Claimant may establish causation by providing contemporaneous
                                      written evidence of spill-related reservation cancellations (i.e.,
                                      letters, emails, hotel logs for the relevant time, or an affidavit
                                      from an independent third party citing the DWH Spill as the
                                      reason for cancellation) that the claimant was unable to rebook
                                      (“Un-replaced Cancellations”). Proof of Un-replaced Cancellations
                                      only establishes causation for those specific Un-replaced
                                      Cancellations substantiated by the claimant and may result in
                                      recovery only with respect to such Un-replaced Cancellations.
                                      However, if the lodging facility has food and/or beverage services
                                      on site, the evidence of Un-replaced Cancellations shall satisfy
                                      causation for the specific losses corresponding to such Un-
                                      replaced Cancellations in those service areas as well.


10
     See Exhibit C attached hereto for an example of how this calculation is performed.
                                                           7



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                          OR

                   b.     The claimant provides contemporaneous written evidence of the
                          cancellation of a contract, or loss of previously-committed capital
                          investments from investors and/or business loans arising from the
                          DWH Spill that the claimant was not able to replace. In the
                          absence of contemporaneous written evidence, the claimant must
                          present an affidavit from an independent third party affirming
                          that the cancellation or loss was spill-related. Proof of any spill-
                          related contract cancellations or losses discussed above only
                          establishes causation for the specific loss substantiated by the
                          claimant and may result in recovery of amounts solely associated
                          with such loss.

IV.   COMPENSATION CALCULATION

      A.    Determination of Claimant’s Expected Profit/Loss

             1.     Claimant’s Expected Revenue and Expected Costs shall equal,
                    respectively:

                   a.     Actual revenue earned and actual variable costs incurred by
                          claimant’s business during the Benchmark Period; or

                   b.     Claimants can alternatively elect to establish Expected Revenue
                          and Expected Costs based on financial projections for the Start-up
                          Business. Projections must be prepared prior to the DWH Spill
                          and provided to and utilized by a financial institution, other entity
                          in the primary business of lending or investing money (ex.- private
                          equity firms, investment banks, etc.), or non-family private
                          investors with business lending experience (hereafter referred to
                          as “Lender”) who confirm their use of such projections in
                          extending credit to the Start-up Claimant.

                   c.     Regardless of the basis upon which Expected Revenue and
                          Expected Costs are established, the determination will exclude
                          any one-time non-operating income/expenses (including, but not
                          limited to, any business interruption insurance proceeds received
                          by the claimant during the relevant period), any payments
                          received by the claimant from BP or the GCCF pursuant to BP’s
                          OPA Claims process for the same business claim.


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                  2.       Claimant’s Expected Profit/Loss for the Compensation Period will be
                           calculated as the difference between the claimant’s Expected Revenue
                           and Expected Costs, provided that Expected Revenue and Expected
                           Costs must both be based on actual results from the Benchmark Period,
                           or, if alternatively selected by claimants in Zones B and C, both Expected
                           Revenue and Expected Costs must both be based on qualifying
                           projections as described herein.

        B.       Determination of Claimant’s Actual Profit/Loss

                  1.       Actual Profit/Loss generated over the Compensation Period will be
                           calculated as the difference between (i) the claimant’s actual revenues
                           and (ii) the claimant’s actual variable costs, both for the Compensation
                           Period.

                  2.       Actual revenue and actual Variable Costs will exclude any one-time non-
                           operating income/expenses (including any business interruption
                           insurance proceeds received by the claimant during the relevant period),
                           any payments received by the claimant from BP or the GCCF pursuant to
                           BP’s OPA Claims process. Further, for claimants that participated in the
                           VoO program, Actual Profit/Loss will exclude revenue generated by or
                           costs incurred in connection with VoO.11

        C.       Calculation of Claimant Compensation

                  1.       Calculate the claimant’s Base Compensation Loss as the difference
                           between (i) claimant’s Expected Profit/Loss and (ii) the claimant’s Actual
                           Profit/Loss generated over the Compensation Period.

                  2.       Apply the agreed-upon RTP.

                  3.       Deduct any payments received by the claimant from BP or the GCCF
                           pursuant to BP’s OPA claims process, any VoO Settlement Payment
                           Offset and VoO Earned Income Offset, where applicable.

        D.       DOCUMENTATION REQUIREMENTS

                 In addition to the relevant information requirements set forth in the
                 Documentation Requirements for Business Claims, the following supplemental
                 information may be required:

11
  Claimants are required to report payments received under the VoO program. If claimants that received VoO
payments fail separately to report costs incurred in VoO and non-VoO activities, then Actual Profit/Loss for non-
VoO activity alone can be determined through a pro-rata revenue based allocation of variable costs between VoO
and non-VoO related activities.
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           1.    Contemporaneously prepared monthly financial statements from the
                 inception of the start-up business through 2011.

           2.    Documents evidencing loss of previously-committed capital investments
                 from investors and/or business loans due, and the inability to procure
                 replacement financing, as relevant. Acceptable documentation includes
                 a letter withdrawing capital, or other contemporaneous documentation
                 evidencing the investment withdrawal.

           3.    Evidence of any payments received by the claimant from BP or the GCCF
                 pursuant to BP’s OPA claims process.

           4.    All financial projections (or business plans containing financial
                 projections) prepared for the Start-up Business prior to the DWH Spill,
                 and contemporaneous documentation and/or written confirmation from
                 the Lender establishing that such projections were submitted to and
                 utilized by the Lender prior to extending credit to the Start-up Business.

                a.     Additional documentation as necessary to provide the
                       background and experience of any Lenders not regulated by a
                       government agency (ex.- FDIC, SEC, etc.).

                b.     Written confirmation from Lender that projections submitted as
                       part of the claim were utilized by the Lender in granting credit
                       prior to the DWH Spill.

           5.    Claimants shall provide an executed subrogation waiver or indemnity in
                 the release.




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Exhibit A

          Example of Upturn Revenue Causation Tests for Start-Up Business Claims
                      Claimant in Zone B (8.5% Upturn Revenue Test)


Examples 1 and 2 demonstrate a claimant that passes or fails the Upturn Revenue Causation Test.


Example 1:                                    Revenue by Year
Month                                     2010              2011

June                                       285,000             320,000
July                                       330,000             350,000
August                                     295,000             335,000

3-Month Aggregate:                       910,000             1,005,000
[Sum of June, July, August]
                          Upturn Revenue Percentage:                10.4% =(1,005,000 - 910,000)/910,000
Claimant Passes Upturn Revenue Test



Example 2:                                    Revenue by Year
Month                                     2010              2011

June                                       285,000             290,000
July                                       330,000             330,000
August                                     295,000             315,000

3-Month Aggregate:                       910,000               935,000
[Sum of June, July, August]
                          Upturn Revenue Percentage:                  2.7% =(935,000 - 910,000)/910,000
Claimant Fails Upturn Revenue Test

Notes:

Upturn Revenue Causation Test works in the same way for claimants in Zones C or D, with higher thresholds
for the revenue upturn. In Zone C the upturn revenue percentage must be 10%. In Zone D the upturn revenue
percentage must be 15%.

In these examples the Start-Up business claimant has selected June, July, and August as the three consecutive
months to use.




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          Example of Upturn Revenue Causation Tests for Start-Up Business Claims
                      Claimant in Zone B (8.5% Upturn Revenue Test)

Example 3 demonstrates that under an aggregate test, three months of revenues are summed. The individual
months may be up or down, as long as the three month aggregate period passes the test.



Example 3A:                                   Revenue by Year
Month                                     2010              2011

June                                       285,000             320,000
July                                       330,000             350,000
August                                     295,000             335,000

3-Month Aggregate:                       910,000             1,005,000
[Sum of June, July, August]
                          Upturn Revenue Percentage:                10.4% =(1,005,000 - 910,000)/910,000
Claimant Passes Upturn Revenue Test


Example 3B:                                   Revenue by Year
Month                                     2010              2011

June                                       285,000             220,000
July                                       330,000             450,000
August                                     295,000             335,000

3-Month Aggregate:                       910,000             1,005,000
[Sum of June, July, August]
                          Upturn Revenue Percentage:                10.4% =(1,005,000 - 910,000)/910,000
Claimant Passes Upturn Revenue Test


Example 3C:                                   Revenue by Year
Month                                     2010              2011

June                                       285,000             220,000
July                                       330,000             250,000
August                                     295,000             535,000

3-Month Aggregate:                       910,000             1,005,000
[Sum of June, July, August]
                          Upturn Revenue Percentage:                10.4% =(1,005,000 - 910,000)/910,000
Claimant Passes Upturn Revenue Test
Notes:

Upturn Revenue Causation Test works in the same way for claimants in Zones C or D, with higher thresholds for
the revenue upturn. In Zone C the upturn revenue percentage must be 10%. In Zone D the upturn revenue
percentage must be 15%.
                                                       12
In these examples the Start-Up business claimant has selected June, July, and August as the three consecutive
months to use.
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Exhibit B
      Example of Customer Mix Test for Start Up Business Claimants
                       (Customers in Zones A-C)
            Based on 3-month time period selected for Modified V or Down-Only test

     Example 1:             LT= Less than                    GE=Greater than or equal to
     Customer Residence     Aggregate of June-August '10      Aggregate of June-August '11

     Zone D                              $80,000                             $85,000
     Zones A-C                           $20,000                             $25,000
     Total                              $100,000                            $110,000
     % Zones A-C                          20%                                23%
                            Claimant passes Customer Mix Test: Claimant has a 15 percent
                            increase in share of revenue from customers in Zones A-C [15%=
                            .15 = (23-20)/20]



     Example 2:
     Customer Residence     Aggregate of June-August '10       Aggregate of June-August '11

     Zone D                            $50,000                            $55,000
     Zones A-C                         $50,000                            $55,000
     Total                            $100,000                           $110,000
     % Zones A-C                         50%                              50%
                            Claimant fails Customer Mix Test: No change in share of revenue
                            from customers in Zones A-C.


     Example 3:
     Customer Residence     Aggregate of June-August '10       Aggregate of June-August '11

     Zone D                              $50,000                            $55,000
     Zones A-C                           $50,000                            $65,000
     Total                              $100,000                          $120,000
     % Zones A-C                          50%                              54%
                            Claimant fails Customer Mix Test: Claimant has an 8% increase
                            in share of revenue from customers in Zones A-C [8% = .08 = (54-
                            50)/50]




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Exhibit C

      Example of Customer Mix Test for Start Up Business Claimants
                       (Non-Local Customers)
            Based on 3-month time period selected for Modified V or Down-Only test

     Example 1:              LT= Less than                   GE=Greater than or equal to
     Customer Residence      Aggregate of June-August '10     Aggregate of June-August '11

     LT 60 miles from claimant            $80,000                            $85,000
     GE 60 miles from claimant            $20,000                            $25,000
     Total                              $100,000                            $110,000
     % GE 60 miles                         20%                               23%
                             Claimant passes Customer Mix Test: Claimant has a 15 percent
                             increase in share of revenue from non-local customers [15%= .15
                             = (23-20)/20]



     Example 2:
     Customer Residence      Aggregate of June-August '10      Aggregate of June-August '11

     LT 60 miles from claimant          $50,000                            $55,000
     GE 60 miles from claimant          $50,000                            $55,000
     Total                             $100,000                           $110,000
     % GE 60 miles                        50%                              50%
                             Claimant fails Customer Mix Test: No change in share of revenue
                             from non-local customers.


     Example 3:
     Customer Residence      Aggregate of June-August '10      Aggregate of June-August '11

     LT 60 miles from claimant            $50,000                            $55,000
     GE 60 miles from claimant            $50,000                            $65,000
     Total                               $100,000                           $120,000
     % GE 60 miles                         50%                               54%
                             Claimant fails Customer Mix Test: Claimant has an 8% increase
                             in share of revenue from non-local customers [8% = .08 = (54-
                             50)/50]



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                               Framework for Individual Economic Loss Claims

Overview
      Individual economic loss claims are claims by Individuals, who shall be defined as (i) Natural Persons
      who (a) satisfy (or whose employers satisfy) the Class Definition and (b) whose losses are not
      excluded from the Class and (ii) who seek compensation for lost earnings from employment due to
      or resulting from the DWH Spill for claims that are not excluded from the Class, with the following
      exceptions:

          1. All Natural Persons (other than Natural Persons addressed in 2, 3 and 4 below) claiming
             losses related to business income required to be reported on Internal Revenue Service Form
             1040 Schedules C, E or F are governed by the Documentation Requirements for Business
             Economic Loss Claims, Causation Requirements for Business Economic Loss Claims, and
             Compensation Framework for Business Economic Loss Claims, or, if appropriate, the Failed
             Business Framework or the Start-up Business Framework, rather than this Framework for
             Individual Economic Loss Claims.1

          2. All Natural Persons claiming losses as an Individual Periodic Vendor (“IPV”) or a Festival
             Vendor are governed by the Addendum to Individuals Framework – IPVs and Festival
             Vendors.2

          3. Claims for lost earnings from employment as a Commercial Fisherman, Seafood Crew,
             Oyster Leaseholder, or Seafood Vessel Owner, all as defined in the Seafood Distribution
             Chain Definitions, shall be compensated through the Seafood Program, rather than this
             Framework for Individual Economic Loss Claims.

          4. Claims by self-employed Natural Persons who satisfy the definition of a Commercial
             Fisherman, Seafood Crew, Oyster Leaseholder, or Seafood Vessel Owner, all as defined in
             the Seafood Distribution Chain Definitions, shall be compensated through the Seafood
             Program, rather than this Framework for Individual Economic Loss Claims.

      As detailed below, Individual compensation for lost earnings is calculated as the difference between
      (i) a claimant’s Expected Earnings for a specified period of time after the DWH Spill and (ii) a
      claimant’s Actual Earnings over the same specified period.3 Each claimant must submit proof of
      earnings during the relevant time periods, as well as specified additional documentation to establish
      that the DWH Spill caused a loss of earnings.
      Under this Framework for Individual Economic Loss Claims, a claimant may recover for lost
      earnings by submitting a sworn Claim Form and supporting documentation (when required)
      establishing that the claimant satisfies the documentation and causation requirements of one of

1
  Words or phrases in Capitalized Bold-face Type are defined terms with the meaning set forth in the “Definitions”
section of this Individual Economic Loss Claim Framework.
2
  The terms IPV and Festival Vendor are defined in the Addendum to Individuals Framework – IPVs and Festival
Vendors.
3
  All damages paid shall be paid on a pre-tax basis with proper Form 1099 or other reporting as required by the IRS.




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      four alternative methodological categories. These categories, which are set forth fully in Sections I-
      IV of this Framework for Individual Economic Loss Claims, are summarized below.4

            I.    INDIVIDUAL CLAIMANTS WITH CONTEMPORANEOUS TAX DOCUMENTS FOR 2010 AND
                  BENCHMARK PERIOD: Applies to Individuals providing Tax Information Documents for
                  2010 and the claimant selected Base Year(s). Requirements detailed in Section I must
                  be fulfilled (Category I, beginning at page 10).

            II.   INDIVIDUAL CLAIMANTS WITH PAY PERIOD OR OTHER EARNINGS DOCUMENTATION
                  FOR 2010 AND BENCHMARK PERIOD: Applies to Individuals without Tax Information
                  Documents but with other contemporaneous documents presenting employment and
                  compensation information for 2010 and the Benchmark Period. Requirements detailed
                  in Section II must be fulfilled (Category II, beginning at page 19).

           III.   INDIVIDUAL CLAIMANTS WITH EARNINGS DOCUMENTATION FOR 2010 BUT WITHOUT
                  COMPARABLE BENCHMARK PERIOD EARNINGS: Applies to Individuals with Tax
                  Information Documents or other contemporaneous documents presenting employment
                  and compensation information for 2010 but without a comparable Benchmark Period.
                  Requirements detailed in Section III must be fulfilled (Category III, beginning at page
                  28).

           IV.    INDIVIDUAL CLAIMANTS WITHOUT EARNINGS DOCUMENTATION WHO SUBMIT
                  INDIVIDUAL AND EMPLOYER SWORN WRITTEN STATEMENTS TO ESTABLISH EARNINGS:
                  Applies to Individuals without any documentary proof but providing Sworn Written
                  Statements (from both the claimant and the employer) presenting employment and
                  compensation information for 2010. Requirements detailed in Section IV must be
                  fulfilled (Category IV, beginning at page 44).

Definitions
        The following defined terms used in this Framework for Individual Economic Loss Claims shall
        have the meanings set forth below and be presented in bold-faced type throughout this
        Framework.

        A. Actual Earnings: Claimant’s income actually earned from the Claiming Job(s) during the
           Compensation Period excluding Spill-Related Payments and employment earnings from the
           VoO program (if any). For purposes of calculating Claimant Lost Earnings, there may be



4
  For purposes of this Framework for Individual Economic Loss Claims, the presumption shall be that the location
of economic loss for the Claiming Job is the location of the claimant’s employer within the Class Definition
geographic area, not the claimant’s residence. Claimants may establish an alternative location of economic loss for
the Claiming Job other than their employer’s location by providing evidence that their primary employment
activities and responsibilities occur in a location different from their employer’s business address, and that the
claimed DWH Spill-related economic loss occurred at such location. For example, the claimant works for a
housekeeping company located in Zone C that services households in Zones A, B and C, including vacation
condominiums located in Zone A, and the claimant establishes that she works primarily in Zone A.

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      adjustments to Actual Earnings pursuant to Step 5 of the Compensation Calculations set forth
      in Categories I, II and III.

   B. Base Year(s): A claimant selected period used for historical comparison and defined as one of
      the following options, provided that once selected, the same Base Year(s) shall be used in this
      Framework for Individual Economic Loss Claims for all purposes for which a Base Year(s) is
      required:
          1. 2009; or
          2. The average of 2008 and 2009; or
          3. The average of 2007, 2008 and 2009.

   C. Benchmark Period: A time period for which a claimant was engaged in a Claiming Job or a
      comparable job (where “comparable” shall mean a job with the same employer, or a job with
      a new employer where the claimant’s earned income changed by less than 20% between
      January 1 – April 30 of the Base Year(s) and January 1 – April 30, 2010), and which a claimant
      chooses for the following:
           1. To establish baseline earnings to be used in calculating the claimant’s Expected
              Earnings.
                   i. For Categories I and II, the Benchmark Period is the time period of at least 90
                      consecutive days within the claimant-selected Base Year(s) that corresponds
                      to the same calendar months and days selected by the claimant as the
                      Compensation Period. In circumstances where the claimant chooses multiple
                      Base Years, the Benchmark Period shall be calculated as the average of the
                      time periods (of at least 90 consecutive days) from each Base Year that
                      correspond to the same calendar months and days selected by the claimant as
                      the Compensation Period.
                   ii. For a claimant in Category III, 2011 Benchmark Period shall be defined as a
                       2011 time period of at least 90 consecutive days that corresponds to the same
                       calendar months and days as the claimant’s selected Compensation Period.
                  iii. If the pay periods fall on different dates in the Benchmark Period or the 2011
                       Benchmark Period, earnings shall be allocated pro-rata to correspond to the
                       dates of the Compensation Period.
                  iv. Examples of Benchmark Period and 2011 Benchmark Period can be seen in
                      Appendices A through F attached hereto.
          AND

          2. If applicable, to establish the baseline historical earnings to be used in calculating the
             Claimant Specific Growth Factor. For this purpose, the Benchmark Period is the
             consecutive pay periods which cover January through April of the claimant-selected
             Base Year(s). In circumstances where the claimant chooses multiple Base Years, the
             Benchmark Period shall be calculated as the average of the corresponding periods
             from each Base Year. Examples can be seen in Appendices A through F attached
             hereto.

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   D. Claimant Lost Earnings: The claimant’s Expected Earnings from all Claiming Jobs minus the
      claimant’s Actual Earnings from all Claiming Jobs during the Compensation Period, minus any
      Offsetting Earnings.

   E. Claimants Without Comparable Benchmark Earnings: Individuals without historical earnings
      comparable to the Compensation Period employment shall use 2011 Benchmark Period
      earnings (if any) to establish Expected Earnings (as described in Category III). Those claimants
      are:
           1. New Entrant To Employment: An Individual (i) who was not employed between
              January 1, 2007 and April 20, 2010, and (ii) who accepted an offer of first-time
              employment in a new job, full or part-time (including but not limited to seasonal
              employment), prior to April 20, 2010, to start working during the period April 21, 2010
              to December 31, 2010, and (iii) whose offer was withdrawn or amended during 2010
              after the DWH Spill.
               For example, if as of April 20, 2010, an Individual who had never been employed had
               received and accepted an offer of employment to begin working between April 21 and
               December 31, 2010, the Individual shall be considered a New Entrant to
               Employment. Similarly, if an Individual had previously engaged in part-time work, but
               as of April 20, 2010 had accepted an offer for his or her first full-time position (or for
               his or her first seasonal employment position) to begin working between April 21 and
               December 31, 2010, the Individual shall also be considered a New Entrant to
               Employment. And, if an Individual had worked prior to 2007, but not between
               January 1, 2007 and April 20, 2010, and had accepted an offer of employment to
               begin working between April 21 and December 31, 2010, the Individual shall be
               considered a New Entrant to Employment.
           2. Claimant Who Had Less Than Twelve Months Of Earnings History But Was Employed
              On April 20, 2010: An Individual with 2010 earnings information who was employed
              on April 20, 2010 but who did not become employed until after April 20, 2009.
           3. Career Changer: An Individual who (i) changed employer(s) and line of work between
              the Benchmark Period and the Compensation Period and (ii) whose earnings during
              the period January 1 - April 30, 2010 changed by more than plus or minus 20%
              compared to their earnings during the period January 1 - April 30 of the Base Year(s).

   F. Claiming Job(s): The job held or secured by the claimant as of April 20, 2010 for which the
      claimant seeks compensation and for which causation requirements under this Framework for
      Individual Economic Loss are satisfied. Any job from which the claimant generated earnings
      during the Benchmark Period and/or the Compensation Period (including Schedule C or F
      activities) and for which the claimant does not seek compensation shall be a Non-Claiming
      Job.

   G. Claims Administrator: The Claims Administrator and related staff appointed pursuant to the
      Economic And Property Damages Settlement Agreement and any Claims Administration
      Vendor operating in the Class Action Settlement Office.



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       H. Compensation Period: The Compensation Period is selected by the claimant. It must include
          90 or more consecutive days between April 21, 2010 and December 31, 2010, except for
          claimants who are in the Primary Seafood Industry5 for which the time period is 90 or more
          consecutive days between April 21, 2010 and April 30, 2011. Claimant can select only one
          Compensation Period, and the Compensation Period must correspond with the pay periods
          used by the employer (i.e., start and end with the standard daily, weekly, or monthly pay
          period used by the employer).6

       I.   Eligible Employer: An employer that (a) filed a claim in the MDL 2179 settlement process and
            established causation according to rules described in Causation Requirements For Business
            Economic Loss Claims or (b) received a compensation offer from the GCCF.

       J.   Employment-Related Benefits Losses: Losses defined in the Addendum Regarding
            Compensation Related to a Claimant’s Loss of Employment-Related Benefits Income as a
            Result of the DWH Spill.

       K. Expected Earnings: Claimant’s earnings in the Compensation Period in the Claiming Job that
          would have been expected in the absence of the DWH Spill.

       L. Final Claimant Compensation: The Final Compensation Amount shall be the amount owed to
          the claimant. For Categories I, II, and III, the Final Compensation Amount shall equal the sum
          of the Claimant Lost Earnings, any applicable RTP, any Employment-Related Benefits Losses,
          any Reimbursable Training Costs, and any Reimbursable Search Costs, less any Spill-Related
          Payments. For Category IV, the Final Compensation Amount shall be the sum of the Claimant
          Lost Earnings and any applicable RTP, less any Spill-Related Payments.

       M. Framework for Individual Economic Loss Claims: This Framework for Individual Economic
          Loss Claims.

       N. Growth Factor: For claimants in Categories I – III only, Growth Factor shall be defined as any
          of the growth-related factors described below that may be applied in the calculation of a
          claimant’s Expected Earnings, where the claimant is eligible, including the Claimant Specific
          Growth Factor or the General Growth Factor, and, if applicable, the Industry Growth Factor.
          Only certain claimants who qualify for compensation pursuant to Categories I, II and III below
          are eligible to receive any applicable factors. Growth Factors are not applicable in Category
          IV.
               1. Claimant Specific Growth Factor: Claimant Specific Growth Factor shall be defined as
                  an individualized Growth Factor for each Claiming Job for which the claimant provides

5
  As used herein, the definitions of Primary Seafood Industry and Secondary Seafood Industry are set forth in the
Seafood Distribution Chain Definitions.
6
  If the claimant has multiple Claiming Jobs which utilize different pay periods, the Compensation Period dates
shall be selected to correspond to pay periods from the position producing greatest earnings. Other wages
(utilizing different pay period schedules), including wages from jobs worked in the Compensation Period for which
lost earnings are not sought (where relevant), shall be allocated pro-rata to the days corresponding to the
Compensation Period. See examples at Appendix C.

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              Pay Period Earnings Documentation. The Claimant Specific Growth Factor shall be
              calculated as the ratio of the claimant’s actual January-April 2010 base earnings
              (including commissions but excluding bonuses) in the Claiming Job divided by actual
              January-April base earnings in the Base Year(s) (including commissions but excluding
              bonuses), provided that if the calculated rate is greater than +10%, the Claimant
              Specific Growth Rate shall be +10%, and if the calculated rate is less than -1.5%, the
              Claimant Specific Growth Rate shall be -1.5%. If the Claimant Specific Growth Factor
              reflects a change of plus or minus 20% and the Individual was employed in a new line
              of work with a new employer, claimant shall be considered a Career Changer and be
              subject to the requirements of Category III: INDIVIDUAL CLAIMANTS WITH EARNINGS
              DOCUMENTATION FOR 2010 BUT WITHOUT COMPARABLE BENCHMARK PERIOD
              EARNINGS.

          2. General Growth Factor: General Growth Factor shall be defined as a Growth Factor
             of 2.0% that shall be assumed and applied for a claimant in Category I or Category II
             who does not provide Pay Period Earnings Documentation or who is a Seasonal
             Employee (and therefore has no Claimant Specific Growth Factor because he or she
             has provided no basis for calculating it). For a claimant in Category III who has 2011
             Benchmark Period earnings, those earnings shall be decreased by the General
             Growth Factor to calculate Expected Earnings. For a Career Changer who does not
             have 2011 earnings information for the 2011 Benchmark Period, the General Growth
             Factor may apply in establishing Expected Earnings pursuant to Category III.

          3. Industry Growth Factor: Industry Growth Factor shall be defined as a Growth Factor
             of 1.5% and may be applied to claimants in Categories I, II and III in certain
             circumstances where the Claiming Job is a non-salaried, hourly wage job in both
             (i) the Compensation Period and (ii) the Benchmark Period or 2011, as relevant.

   O. Offsetting Earnings: Earnings from any Non-Claiming Job(s) during the claimant’s
      Compensation Period in excess of earnings from any Non-Claiming Job(s) during the
      claimant’s Benchmark Period, if any, shall offset Claimant Lost Earnings unless:

          1. If the claimant provides documentation (as described in O.3) establishing that he or
             she worked the same or more total hours at all Claiming Job(s) during the
             Compensation Period (as compared to the Benchmark Period), then (a) no Offsetting
             Earnings shall apply, and (b) to the extent the claimant worked more total hours in all
             Claiming Jobs in the Compensation Period (relative to the Benchmark Period), Actual
             Earnings shall be limited as set forth in Step 5 of the Compensation Calculations set
             forth in Categories I, II and III.

              OR

          2. If the claimant (i) provides documentation (as described in O.3) establishing that he or
             she worked fewer total hours at all Claiming Jobs during the Compensation Period (as
             compared to the Benchmark Period), and (ii) provides evidence as to the number of
             hours worked in a Non-Claiming Job(s) during the Compensation Period and the
             Benchmark Period, then Offsetting Earnings shall be calculated follows:
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                    i. The average hourly rate for the Non-Claiming Job(s) during the Compensation
                       Period, multiplied by the lesser of the following:

                           a. The total number of increased hours worked in the Non-Claiming
                              Job(s) during the Compensation Period above the hours (if any)
                              worked at that job or activity during the claimant’s Benchmark Period
                              (which may be zero); or

                           b. The sum of the total number of hours lost in the Claiming Job(s).

           3. Documentation sufficient to satisfy O.1 and O.2 by establishing the number of hours
              worked (and, if relevant, wage rate) in (a) the Claiming Job(s) and (b) the Non-
              Claiming Job(s) during both (c) the Compensation Period and (d) the Benchmark
              Period (as relevant), includes the following:

                    i. For any Claiming Job or Non-Claiming Job which is paid on an hourly basis,
                       the claimant must provide documentation establishing the number of hours
                       worked for each hourly position and for the relevant period(s).
                       Documentation could include, for example, pay stubs.

                   ii. For non-hourly jobs, the claimant must provide an Employer Sworn Written
                       Statement and any other documentation establishing the number of hours
                       worked for each relevant position and period, including, but not limited to
                       documentation reflecting overtime worked.

                   iii. For any Schedule C or F activity, the claimant must provide a Claimant Sworn
                        Written Statement and all available supporting documentation disclosing the
                        number of hours worked in connection with the identified activity for each of
                        the relevant periods.

   P. One Time, Non-Recurring Event Compensation: If a claimant can establish lost earnings
      income or profit from a Claiming Job due to the cancellation of a contract for a One Time,
      Non-Recurring Event as set forth in the One Time Loss Addendum, the claimant may receive
      additional compensation in accord with One Time Loss Addendum.

   Q. Pay Period Earnings Documentation: Documentation sufficient to establish a claimant’s
      earnings from employment and hours worked during the applicable period(s), including (i) the
      Benchmark Period (relevant for Categories I and II), (ii) January through April of 2010 and the
      Base Year(s), (iii) the Compensation Period (relevant for Categories I through III), and (iv) the
      2011 Benchmark Period (relevant for Category III). Documentation may include:
                Paycheck stubs; and/or
                Other employer records documenting actual amounts paid, if applicable; and/or
                Bank records showing income deposits and supporting documentation indicating
                 the source of those deposits; and/or

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               A bank statement or other contemporaneous documentation verifying the absence
                of income for all or part of the Compensation Period; and/or
               Receipts or records from check cashing and payday loan services; and/or
               Contracts for employment accompanied by documentation establishing that wages
                or other amounts to be paid pursuant to the contract, if applicable, were in fact
                paid; and/or
               Pay period earnings detail submitted under oath and included in court filings (for
                example, documentation provided in connection with divorce, child support, or
                wage garnishment proceedings).

   R. Reimbursable Search Costs: Documented travel and job search costs actually incurred after
      April 20, 2010 in searching for alternative employment due to job loss or work reduction after
      the DWH Spill.

   S. Reimbursable Search Cost Documentation: Documents reflecting all amounts incurred for
      Reimbursable Search Costs sought by the claimant.

   T. Reimbursable Training Costs: Training, licensing and educational tuition, fees, and similar
      expenses for courses or programs related to improving job skills or securing alternate
      employment (i.e., education not in pursuit of a two- or four-year degree) in which claimant
      enrolled and participated commencing on or after April 21, 2010 through December 31, 2010
      due to job loss or work reduction after the DWH Spill.

   U. Reimbursable Training Cost Documentation: Documents reflecting all amounts paid for
      Reimbursable Training Costs sought by the claimant, and all certificates, course credits,
      diplomas, or licenses obtained by the claimant based upon the claimant’s completion of such
      training.

   V. Risk Transfer Premium (“RTP”): A factor by which Claimant Lost Income may be multiplied as
      defined and agreed to in the Economic And Property Damages Settlement Agreement.

   W. Seasonal Employee: An Individual with earnings during 6 or fewer consecutive months during
      the Base Year(s) but who was not employed as of April 20, 2010, and who as of that date had
      accepted an offer of employment for a later period in 2010 which subsequently was
      withdrawn or amended during 2010 after the DWH Spill.

   X. Spill-Related Payments: Compensation paid to a claimant by BP or GCCF related to the DWH
      Spill for loss of earnings for the Claiming Job, including (but not limited to) payments made
      pursuant to the BP/GCCF Oil Pollution Act of 1990 (“OPA”) claims facilities.

   Y. Sworn Written Statement: A written statement submitted under penalties of perjury, which
      may be submitted electronically, along with any attachments, but which must be manually
      signed by the person making the statement and reflect such manual signature. In addition,



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            the statement may have a second, electronic signature using an approved technology such as
            (but not limited to) Adobe Echosign.7 A Sworn Written Statement submitted by a claimant is
            a Claimant Sworn Written Statement and a Sworn Written Statement submitted by a
            claimant’s employer is an Employer Sworn Written Statement.

        Z. Tax Information Documents: Tax Returns and Forms W-2 and/or 1099.

        AA. Tax Returns: Federal or state income tax returns, including any relevant supporting
            schedules.

Sworn Claim Form Requirement
      Each claimant must complete and submit a Claim Form which the claimant shall verify under
      penalties of perjury. The Claim Form shall direct the claimant to provide information, including the
      claimant’s chosen Base Year(s) and Compensation Period. The claimant shall attach required
      documents supporting the claim. All statements made in, and documents submitted with, the Claim
      Form may be verified as judged necessary by the Claims Administrator. The claimant shall provide
      forms in which the claimant shall authorize the Claims Administrator to: (1) verify employment and
      obtain copies of wage records, (2) obtain Tax Information Documents from the Internal Revenue
      Service and/or Social Security Administration, and (3) confirm any bank account information used in
      support of a claim, but the authorization for bank records shall be limited to the Benchmark Period
      (or the 2011 Benchmark Period, where relevant) and Compensation Period. The Claim Form may
      be submitted in electronic fashion, including scanning of documents or copies of verification from
      public databases providing the same information as would be provided by the original document.
      The Claim Form and any Sworn Written Statements must be manually signed and reflect such
      manual signature. In addition, the Claim Form and any Sworn Written Statement may have a
      second, electronic signature using an approved technology such as (but not limited to) Adobe
      Echosign.8




7
  The parties agree that the signed statement must be as fully enforceable against the maker as a hand-signed
statement. If and to the extent it is determined that an e-signed statement will be so enforceable, then an e-
signed statement alone will suffice.
8
  The parties agree that the signed statement must be as fully enforceable against the maker as a hand-signed
statement. If and to the extent it is determined that an e-signed statement will be so enforceable, then an e-
signed statement alone will suffice.

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I.    CATEGORY I: INDIVIDUAL CLAIMANTS WITH CONTEMPORANEOUS TAX INFORMATION
      DOCUMENTS FOR 2010 AND BENCHMARK PERIOD

         If available, the Individual claimant must provide claimant’s federal or state Tax Returns or
         Forms W-2 and/or 1099 for the Compensation Period and for the Base Year(s).9 In such cases,
         the Individual claimant’s compensation shall be calculated according to this Category I. If Tax
         Returns or Forms W-2 and/or 1099 are not available, the claimant must provide a written
         statement under oath attesting that no Tax Returns are available and attesting that the claimant
         made diligent efforts to obtain Forms W-2 from his or her employer. An Individual claimant
         who is a Career Changer should proceed to Category III. A claimant who lacks Tax Information
         Documents and/or data for a Benchmark Period cannot proceed under this Category I and
         should proceed to Category II, III or IV, as relevant.

      A. Documentation Requirements

         1. Documentation Establishing Employment Earnings: For each year included in the Base
            Year(s), and for 2010, Individual claimants must provide at least one of the following Tax
            Information Documents:
                     Federal tax Form 1040 pages 1 and 2, all pages of Schedules C, E, and F, and any
                      supporting statements attached to the Form 1040 filing (including Form W-2s for
                      joint returns); or
                     State tax return, including any supporting schedules or statements; or
                     Forms W-2 documenting earnings; and/or
                     Forms 1099 documenting earnings.

         2. Documentation Establishing Pay Period Earnings: To the extent available, a claimant must
            provide Pay Period Earnings Documentation for the Benchmark Period and for 2010. A
            claimant also must provide documentation to establish any bonuses and/or commissions
            received during the Benchmark Period and the Compensation Period, as well as bonuses
            and/or commissions received during January or February of the Base Year(s), 2010 and 2011
            for all jobs worked.

             To the extent Pay Period Earnings Documentation is unavailable, the claimant shall so
             indicate in the sworn Claim Form, and earnings shall be treated as earned evenly throughout
             each year.

         3. Documentation Of Earnings From Other Sources During the Compensation Period:
            Claimants must also submit documents sufficient to establish the source(s) and amounts of
            earnings, if any, from other post-DWH Spill sources of income including: (1) Spill-Related

9
 If an Individual claimant has not maintained copies of his or her federal income tax returns, he or she shall
request a copy or transcript directly from the IRS. If a claimant has not maintained copies of his or her Forms W-2,
he or she shall request copies directly from the IRS or each employer he or she worked for during the
Compensation Period and the Benchmark Period. A federal Tax Information Document shall be considered
available if it exists and is in the claimant’s possession or has not been requested from the IRS and/or employer.


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        Payments, and (2) compensation received from and hours worked in each employment
        position other than the Claiming Job(s). The types of documents sufficient to satisfy this
        requirement are as follows:
               Forms W-2, paycheck stubs or other employer-provided payroll information; and/or
               Bank records showing income deposits and supporting documentation indicating
                the source of those deposits; and/or
               Documents from BP/GCCF showing payment and BP/GCCF Claim Number; and/or
               Forms 1099; and/or
               Receipts from check cashing services; and/or
               Other documents provided by an employer setting forth for such other employment
                position(s) (i) required hours of work, (ii) actual hours worked by claimant, and (iii)
                compensation rate.

     4. Documentation Establishing Other Costs/Losses: The claimant may also submit
        Reimbursable Training Cost Documentation, Reimbursable Search Cost Documentation,
        and/or documentation regarding Employment-Related Benefits Losses.

     5. Additional Claimant Documentation:
            a. Claimant Employability Documentation: Consists of both:

                   i. A copy of a Social Security card, government-issued identification (for
                      example, a valid driver’s license), temporary worker visa, or green card that
                      was valid as of April 20, 2010 for the claimant, or a print out from a public
                      database providing the same information as would be provided by the original
                      document;

                      AND
                  ii. Evidence the claimant was at least 16 years of age as of April 20, 2010.
                      Acceptable evidence includes a copy of a valid driver’s license, a valid
                      passport, a certified copy of the claimant’s birth certificate, or a print out from
                      a public database providing the same information as would be provided by
                      the original document.

            b. Licensing Documentation: If claimant’s employment requires a government-issued
               license/permit, a copy of valid 2010 and 2011 licenses, if appropriate, or a print out
               from a public database providing the same information as would be provided by the
               original document. Licenses could include, but are not limited to:

                   i. Taxi/livery licenses.
                  ii. Real Estate Sales licenses.
                 iii. Other licenses and permits related to income sources.

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                 c. If the claimant’s employment in the Claiming Job was terminated between April 20,
                    2010 and December 31, 2010, the claimant shall have the burden of proof to
                    establish the termination was not for cause. The termination shall be deemed not
                    for cause if:
                       i. The claimant establishes that he or she filed for and received unemployment,
                          including, for example, as evidenced by Form 1099 G.
                           OR
                      ii. Claimant provides a letter from the former employer or an Employer Sworn
                          Written Statement confirming termination was not for cause. Any such letter
                          must include contact information for an authorized representative of the
                          employer.
                           OR
                     iii. Other documentation acceptable to the Claims Administrator that establishes
                          that the claimant was not terminated for cause.

        6. Additional Documentation to Establish Causation Presumptions:
             If the claimant seeks to qualify for a causation presumption as set forth in Sections I.B.1 and
             I.B.2.a, the claimant must provide documentation for 2010 to establish that the claimant or
             the claimant’s employer satisfies (or satisfied) the geographic requirements and/or the
             definition of an entity or Natural Person included in the Primary Seafood Industry,
             Secondary Seafood Industry, Tourism,10 or Charter Fishing11 as applicable. To satisfy this
             requirement, the claimant must demonstrate the employer’s location and the following:
                 a. That the claimant works or worked for an employer that filed a claim in the MDL
                    No. 2179 settlement process and was determined by the Claims Administrator to
                    satisfy one of the above-listed definitions;
                      OR
                 b. That the claimant’s Tax Information Documents, Pay Period Earnings
                    Documentation, or other documentation establishes that the claimant’s employer
                    satisfies one of the above-listed definitions.

     B. Causation Requirements

        In order to establish causation under this Category I, a claimant must satisfy the following:

        1. The claimant must have been employed in the Claiming Job on April 20, 2010, unless the
           claimant is a Seasonal Employee who can provide evidence of historical seasonal
           employment beginning after April 20 in the Base Year(s).

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  The definition of Tourism is set forth in the Tourism Definition, Bates 026632 - 026646.
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  The definition of Charter Fishing is set forth in Definitions Section 38 of the Deepwater Horizon Economic and
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        2. The claimant must satisfy one of the following:

                 a. Individual Claimants With Presumed Causation: The DWH Spill shall be presumed
                    to be the cause of lost earnings for a Claiming Job during the Compensation Period
                    for the following categories of claimants who submit the required documentation,
                    provided that the claimant can demonstrate that any loss of income or employment
                    related to the Claiming Job was not a function of the claimant’s termination for
                    cause pursuant to the Documentation Requirements set forth in Section I.A.5.c:
                         i. If a claimant is an Individual seeking compensation for an economic loss
                            relating to employment within Zone A,12 the claimant is not required to
                            provide any evidence of causation relating to that Claiming Job.
                        ii. If a claimant is an individual seeking compensation for an economic loss for a
                            job in which he or she was employed by, or exclusively serviced, an entity or
                            Natural Person that satisfies the Primary Seafood Industry definition as set
                            forth in the Seafood Distribution Chain Definitions, the claimant is not
                            required to provide any evidence of causation relating to that Claiming Job.
                        iii. If a claimant is an individual seeking compensation for an economic loss for a
                             job in which he or she was employed by an entity or Natural Person that
                             satisfies the Secondary Seafood Industry definition as set forth in the Seafood
                             Distribution Chain Definitions, and the entity or Natural Person was located
                             in Zones B or C, the claimant is not required to provide any evidence of
                             causation relating to that Claiming Job.
                        iv. If the claimant is an Individual seeking compensation for an economic loss for
                            a job in which he or she was employed by a business located in Zone B that
                            meets the definition of Tourism, the claimant is not required to provide any
                            evidence of causation relating to that Claiming Job.

                        v. If the claimant is an Individual seeking compensation for an economic loss for
                           a job in which he or she was employed by an entity or Natural Person that
                           satisfies the definition of Charter Fishing, and the Charter Fishing business
                           was located in Zones A, B or C, the claimant is not required to provide any
                           evidence of causation relating to that Claiming Job.




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  For purposes of this Framework for Individual Economic Loss Claims, the presumption shall be that the location
of economic loss for the Claiming Job is the location of the claimant’s employer within the Class Definition
geographic area, not the claimant’s residence. Claimants may establish an alternative location of economic loss for
the Claiming Job other than their employer’s location by providing evidence that their primary employment
activities and responsibilities occur in a location different from their employer’s business address, and that the
claimed DWH Spill-related economic loss occurred at such location. For example, the claimant works for a
housekeeping company located in Zone C that services households in Zones A, B and C, including vacation
condominiums located in Zone A, and the claimant establishes that she works primarily in Zone A.

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            OR

            b. Individual Claimants Without Presumed Causation: If a claimant is not entitled to a
               causation presumption as set forth in Section I.B.2.a, the claimant can establish
               causation for a Claiming Job during the Compensation Period only by satisfying the
               requirements of one of the following sub-sections:
                   i. Causation is established if the Claiming Job is with an Eligible Employer. The
                      Claims Administrator shall verify that the employer is an Eligible Employer.
                   ii. Causation for a Claiming Job is established if the claimant provides an
                       Employer Sworn Written Statement attributing the claimant’s loss of income
                       during the Compensation Period to the DWH Spill. The Employer Sworn
                       Written Statement must articulate in detail how the claimant’s losses at the
                       Claiming Job are causally related to the DWH Spill. Such Employer Sworn
                       Written Statement must also include contact information for an authorized
                       representative of the employer.
                  iii. The Claims Administrator shall evaluate the credibility and reliability of the
                       information provided by the employer and the claimant, including any Sworn
                       Written Statements, and have the right to request supplemental
                       documentation and/or to interview the employer in accordance with the
                       Addendum Regarding Interviews of Claimant Alleging Economic Loss.

  C. Compensation Calculation
     The Claims Administrator shall use Tax Information Documents and other supporting
     documentation provided by the claimant to calculate the Claimant Lost Earnings. As set forth in
     the steps below, Claimant Lost Earnings includes: (1) any reduction in earnings between the
     Compensation Period and the Benchmark Period for each Claiming Job, plus (2) any lost
     potential earnings growth expected for each Claiming Job in the absence of the DWH Spill,
     minus (3) any Offsetting Earnings. Lost potential earnings growth expected for each Claiming
     Job shall be determined through application of (a) a Claimant Specific Growth Factor, or (b) a
     General Growth Factor; in addition, for claims based on non-salaried, hourly-wage jobs, an
     Industry Growth Factor is applied.
     The claimant shall receive a lump-sum final payment that includes compensation for Claimant
     Lost Earnings, plus any applicable RTP agreed upon by the parties, plus compensation for
     properly documented Employment-Related Benefits Losses, Reimbursable Training Costs and
     Reimbursable Search Costs, or One Time, Non-Recurring Event Commission Compensation, if
     any, less any Spill-Related Payments.

     Example compensation calculations are set forth in Appendices A through F attached hereto.

     Step 1: Claimant Selects Compensation Period and Benchmark Period
         1. Claimant selects a Compensation Period. For a claimant who (i) was terminated for
            cause in 2010 from the Claiming Job(s), or (ii) otherwise ended employment at the

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             Claiming Job(s) in 2010 for reasons unrelated to the DWH Spill, the Compensation
             Period may not extend beyond the termination date.
         2. Claimant selects a Base Year(s).

     Step 2: Determine Benchmark Period Earnings for the Months Corresponding to the
     Compensation Period
     Earnings during the Benchmark Period months (as evidenced by Tax Information Documents)
     shall include earned income from each Claiming Job (or comparable job) and shall be assumed
     to have been earned evenly throughout the year unless the claimant provides Pay Period
     Earnings Documentation sufficient to establish actual earnings distribution throughout the year.
     All bonuses and/or commissions shall be allocated pro rata across the period for which they
     were awarded, and annual performance bonuses paid in January and February shall be assumed
     to relate to the prior calendar year, unless the documents establish that the bonus related to a
     specific period of time.

     Step 3: Determine Earnings Growth Factor(s)
         1. Claimant Specific Growth Factor: For claimants who provide Pay Period Earnings
            Documentation sufficient to calculate a Claimant Specific Growth Factor, the following
            Growth Factors may apply:
             a. Claimant Specific Growth Factor is defined, and the calculation is explained, in
                Definitions Section N.1.
             b. Industry Growth Factor is defined in Definitions Section N.3.

         2. Claimants for Whom Claimant Specific Growth Factor Is Not Applicable: For claimants
            unable to provide Pay Period Earnings Documentation sufficient to calculate a Claimant
            Specific Growth Factor and for Seasonal Employees, no Claimant Specific Growth
            Factor shall apply. Instead, the following Growth Factors may apply:
             a. General Growth Factor is defined in Definitions Section N.2 and is 2.0%.
             b. Industry Growth Factor is defined in Definitions Section N.3: For claims based on
                non-salaried, hourly-wage jobs, an Industry Growth Factor of 1.5% shall be applied.

     Step 4: Calculate Expected Earnings
         Expected Earnings equal the Benchmark Period earnings calculated in Step 2 increased by
         the applicable Growth Factors (from Step 3).
         Expected Earnings = Benchmark Period Earnings from Step 2 x (1 + applicable Step 3 Growth
                                             Factor(s))



     Step 5: Determine Actual Earnings and Any Offsetting Earnings In The Compensation Period
         Actual Earnings for all Claiming Jobs and any applicable Offsetting Earnings during the
         Compensation Period shall be determined based on Tax Information Documents and Pay
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       Period Earnings Documentation provided by the claimant and other documentation
       relevant to determining Offsetting Earnings.

       To the extent the claimant does not have Pay Period Earnings Documentation for a
       Claiming Job, Actual Earnings during the Compensation Period shall be estimated for that
       Claiming Job by dividing the claimant’s total 2010 Claiming Job earnings by 12 and
       multiplying that amount by the number of months in the Compensation Period. All bonuses
       and/or commissions shall be allocated pro rata across the periods for which they were
       awarded, and annual performance bonuses paid in January and February shall be assumed
       to relate to the prior calendar year, unless the documents establish that the bonus related
       to a specific period of time.

       Offsetting Earnings and Actual Earnings from all Claiming Jobs shall be calculated giving
       consideration to all Claiming Jobs, provided that:

       1. If the claimant has only one Claiming Job, then:

               i. If Pay Period Earnings Documentation (or other documentation relevant to
                  calculating Offsetting Earnings) reflects the same or an increased number of
                  hours worked at the Claiming Job in the Compensation Period relative to the
                  Claiming Job (or comparable job) in the Benchmark Period, Actual Earnings
                  shall be limited to earnings from the Claiming Job (or comparable job) over the
                  same total number of hours worked in the Benchmark Period, and no
                  Offsetting Earnings shall apply.

                   OR

               ii. If Pay Period Earnings Documentation (or other documentation) (i) reflects a
                   decrease in hours worked at the Claiming Job during the Compensation Period,
                   and (ii) the claimant’s Pay Period Earnings Documentation reflects additional
                   hours worked at a Non-Claiming Job (whether such Non-Claiming Job was held
                   in the Benchmark Period or is a new position), Offsetting Earnings shall be
                   calculated and factored into the determination of Claimant Lost Earnings.

       2. If the claimant has more than one Claiming Job, then:

               i. If Pay Period Earnings Documentation (or other documentation relevant to
                  calculating Offsetting Earnings) for all Claiming Jobs reflects the same or an
                  increased number of total hours worked across all Claiming Jobs during the
                  Compensation Period (relative to all Claiming Jobs (or comparable jobs) in the
                  Benchmark Period), aggregate Actual Earnings in the Compensation Period
                  shall be limited to total earnings from all Claiming Jobs (or comparable jobs)
                  over the same number of total hours worked in the Benchmark Period,
                  provided that earnings from hours lost in one Claiming Job shall be replaced by
                  earnings from the same number of hours worked in a different Claiming Job
                  during the Compensation Period. No Offsetting Earnings shall apply.


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                    OR

                 ii. If Pay Period Earnings Documentation (or other documentation relevant to
                     calculating Offsetting Earnings) for all Claiming Jobs reflects (i) fewer total
                     hours worked across all Claiming Jobs during the Compensation Period (relative
                     to all Claiming Jobs (or comparable jobs) in the Benchmark Period), but (ii)
                     more hours worked in one (or more) Claiming Job(s) in the Compensation
                     Period (relative to the same Claiming Job(s) in the Benchmark Period),
                     aggregate Actual Earnings in the Compensation Period shall include total
                     earnings from all Claiming Jobs (or comparable jobs) in the Compensation
                     Period. If the claimant’s Pay Period Earnings Documentation also reflects
                     additional hours worked at a different (Non-Claiming Job) position (whether
                     such position was held in the Benchmark Period or is a new position), Offsetting
                     Earnings shall be calculated and factored into the determination of Claimant
                     Lost Earnings for the number of hours representing the difference between (a)
                     total hours worked in all Claiming Jobs in the Compensation Period, and (b)
                     total hours worked in all Claiming Jobs in the Benchmark Period.

                    OR

                iii. If Pay Period Earnings Documentation (or other documentation) for all Claiming
                     Jobs (i) reflects a decrease in hours worked at each Claiming Job during the
                     Compensation Period, and (ii) the claimant’s Pay Period Earnings
                     Documentation reflects additional hours worked at a different position
                     (whether such position was held in the Benchmark Period or is a new position),
                     Offsetting Earnings shall be calculated and factored into the determination of
                     Claimant Lost Earnings for the total lost hours.

                    OR

                iv. If the claimant does not have Pay Period Earnings Documentation (or other
                    documentation establishing hours worked) for all Claiming Jobs, then Actual
                    Earnings shall include all earnings from all Claiming Jobs and Offsetting
                    Earnings shall apply.

     Step 6: Determine Claimant Lost Earnings
        Claimant Lost Earnings shall be calculated as (a) the difference between (i) the claimant’s
        Expected Earnings during the Compensation Period (Step 4) from all Claiming Jobs and
        (ii) the claimant’s Actual Earnings during the Compensation Period, as adjusted, if relevant,
        (Step 5) from all Claiming Jobs, reduced by (b) any applicable Offsetting Earnings.


     Step 7: Calculate Final Claimant Compensation
     Final Claimant Compensation shall be Claimant Lost Earnings (Step 6) adjusted as follows:
        1. Add any applicable RTP agreed to by the parties. For an employee terminated for cause
           from a Claiming Job, no RTP shall apply.
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            -   For claimants whose Claimant Lost Earnings result from more than one Claiming
                Job, the claimant’s applicable RTP shall be calculated based on (i) the percentage of
                total Claimant Lost Earnings related to each Claiming Job, multiplied by (ii) the RTP
                applicable to each Claiming Job, which is determined by the job type
                (Tourism/Other Industries) and zone (Zone A, B, C or D). For example, a claimant
                with 50% of their lost earnings from a job Zone A hotel, and 50% of their lost
                earnings from a job in a Zone C restaurant shall receive an RTP that is calculated as
                follows:
                            Applicable RTP = .5*RTPZone A Tourism (hotel) + .5*RTPZone C Tourism (restaurant)
       2. Add any Reimbursable Training Costs. Reimbursable Training Costs shall be fully
          reimbursed if the training led directly to earned income in 2010. If no corresponding
          income was earned in 2010, then Reimbursable Training Costs shall be reimbursed up
          to $2,000.
                For example: A claimant who paid $3,000 after April 20, 2010 to secure a
                commercial trucking license and who earned income as a commercial trucker in
                2010 shall receive $3,000 in reimbursement. If the claimant earned no income from
                commercial trucking during 2010, the claimant would receive a $2,000
                reimbursement.
       3. Add any Reimbursable Search Costs.
       4. Add any applicable Employment-Related Benefits Losses.
       5.   Add any One Time, Non-Recurring Event Compensation.
       6. Subtract any Spill-Related Payments.
       7. The formula for Final Claimant Compensation is:
                            Claimant Lost Earnings
                    +       (Claimant Lost Earnings x any applicable RTP)
                    +       Employment-Related Benefits Losses (if applicable)
                    +       Reimbursable Training Costs (full if led to earned income in 2010 from
                            area of training, otherwise $2,000) (if applicable)
                    +       Reimbursable Search Costs (if applicable)
                    +       One Time, Non-Recurring Event Compensation (if applicable)
                    -       Spill-Related Payments (if applicable)
                    -       VoO Settlement Offset and/or VoO Earned Income Offset (if any)




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II. CATEGORY II: INDIVIDUAL CLAIMANTS WITH PAY PERIOD OR OTHER EARNINGS
    DOCUMENTATION FOR 2010 AND BENCHMARK PERIOD13

        Individual claimants who do not have Tax Information Documents available for either 2010 or
        the Base Year(s) may instead provide Pay Period Earnings Documentation sufficient to establish
        earnings during the Compensation Period and the Benchmark Period. Such Individual
        claimants must provide a written statement under oath attesting that no Tax Returns are
        available and attesting that the claimant made diligent efforts to obtain Forms W-2 from his or
        her employer and stating that they are not available. An Individual claimant who is a Career
        Changer should proceed to Category III. An Individual claimant who lacks Tax Information
        Documents and Pay Period Earnings Documentation for the Benchmark Period and/or 2010
        must so state in the sworn Claim Form. In such circumstances, claimant cannot proceed under
        this Category II and should proceed to Category III or IV to the extent the claimant qualifies
        under any such Category.

     A. Documentation Requirements

        1. Documentation Establishing Employment Earnings: To the extent available, the claimant
           must provide Pay Period Earnings Documentation for the Benchmark Period and for 2010.
           Where incomplete Pay Period Earnings Documentation is provided, Expected Earnings and
           Actual Earnings shall be calculated based only on the actual documentation provided. A
           claimant also must provide documentation to establish any bonuses and/or commissions
           received during the Benchmark Period and the Compensation Period, as well as bonuses
           and/or commissions received during January or February of the Base Year(s), 2010 and 2011
           for all jobs worked.
        2. Documentation Of Earnings From Other Sources During the Compensation Period:
           Claimants must also submit documents sufficient to establish the source(s) and amounts of
           earnings, if any, from other post-DWH Spill sources of income including: (1) Spill-Related
           Payments, and (2) compensation received from and hours worked in each employment
           position other than the Claiming Job(s). The types of documents sufficient to satisfy this
           requirement are as follows:
                   Forms W-2, paycheck stubs or other employer-provided payroll information; and/or
                   Bank records showing income deposits and supporting documentation indicating
                    the source of those deposits; and/or
                   Document from BP/GCCF showing payment and BP/GCCF Claim Number; and/or
                   Forms 1099; and/or
                   Receipts from check cashing services; and/or
                   Other documents provided by an employer setting forth for such other employment
                    position(s) (i) required hours of work, (ii) actual hours worked by claimant, and
13
  A claimant who has no job earnings from any Benchmark Period may not proceed under Category II but should
proceed to Category III as a potential New Entrant To Employment or Claimant Who Had Less Than Twelve
Months Of Earnings History But Was Employed On April 20, 2010, or to Category IV, as relevant.

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                (iii) compensation rate.

     3. Documentation Establishing Other Costs/Losses: The claimant may also submit
        Reimbursable Training Cost Documentation, Reimbursable Search Cost Documentation,
        and/or documentation regarding Employment-Related Benefits Losses.
     4. Additional Claimant Documentation

        a. Claimant Employability Documentation: Consists of both:
                i.     A copy of a Social Security card, government-issued identification (for example,
                       a valid driver’s license), temporary worker visa, or green card that was valid as
                       of April 20, 2010 for the claimant, or a print out from a public database
                       providing the same information as would be provided by the original document;

                       AND

                ii. Evidence the claimant was at least 16 years of age as of April 20, 2010.
                    Acceptable evidence includes a copy of a valid driver’s license, a valid passport,
                    a certified copy of the claimant’s birth certificate, or a print out from a public
                    database providing the same information as would be provided by the original
                    document.

        b. Licensing Documentation: If claimant’s employment requires a government-issued
           license/permit, a copy of valid 2010 and 2011 licenses, if appropriate, or a print out
           from a public database providing the same information as would be provided by the
           original document. Licenses could include, but are not limited to:
                    i. Taxi/livery licenses.
                    ii. Real Estate Sales licenses.
                iii. Other licenses and permits related to income sources.

        c. If the claimant’s employment in the Claiming Job was terminated between April 20,
           2010 and December 31, 2010, the claimant shall have the burden of proof to establish
           the termination was not for cause. The termination shall be deemed not for cause if:
                    i. The claimant establishes that he or she filed for and received unemployment,
                       including, for example, as evidenced by Form 1099 G.
                       OR
                    ii. Claimant provides a letter from the former employer or an Employer Sworn
                        Written Statement confirming termination was not for cause. Any such letter
                        must include contact information for an authorized representative of the
                        employer.
                       OR
             iii.      Other documentation acceptable to the Claims Administrator that establishes
                       that the claimant was not terminated for cause.

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        5. Additional Documentation to Establish Causation Presumptions:
             If the claimant seeks to qualify for a causation presumption as set forth in Sections II.B.1 and
             II.B.2.a, the claimant must provide documentation for 2010 to establish that the claimant or
             the claimant’s employer satisfies (or satisfied) the geographic requirements and/or the
             definition of an entity or Natural Person included in the Primary Seafood Industry,
             Secondary Seafood Industry, Tourism,14 or Charter Fishing15 as applicable. To satisfy this
             requirement, the claimant must demonstrate the employer’s location and the following:
                 a. That the claimant works or worked for an employer that filed a claim in the MDL
                    No. 2179 settlement process and was determined by the Claims Administrator to
                    satisfy one of the above-listed definitions;
                      OR
                 b. That the claimant’s Tax Information Documents, Pay Period Earnings
                    Documentation, or other documentation establishes that the claimant’s employer
                    satisfies one of the above-listed definitions.

     B. Causation Requirements
        In order to establish causation under this Category II, a claimant must satisfy the following:

        1. The claimant must have been employed in the Claiming Job on April 20, 2010, unless the
           claimant is a Seasonal Employee who can provide evidence of historical seasonal
           employment beginning after April 20 in the Base Year(s).

        2. The claimant must satisfy one of the following:

                 a. Individual Claimants With Presumed Causation: The DWH Spill shall be presumed
                    to be the cause of lost earnings for a Claiming Job during the Compensation Period
                    for the following categories of claimants who submit the required documentation,
                    provided that the claimant can demonstrate that any loss of income or employment
                    related to the Claiming Job was not a function of the claimant’s termination for
                    cause pursuant to the Documentation Requirements set forth in Section II.A.4.c:
                         i. If a claimant is an Individual seeking compensation for an economic loss
                            relating to employment within Zone A,16 the claimant is not required to
                            provide any evidence of causation relating to that Claiming Job.

14
   The definition of Tourism is set forth in the Tourism Definition, Bates 026632 - 026646.
15
   The definition of Charter Fishing is set forth in Definitions Section 38 of the Deepwater Horizon Economic and
Property Damages Settlement Agreement.
16
   For purposes of this Framework for Individual Economic Loss Claims, the presumption shall be that the location
of economic loss for the Claiming Job is the location of the claimant’s employer within the Class Definition
geographic area, not the claimant’s residence. Claimants may establish an alternative location of economic loss for
the Claiming Job other than their employer’s location by providing evidence that their primary employment
activities and responsibilities occur in a location different from their employer’s business address, and that the
claimed DWH Spill-related economic loss occurred at such location. For example, the claimant works for a

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                        ii. If a claimant is an individual seeking compensation for an economic loss for a
                            job in which he or she was employed by, or exclusively serviced, an entity or
                            Natural Person that satisfies the Primary Seafood Industry definition as set
                            forth in the Seafood Distribution Chain Definitions, the claimant is not
                            required to provide any evidence of causation relating to that Claiming Job.
                       iii. If a claimant is an individual seeking compensation for an economic loss for a
                            job in which he or she was employed by an entity or Natural Person that
                            satisfies the Secondary Seafood Industry definition as set forth in the Seafood
                            Distribution Chain Definitions, and the entity or Natural Person was located
                            in Zones B or C, the claimant is not required to provide any evidence of
                            causation relating to that Claiming Job.
                       iv. If the claimant is an Individual seeking compensation for an economic loss for
                           a job in which he or she was employed by a business located in Zone B that
                           meets the definition of Tourism, the claimant is not required to provide any
                           evidence of causation relating to that Claiming Job.

                        v. If the claimant is an Individual seeking compensation for an economic loss for
                           a job in which he or she was employed by an entity or Natural Person that
                           satisfies the definition of Charter Fishing, and the Charter Fishing business
                           was located in Zones A, B or C, the claimant is not required to provide any
                           evidence of causation relating to that Claiming Job.

                 OR

                 b. Individual Claimants Without Presumed Causation: If a claimant is not entitled to a
                    causation presumption as set forth in Section II.B.2.a, the claimant can establish
                    causation for a Claiming Job during the Compensation Period only by satisfying the
                    requirements of one of the following sub-sections:
                        i. Causation is established if the Claiming Job is with an Eligible Employer. The
                           Claims Administrator shall verify that the employer is an Eligible Employer.
                        ii. Causation for a Claiming Job is established if the claimant provides an
                            Employer Sworn Written Statement attributing the claimant’s loss of income
                            during the Compensation Period to the DWH Spill. The Employer Sworn
                            Written Statement must articulate in detail how the claimant’s losses at the
                            Claiming Job are causally related to the DWH Spill. Such Employer Sworn
                            Written Statement must also include contact information for an authorized
                            representative of the employer.
                       iii. The Claims Administrator shall evaluate the credibility and reliability of the
                            information provided by the employer and the claimant, including any Sworn
                            Written Statements, and have the right to request supplemental



housekeeping company located in Zone C that services households in Zones A, B and C, including vacation
condominiums located in Zone A, and the claimant establishes that she works primarily in Zone A.

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                       documentation and/or to interview the employer in accordance with the
                       Addendum Regarding Interviews of Claimant Alleging Economic Loss.

  C. Compensation Calculation
     The Claims Administrator shall use Pay Period Earnings Documentation or annual employer-
     provided payroll information submitted by the claimant pursuant to Section II.A, and other
     supporting documentation provided by the claimant, to calculate the Claimant Lost Earnings.
     As set forth in the steps below, Claimant Lost Earnings includes: (1) any reduction in earnings
     between the Compensation Period and the Benchmark Period for each Claiming Job, plus
     (2) any lost potential earnings growth expected for each Claiming Job in the absence of the
     DWH Spill, minus (3) any Offsetting Earnings. Lost potential earnings growth expected for each
     Claiming Job shall be determined through application of (a) a Claimant Specific Growth Factor,
     or (b) a General Growth Factor; in addition, for claims based on non-salaried, hourly-wage jobs,
     an Industry Growth Factor is applied.
     The claimant shall receive a lump-sum final payment that includes compensation for Claimant
     Lost Earnings, plus any applicable RTP agreed upon by the parties, plus compensation for
     properly documented Employment-Related Benefits Losses, Reimbursable Training Costs and
     Reimbursable Search Costs, or One Time, Non-Recurring Event Commission Compensation, if
     any, less any Spill-Related Payments.

     Example compensation calculations are set forth in Appendices A through F attached hereto.

     Step 1: Claimant Selects Compensation Period and Benchmark Period

         1. Claimant selects a Compensation Period. For a claimant who (i) was terminated for
            cause in 2010 from the Claiming Job(s), or (ii) otherwise ended employment at the
            Claiming Job(s) in 2010 for reasons unrelated to the DWH Spill, the Compensation
            Period may not extend beyond the termination date.

         2. Claimant selects a Base Year(s).

     Step 2: Determine Benchmark Period Earnings for the Months Corresponding to the
     Compensation Period
         Earnings during the Benchmark Period shall be established on the basis of Pay Period
         Earnings Documentation and shall include earned income from each Claiming Job (or
         comparable job). The specific determination of earnings for the Benchmark Period shall
         depend on the nature and extent of the Pay Period Earnings Documentation provided. For
         example, if the claimant submits Pay Period Earnings Documentation that covers only
         discrete portions of a given calendar year (e.g., employee commission statements from May
         2009 and December 2009), the Claims Administrator shall base the Benchmark Period
         earnings only on the actual documentation provided (i.e., data shall not be extrapolated to
         periods for which Pay Period Earnings Documentation was not provided).
         If the claimant submits Pay Period Earnings Documentation that provides data as to full
         year earnings but not the allocation of those earnings (i.e., a year-end paystub), and if the
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        claimant also provides additional Pay Period Earnings Documentation deemed by the
        Claims Administrator to be sufficient for purposes of allocating those earnings across the
        relevant period, earnings shall be allocated accordingly. If no additional information is
        provided regarding the allocation of those earnings, the Claims Administrator shall assume
        a pro rata distribution over the relevant period.
        All bonuses and/or commissions shall be allocated pro rata across the period for which they
        were awarded, and annual performance bonuses paid in January and February shall be
        assumed to relate to the prior calendar year, unless the documents establish that the bonus
        related to a specific period of time.

     Step 3: Determine Earnings Growth Factor(s)
        1. Claimant Specific Growth Factor: For claimants who provide Pay Period Earnings
           Documentation sufficient to calculate a Claimant Specific Growth Factor, the following
           Growth Factors may apply:
            a. Claimant Specific Growth Factor is defined, and the calculation is explained, in
               Definitions Section N.1).
            b. Industry Growth Factor is defined in Definitions Section N.3.

        2. Claimants for Whom Claimant Specific Growth Factor Is Not Applicable: For claimants
           unable to provide Pay Period Earnings Documentation sufficient to calculate a Claimant
           Specific Growth Factor and for Seasonal Employees, no Claimant Specific Growth
           Factor shall apply. Instead, the following Growth Factors may apply:
            a. General Growth Factor is defined in Definitions Section N.2 and is 2.0%.
            b. Industry Growth Factor is defined in Definitions Section N.3: For claims based on
               non-salaried, hourly-wage jobs, an Industry Growth Factor of 1.5% shall be applied.

     Step 4: Calculate Expected Earnings
        Expected Earnings equal the Benchmark Period earnings calculated in Step 2 increased by
        the applicable Growth Factors (from Step 3).
         Expected Earnings = Benchmark Period Earnings from Step 2 x (1 + applicable Step 3 Growth
                                             Factor(s))

     Step 5: Determine Actual Earnings and Any Offsetting Earnings In The Compensation Period
        Actual Earnings for all Claiming Jobs and any applicable Offsetting Earnings during the
        Compensation Period shall be determined based on Pay Period Earnings Documentation
        provided by the claimant and other documentation relevant to determining Offsetting
        Earnings. All bonuses and/or commissions shall be allocated pro rata across the period for
        which they were awarded, and annual performance bonuses paid in January and February
        shall be assumed to relate to the prior calendar year, unless the documents establish that
        the bonus related to a specific period of time.


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       Offsetting Earnings and Actual Earnings from all Claiming Jobs shall be calculated giving
       consideration to all Claiming Jobs, provided that:

       1. If the claimant has only one Claiming Job, then:

               i. If Pay Period Earnings Documentation (or other documentation relevant to
                  calculating Offsetting Earnings) reflects the same or an increased number of
                  hours worked at the Claiming Job in the Compensation Period relative to the
                  Claiming Job (or comparable job) in the Benchmark Period, Actual Earnings
                  shall be limited to earnings from the Claiming Job (or comparable job) over the
                  same total number of hours worked in the Benchmark Period, and no
                  Offsetting Earnings shall apply.

                   OR

               ii. If Pay Period Earnings Documentation (or other documentation) (i) reflects a
                   decrease in hours worked at the Claiming Job during the Compensation Period,
                   and (ii) the claimant’s Pay Period Earnings Documentation reflects additional
                   hours worked at a Non-Claiming Job (whether such Non-Claiming Job was held
                   in the Benchmark Period or is a new position), Offsetting Earnings shall be
                   calculated and factored into the determination of Claimant Lost Earnings.

       2. If the claimant has more than one Claiming Job, then:

               i. If Pay Period Earnings Documentation (or other documentation relevant to
                  calculating Offsetting Earnings) for all Claiming Jobs reflects the same or an
                  increased number of total hours worked across all Claiming Jobs during the
                  Compensation Period (relative to all Claiming Jobs (or comparable jobs) in the
                  Benchmark Period), aggregate Actual Earnings in the Compensation Period
                  shall be limited to total earnings from all Claiming Jobs (or comparable jobs)
                  over the same number of total hours worked in the Benchmark Period,
                  provided that earnings from hours lost in one Claiming Job shall be replaced by
                  earnings from the same number of hours worked in a different Claiming Job
                  during the Compensation Period. No Offsetting Earnings shall apply.

                   OR

               ii. If Pay Period Earnings Documentation (or other documentation relevant to
                   calculating Offsetting Earnings) for all Claiming Jobs reflects (i) fewer total
                   hours worked across all Claiming Jobs during the Compensation Period (relative
                   to all Claiming Jobs (or comparable jobs) in the Benchmark Period), but (ii)
                   more hours worked in one (or more) Claiming Job(s) in the Compensation
                   Period (relative to the same Claiming Job(s) in the Benchmark Period),
                   aggregate Actual Earnings in the Compensation Period shall include total
                   earnings from all Claiming Jobs (or comparable jobs) in the Compensation
                   Period. If the claimant’s Pay Period Earnings Documentation also reflects
                   additional hours worked at a different (Non-Claiming Job) position (whether
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                    such position was held in the Benchmark Period or is a new position), Offsetting
                    Earnings shall be calculated and factored into the determination of Claimant
                    Lost Earnings for the number of hours representing the difference between (a)
                    total hours worked in all Claiming Jobs in the Compensation Period, and (b)
                    total hours worked in all Claiming Jobs in the Benchmark Period.

                    OR

                iii. If Pay Period Earnings Documentation (or other documentation) for all Claiming
                     Jobs (i) reflects a decrease in hours worked at each Claiming Job during the
                     Compensation Period, and (ii) the claimant’s Pay Period Earnings
                     Documentation reflects additional hours worked at a different position
                     (whether such position was held in the Benchmark Period or is a new position),
                     Offsetting Earnings shall be calculated and factored into the determination of
                     Claimant Lost Earnings for the total lost hours.

                    OR

                iv. If the claimant does not have Pay Period Earnings Documentation (or other
                    documentation establishing hours worked) for all Claiming Jobs, then Actual
                    Earnings shall include all earnings from all Claiming Jobs and Offsetting
                    Earnings shall apply.

     Step 6: Determine Claimant Lost Earnings
        Claimant Lost Earnings shall be calculated as (a) the difference between (i) the claimant’s
        Expected Earnings during the Compensation Period (Step 4) from all Claiming Jobs and
        (ii) the claimant’s Actual Earnings during the Compensation Period, as adjusted, if relevant
        (Step 5) from all Claiming Jobs, reduced by (b) any applicable Offsetting Earnings.

     Step 7: Calculate Final Claimant Compensation
     Final Claimant Compensation shall be Claimant Lost Earnings (Step 6) adjusted as follows:
        1. Add any applicable RTP agreed to by the parties. For an employee terminated for cause
           from a Claiming Job, no RTP shall apply.
            -   For claimants whose Claimant Lost Earnings result from more than one Claiming
                Job, the claimant’s applicable RTP shall be calculated based on (i) the percentage of
                total Claimant Lost Earnings related to each Claiming Job, multiplied by (ii) the RTP
                applicable to each Claiming Job, which is determined by the job type
                (Tourism/Other Industries) and zone (Zone A, B, C or D). For example, a claimant
                with 50% of their lost earnings from a job Zone A hotel, and 50% of their lost
                earnings from a job in a Zone C restaurant shall receive an RTP that is calculated as
                follows:
                    Applicable RTP = .5*RTPZone A Tourism (hotel) + .5*RTPZone C Tourism (restaurant)
        2. Add any Reimbursable Training Costs. Reimbursable Training Costs shall be fully
           reimbursed if the training led directly to earned income in 2010. If no corresponding

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            income was earned in 2010, then Reimbursable Training Costs shall be reimbursed up
            to $2,000.
               For example: A claimant who paid $3,000 after April 20, 2010 to secure a
               commercial trucking license and who earned income as a commercial trucker in
               2010 shall receive $3,000 in reimbursement. If the claimant earned no income from
               commercial trucking during 2010, the claimant would receive a $2,000
               reimbursement.
       3. Add any Reimbursable Search Costs.
       4. Add any applicable Employment-Related Benefits Losses.
       5.    Add any One Time, Non-Recurring Event Compensation.
       6. Subtract any Spill-Related Payments.


       7. The formula for Final Claimant Compensation is:
                           Claimant Lost Earnings
                   +       (Claimant Lost Earnings x any applicable RTP)
                   +       Employment-Related Benefits Losses (if applicable)
                   +       Reimbursable Training Costs (full if led to earned income in 2010 from
                           area of training, otherwise $2,000) (if applicable)
                   +       Reimbursable Search Costs (if applicable)
                   +       One Time, Non-Recurring Event Compensation (if applicable)
                    -      Spill-Related Payments (if applicable)
                   -       VoO Settlement Offset and/or VoO Earned Income Offset (if any)




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III. CATEGORY III: CLAIMANTS WITH EARNINGS DOCUMENTATION FOR 2010 BUT WITHOUT
     COMPARABLE BENCHMARK PERIOD EARNINGS

     For Individual Claimants Without Comparable Benchmark Earnings who meet the definition of a
     New Entrant To Employment, a Claimant Who Had Less Than Twelve Months Of Earnings History
     But Was Employed On April 20, 2010 or a Career Changer, 2011 Benchmark Period earnings shall
     be used to establish Expected Earnings, provided that if no such earnings exist, the claimant’s
     Expected Earnings will be based on the applicable alternative identified in this Category III, Step 2.
     If available, the Category III claimant must provide federal or state Tax Returns or Forms W-2 for
     2010 and 2011 (and for 2009 if the claimant is a Career Changer who did not work in the relevant
     2011 time period).17 If Tax Returns or Forms W-2 and/or 1099 are not available, the claimant must
     provide a written statement under oath attesting that no Tax Returns are available and attesting
     that the claimant made diligent efforts to obtain Forms W-2 from his or her employer.
     Category III claimants who do not have Tax Information Documents available may instead provide
     Pay Period Earnings Documentation sufficient to establish earnings during the Compensation
     Period and 2011 (and for 2009 if the claimant is a Career Changer who did not work in the relevant
     2011 time period). If no Pay Period Earnings Documentation or other annual employer-provided
     payroll documentation is available for 2010 and 2011 (and for 2009 if the claimant is a Career
     Changer who did not work in the relevant 2011 time period), claimant shall so state in the sworn
     Claim Form.
     In the event a claimant cannot provide Tax Information Documents or Pay Period Earnings
     Documentation or, for claimants who were not employed in 2011, other documentation required in
     III.B.1.b or III.B.2.b, claimant may not proceed under this Category III and should proceed to
     Category IV to the extent the claimant qualifies for compensation under that Category.

     A. Documentation Requirements
         1. Documentation Establishing Employment Earnings: Claimants under this Category who
            have Tax Information Documents for 2010 and 2011 must provide at least one of the
            following Tax Information Documents for 2010 and 2011 and, if a Career Changer, for 2009:
                     Federal tax Form 1040 pages 1 and 2, all pages of Schedules C, E, and F, and any
                      supporting statements attached to the Form 1040 filing (including Form W-2s for
                      joint returns); or
                     State tax return, including any supporting schedules or statements; or
                     Forms W-2 documenting earnings; or
                     Forms 1099 documenting earnings.



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   If a claimant has not maintained copies of his or her federal income tax returns, he or she shall request a copy or
transcript directly from the IRS. If a claimant has not maintained copies of his or her Forms W-2, he or she shall
request copies directly from the IRS for each employer they worked for during the Compensation Period and 2011
(and, if the claimant is a Career Changer, for 2009). A federal Tax Information Document shall be considered
available if it exists and is in the claimant’s possession or has not been requested from the IRS and/or employer.


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     2. Documentation Establishing Pay Period Earnings: To the extent it is available, or if Tax
        Information Documents for 2010 and 2011 are not available, a claimant must provide Pay
        Period Earnings Documentation for 2010 and the 2011 Benchmark Period. A claimant also
        must provide documentation to establish any bonuses and/or commissions received during
        the 2011 Benchmark Period and the Compensation Period, as well as bonuses and/or
        commissions received during January or February of the 2010 and 2011 for all jobs worked.
        A Career Changer must also provide such information for 2009. To the extent Pay Period
        Earnings Documentation is unavailable, the claimant shall so indicate in the sworn Claim
        Form, and earnings shall be treated as earned evenly throughout each year.

     3. Documentation Of Earnings From Other Sources During the Compensation Period:
        Claimants must also submit documents sufficient to establish the source(s) and amounts of
        earnings, if any, from other post-DWH Spill sources of income (and, if a Career Changer, for
        2009) including: (1) Spill-Related Payments, and (2) compensation received from and hours
        worked in each employment position other than the Claiming Job(s). The types of
        documents sufficient to satisfy this requirement are as follows:
                Forms W-2, paycheck stubs or other employer-provided payroll information; and/or
                Bank records showing income deposits and supporting documentation indicating
                 the source of those deposits; and/or
                Documents from BP/GCCF showing payment and BP/GCCF Claim Number; and/or
                Forms 1099; and/or
                Receipts from check cashing services; and/or
                Other documents provided by an employer setting forth for such other employment
                 position(s) (i) required hours of work, (ii) actual hours worked by claimant, and
                 (iii) compensation rate.

     4. Documentation Establishing Other Costs/Losses: The claimant may also submit
        Reimbursable Training Cost Documentation, Reimbursable Search Cost Documentation,
        and/or documentation regarding Employment-Related Benefits Losses.

     5. Additional Claimant Documentation:

         a. Claimant Employability Documentation: Consists of both:

                 i. A copy of a Social Security card, government-issued identification (for example,
                    a valid driver’s license), temporary worker visa, or green card that was valid as
                    of April 20, 2010 for the claimant, or a print out from a public database
                    providing the same information as would be provided by the original document;

                     AND

                 ii. Evidence the claimant was at least 16 years of age as of April 20, 2010.
                     Acceptable evidence includes a copy of a valid driver’s license, a valid passport,
                     a certified copy of the claimant’s birth certificate, or a print out from a public
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                          database providing the same information as would be provided by the original
                          document.

             b. Licensing Documentation: If claimant’s employment requires a government-issued
                license/permit, a copy of valid 2010 and 2011 licenses, if appropriate, or a print out
                from a public database providing the same information as would be provided by the
                original document. Licenses could include, but are not limited to:
                       i. Taxi/livery licenses.
                      ii. Real Estate Sales licenses.
                     iii. Other licenses and permits related to income sources.

             c. If the claimant’s employment in the Claiming Job was terminated between April 20,
                2010 and December 31, 2010, the claimant shall have the burden of proof to establish
                the termination was not for cause. The termination shall be deemed not for cause if:
                       i. The claimant establishes that he or she filed for and received unemployment,
                          including, for example, as evidenced by Form 1099 G.
                          OR
                      ii. Claimant provides a letter from the former employer or an Employer Sworn
                          Written Statement confirming termination was not for cause. Any such letter
                          must include contact information for an authorized representative of the
                          employer.
                          OR
                     iii. Other documentation acceptable to the Claims Administrator that establishes
                          that the claimant was not terminated for cause.

        6. Additional Documentation to Establish Causation Presumptions:
             If the claimant is (i) a Career Changer or a Claimant Who Had Less Than Twelve Months of
             Earnings History But Was Employed On April 20, 2010 who seeks to qualify for a causation
             presumption as set forth in Sections III.B.1.a, III.B.1.b and III.B.1.c.i, or (iii) a New Entrant to
             Employment who seeks to qualify for a causation presumption as set forth in Sections
             III.B.2.a, III.B.2.b and III.B.2.c.i, the claimant must provide documentation 2010 and 2011
             (and, if the claimant is a Career Changer, for 2009) to establish that the claimant or the
             claimant’s employer satisfies (or satisfied) the geographic requirements and/or the
             definition of an entity or Natural Person included in the Primary Seafood Industry,
             Secondary Seafood Industry, Tourism,18 or Charter Fishing19 as applicable. To satisfy this
             requirement, the claimant must demonstrate the employer’s location and the following:




18
  The definition of Tourism is set forth in the Tourism Definition, Bates 026632 - 026646.
19
  The definition of Charter Fishing is set forth in Definitions Section 38 of the Deepwater Horizon Economic and
Property Damages Settlement Agreement.

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                 a. That the claimant works or worked for an employer that filed a claim in the MDL
                    No. 2179 settlement process and was determined by the Claims Administrator to
                    satisfy one of the above-listed definitions;
                     OR
                 b. That the claimant’s Tax Information Documents, Pay Period Earnings
                    Documentation, or other documentation establishes that the claimant’s employer
                    satisfies one of the above-listed definitions.

        7. The Causation Requirements set forth in Section III.B below may require additional
           documentation.

     B. Causation Requirements
        1. Causation for a Career Changer and a Claimant Who Had Less Than Twelve Months of
           Earnings History But Was Employed On April 20, 2010: In order for a Career Changer or a
           Claimant Who Had Less Than Twelve Months of Earnings History But Was Employed On
           April 20, 2010 to establish causation under this Category III, the claimant must satisfy the
           following:

                 a. The claimant must have been employed in the Claiming Job on April 20, 2010.

                 AND

                 b. During the 2011 Benchmark Period (even if 2011 is not used to calculate Expected
                    Earnings), the claimant was either (i) employed, (ii) temporarily medically
                    incapacitated such that the claimant was unable to work but expected to return to
                    the workforce shortly thereafter, (iii) engaged in activities or in a condition entitling
                    an employee to leave under Section 102 of The Family Medical Leave Act, of 1993,
                    as amended, 29 U.S.C. §§ 2601, 2612, but did not receive compensation,20 (iv)
                    involuntarily unemployed and can appropriately document job search activities,
                    provided that the claimant can demonstrate that any involuntary unemployment
                    was not a function of the claimant’s termination for cause, (v) a full time student,
                    (vi) medically incapacitated such that the claimant was unable to work and was
                    expected to be unable to return to the workforce, or (vii) was engaged in full-time
                    volunteer or missionary work or had chosen to leave the workforce to serve as a
                    full-time parent or legal guardian. Documentation satisfying this requirement
                    includes one of the following:

                        i. For a claimant employed during 2011, Tax Information Documents, Pay
                           Period Earnings Documentation, or other annual employer-provided payroll


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  If the claimant is (i) a Career Changer or a Claimant Who Had Less Than Twelve Months Of Earnings History But
Was Employed On April 20, 2010, and (ii) was on temporary medical leave from his or her employer pursuant to
the Family Medical Leave Act, and (iii) received compensation during the time period of 2011 Benchmark Period,
the claimant shall be considered to have been employed during the time he or she was receiving compensation.

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                    information or other documentary evidence acceptable to the Claims
                    Administrator.
                 ii. For a temporarily medically-incapacitated Individual, documentation
                     establishing that claimant experienced the temporary disability, such as
                     hospital or medical records or records reflecting receipt of short-term
                     disability or similar benefits.
                iii. For an Individual engaged in activities or a condition entitling an employee to
                     leave under Section 102 of The Family Medical Leave Act, of 1993, as
                     amended, 29 U.S.C. §§ 2601, 2612, who did not receive compensation during
                     the 2011 Benchmark Period, documentation establishing the activities or
                     condition, the duration of such activities or condition, any compensation
                     received during such periods, and/or communications with the employer
                     regarding the same.
                iv. For an involuntarily unemployed Individual, contemporaneous
                    documentation evidencing a job search and diligent efforts to secure
                    employment, as well as the documentation set forth in Section III.A.5
                    demonstrating that the involuntary unemployment was not a function of the
                    claimant’s termination for cause.
                 v. For a full-time student, documentation reflecting full-time matriculation or
                    enrollment at a college or university, such as a matriculation certificate,
                    tuition bill and evidence of payment, a transcript, a degree, certificate, or
                    diploma indicating completion of a course of study, or a letter from the
                    college or university registrar verifying the matriculation.
                vi. For a medically-incapacitated Individual not expected to return to the
                    workforce, documentation establishing the claimant experienced such
                    disability, such as hospital or medical records or records reflecting receipt of
                    Social Security or other disability benefits.
                vii. For an Individual who was engaged in full-time volunteer or missionary work
                     or who had chosen to leave the workforce to serve as a full-time parent or
                     legal guardian, documentation evidencing the reason that the Individual was
                     not engaged in work for monetary compensation.

          AND

          c. The claimant must satisfy one of the following:

                 i. Presumed Causation: The DWH Spill shall be presumed to be the cause of
                    lost earnings for a Claiming Job during the Compensation Period for the
                    following categories of claimants who submit the required documentation,
                    provided that the claimant can demonstrate that any loss of income or
                    employment related to the Claiming Job was not a function of the claimant’s
                    termination for cause pursuant to the Documentation Requirements set forth
                    in Section III.A.5.c:


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                                   1) If a claimant is an Individual seeking compensation for an economic
                                      loss relating to employment within Zone A,21 the claimant is not
                                      required to provide any evidence of causation relating to that
                                      Claiming Job.
                                   2) If a claimant is an individual seeking compensation for an economic
                                      loss for a job in which he or she was employed by, or exclusively
                                      serviced, an entity or Natural Person that satisfies the Primary
                                      Seafood Industry definition as set forth in the Seafood Distribution
                                      Chain Definitions, the claimant is not required to provide any
                                      evidence of causation relating to that Claiming Job.
                                   3) If a claimant is an individual seeking compensation for an economic
                                      loss for a job in which he or she was employed by an entity or
                                      Natural Person that satisfies the Secondary Seafood Industry
                                      definition as set forth in the Seafood Distribution Chain Definitions,
                                      and the entity or Natural Person was located in Zones B or C, the
                                      claimant is not required to provide any evidence of causation
                                      relating to that Claiming Job.
                                   4) If the claimant is an Individual seeking compensation for an
                                      economic loss for a job in which he or she was employed by a
                                      business located in Zone B that meets the definition of Tourism, the
                                      claimant is not required to provide any evidence of causation
                                      relating to that Claiming Job.

                                   5) If the claimant is an Individual seeking compensation for an
                                      economic loss for a job in which he or she was employed by an
                                      entity or Natural Person that satisfies the definition of Charter
                                      Fishing, and the Charter Fishing business was located in Zones A, B
                                      or C, the claimant is not required to provide any evidence of
                                      causation relating to that Claiming Job.

                            OR

                        ii. Individual Claimant Without Presumed Causation: If a claimant is not
                            entitled to a causation presumption as set forth in Section III.B.1.c.i, the
                            claimant can establish causation for a Claiming Job during the Compensation



21
  For purposes of this Framework for Individual Economic Loss Claims, the presumption shall be that the location
of economic loss for the Claiming Job is the location of the claimant’s employer within the Class Definition
geographic area, not the claimant’s residence. Claimants may establish an alternative location of economic loss for
the Claiming Job other than their employer’s location by providing evidence that their primary employment
activities and responsibilities occur in a location different from their employer’s business address, and that the
claimed DWH Spill-related economic loss occurred at such location. For example, the claimant works for a
housekeeping company located in Zone C that services households in Zones A, B and C, including vacation
condominiums located in Zone A, and the claimant establishes that she works primarily in Zone A.

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                      Period only by satisfying the requirements of one of the following sub-
                      sections:
                            1) Causation is established if the Claiming Job is with an Eligible
                               Employer. The Claims Administrator shall verify that the employer
                               is an Eligible Employer.
                            2) Causation for a Claiming Job is established if the claimant provides
                               an Employer Sworn Written Statement attributing the claimant’s
                               loss of income during the Compensation Period to the DWH Spill.
                               The Employer Sworn Written Statement must articulate in detail
                               how the claimant’s losses at the Claiming Job are causally related to
                               the DWH Spill. Such Employer Sworn Written Statement must also
                               include contact information for an authorized representative of the
                               employer.
                  iii. The Claims Administrator shall evaluate the credibility and reliability of the
                       information provided by the employer and the claimant, including any Sworn
                       Written Statements, and have the right to request supplemental
                       documentation and/or to interview the employer in accordance with the
                       Addendum Regarding Interviews of Claimant Alleging Economic Loss.

     2. Causation for a New Entrant to Employment: In order for a New Entrant to Employment
        to establish causation under this Category III, the claimant must satisfy the following:

            a. The claimant must satisfy the definition of a New Entrant to Employment and shall
               provide documentation showing residency, or that the claimant took significant
               affirmative steps to establish residency, within close enough proximity to the
               anticipated location of employment to travel to the job as frequently as required by
               the employer, for a period of at least 60 days after April 20, 2010 but before
               December 31, 2010 (or before April 30, 2011 for claimants whose employer or
               expected employer satisfied the Primary Seafood Industry definition).
               Documentation meeting this requirement includes:

                   i. A lease or rental agreement; or
                  ii. A sublease agreement; or
                  iii. Contemporaneous utility bills.

            AND

            b. During the 2011 Benchmark Period, the claimant was either (i) employed, (ii)
               temporarily medically incapacitated such that the claimant was unable to work but
               expected to return to the workforce shortly thereafter, (iii) engaged in activities or
               in a condition entitling an employee to leave under Section 102 of The Family
               Medical Leave Act, of 1993, as amended, 29 U.S.C. §§ 2601, 2612, but did not



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                     receive compensation,22 (iv) involuntarily unemployed and can appropriately
                     document job search activities, provided that the claimant can demonstrate that
                     any involuntary unemployment was not a function of the claimant’s termination for
                     cause, (v) a full time student, (vi) medically incapacitated such that the claimant was
                     unable to work and was expected to be unable to return to the workforce, or (vii)
                     was engaged in full-time volunteer or missionary work or had chosen to leave the
                     workforce to serve as a full-time parent or legal guardian. Documentation satisfying
                     this requirement includes one of the following:

                        i. For a claimant employed during 2011, Tax Information Documents, Pay
                           Period Earnings Documentation, or other annual employer-provided payroll
                           information or other documentary evidence acceptable to the Claims
                           Administrator.
                       ii. For a temporarily medically-incapacitated Individual, documentation
                           establishing that claimant experienced the temporary disability, such as
                           hospital or medical records or records reflecting receipt of short-term
                           disability or similar benefits.
                       iii. For an Individual engaged in activities or a condition entitling an employee to
                            leave under Section 102 of The Family Medical Leave Act, of 1993, as
                            amended, 29 U.S.C. §§ 2601, 2612, who did not receive compensation during
                            the 2011 Benchmark Period, documentation establishing the activities or
                            condition, the duration of such activities or condition, any compensation
                            received during such periods, and/or communications with the employer
                            regarding the same.
                       iv. For an involuntarily unemployed Individual, contemporaneous
                           documentation evidencing a job search and diligent efforts to secure
                           employment, as well as the documentation set forth in Section III.A.5
                           demonstrating that the involuntary unemployment was not a function of the
                           claimant’s termination for cause.
                       v. For a full-time student, documentation reflecting full-time matriculation or
                          enrollment at a college or university, such as a matriculation certificate,
                          tuition bill and evidence of payment, a transcript, a degree, certificate, or
                          diploma indicating completion of a course of study, or a letter from the
                          college or university registrar verifying the matriculation.
                       vi. For a medically-incapacitated Individual not expected to return to the
                           workforce, documentation establishing the claimant experienced such
                           disability, such as hospital or medical records or records reflecting receipt of
                           Social Security or other disability benefits.


22
  If the claimant is (i) a Career Changer or a Claimant Who Had Less Than Twelve Months Of Earnings History But
Was Employed On April 20, 2010, and (ii) was on temporary medical leave from his or her employer pursuant to
the Family Medical Leave Act, and (iii) received compensation during the time period of 2011 Benchmark Period,
the claimant shall be considered to have been employed during the time he or she was receiving compensation.

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                       vii. For an Individual who was engaged in full-time volunteer or missionary work
                            or who had chosen to leave the workforce to serve as a full-time parent or
                            legal guardian, contemporaneous documentation evidencing the reason that
                            the Individual was not engaged in work for monetary compensation.

                      AND



                 c. The claimant must satisfy one of the following:

                         i. Presumed Causation: The DWH Spill shall be presumed to be the cause of
                            lost earnings for a Claiming Job during the Compensation Period for New
                            Entrants to Employment who provide documentation showing proof of an
                            offer of employment made and accepted prior to April 20, 2010 for
                            employment to begin between April 21 and December 31, 2010 (or for
                            employment to begin between April 21, 2010 and April 30, 2011 for claimants
                            in the Primary Seafood Industry), provided that the following conditions are
                            also met:

                                   1) The offer documentation evidences expected employment:
                                              a) Within Zone A;23 or,
                                              b) In which the offering employer was an entity or Natural
                                                 Person that satisfies the Primary Seafood Industry
                                                 definition as set forth in the Seafood Distribution Chain
                                                 Definitions; or,
                                              c) In which the offering employer was an entity or Natural
                                                 Person that satisfies the Secondary Seafood Industry
                                                 definition as set forth in the Seafood Distribution Chain
                                                 Definitions, and the entity or Natural Person was located
                                                 in Zones B or C; or
                                              d) In which the offering employer was a business located in
                                                 Zone B that meets the definition of Tourism; or
                                              e) In which the offering employer was a business located in
                                                 Zones A, B or C that satisfies the definition of Charter
                                                 Fishing.

23
  For purposes of this Framework for Individual Economic Loss Claims, the presumption shall be that the location
of economic loss for the Claiming Job is the location of the claimant’s employer within the Class Definition
geographic area, not the claimant’s residence. Claimants may establish an alternative location of economic loss for
the Claiming Job other than their employer’s location by providing evidence that their primary employment
activities and responsibilities occur in a location different from their employer’s business address, and that the
claimed DWH Spill-related economic loss occurred at such location. For example, the claimant works for a
housekeeping company located in Zone C that services households in Zones A, B and C, including vacation
condominiums located in Zone A, and the claimant establishes that she works primarily in Zone A.

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                             2) The documentation provided must include information sufficient to
                                establish proposed start and end dates, wage rate and projected
                                hours, and withdrawal of the offer during the period April 21
                                through December 31, 2010.

                       OR

                   ii. Individual Claimant Without Presumed Causation: If the New Entrant to
                       Employment is not entitled to a causation presumption as set forth in Section
                       III.B.2.c.i, the claimant can establish causation for a Claiming Job during the
                       Compensation Period only by providing an Employer Sworn Written
                       Statement attributing the claimant’s loss of income during the Compensation
                       Period to the DWH Spill. The statement must articulate in detail how the
                       claimant’s losses are causally related to the DWH Spill, and must specifically
                       (i) attest to the claimant’s accepted employment offer (including start and end
                       dates, wage rate and projected hours), and (ii) verify that the employer’s
                       decision not to employ the claimant, or to employ the claimant in a reduced
                       capacity, was due to or resulting from the DWH Spill. Such letter must also
                       include contact information for an authorized representative of the employer.

                   iii. The Claims Administrator shall evaluate the credibility and reliability of the
                        information provided by the employer and the claimant, including any Sworn
                        Written Statement(s), and have the right to request supplemental
                        documentation and/or interview the employer in accordance with the
                        Addendum Regarding Interviews of Claimant Alleging Economic Loss.

  C. Compensation Calculation
     For claimants who were employed in 2011 in the same job or similar job as that performed or
     offered and withdrawn in the Compensation Period selected by the claimant, the Claims
     Administrator shall use either Tax Information Documents and/or Pay Period Earnings
     Documentation, to calculate the Claimant’s Lost Earnings. As set forth in the steps below,
     Claimant’s Lost Earnings includes any lower amount of earnings in the Compensation Period as
     compared to the 2011 Benchmark Period, after those 2011 earnings have been decreased by
     the General Growth Factor, less any Offsetting Earnings. In addition, for claims based on non-
     salaried, hourly-wage jobs, the claimant’s 2011 earnings shall also be decreased by the Industry
     Growth Factor.
     For any Category III claimant not employed in 2011 in the same job or similar job as that
     performed or offered and withdrawn in the Compensation Period selected by the claimant and
     satisfying a requirement of Section III.B.1.b or III.B.2.b above, Expected Earnings for each type of
     Category III claimant shall be based on alternative data, as described in detail in Item 2 of Step 2
     below.
     The claimant shall receive a lump-sum final payment that includes compensation for Claimant’s
     Lost Earnings, plus any applicable RTP agreed upon by the parties, plus compensation for
     properly documented Employment-Related Benefits Losses, Reimbursable Training Costs and

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     Reimbursable Search Costs, if any, less the amounts of any Spill-Related Payments.

     Example compensation calculations are set forth in Appendices A through F attached hereto.

     Step 1: Claimant Selects Compensation Period
        1. Claimant selects a Compensation Period. For a claimant who (i) was terminated for
           cause in 2010 from the Claiming Job(s), or (ii) otherwise ended employment at the
           Claiming Job(s) in 2010 for reasons unrelated to the DWH Spill, the Compensation
           Period may not extend beyond the termination date.

     Step 2: Identify 2011 Benchmark Period Earnings to Be Used in Calculating Expected Earnings
        The purpose of this Step 2 is to identify earnings to be used in calculating Expected
        Earnings.
        1. For claimants employed during a 2011 Benchmark Period, the claimant’s earnings used
           in calculating Expected Earnings shall be the claimant’s earnings from such 2011 period.

            a. Claimants with Tax Information Documents: Earnings during the 2011 Benchmark
               Period as evidenced by Tax Information Documents shall include earned income
               from the Claiming Job (or comparable job) and shall be assumed to have been
               earned evenly throughout 2011 unless the claimant provides Pay Period Earnings
               Documentation sufficient to establish actual earnings distribution. All bonuses
               and/or commissions shall be allocated pro rata across the period for which they
               were awarded, and annual performance bonuses paid in January and February shall
               be assumed to relate to the prior calendar year, unless the documents establish that
               the bonus related to a specific period of time.

            b. Claimants with only Pay Period Earnings Documentation: Earnings during the 2011
               Benchmark Period as evidenced by Pay Period Earnings Documentation for each
               Claiming Job shall be determined based upon the nature and extent of the
               documentation provided.

                       i.   If the claimant submits Pay Period Earnings Documentation that covers
                            only discrete portions of 2011, the Claims Administrator shall base the
                            2011 Benchmark Period earnings for that job only on the actual
                            documentation provided (i.e., data shall not be extrapolated to periods
                            for which Pay Period Earnings Documentation was not provided).




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                       ii.   If the claimant submits Pay Period Earnings Documentation for a job
                             that provides data as to full year earnings but not the allocation of those
                             earnings (i.e., a year-end paystub), then if the claimant also provides
                             additional Pay Period Earnings Documentation deemed by the Claims
                             Administrator to be sufficient for purposes of allocating those earnings
                             across the relevant period, earnings for that job shall be allocated
                             consistent with that Pay Period Earnings Documentation.

                      iii.   If no additional information is provided regarding the allocation of those
                             earnings, the Claims Administrator shall assume a pro rata distribution
                             over the relevant period.

                      iv.    All bonuses and/or commissions shall be allocated pro rata across the
                             period for which the claimant indicates they were awarded, and annual
                             performance bonuses paid in January and February shall be assumed to
                             relate to the prior calendar year, unless the documents establish that
                             the bonus related to a specific period of time.

            OR

        2. For claimants not employed during the 2011 Benchmark Period, but who satisfied the
           causation requirement in Section III.B.3, the claimant’s earnings used in calculating
           Expected Earnings shall be one of the following:

            a. New Entrant To Employment: The claimant’s Expected Earnings during the
               Compensation Period shall be based on the rescinded or reduced offer of
               employment or Employer Sworn Written Statement used to establish causation.
            b. Claimant Who Had Less Than Twelve Months Of Earnings History But Was
               Employed On April 20, 2010: The claimant’s Expected Earnings shall be based on
               the claimant’s average monthly pre-DWH Spill earnings in the Claiming Job,
               recognizing that this calculation shall be based on less than twelve months of
               earnings data and shall be subject to an Industry Growth Factor only, if relevant, as
               described below.
            c. Career Changer: The claimant’s Expected Earnings shall be based on earnings in the
               2009 time period of at least 90 consecutive days corresponding to the time period
               of at least 90 consecutive days within the same months selected by the claimant as
               the Compensation Period.

     Step 3: Determine Earnings Growth Factor(s)
        1. The following Growth Factors may apply for purposes of calculating Expected Earnings:
                 a. General Growth Factor is defined in Definitions Section N.2 and is 2.0%.
                 b. Industry Growth Factor is defined in Definitions Section N.3. For claimants in
                    non-salaried, hourly wage jobs, the Industry Growth Factor of 1.5% shall be

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                    applied.
                c. Claimant Specific Growth Factor is defined, and the calculation is explained in
                   Definitions Section N.1. For purposes of this Section III, a Claimant Specific
                   Growth Factor may apply only in the limited circumstance of a Career Changer
                   who does not have earnings during the 2011 Benchmark Period for one of the
                   reasons set forth in Section III.B.3.

     Step 4: Calculate Expected Earnings
        Expected Earnings will be calculated as follows:
        1. For claimants covered by Step 2.a, Expected Earnings equal the earnings over the 2011
           Benchmark Period, decreased by the applicable Growth Factors (from Step 3).
             Expected Earnings = 2011 Benchmark Period Earnings from Step 2 x (1 - applicable Step 3
                                          Growth Factor(s))

        2. For claimants covered by Step 2.b, Expected Earnings are calculated according to one of
           the following:

                a. New Entrant To Employment: The claimant’s Expected Earnings during the
                   Compensation Period shall be based on the rescinded or reduced offer of
                   employment or Employer Sworn Written Statement used to establish
                   causation. No Growth Factors apply.
                b. Claimant Who Had Less Than Twelve Months Of Earnings History But Was
                   Employed On April 20, 2010: The claimant’s Expected Earnings shall be based
                   on the claimant’s average monthly pre-DWH Spill earnings in the Claiming Job,
                   recognizing that this calculation shall be based on less than twelve months of
                   earnings data and shall be increased by the Industry Growth Factor, if relevant.
                   No other Growth Factors shall apply.
                c. Career Changer: The claimant’s Expected Earnings shall be based on earnings in
                   the 2009 time period of at least 90 consecutive days corresponding to the time
                   period of at least 90 consecutive days within the same months selected by the
                   claimant as the Compensation Period, increased by the Claimant Specific
                   Growth Factor or the General Growth Factor, as applicable, and by an Industry
                   Growth Factor, if applicable.

     Step 5: Determine Actual Earnings and Any Offsetting Earnings In The Compensation Period
        Actual Earnings for all Claiming Jobs and any applicable Offsetting Earnings during the
        Compensation Period shall be determined based on Tax Information Documentation or
        Pay Period Earnings Documentation provided by the claimant and other documentation
        relevant to determining Offsetting Earnings.

        To the extent the claimant does not have Pay Period Earnings Documentation for a
        Claiming Job, Actual Earnings during the Compensation Period shall be estimated for that
        Claiming Job by dividing the claimant’s total 2010 Claiming Job earnings by 12 and

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       multiplying that amount by the number of months in the Compensation Period. All bonuses
       and/or commissions shall be allocated pro rata across the periods for which they were
       awarded, and annual performance bonuses paid in January and February shall be assumed
       to relate to the prior calendar year, unless the documents establish that the bonus related
       to a specific period of time.

       Offsetting Earnings and Actual Earnings from all Claiming Jobs shall be calculated giving
       consideration to all Claiming Jobs, provided that:

       1. If the claimant has only one Claiming Job, then:

                i. If Pay Period Earnings Documentation (or other documentation relevant to
                   calculating Offsetting Earnings) reflects the same or an increased number of
                   hours worked at the Claiming Job in the Compensation Period relative to the
                   Claiming Job (or comparable job) in the Benchmark Period, Actual Earnings
                   shall be limited to earnings from the Claiming Job (or comparable job) over the
                   same total number of hours worked in the Benchmark Period, and no
                   Offsetting Earnings shall apply.

           OR

                ii. If Pay Period Earnings Documentation (or other documentation) (i) reflects a
                    decrease in hours worked at the Claiming Job during the Compensation Period,
                    and (ii) the claimant’s Pay Period Earnings Documentation reflects additional
                    hours worked at a Non-Claiming Job (whether such Non-Claiming Job was held
                    in the Benchmark Period or is a new position), Offsetting Earnings shall be
                    calculated and factored into the determination of Claimant Lost Earnings.

           2. If the claimant has more than one Claiming Job, then:

                i. If Pay Period Earnings Documentation (or other documentation relevant to
                   calculating Offsetting Earnings) for all Claiming Jobs reflects the same or an
                   increased number of total hours worked across all Claiming Jobs during the
                   Compensation Period (relative to all Claiming Jobs (or comparable jobs) in the
                   Benchmark Period), aggregate Actual Earnings in the Compensation Period
                   shall be limited to total earnings from all Claiming Jobs (or comparable jobs)
                   over the same number of total hours worked in the Benchmark Period,
                   provided that earnings from hours lost in one Claiming Job shall be replaced by
                   earnings from the same number of hours worked in a different Claiming Job
                   during the Compensation Period. No Offsetting Earnings shall apply.

                   OR

                ii. If Pay Period Earnings Documentation (or other documentation relevant to
                    calculating Offsetting Earnings) for all Claiming Jobs reflects (i) fewer total
                    hours worked across all Claiming Jobs during the Compensation Period (relative
                    to all Claiming Jobs (or comparable jobs) in the Benchmark Period), but (ii)
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                     more hours worked in one (or more) Claiming Job(s) in the Compensation
                     Period (relative to the same Claiming Job(s) in the Benchmark Period),
                     aggregate Actual Earnings in the Compensation Period shall include total
                     earnings from all Claiming Jobs (or comparable jobs) in the Compensation
                     Period. If the claimant’s Pay Period Earnings Documentation also reflects
                     additional hours worked at a different (Non-Claiming Job) position (whether
                     such position was held in the Benchmark Period or is a new position), Offsetting
                     Earnings shall be calculated and factored into the determination of Claimant
                     Lost Earnings for the number of hours representing the difference between (a)
                     total hours worked in all Claiming Jobs in the Compensation Period, and (b)
                     total hours worked in all Claiming Jobs in the Benchmark Period.

                     OR

                iii. If Pay Period Earnings Documentation (or other documentation) for all Claiming
                     Jobs (i) reflects a decrease in hours worked at each Claiming Job during the
                     Compensation Period, and (ii) the claimant’s Pay Period Earnings
                     Documentation reflects additional hours worked at a different position
                     (whether such position was held in the Benchmark Period or is a new position),
                     Offsetting Earnings shall be calculated and factored into the determination of
                     Claimant Lost Earnings for the total lost hours.

                     OR

                iv. If the claimant does not have Pay Period Earnings Documentation (or other
                    documentation establishing hours worked) for all Claiming Jobs, then Actual
                    Earnings shall include all earnings from all Claiming Jobs and Offsetting
                    Earnings shall apply.

     Step 6: Determine Claimant Lost Earnings
         Claimant Lost Earnings shall be calculated as (a) the difference between (i) the claimant’s
         Expected Earnings during the Compensation Period (Step 4) from all Claiming Jobs and
         (ii) the claimant’s Actual Earnings during the Compensation Period, as adjusted, if relevant,
         (Step 5) from all Claiming Jobs, reduced by (b) any applicable Offsetting Earnings.

     Step 7: Calculate Final Claimant Compensation
     Final claimant compensation shall be Claimant Lost Earnings (Step 6) adjusted as follows:
             1. Add any applicable RTP agreed to by the parties, provided that:
                     -    For claimants whose Claimant Lost Earnings result from more than one
                          Claiming Job, the claimant’s applicable RTP shall be calculated based on
                          (i) the percentage of total Claimant Lost Earnings related to each Claiming
                          Job, multiplied by (ii) the RTP applicable to each Claiming Job, which is
                          determined by the job type (Tourism/Other Industries) and zone (Zone A, B,
                          C or D). For example, a claimant with 50% of their lost earnings from a job


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                     Zone A hotel, and 50% of their lost earnings from a job in a Zone C
                     restaurant shall receive an RTP that is calculated as follows:
                             Applicable RTP = .5*RTPZone A Tourism (hotel) + .5*RTPZone C Tourism (restaurant)
                 -   For claimants unable to work in 2011 because they were (i) a full time
                     student, (ii) medically incapacitated such that the claimant was unable to
                     work and was expected to be unable to return to the workforce, or
                     (iii) engaged in full-time volunteer or missionary work or had chosen to
                     leave the workforce to serve as a full-time parent or legal guardian (as set
                     forth in Section III.B.3), no RTP shall be applied.
                 -   For an employee terminated for cause in 2010 from a Claiming Job, no RTP
                     shall apply.
          2. Add any Reimbursable Training Costs. Reimbursable Training Costs shall be fully
             reimbursed if the training led directly to earned income in 2010. If not, then
             Reimbursable Training Costs shall be reimbursed up to $2,000.
             For example: A claimant who paid $3,000 after April 20, 2010 to secure a
             commercial trucking license and who earned income as a commercial trucker in
             2010 shall receive $3,000 in reimbursement. If the claimant earned no income from
             commercial trucking during 2010, the claimant would receive a $2,000
             reimbursement.
          3. Add any Reimbursable Search Costs.
          4. Add any applicable Employment-Related Benefits Losses.
          5. Add any One Time, Non-Recurring Event Compensation.
          6. Subtract any Spill-Related Payments.


          7. The formula for Final Claimant Compensation is:
                         Claimant Lost Earnings
                 +       (Claimant Lost Earnings x applicable RTP (if any))
                 +       Employment-Related Benefits Losses (if applicable)
                 +       Reimbursable Training Costs (full if led to earned income in 2010 from
                         area of training, otherwise $2,000) (if applicable)
                 +       Reimbursable Search Costs (if applicable)
                 +       One Time, Non-Recurring Event Compensation (if applicable)
                 -       Spill-Related Payments (if applicable)
                 -       VoO Settlement Offset and/or VoO Earned Income Offset (if any)




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IV. CATEGORY IV: CLAIMANTS WITHOUT EARNINGS DOCUMENTATION WHO SUBMIT CLAIMANT
    AND EMPLOYER SWORN WRITTEN STATEMENTS TO ESTABLISH EARNINGS

     Any claimant who satisfies all of the following criteria may be eligible for compensation pursuant to
     this Category IV:
         1. The claimant’s employer or employment is located in Zones A, B or C.24
         2. The claimant does not have Tax Information Documents or Pay Period Earnings
            Documentation for the Claiming Job evidencing his or her earnings during the relevant time
            period. For claimants whose employer(s) is an entity or Natural Person satisfying the
            Primary Seafood Industry definition, the relevant periods shall be (i) April 21, 2009 through
            April 20, 2010, and (ii) April 21, 2010 through April 30, 2011. For all other claimants, the
            requisite periods shall be (i) April 21 through December 31, 2009 and (ii) April 21 through
            December 31, 2010.
         3. The claimant is not a New Entrant to Employment.

     Claimants who meet the criteria above may instead establish lost earnings and causation by
     submitting, in addition to a sworn Claim Form, (a) a Claimant Sworn Written Statement with
     specified contents, (b) one or more Employer Sworn Written Statement(s) providing information
     for at least the periods April 21 through December 31, 2009, and April 21 through December 31,
     2010,25,26 and, at the claimant’s option, for additional periods as described below, (c) any other
     specified documentation. In addition, the Claims Administrator may interview the claimant and/or
     the employer consistent with the Addendum Regarding Interviews of Claimant Alleging Economic
     Loss and Section IV.B, below.

     A. Documentation And Causation Requirements:
         A Category IV claimant must provide a sworn Claim Form and all of the documents identified
         below. The Claims Administrator shall review and assess the documentation provided by the
         claimant, including information from the claimant’s employer(s), and any other information
         deemed relevant by the Claims Administrator, for purposes of determining whether the

24
   For purposes of this Framework for Individual Economic Loss Claims, the presumption shall be that the location
of economic loss for the Claiming Job is the location of the claimant’s employer within the Class Definition
geographic area, not the claimant’s residence. Claimants may establish an alternative location of economic loss for
the Claiming Job other than their employer’s location by providing evidence that their primary employment
activities and responsibilities occur in a location different from their employer’s business address, and that the
claimed DWH Spill-related economic loss uniquely occurred at such location. For example, the claimant works for
a housekeeping company located in Zone C that services households in Zones A, B and C, including vacation
condominiums located in Zone A, and the claimant establishes that she works primarily in Zone A.
25
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the claimant should instead provide one or more Employer Sworn Written Statement(s) for the periods
(i) April 21, 2009 through April 20, 2010 and (ii) April 21, 2010 through April 20, 2011.
26
   If the information for both required periods can be satisfied with an Employer Sworn Written Statement from
one employer, only one Employer Sworn Written Statement is required. If a single employer is not able to provide
the necessary information for both required periods set forth above, the claimant must submit at least one
Employer Sworn Written Statement for each period.

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         claimant experienced a loss of earnings during April 21 through December 31, 2010,27 and, if so,
         whether the loss was due to or resulting from the DWH Spill. The Claims Administrator shall
         rely on his assessment of the credibility and reliability of the information submitted in
         determining if this causation requirement is satisfied.
         1. Claimant Sworn Written Statement: The claimant shall submit a Claimant Sworn Written
            Statement which sets forth the following information and shall attach any relevant
            documents in claimant’s possession:
                      a. No Tax Returns are available for 2009 and 2010.
                      b. No Pay Period Earnings Documentation is available for the Claiming Job(s) for
                         the period April 21 through December 31 of 2009 and 2010.28
                      c. The claimant made diligent efforts to obtain Form W-2s for 2009 and 2010 from
                         his or her employer(s) and they are not available.
                      d. The claimant’s employment history with each employer, including, for example,
                         the nature of the work performed, number of years worked, whether the
                         employment is steady or seasonal, year-round or intermittent, and the
                         circumstances of the claimant’s departure and/or termination, if applicable. At
                         a minimum, the claimant shall include the following:
                              i.    The business name, last known address, telephone number and, if
                                    available, website of each of claimant’s employers for the period April
                                    21 through December 31 of 2009 and 2010.29
                             ii.    To be potentially eligible for an RTP, the claimant must also provide the
                                    above information for the period April 21 through December 31, 2011.30
                      e. The claimant’s actual earned income from all sources in 2009 and 2010, and any
                         other earnings history that the claimant believes is relevant to support the
                         claim, including any support for the claimant’s belief that these actual earned
                         amounts are accurate.
                      f.   If applicable, the claimant’s BP/GCCF Claim Number, and a listing of any Spill-
                           Related Payments received by the claimant.
                      g. An explanation of how the reduction of claimant’s hours of work, termination of
                         the claimant’s employment, and/or withdrawal of an offer of employment


27
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the potential loss period shall be April 21, 2010 through April 20, 2011.
28
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the claimant should instead verify that no Pay Period Earnings Documentation for the Claiming Job is
available for the periods (i) April 21, 2009 through April 20, 2010 and (ii) April 21, 2010 through April 20, 2011.
29
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the claimant should instead provide the business name and last known address of each of claimant’s
employers for the periods (i) April 21, 2009 through April 20, 2010 and (ii) April 21, 2010 through April 20, 2011.
30
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the claimant should instead provide the business name and last known address of each of claimant’s
employers for the period April 21, 2011 through April 20, 2012 to be potentially eligible for an RTP.

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                          related to the Claiming Job(s) during the period from April 21, 2010 - December
                          31, 2010 was due to or resulting from the DWH Spill.31
                      h. A statement and any available documentation establishing that the claimant
                         was present and available to work in Zones A, B or C in close enough proximity
                         to the anticipated location of employment to travel to the job as frequently as
                         required by the employer during the period from April 21, 2010 to December
                         31, 2010.32
                              i.   To be potentially eligible for an RTP, the claimant must satisfy the above
                                   requirement for the period April 21 through December 31, 2011.33
                             ii.   Documentation that could demonstrate presence and availability
                                   includes, but is not limited to, the following:
                                   1) A lease or rental agreement; or
                                   2) A sublease agreement; or
                                   3) Contemporaneous utility bills.

        2. Claimant Employability Documentation:
             Consists of both:
                      a. A copy of a Social Security card, government-issued identification (for example,
                         a valid driver’s license), temporary worker visa, or green card that was valid as
                         of April 20, 2010, or a print out from a public database providing the same
                         information as would be provided by the original document.

                          AND

                      b. Evidence that the claimant was at least 16 years of age as of April 20, 2010.
                         Acceptable evidence includes a valid driver’s license, a valid passport, or a copy
                         of the claimant’s birth certificate, or a print out from a public database
                         providing the same information as would be provided by the original document.

        3. Licensing Documentation: If the claimant’s employment in the Claiming Job requires a
           government-issued license/permit, the claimant shall provide a copy of valid 2009, 2010
           and, if applicable, 2011 licenses, or a print out from a public database providing the same
           information as would be provided by the original document, such as:

31
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the claimant should instead provide an explanation of how the reduction of claimant’s hours of work,
termination of the claimant’s employment, and/or withdrawal of an offer of employment for the periods (i) April
21, 2009 through April 20, 2010 and (ii) April 21, 2010 through April 20, 2011 was due to or resulting from the
DWH Spill.
32
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the claimant should instead provide information regarding his or her presence and availability for work
in Zones A, B or C for the period April 21, 2010 through April 20, 2011.
33
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the claimant should instead provide information regarding his or her presence and availability for work
in Zones A, B or C for the period April 21, 2011 through April 20, 2012 to be potentially eligible for an RTP.

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                     a. Taxi/livery licenses.
                     b. Real Estate Sales licenses.
                     c. Other licenses and permits related to income sources.

        4. Employer Sworn Written Statement: The claimant shall submit an Employer Sworn
           Written Statement from at least one of his or her employers during each of the periods
           April 21 through December 31 of 2009 and 2010, which sets forth the following information
           with any relevant documents attached.34 If the information for both required periods can
           be satisfied with an Employer Sworn Written Statement from one employer, only one
           Employer Sworn Written Statement is required. If a single employer is not able to provide
           the necessary information for both required periods, the claimant must submit at least one
           Employer Sworn Written Statements for each period.
                     a. Employer Information
                            i.    Employer’s business name
                            ii.   Address(es)
                           iii.   Telephone number(s)
                           iv.    Website(s), if available
                            v.    A description of the nature of the business
                           vi.    Compensation practices (for example, weekly or bi-weekly pay periods),
                                  wage rates, and typical hours worked for employees holding jobs
                                  comparable to the Claiming Job.
                          vii.    If the employer is not an Eligible Employer, information sufficient to
                                  establish the following:
                                  1) The size and scale of the employer’s business, such as:
                                      a) Size of physical plant;
                                      b) Best estimate of the number of customers;
                                      c) Best estimate of the volume of product produced;
                                      d) Best estimate of the number of full-time and part-time
                                         employees;
                                      e) Financial information; and/or
                                      f)   To the extent the business is a seasonal business, this
                                           information should be provided to reflect business size during
                                           different seasons.

34
  For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the Employer Sworn Written Statement shall be provided from each of the claimant’s employers for
the periods (i) April 21, 2009 through April 20, 2010 and (ii) April 21, 2010 through April 20, 2011.

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                                    2) Copies of any applicable required licenses possessed by the
                                       employer during the period April 21 through December 31 of 2009
                                       and 2010,35 or a print out from a public database providing the
                                       same information as would be provided by the original document .
                      b. Employee Information
                              i.    The claimant’s employment history with employer, including, for
                                    example, the nature of the work performed, number of years worked,
                                    whether the employment is steady or seasonal, year-round or
                                    intermittent, and the circumstances of the claimant’s departure and/or
                                    termination, if applicable.
                             ii.    The claimant’s wage rate and total compensation for the following
                                    periods, if applicable:

                                    1)   April 21 through December 31, 2009; 36
                                    2)   April 21 through December 31, 2010;37
                                    3)   April 21 through December 31, 2011;38 and
                                    4)   Any other time period for which the employer is able and elects to
                                         provide the requested information.

                                    If the employer cannot provide precise actual dates and times, it shall
                                    be sufficient for the employer to provide more general information
                                    satisfying this standard – for example, “Claimant was employed for 30
                                    days at a rate of $100 per day for 12 weeks during the months of [June -
                                    August 2009]”.
                             iii.   If the employer (i) employed the claimant and/or (ii) offered the
                                    claimant employment during the period from April 21, 2010 - December
                                    31, 2010,39 the employer shall provide the following:

                                    1) How the employer (a) terminated the claimant’s employment,
                                       (b) reduced the claimant’s hours of work, (c) withdrew an offer of
                                       employment, (d) did not extend an offer of seasonal (partial year)
                                       employment to the claimant, or (e) otherwise reduced employee’s
                                       compensation due to or resulting from the DWH Spill with sufficient

35
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the employer should instead provide copies of any applicable required licenses for the periods (i) April
21, 2009 through April 20, 2010 and (ii) April 21, 2010 through April 20, 2011.
36
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the appropriate period is from April 21, 2009 through April 20, 2010.
37
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the appropriate period is from April 21, 2010 through April 20, 2011.
38
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the appropriate period is from April 21, 2011 through April 20, 2012.
39
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the appropriate period is from April 21, 2010 through April 20, 2011.

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                                        detail to permit the Claims Administrator to calculate the claimant’s
                                        lost hours of work and lost earnings from such employment during
                                        such period.
                                    2) A specific explanation of how (i) the reduction of claimant’s hours of
                                       work identified, or (ii) the withdrawal of, or (iii) the failure to
                                       extend, an offer of employment was due to or resulting from the
                                       DWH Spill.

                  The number of affidavits submitted by an employer on behalf of the claimant and any
                  other claimants shall be monitored by the Claims Administrator for reasonableness in
                  light of the employer’s operations. For example, it would be anticipated that a 10-room
                  motel would have approximately five full-time equivalent employees, or that a 50-seat
                  diner-style restaurant would have approximately five full-time equivalent servers.

     B. Interviews
             1. The Claims Administrator shall have the right to interview all claimants and related
                employer(s) in this Category IV claiming lost earnings of $7,500 or more and up to 25%
                of all other claimants within this Category IV and their supporting employer(s), in
                accordance with the provisions of the Addendum Regarding Interviews of Claimant
                Alleging Economic Loss.40
             2. In addition, and notwithstanding the provisions of Section IV.B.1, the Claims
                Administrator shall have the right to interview any employer who submits an Employer
                Sworn Written Statement on behalf of more claimants than the Claims Administrator
                determines is reasonable for the position for which the employer is providing the
                Employer Sworn Written Statement, in accordance with the provisions of the
                Addendum Regarding Interviews of Claimant Alleging Economic Loss.

     C. Description Of Compensation Calculation
         The Claims Administrator shall determine the Final Claimant Compensation amount based on
         the totality of the information provided by the claimant and his or her employer(s), including the
         sworn Claim Form, Claimant Sworn Written Statement, Employer Sworn Written Statement(s),
         interviews (if any), and/or any supplemental information the Claims Administrator may require
         the claimant to provide to support the claim, and/or any other information the Claims
         Administrator may determine to be relevant and reliable (collectively, the “Claim File”). The
         Claims Administrator shall rely on his assessment of the reliability and credibility of the Claim
         File information and the specifics of any claimed economic loss in determining the claimant’s
         compensation, if any, to be provided to the claimant.



40
  In addition, nothing in this Framework for Individual Economic Loss Claims shall in any way limit the right and
obligation of the Claims Administrator to investigate fully all suspicions of fraudulent conduct by or on behalf of
any claimant, including but not limited to conducting any interviews and obtaining any documents the Claims
Administrator deems necessary. Any such interviews will not be included in the 25% limit set forth above.

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         Step 1: Calculate Claimant’s Lost Earnings

             In determining the claimant’s lost earnings for the Claiming Job, the Claims Administrator
             shall consider the following factors:

             1. Prior Employment History: The extent to which the Claim File establishes the
                claimant’s pre-DWH Spill employment in the Claiming Job, including the type of work
                performed, wage rate, and amount of time spent working in the Claiming Job.

             2. Post-DWH Spill Anticipated Employment: The extent to which the Claim File establishes
                the claimant’s post-DWH Spill expected employment in the Claiming Job, including the
                job description, wage rate, and amount of time claimant was expected to be employed
                in the Claiming Job during the period from April 21 through December 31, 2010,41 and
                wages expected to be earned in the Claiming Job.

             3. Post-DWH Spill Actual Employment: The extent to which the Claim File establishes the
                claimant’s actual post-DWH Spill employment in the Claiming Job, including the job
                description, wage rate, amount of time claimant actually was employed in the Claiming
                Job during the period from April 21 through December 31, 2010,42 and actual earnings in
                the Claiming Job and any other employment during that period.

             4. Lost Earnings And Causation: The extent to which the Claim File establishes (a) a
                reduction in anticipated employment and earnings in the Claiming Job during the period
                from April 21 through December 31, 2010,43 and (b) the extent to which any such
                reduction in anticipated employment and earnings was due to or resulting from the
                DWH Spill.

             5. Continued Employment in 2011: The extent to which the Claim File establishes that the
                claimant was employed in the Claiming Job or a similar job in 2011 and lived within 60
                miles of his place of employment.

         Based on the Claims Administrator’s consideration of the totality of the information above, the
         Claims Administrator shall determine the claimant’s lost earnings for the period April 21
         through December 31, 201044 up to a cap of $20,000.



41
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the Claims Administrator shall consider the extent to which the claimant has established his or her
expected post-DWH Spill employment in the Claiming Job for the period April 21, 2010 through April 20, 2011.
42
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the Claims Administrator shall consider the extent to which the claimant has established his or her
actual post-DWH Spill employment in the Claiming Job for the period April 21, 2010 through April 20, 2011.
43
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the claimant shall establish the claimant’s lost earnings for the period April 21, 2010 through April 20,
2011.
44
   For claimants whose employer(s) is an entity or Natural Person satisfying the Primary Seafood Industry
definition, the claimant shall establish the claimant’s expected post-DWH Spill employment for the period April 21,
2010 through April 20, 2011.

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     Step 2: Apply RTP, If Applicable

        Only claimants who, in 2011, (1) continued to be employed in a position the same as, or
        similar to, the Claiming Job, and (2) still lived within 60 miles of their place of employment,
        shall be eligible for an RTP of 1.

        If eligible, the claimant’s lost earnings shall be multiplied by the RTP.

     Step 3: Determine Claimant’s Compensation

        Deduct any Spill-Related Payments from the sum of Steps 1 and 2 to determine claimant’s
        compensation amount.

        Claimants under this Category IV shall not be eligible to recover Reimbursable Search Costs,
        Reimbursable Training Costs or Employment-Related Benefits Losses.

        The formula for the claimant’s compensation is:
                    Claimant’s lost earnings (not to exceed $20,000) (from Step 1)
            +       (Claimant’s lost earnings (not to exceed $20,000) x RTP (if any)) (from Step 2)
            +       One Time, Non-Recurring Event Compensation: if applicable, provided,
                    however, that in no event shall this amount exceed: ($20,000 less Claimant’s
                    lost earnings from Step 1)
            -       Spill-Related Payments (if applicable) (from Step 3)
            -       VoO Settlement Offset and/or VoO Earned Income Offset (if any)




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                                            One Time Loss Addendum

A One Time, Non-Recurring Event shall be defined as an event or sale that (i) would have occurred in
the Claiming Job between April 21, 2010 and December 31, 2010, and (ii) had not been included in the
Individual’s income from the Claiming Job in 2007, 2008 or 2009, and (iii) was canceled due to or
resulting from DWH Spill.

An Individual asserting lost earnings due to cancellation of a One Time, Non-Recurring Event must
provide documentation and establish causation as follows:

Documentation and Causation

The claimant shall provide all of the following:

    1. Copy of contract for the One Time, Non-Recurring Event scheduled to occur during the period
       April 21, 2010 and December 31, 2010, and canceled subsequent to April 21, 2010. The contract
       must indicate the date, time and details of the event.

    2. Documentation sufficient to establish the lost earnings, income or profit, to the claimant in
       respect of the One Time, Non-Recurring Event, including but not limited to a Sworn Written
       Statement by the party responsible for canceling the contract for the One Time, Non-Recurring
       Event.

    3. Documentation establishing that the lost earnings, income or profit, identified in 2 is (a) for
       claimants with more than ten sales per year in the Base Year(s), equal to or greater than 10% of
       the claimant’s earnings in the Base Year(s) from the Claiming Job, or (b) for claimants with
       fewer than ten sales per year in the Base Year(s), greater than two times the claimant’s average
       commission on all transactions in the Base Year(s) from the Claiming Job.

    4. Documentation sufficient to establish that (a) the cancellation of the One Time, Non-Recurring
       Event was due to or resulting from the DWH Spill, including but not limited to a Sworn Written
       Statement by the party responsible for canceling the contract for the One Time, Non-Recurring
       Event, and (b) the cancellation was a loss to claimant.

    5. Documentation establishing that the lost earnings, income or profit, are not duplicative of
       amounts quantified as Claimant Lost Earnings in Step 6 of the Compensation Calculation for
       Categories I, II or III.

    6. Itemized commission statements for 2007, 2008 and 2009, if applicable.

Compensation for the One Time, Non-Recurring Event

Compensation for the One Time, Non-Recurring Event shall equal the lost earnings for the One Time,
Non-Recurring Event, and no RTP shall be applicable to the corresponding loss.




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                         EXHIBIT 8B
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Introduction to Example Appendices A through F

INDIVIDUAL ECONOMIC LOSS CLAIMS: EXAMPLES

The following Appendices give examples of Individual Economic Loss Categories I-III. In each
example, the Compensation Period selected is the period between April 21, 2010 and December
31, 2010 that produces maximum Claimant Lost Earnings for that example. In each example,
Final Claimant Compensation for claimaints who establish causation depends primarily on the
following factors:

1. Components of Lost Earnings: Claimant Lost Earnings is calculated as the sum of two
   factors: (i) any decrease in earnings during the claimant selected Compensation Period
   compared to the same period(s) in the Base Year(s), and (ii) any expected growth in earnings
   during the same Compensation Period relative to the Base Year(s). Thus, the claimant
   selected Compensation Period is relevant for both factors, and claimants will want to
   consider both factors in selecting their Compensation Period.



2. Length and Duration Of Economic Loss (Compensation Period): Each claimant selects a
   period of loss (or Compensation Period) reflecting the period in which the claimant's Actual
   Earnings were less than Expected Earnings due to or resulting from the DWH Spill. The
   Compensation Period must consist of at least 90 consecutive days between April 21, 2010
   and December 31, 2010, and may extend for the entire period, at the claimant's election. In
   selecting a Compensation Period, claimant should be aware that any period when income
   (i) fell, (ii) stayed the same, or (iii) demonstrated a percentage increase lower than the
   applicable Growth Factor(s) (percentages), will result in Actual Earnings being less than
   Expected Earnings, and therefore a higher level of loss and compensation.


3. Location and Industry Of Economic Loss: Claimants incurring economic loss due to or
   resulting from the DWH Spill may also receive Risk Transfer Premium (RTP) compensation
   based upon the industry and location of their loss. The RTP is calculated as a multiple of the
   claimant's loss during the Compensation Period.




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Appendix A1
                 Example of Compensation Calculation: Category I Individual
Category I Individual with Pay Period Earnings Documentation: In this example, the claimant has passed the
causation requirements and provides Tax Information Documents demonstrating annual earnings, and also
provides Pay Period Earnings Documentation sufficient to establish monthly/pay period earnings, allowing for
the calculation of a Claimant Specific Growth Factor. This claimant was a salaried worker at a resort in Zone A
who lost his job at the end of September 2010. Because the claimant is a salaried worker, no Industry Growth
Factor is applicable.

Data Submitted by Claimant

                                                                                         2009           2010
  Annual Earnings per Tax Information Documents                                      $     61,500   $     47,250

  Pay Period Earnings
   January                                                                           $      5,000   $      5,250
   February                                                                          $      5,000   $      5,250
   March                                                                             $      5,000   $      5,250
   April                                                                             $      5,000   $      5,250
   May                                                                               $      5,000   $      5,250
   June                                                                              $      5,000   $      5,250
   July                                                                              $      5,250   $      5,250




                                                                                                                   ‐‐Compensation Period‐‐
                                                          ‐‐‐‐Benchmark Period‐‐‐‐




   August                                                                            $      5,250   $      5,250
   September                                                                         $      5,250   $      5,250
   October                                                                           $      5,250   $        ‐
   November                                                                          $      5,250   $        ‐
   December                                                                          $      5,250   $        ‐

Total Earnings                                                                       $    61,500    $    47,250

Step 1: Claimant Selects Compensation Period & Base Year
    Claimant has selected July 1, 2010 through December 31, 2010 as the Compensation Period, and chosen
    2009 as the Base Year.

Step 2: Determine Benchmark Period Earnings Corresponding to the Compensation Period

    Benchmark Period earnings are the actual earnings during the period of the Base Year of the same length
    and dates corresponding to the Compensation Period. Given the selection in Step 1, the Benchmark Period
    earnings equal the earnings between July 1, 2009 and December 31, 2009, and are calculated as follows:

    Benchmark Period Earnings (July 1‐Dec 31, 2009)                                                 $    31,500




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Appendix A1
                 Example of Compensation Calculation: Category I Individual

Step 3: Determine Earnings Growth Factor(s)
    The Claimant has provided pay period detail, and a Claimant Specific Growth Factor can be calculated using
    January through April earnings in 2010 and the Base Year. Industry Growth Factor does not apply
    (Benchmark Period earnings are salaried).

                                                                    2009               2010
    January ‐ April Earnings                                    $     20,000 [a]   $     21,000 [b]

    Calculated Claimant Specific Growth Factor                                             5.0% [c]=([b]‐[a])/[a]
                    5.0% = ($21,000 ‐ $20,000)/$20,000
                      [c] = ([b] ‐ [a]) / [a]
    Claimant Specific Growth Factor (max of +10%, min of ‐1.5%)                            5.0% [d]

Step 4: Calculate Expected Earnings
    Expected Earnings equals Benchmark Period earnings (calculated in Step 2) increased by the applicable
    Growth Factors (from Step 3).

    Benchmark Period Earnings (from Step 2)                                        $     31,500 [e]

    Claimant Specific Growth Rate (if applicable from Step 3)                              5.0% = [d]

    Industry Growth Factor (if hourly, see Step 3)                                          n/a [f]

    Expected Earnings for the Compensation Period                                  $    33,075 [g]=[e]*(1+[d]+[f])
                    $33,075 = $31,500 x (1 + 0.05 + 0)
                      [g] = [e] x (1 + [d] + [f])

Step 5: Determine Actual Earnings in the Compensation Period
    Actual Earnings in the claimant selected Compensation Period in this example includes all earnings between
    the period selected by the Claimant in Step 1, July 1, 2010 through December 31, 2010.

    Actual Earnings (July 1‐December 31, 2010)                                     $    15,750 [h]

Step 6: Determine Claimant Lost Earnings
    Lost Earnings is the difference between the Expected Earnings (Step 4) and the Actual Earnings (Step 5) over
    the Compensation Period.

    Lost Earnings                                                                  $    17,325 [i]=[g]‐[h]
        $17,325 = $33,075 ‐ $15,750
          [i] =      [g] ‐ [h]




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Appendix A1
                Example of Compensation Calculation: Category I Individual

Step 7: Calculate Final Claimant Compensation
   Final Claimant Compensation includes Lost Earnings increased by the agreed upon Risk Transfer Premium
   (Zone A Tourism= 2.5), then adjusted for any Employee‐Related Benefits Loss (assume $2,000), any
   Reimbursable Training & Search Costs (assume $500 each for training and search) and any Spill Related
   Payments (assume $3,000).

   Lost Earnings (Step 6)                                                   $     17,325 = [i]
 + Lost Earnings Multiplied by Other Industries RTP (2.5 in Zone A)         $     43,313 [j]=[i] x RTP
                  = $17,325 x 2.5
 + Employment Related Benefits Losses                                       $      2,000 Given above.
 + Reimbursable Training Costs                                              $        500 Given above.
 + Reimbursable Search Costs                                                $        500 Given above.
 ‐ Spill Related Payments                                                   $     (3,000) Given above.

   Final Claimant Compensation                                              $     60,638




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Appendix A2
                                         Example of Compensation Calculation: Category I Individual with Bonus

Category I Individual with Pay Period Earnings Documentation: In this example, the claimant has passed the causation requirements and provides Tax Information
Documents demonstrating annual earnings, and also provides Pay Period Earnings Documentation sufficient to establish monthly/pay period earnings, allowing for the
calculation of a Claimant Specific Growth Factor. This claimant was a salaried worker at a resort in Zone A who lost his job at the end of September 2010. Because the
claimant is a salaried worker, no Industry Growth Factor is applicable. The claimant's documentation indicated that the claimant received a bonus in March 2009 related
to calendar year 2008, and a bonus in March 2010 related to calendar year 2009. Because the claimant lost his job, no bonus was received for calendar year 2010.


Data Submitted by Claimant and Reallocation of Bonus Earnings

                                                    2009 ‐ Bonus    2010 ‐ Bonus                                                                                                     2009 ‐ Bonus      2010 ‐ Bonus
                                                     Included in     Included in                        2009 ‐ No          2010 ‐ No                                                  Allocated to      Allocated to
                                                      Year Paid       Year Paid                          Bonus              Bonus                                                    Year Earned*     Year Earned**
  Regular Pay                                       $     61,500    $     47,250                      $    61,500        $    47,250                                                 $      61,500    $        47,250
  Total Bonuses Paid                                $       5,000   $       6,000                                                                                                    $        6,000   $            ‐
   Total Annual Earnings                            $     66,500    $     53,250                      $    61,500        $    47,250                                                 $      67,500    $        47,250

  Pay Period Earnings
   January                                          $      5,000    $      5,250                      $     5,000        $     5,250                                                 $       5,500    $         5,250



                                                                                    ‐‐Growth Rate‐‐




                                                                                                                                        ‐‐Growth Rate‐‐
   February                                         $      5,000    $      5,250                      $     5,000        $     5,250                                                 $       5,500    $         5,250
   March                                            $     10,000    $     11,250                      $     5,000        $     5,250                                                 $       5,500    $         5,250
   April                                            $      5,000    $      5,250                      $     5,000        $     5,250                                                 $       5,500    $         5,250
   May                                              $      5,000    $      5,250                      $     5,000        $     5,250                                                 $       5,500    $         5,250
   June                                             $      5,000    $      5,250                      $     5,000        $     5,250                                                 $       5,500    $         5,250
   July                                             $      5,250    $      5,250                      $     5,250        $     5,250                                                 $       5,750    $         5,250




                                                                                                                                                          ‐‐‐‐Benchmark Period‐‐‐‐




                                                                                                                                                                                                                        ‐‐Compensation Period‐‐
   August                                           $      5,250    $      5,250                      $     5,250        $     5,250                                                 $       5,750    $         5,250
   September                                        $      5,250    $      5,250                      $     5,250        $     5,250                                                 $       5,750    $         5,250
   October                                          $      5,250    $        ‐                        $     5,250        $       ‐                                                   $       5,750    $           ‐
   November                                         $      5,250    $        ‐                        $     5,250        $       ‐                                                   $       5,750    $           ‐
   December                                         $      5,250    $        ‐                        $     5,250        $       ‐                                                   $       5,750    $           ‐

Total Earnings                                      $     66,500    $     53,250                      $    61,500        $    47,250                                                 $      67,500    $        47,250



    * $6,000 bonus received in 2010 relates to 2009 performance and is therefore allocated evenly across the months of 2009.
    ** No bonus was received for calendar year 2010, so no bonus earnings are allocated to 2010.

Step 1: Claimant Selects Compensation Period & Base Year
    Claimant has selected July 1, 2010 through December 31, 2010 as the Compensation Period, and chosen 2009 as the Base Year.

Step 2: Determine Benchmark Period Earnings Corresponding to the Compensation Period
    Benchmark Period earnings are the actual earnings during the period of the Base Year of the same length and dates corresponding to the Compensation Period.
    Given the selection in Step 1, the Benchmark Period earnings equal the earnings between July 1, 2009 and December 31, 2009, and are calculated as follows (inclusive
    of the allocated bonus):

    Benchmark Period Earnings (July 1‐Dec 31, 2009)                                                                      $    34,500

Step 3: Determine Earnings Growth Factor(s)
    The Claimant has provided pay period detail, and a Claimant Specific Growth Factor can be calculated using January through April earnings in 2010 and the Base Year
    (excluding any bonus amounts). Industry Growth Factor does not apply (Benchmark Period earnings are salaried).

                                                                                                        2009 ‐ No          2010 ‐ No
                                                                                                         Bonus              Bonus
    January ‐ April Earnings                                                                          $     20,000 [a]   $     21,000 [b]

    Calculated Claimant Specific Growth Factor                                                                                   5.0% [c]=([b]‐[a])/[a]
                               5.0% = ($21,000 ‐ $20,000)/$20,000
                                   [c] = ([b] ‐ [a]) / [a]
    Claimant Specific Growth Factor (max of +10%, min of ‐1.5%)                                                                  5.0% [d]




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Appendix A2
                                       Example of Compensation Calculation: Category I Individual with Bonus
Step 4: Calculate Expected Earnings
    Expected Earnings equals Benchmark Period earnings (calculated in Step 2) increased by the applicable Growth Factors (from Step 3).

    Benchmark Period Earnings (from Step 2)                                                                 $     34,500 [e]

    Claimant Specific Growth Rate (if applicable from Step 3)                                                        5.0% = [d]

    Industry Growth Factor (if hourly, see Step 3)                                                                    n/a [f]

    Expected Earnings for the Compensation Period                                                           $     36,225 [g]=[e]*(1+[d]+[f])
                             $36,225 = $34,500 x (1 + 0.05 + 0)
                               [g] = [e] x (1 + [d] + [f])



Step 5: Determine Actual Earnings in the Compensation Period
    Actual Earnings in the claimant selected Compensation Period in this example includes all earnings between the period selected by the Claimant in Step 1, July 1, 2010
    through December 31, 2010.

    Actual Earnings (July 1‐December 31, 2010)                                                              $     15,750 [h]

Step 6: Determine Claimant Lost Earnings
    Lost Earnings is the difference between the Expected Earnings (Step 4) and the Actual Earnings (Step 5) over the Compensation Period.

    Lost Earnings                                                                                           $     20,475 [i]=[g]‐[h]
        $20,475 = $36,225 ‐ $15,750
          [i]   =     [g] ‐ [h]


Step 7: Calculate Final Claimant Compensation
    Final Claimant Compensation includes Lost Earnings increased by the agreed upon Risk Transfer Premium (Zone A Tourism= 2.5), then adjusted for any Employee‐
    Related Benefits Loss (assume $2,000), any Reimbursable Training & Search Costs (assume $500 each for training and search) and any Spill Related Payments
    (assume $3,000).

    Lost Earnings (Step 6)                                                                                  $     20,475 = [i]
  + Lost Earnings Multiplied by Other Industries RTP (2.5 in Zone A)                                        $     51,188 [j]=[i] x RTP
                          = $20,475 x 2 5
  + Employment Related Benefits Losses                                                                      $       2,000 Given above.
  + Reimbursable Training Costs                                                                             $         500 Given above.
  + Reimbursable Search Costs                                                                               $         500 Given above.
  ‐ Spill Related Payments                                                                                  $      (3,000) Given above.

    Final Claimant Compensation                                                                             $     71,663




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Appendix A3
                               Example of Compensation Calculation: Category I Individual with Commissions

Category I Individual with Pay Period Earnings Documentation: In this example, the claimant has passed the causation requirements and provides Tax Information
Documents demonstrating annual earnings, and also provides Pay Period Earnings Documentation sufficient to establish monthly/pay period earnings, allowing for
the calculation of a Claimant Specific Growth Factor. This claimant was a worker at a resort in Zone A who received a salary plus quarterly commissions, and who
lost his job at the end of September 2010. Because the claimant is a salaried worker, no Industry Growth Factor is applicable.


Data Submitted by Claimant and Reallocation of Commission Earnings


                                                                         2010 ‐                                                                          2009 ‐            2010 ‐
                                                    2009 ‐           Commission                                                                       Commission        Commission
                                                  Commission          Included as                                                                     Allocated to      Allocated to
                                               Included as Paid           Paid                                                                      Period Earned*     Period Earned*
  Regular Pay                                   $       61,500       $     47,250        Regular Pay                                                $        61,500   $         47,250
  Commission Paid in:                                                                    Commission Related to:
     January                                    $        1,000       $      1,250            January‐March                                          $        1,250    $             1,500
     April                                      $        1,250       $      1,500            April‐June                                             $        1,250    $             1,500
     July                                       $        1,250       $      1,500            July‐October                                           $        1,250    $               ‐
     October                                    $        1,250       $        ‐              October‐December                                       $        1,250    $               ‐
  Total Commissions*                            $        4,750       $      4,250        Total Commissions*                                         $        5,000    $             3,000

   Total Annual Earnings                        $       66,250       $     51,500                                                                   $       66,500    $            50,250

  Pay Period Earnings
   January                                     $         6,000       $      6,500                                                                   $        5,417    $             5,750




                                                                                                                   ‐‐Growth Rate‐‐




                                                                                                                                                                                                  ‐‐Growth Rate‐‐
   February                                    $         5,000       $      5,250                                                                   $        5,417    $             5,750
   March                                       $         5,000       $      5,250                                                                   $        5,417    $             5,750
   April                                       $         6,250       $      6,750                                                                   $        5,417    $             5,750
   May                                         $         5,000       $      5,250                                                                   $        5,417    $             5,750
   June                                        $         5,000       $      5,250                                                                   $        5,417    $             5,750
   July                                        $         6,500       $      6,750                                                                   $        5,667    $             5,250




                                                                                                                                                                                            ‐‐Compensation Period‐‐
                                                                                                                         ‐‐‐‐Benchmark Period‐‐‐‐


   August                                      $         5,250       $      5,250                                                                   $        5,667    $             5,250
   September                                   $         5,250       $      5,250                                                                   $        5,667    $             5,250
   October                                     $         6,500       $        ‐                                                                     $        5,667    $               ‐
   November                                    $         5,250       $        ‐                                                                     $        5,667    $               ‐
   December                                    $         5,250       $        ‐                                                                     $        5,667    $               ‐

Total Earnings                                 $        66,250       $     51,500                                                                   $       66,500    $            50,250

  * Commissions were paid quarterly. Commissions paid in 2009 were $1,250 each. The commission paid in January related to October‐December 2008, the
    commission paid in April 2009 related to January‐March 2009, the commission paid in July 2009 related to April‐June 2009, and the commission paid in October
    2009 related to July through September 2009. Commissions paid in 2010 were also $1,500 each. The commission paid in January 2010 related to October‐
    December 2009, the commission paid in April 2010 related to January‐March 2010, and the commission paid in July 2010 related to April‐June 2010. The
    claimant was terminated in September 2010 and did not receive any additional commissions.



Step 1: Claimant Selects Compensation Period & Base Year
     Claimant has selected July 1, 2010 through December 31, 2010 as the Compensation Period, and chosen 2009 as the Base Year.

Step 2: Determine Benchmark Period Earnings Corresponding to the Compensation Period
    Benchmark Period earnings are the actual earnings during the period of the Base Year of the same length and dates corresponding to the Compensation
    Period. Given the selection in Step 1, the Benchmark Period earnings equal the earnings between July 1, 2009 and December 31, 2009, and are calculated as
    follows (inclusive of the allocated commissions):

    Benchmark Period Earnings (July 1‐Dec 31, 2009)                                                                                                 $       34,000




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Appendix A3
                                  Example of Compensation Calculation: Category I Individual with Commissions

Step 3: Determine Earnings Growth Factor(s)
      The Claimant has provided pay period detail, and a Claimant Specific Growth Factor can be calculated using January through April earnings in 2010 and the Base
      Year (including commissions). Industry Growth Factor does not apply (Benchmark Period earnings are salaried).

                                                                                                                              2010 ‐
                                                                                               2009 ‐ Commission           Commission
                                                                                               Allocated to Period         Allocated to
                                                                                                    Earned*              Period Earned*
      January ‐ April Earnings                                                                 $           21,667 [a]    $        23,000 [b]

      Calculated Claimant Specific Growth Factor                                                                                     6.2% [c]=([b]‐[a])/[a]
                                 6.2% = ($23,000 ‐ $21,667)/$23,000
                                     [c] = ([b] ‐ [a]) / [a]

      Claimant Specific Growth Factor (max of +10%, min of ‐1.5%)                                                                    6.2% [d]

Step 4: Calculate Expected Earnings
     Expected Earnings equals Benchmark Period earnings (calculated in Step 2) increased by the applicable Growth Factors (from Step 3).

      Benchmark Period Earnings (from Step 2)                                                                            $         34,000 [e]

      Claimant Specific Growth Rate (if applicable from Step 3)                                                                       6.2% = [d]

      Industry Growth Factor (if hourly, see Step 3)                                                                                   n/a [f]

      Expected Earnings for the Compensation Period                                                                      $         36,108 [g]=[e]*(1+[d]+[f])
                                 $36,092 = $34,000 x (1 + 0 062 + 0)
                                   [g] = [e] x (1 + [d] + [f])



Step 5: Determine Actual Earnings in the Compensation Period
     Actual Earnings in the claimant selected Compensation Period in this example includes all earnings between the period selected by the Claimant in Step 1, July
     1, 2010 through December 31, 2010.

      Actual Earnings (July 1‐December 31, 2010)                                                                         $         15,750 [h]

Step 6: Determine Claimant Lost Earnings
     Lost Earnings is the difference between the Expected Earnings (Step 4) and the Actual Earnings (Step 5) over the Compensation Period.

      Lost Earnings                                                                                                      $         20,358 [i]=[g]‐[h]
          $20,342 = $36,092 ‐ $15,750
            [i]   =     [g] ‐ [h]


Step 7: Calculate Final Claimant Compensation
      Final Claimant Compensation includes Lost Earnings increased by the agreed upon Risk Transfer Premium (Zone A Tourism= 2.5), then adjusted for any
      Employee‐Related Benefits Loss (assume $2,000), any Reimbursable Training & Search Costs (assume $500 each for training and search) and any Spill Related
      Payments (assume $3,000).

    Lost Earnings (Step 6)                                                                                               $         20,358 = [i]
  + Lost Earnings Multiplied by Other Industries RTP (2.5 in Zone A)                                                     $         50,895 [j]=[i] x RTP
                             = $20,342 x 2 5
  +   Employment Related Benefits Losses                                                                                 $          2,000 Given above.
  +   Reimbursable Training Costs                                                                                        $            500 Given above.
  +   Reimbursable Search Costs                                                                                          $            500 Given above.
  ‐   Spill Related Payments                                                                                             $         (3,000) Given above.

      Final Claimant Compensation                                                                                        $         71,253




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Appendix B
                     Example of Compensation Calculation: Category I Individual (Salaried)

Category I Individual with Pay Period Earnings Documentation: In this example, the claimant has passed the causation requirements
and provides Tax Information Documents demonstrating annual earnings, and also provides Pay Period Earnings Documentation
sufficient to establish pay period earnings, allowing for the calculation of a Claimant Specific Growth Factor. This claimant was a
salaried worker at a manufacturing facility in Zone A paid monthly in 2009 who changed jobs and began being compensated using an
hourly wage for which he was paid twice monthly. Because the claimant was a salaried worker in the Benchmark Period, no Industry
Growth Factor is applicable.


Data Submitted by Claimant

                                                                                                                     2009                2010
  Annual Earnings per Tax Information Documents                                                                  $       61,500   $          45,950

  Pay Period Earnings (Period Ending...)
   January 15                                                                                                               -     $           2,600
   January 31                                                                                                    $        5,000   $           2,650
   February 15                                                                                                              -     $           2,550
   February 28                                                                                                   $        5,000   $           2,300
   March 15                                                                                                                 -     $           2,350
   March 31                                                                                                      $        5,000   $           2,550
   April 15                                                                                                                 -     $           2,600
   April 30                                                                                                      $        5,000   $           2,700
   May 15                                                                                                                   -     $           2,800
   May 31                                                                                                        $        5,000   $           2,850
   June 15                                                                                                                  -     $           2,900
   June 30                                                                                                       $        5,000   $           1,750




                                                                                                                                                      -------------Compensation Period--------------
                                                                ---------------Benchmark Period---------------




   July 15                                                                                                       $          -     $           1,400
   July 31                                                                                                       $        5,250   $           1,300
   August 15                                                                                                     $          -     $           1,200
   August 31                                                                                                     $        5,250   $           1,100
   September 15                                                                                                  $          -     $           1,200
   September 30                                                                                                  $        5,250   $           1,240
   October 15                                                                                                    $          -     $           1,320
   October 31                                                                                                    $        5,250   $           1,340
   November 15                                                                                                   $          -     $           1,250
   November 30                                                                                                   $        5,250   $           1,200
   December 15                                                                                                   $          -     $           1,300
   December 31                                                                                                   $        5,250   $           1,500

Total Earnings                                                                                                   $       61,500   $          45,950

Step 1: Claimant Selects Compensation Period & Base Year

    Claimant has selected June 15, 2010 through December 31, 2010 as the Compensation Period, and chosen 2009 as the Base Year.

Step 2: Determine Benchmark Period Earnings Corresponding to the Compensation Period
    Benchmark Period earnings are the actual earnings during the period of the Base Year of the same length and dates as in the
    Compensation Period. Given the selection in Step 1, the Benchmark Period earnings equal the earnings between June 15, 2009
    and December 31, 2009, and are calculated as follows:

                         Earnings June 15-July 1, 2009            $                                                       2,500   (=$5,000 x 0.5 months)
                         Earnings July 1-December 31, 2009        $                                                      31,500   (=$5,250 x 6 months)
                                  Total Benchmark Period Earnings $                                                      34,000

Step 3: Determine Earnings Growth Factor(s)




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Appendix B
                      Example of Compensation Calculation: Category I Individual (Salaried)


    The Claimant has provided pay period detail, and a Claimant Specific Factor can be calculated using January through April earnings
    in 2010 and the Base Year. Industry Growth Factor does not apply as Benchmark Period earnings are salaried.

                                                                            2009                     2010
    January - April Earnings                                          $         20,000 [a] $             20,300 [b]

   Calculated Claimant Specific Growth Factor                                                               1.5% [c]=([b]-[a])/[a]
                        1.5% = ($20,300 - $20,000)/$20,000
                         [c] = ([b] - [a]) / [a]

   Selected Claimant Specific Growth Factor (max of +10%, min of -1.5%)                                     1.5% [d]

Step 4: Calculate Expected Earnings
    Expected Earnings equals Benchmark Period earnings (calculated in Step 2) increased by the applicable Growth Factors (from Step
    3).

    Benchmark Period Earnings (from Step 2)                                                   $           34,000 [e]

    Claimant Specific Growth Rate (if applicable from Step 3)                                               1.5% = [d]

    Industry Growth Factor (if hourly, see Step 3)                                                            n/a [f]

     Expected Earnings for the Compensation Period                                            $           34,510 [g]=[e]*(1+[d]+[f])
                        $34,510 = $34,000 x (1 + 0.015 + 0)
                           [g] = [e] x (1 + [d] + [f])

Step 5: Determine Actual Earnings in the Compensation Period
    Actual Earnings in the claimant selected Compensation Period in this example includes all earnings in the 2010 period selected by
    the Claimant in Step 1, June 15, 2010 through December 31, 2010.

    Actual Earnings (June 15-December 31, 2010)                                               $          17,100 [h]

Step 6: Determine Claimant Lost Earnings
    Lost Earnings is the difference between the Expected Earnings (Step 4) and the Actual Earnings (Step 5) over the Compensation
    Period.

    Lost Earnings (Step 4: Expected Earnings - Step 5: Actual Earnings)                       $           17,410 [i]=[g]-[h]
                          $17,410 = $34,510 - $17,100
                             [i] = [g] - [h]




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Appendix B
                     Example of Compensation Calculation: Category I Individual (Salaried)


Step 7: Calculate Final Claimant Compensation
    Final Claimant Compensation includes Lost Earnings increased by the agreed upon Risk Transfer Premium (Zone A Other
    Industries= 1.5), then adjusted for any Employment-Related Benefits Losses (assume $2,000), any Reimbursable Training & Search
    Costs (assume none) and any Spill Related Payments (assume $3,000).

    Lost Earnings (Step 6)                                                                 $          17,410 [i]
  + Lost Earnings Multiplied by Other Industries RTP (1.5 in Zone A)                       $          26,115 [j]=[i] x RTP
  + Employment Related Benefits Losses                                                     $           2,000 Given above.
  + Reimbursable Training Costs                                                            $             -    Given above.
  + Reimbursable Search Costs                                                              $             -    Given above.
  - Spill Related Payments                                                                 $          (3,000) Given above.

  Final Claimant Compensation                                                              $          42,525




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Appendix C1
                                  Example of Compensation Calculation:
                            Category I Individual (Multiple Hourly Claiming Jobs)

Category I Individual with Pay Period Earnings Documentation: In this example, the claimant has passed the causation
requirements and provides Tax Information Documents demonstrating annual earnings, and also provides Pay Period
Earnings Documentation sufficient to establish pay period earnings, allowing for the calculation of a Claimant Specific
Growth Factor. This claimant was an hourly worker with two Claiming Jobs: one Zone B construction job (Job 1) which paid
monthly and one Zone B restaurant job which paid twice monthly (Job 2). Because the claimant is an hourly wage worker, an
Industry Growth Factor is applicable.


Data Submitted by Claimant

                                                                                                            2009-Job 1   2009-Job 2   2010-Job 1   2010-Job 2
  Annual Earnings per Tax Info Docs                                                                         $   28,800   $   17,720   $   24,600   $   15,320

  Pay Period Earnings (Period Ending...)
   January 15                                                                                                      -     $     800           -     $     820
   January 31                                                                                               $    2,300   $     760    $    2,400   $     780
   February 15                                                                                                     -     $     680           -     $     660
   February 28                                                                                              $    2,350   $     660    $    2,450   $     700
   March 15                                                                                                        -     $     640           -     $     740
   March 31                                                                                                 $    2,130   $     700    $    2,600   $     800
   April 15                                                                                                        -     $     710           -     $     860
   April 30                                                                                                 $    2,220   $     730    $    2,300   $     860
   May 15                                                                                                          -     $     720           -     $     740




                                                                                                                                                                ---------------------Compensation Period---------------------
                                           -----------------------Benchmark Period-----------------------




   May 31                                                                                                   $    2,450   $     800    $    2,200   $     640
   June 15                                                                                                         -     $     820           -     $     600
   June 30                                                                                                  $    2,500   $     800    $    1,950   $     540
   July 15                                                                                                         -     $     840           -     $     560
   July 31                                                                                                  $    2,650   $     880    $    1,800   $     600
   August 15                                                                                                       -     $     780           -     $     560
   August 31                                                                                                $    2,700   $     770    $    1,800   $     600
   September 15                                                                                                    -     $     810           -     $     620
   September 30                                                                                             $    2,250   $     680    $    1,740   $     540
   October 15                                                                                                      -     $     660           -     $     520
   October 31                                                                                               $    2,350   $     640    $    1,660   $     480
   November 15                                                                                                     -     $     660           -     $     400
   November 30                                                                                              $    2,400   $     700    $    1,800   $     560
   December 15                                                                                                     -     $     680           -     $     500
   December 31                                                                                              $    2,500   $     800    $    1,900   $     640

Total Earnings                                                                                              $   28,800 $     17,720   $   24,600 $     15,320

Step 1: Claimant Selects Compensation Period & Base Year
    Claimant has selected May 15, 2010 through December 31, 2010 as the Compensation Period, and
    chosen 2009 as the Base Year.




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Appendix C1
                                     Example of Compensation Calculation:
                               Category I Individual (Multiple Hourly Claiming Jobs)


Step 2: Determine Benchmark Period Earnings Corresponding to the Compensation Period
    Benchmark Period earnings are the actual earnings during the period of the Base Year of the same length
    and dates corresponding to the Compensation Period. Given the selection in Step 1, the Benchmark
    Period earnings equal the earnings between May 15, 2009 and December 31, 2009, and are calculated as
    follows:
                                                                 Job 1              Job 2
    Earnings May 15-June 1, 2009                             $      1,225       $        800 (Job 1=$2,450 x 50%)
    Earnings June 1-December 31, 2009                        $     17,350       $     10,520
    Total Benchmark Period Earnings                          $     18,575       $     11,320

Step 3: Determine Earnings Growth Factor(s)

    The Claimant has provided Pay Period Earnings Documentation, and a Claimant Specific Growth Factor
    can be calculated using January through April earnings in 2010 and the Base Year. Industry Growth
    Factor (1.5%) applies as Benchmark Period earnings are paid hourly.

                                                  2009-Job 1  2009-Job 2        2010-Job 1  2010-Job 2
    January - April Earnings                     $     9,000 $     5,680 [a]   $     9,750 $     6,220 [b]

    Calculated Claimant Specific Growth Factor                                         8.3%          9.5% [c]=([b]-[a])/[a]
                        8.3% = ($9,750 - $9,000)/$9,000
                        9.5% = ($6,220 - $5,680)/$5,680
                        [c] = ([b] - [a]) / [a]

    Claimant Specific Growth Factor (max of +10%, min of -1.5%)                        8.3%          9.5% [d]



Step 4: Calculate Expected Earnings
    Expected Earnings equals Benchmark Period earnings (calculated in Step 2) increased by the applicable Growth Factors
    (from Step 3).

                                                                                2010-Job 1  2010-Job 2
    Benchmark Period Earnings (from Step 2)                                    $    18,575 $    11,320 [e]

    Claimant Specific Growth Rate (if applicable from Step 3)                          8.3%          9.5% = [d]

    Industry Growth Factor (if hourly, see Step 3)                                     1.5%          1.5% [f]

    Expected Earnings for the Compensation Period                              $    20,402 $      12,566 [g]=[e]*(1+[d]+[f])
                       $20,402 = $18,575 x (1 + 0.083 + 0.015)
                       $12,566 = $11,320 x (1 + 0.095 + 0.015)
                          [g] = [e] x (1 + [d] + [f])




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Appendix C1
                                  Example of Compensation Calculation:
                            Category I Individual (Multiple Hourly Claiming Jobs)


Step 5: Determine Actual Earnings in the Compensation Period

    Actual Earnings in the claimant selected Compensation Period in this example includes all earnings
    between the period selected by the Claimant in Step 1, May 15, 2010 through December 31, 2010.

    Actual Earnings (May 15-December 31, 2010)                                   $    13,750 $           8,360 [h]

Step 6: Determine Claimant Lost Earnings
    Lost Earnings is the difference between the Expected Earnings (Step 4) and the Actual
    Earnings (Step 5) over the Compensation Period.
                                                                                     Job 1      Job 2
    Lost Earnings                                                                $      6,652 $    4,206 [i]=[g]-[h]
       $6,652 = $20,402 - $13,750
       $4,206 = $12,566 - $8,360
          [i] = [g] - [h]

Step 7: Calculate Final Claimant Compensation

    Final Claimant Compensation includes Lost Earnings increased by the agreed upon Risk Transfer
    Premium (RTP Job 1= 1.25; Job 2= 2.5), then adjusted for any Employee-Related Benefits Loss (assume
    $2,000 for Job 1), any Reimbursable Training & Search Costs (assume $500 for each training and search)
    and any Spill Related Payments (assume $3,000).

                                                                                     Job 1          Job 2
    Lost Earnings (Step 6)                                                      $       6,652   $      4,206 [i]
  + Lost Earnings Multiplied by RTP (Job 1= 1.25; Job 2= 2.5)                   $       8,314   $     10,515 [j]=[i] x RTP
  + Employment Related Benefits Losses                                          $       2,000   $         -  [k]
                                                                                $      16,966   $     14,721 [l]=[i]+[j]+[k]

    Total Claimant Lost Earnings                                                                $     31,687 Total of [l]
  + Reimbursable Training Costs                                                                 $        500 Given above.
  + Reimbursable Search Costs                                                                   $        500 Given above.
  - Spill Related Payments                                                                      $     (3,000) Given above.

    Final Claimant Compensation                                                                 $     29,687




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Appendix C2
                                          Example of Compensation Calculation:
            Category I Individual (Hourly Claiming Job and Multiple Sources of Compensation Period Income)


Category I Individual with Pay Period Earnings Documentation: In this example, the claimant has passed the causation requirements, provided Tax
Information Documents demonstrating annual earnings, and also provided Pay Period Earnings Documentation sufficient to establish pay period
earnings (allowing for the calculation of a Claimant Specific Growth Factor). This claimant is an hourly worker with one job meeting causation, a
Zone B construction job (Job 1) which paid monthly. After the DWH Spill, the claimant found a second hourly job at a restaurant in Zone C which also
pays monthly (Job 2). Because the claimant is an hourly wage worker, an Industry Growth Factor is applicable. To the extent the claimant found
new work to replace any hours lost due to or resulting from the DWH Spill, compensation for those replaced hours are included in Actual Earnings.


Data Submitted by Claimant

                                                                                    2009 - Job 1                       2010 - Job 1                         2010 - Job 2
  Annual Earnings per Tax Info Docs                                                             $ 8,920                                 $ 8,370                             $      525

                                                                                     Hourly         Total                   Hourly          Total             Hourly            Total
  Pay Period Earnings (Period Ending...)
                                                                              Hrs       Rate        Pay     Hrs             Rate            Pay     Hrs          Rate           Pay
   January 31                                                                  76   $      10   $     760         80    $          10   $     800     -                     $      -
   February 28                                                                 66   $      10   $     660         72    $          10   $     720     -                     $      -
   March 31                                                                    70   $      10   $     700         74    $          10   $     740     -                     $      -
   April 30                                                                    73   $      10   $     730         76    $          10   $     760     -                     $      -
   May 31                                                                      80   $      10   $     800         70    $          10   $     700      10    $          5   $       50




                                                                                                                                                                                         ------Compensation Period------
                                           --------Benchmark Period--------




   June 30                                                                     80   $      10   $     800         60    $          10   $     600      25    $          5   $      125
   July 31                                                                     88   $      10   $     880         75    $          10   $     750      20    $          5   $      100
   August 31                                                                   77   $      10   $     770         66    $          10   $     660      15    $          5   $       75
   September 30                                                                68   $      10   $     680         54    $          10   $     540      15    $          5   $       75
   October 31                                                                  64   $      10   $     640         60    $          10   $     600      20    $          5   $      100
   November 30                                                                 70   $      10   $     700         70    $          10   $     700     -                     $      -
   December 31                                                                 80   $      10   $     800         80    $          10   $     800     -                     $      -

Total Earnings & Hours                                                        892               $ 8,920       837                       $ 8,370       105                   $      525

Step 1: Claimant Selects Compensation Period & Base Year

    Claimant has selected May 1, 2010 through December 31, 2010 as the Compensation Period, and chosen 2009 as the Base Year.

Step 2: Determine Benchmark Period Earnings and Hours Corresponding to the Compensation Period
    Benchmark Period earnings are the actual earnings during the period of the Base Year of the same length and dates corresponding to the
    Compensation Period. Given the selection in Step 1, the Benchmark Period earnings equal the earnings between May 1, 2009 and December 31,
    2009, and are calculated as follows:
                                                                                                          Job 1
                                                                                                    Hrs        Earnings
    Benchmark Period Earnings (May 1 - Dec. 31, 2009)                                                  607 [a] $ 6,070 [b]




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Step 3: Determine Earnings Growth Factor(s)
   The Claimant has provided Pay Period Earnings Documentation, and a Claimant Specific Growth Factor can be calculated using January through
   April earnings in 2010 and the Base Year. Industry Growth Factor (1.5%) applies as Benchmark Period earnings are paid hourly.

                                                                                 2009 - Job 1                2010 - Job 1
   January - April Earnings                                                       $ 2,850       [c]           $ 3,020 [d]

   Calculated Claimant Specific Growth Factor                                                                       6.0% [e] ([d]-[c])/[c]
                     6.0% = ($3,020 - $2,850)/$2,850
                       [e] = ([d] - [c]) / [c]

   Claimant Specific Growth Factor (max of +10%, min of -1.5%)                                                      6.0% [f]


Step 4: Calculate Expected Earnings

   Expected Earnings equals Benchmark Period earnings (calculated in Step 2) increased by the applicable Growth Factors (from Step 3).

                                                                                                                Job 1
   Benchmark Period Earnings (see Step 2)                                                                      $ 6,070      [b]


   Claimant Specific Growth Rate (if applicable from Step 3)                                                        6.0% [f]

   Industry Growth Factor (if hourly, see Step 3)                                                                   1.5% [g]

   Expected Earnings for the Compensation Period                                                               $ 6,523 [h] [b]*(1+[f]+[g])
                     $6,523 = $6,070 x (1 + 0.06 + 0 015)
                         [h] = [b] x (1 + [f] + [g])

Step 5: Determine Actual Earnings in the Compensation Period


   Actual Earnings in the claimant selected Compensation Period in this example includes all earnings between the period selected by the Claimant
   in Step 1, May 1, 2010 through December 31, 2010. Earnings from Job 2 are only included to the extent they replace hours from Job 1.

   Actual Earnings - Job 1 (May 1 - December 31, 2010)                                                         $ 5,350 [i]

   Actual Earnings - Job 2 (May 1 - October 31, 2010)
   Hours Worked in Benchmark Period - Job 1 (May 1-Dec. 31, 2009)                                        607
   Hours Worked in Compensation Period - Job 1 (May 1-Dec. 31, 2010)                                     535
                       Decreased Hours In Claiming Job                                                    72 [j]

   Hours Worked in Compensation Period - Job 2 (May 1-Dec. 31, 2010)                                     105
   Hours Worked in Benchmark Period - Job 2 (May 1-Dec. 31, 2009)                                        -
                    Increased Hours Worked                                                               105 [k]

   Redirected Hours (lesser of [j] and [k])                                                               72 [l]
   Average Compensation Period Wage Rate in the non-Claiming Job                                 $      5.00 [m]
   (= Total Compensation Period Earnings/Total Compensation Period Hours= $525/105)
                        Job 2 Actual Earnings to Include                                                       $     360 [n] [l] x [m]
                                            $360 = 72 x $5 00
                                             [n] = [l] x [m]

   Total Actual Earnings                                                                                       $ 5,710 [o] [i] + [n]
                      $5,710 = $5,350 + $360
                         [o] = [i] + [n]




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Step 6: Determine Claimant Lost Earnings

   Claimant Lost Earnings is the difference between the Expected Earnings (Step 4) and the Actual Earnings (Step 5) over the Compensation Period.

   Lost Earnings                                                                                              $     813 [p] [h]-[o]
                      $813 = $6,523 - $5,710
                       [p] = [h] - [o]

Step 7: Calculate Final Claimant Compensation



   Final Claimant Compensation includes Lost Earnings increased by the agreed upon Risk Transfer Premium (RTP Job 1= 1.25), then adjusted for
   any Employee-Related Benefits Loss (assume $2,000 for Job 1), any Reimbursable Training & Search Costs (assume $500 for each training and
   search) and any Spill Related Payments (assume $1,000).

   Lost Earnings (Step 6)                                                                                     $   813 [i]
 + Lost Earnings Multiplied by RTP (Job 1= 1.25)                                                              $ 1,016 [j] [i] x RTP
 + Employment Related Benefits Losses                                                                         $ 2,000 [k]
                                                                                                              $ 3,830 [l] [i]+[j]+[k]

   Total Claimant Lost Earnings                                                                               $ 3,830 Total of [l]
 + Reimbursable Training Costs                                                                                $    500 Given above.
 + Reimbursable Search Costs                                                                                  $    500 Given above.
 - Spill Related Payments                                                                                     $ (1,000) Given above.

   Final Claimant Compensation                                                                                $ 3,830




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Appendix D
               Example of Compensation Calculation: Category II Individual


Category II Individual with detailed Pay Period Earnings Documentation: In this example, the claimant has
passed the causation requirements but provided incomplete Pay Period Earnings Documentation insufficient
to calculate a Claimant Specific Growth Factor. This claimant is an hourly worker at a factory in Zone C in
both periods, and an Industry Growth Factor is therefore applicable. Because the Claimant is missing
information for certain pay periods in the Base Year and has not provided total annual earnings for the Base
Year, the Compensation Period and Benchmark Period may not include those pay periods. If the claimant
provided total annual earnings for the Base Year (2009), the earnings for April 30th and August 15th could be
derived from the annual data by subtracting the sum of the Pay Period Earnings Documentation data
provided from total annual earnings. If appropriate, the claimant could then have considered alternative
Compensation Periods that included the April 30th and August 15th pay periods.



Data Submitted by Claimant

                                                                                            2009            2010
Annual Earnings per Tax Information Documents                                             Not Given       Not Given

Pay Period Earnings (Period Ending...)
 January 15                                                                           $      2,200    $        2,250
 January 31                                                                           $      2,250    $        2,300
 February 15                                                                          $      2,200    $        2,200
 February 28                                                                          $      2,100    $        2,150
 March 15                                                                             $      2,200    $        2,200
 March 31                                                                             $      2,300    $        2,400
 April 15                                                                             $      2,300    $        2,250
 April 30                                                                               Not Given     $        2,500
 May 15                                                                               $      2,500    $        1,750
                                                                                                                       --Compensation Period--
                                                           ----Benchmark Period----




 May 31                                                                               $      2,525    $        1,400
 June 15                                                                              $      2,600    $        1,300
 June 30                                                                              $      2,500    $        1,200
 July 15                                                                              $      2,650    $        1,100
 July 31                                                                              $      2,725    $        1,200
 August 15                                                                              Not Given     $        1,240
 August 31                                                                            $      2,550    $        1,320
 September 15                                                                         $      2,500    $        1,340
 September 30                                                                         $      2,400    $        1,250
 October 15                                                                           $      2,300    $        1,200
 October 31                                                                           $      2,325    $        1,300

Total Pay Period Earnings Provided                                                    $      43,125   $      33,850




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Appendix D
                Example of Compensation Calculation: Category II Individual

Step 1: Claimant Selects Compensation Period & Base Year
  Claimant has selected May 1, 2010 through July 31, 2010 as the Compensation Period, and
  has chosen 2009 as the Base Year.

Step 2: Determine Benchmark Period Earnings Corresponding to the Compensation Period

  Benchmark Period earnings are the actual earnings during the period of the Base Year of the same length
  and dates corresponding to the Compensation Period. Given the selection in Step 1, the Benchmark Period
  earnings equal the earnings between May 1, 2009 and July 31, 2009, and are calculated as follows:

                        Earnings May 1-July 31, 2009           $    15,500

Step 3: Determine Earnings Growth Factor(s)
  The claimant has provided pay period detail, but insufficient to calculate a Claimant Specific Growth Factor
  due to the missing periods and the absence of annual earnings documentation. The General Growth Factor
  (2%) will therefore apply, and an Industry Growth Factor (1.5%) will apply because the claimant is an hourly
  worker.

                                                                   2009                2010
  January - April Earnings                                         N/A       [a]       N/A         [b]

  Calculated Claimant Specific Growth Factor                                           N/A         [c]=([b]-[a])/[a]


  General Growth Factor                                                                    2.0% [d]

Step 4: Calculate Expected Earnings
  Expected Earnings equals Benchmark Period earnings (calculated in Step 2) increased by the applicable
  Growth Factors (from Step 3).

  Benchmark Period Earnings (from Step 2)                                          $    15,500 [e]

  General Growth Rate (if applicable from Step 3)                                            2.0% [d]

  Industry Growth Factor (if hourly, see Step 3)                                             1.5% [f]

  Expected Earnings for the Compensation Period                                    $    16,043 [g]=[e]*(1+[d]+[f])
                      $16,043 = $15,500 x (1 + 0.02 + 0.015)
                          [g] =   [e] x (1+ [d] + [f])




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Appendix D
               Example of Compensation Calculation: Category II Individual

Step 5: Determine Actual Earnings in the Compensation Period

  Actual Earnings in the claimant selected Compensation Period in this example includes all earnings
  between the Compensation Period selected by the claimant in Step 1, May 1, 2010 through July 31, 2010.

  Actual Earnings (May 1-July 31, 2010)                                          $      7,950 [h]

Step 6: Determine Claimant Lost Earnings
  Lost Earnings is the difference between the Expected Earnings (Step 4) and the Actual Earnings (Step 5)
  over the Compensation Period.

  Lost Earnings                                                                  $      8,093 [i]=[g]-[h]
    $8,093 = $16,043 - $7,950
       [i] = [g] - [h]

Step 7: Calculate Final Claimant Compensation
  Final Claimant Compensation includes Lost Earnings increased by the agreed upon Risk Transfer Premium
  (Zone C Other Industries= 0.25), then adjusted for any Employee-Related Benefits Loss (assume $2,000),
  any Reimbursable Training & Search Costs (assume $500 each for training and search) and any Spill Related
  Payments (assume $3,000).

  Lost Earnings (Step 6)                                                         $      8,093 [i]
+ Lost Earnings Multiplied by Other Industries RTP (0.25 in Zone C)              $      2,023 [j]=[i] x RTP
+ Employment Related Benefits Losses                                             $      2,000 Given above.
+ Reimbursable Training Costs                                                    $        500 Given above.
+ Reimbursable Search Costs                                                      $        500 Given above.
- Spill Related Payments                                                         $     (3,000) Given above.

  Final Claimant Compensation                                                    $     10,116




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Appendix E
                               Example of Compensation Calculation:
                         Category III Individual - New Entrant to Employment


Category III Individual - New Entrant to Employment: In this example, the claimant has passed the causation
requirements and accepted, as of April 20, 2010, a first-time offer of employment in Zone A in the Tourism category
that was rescinded due to or resulting from the DWH Spill. The claimant procures employment in January 2011 and
provides information sufficient to establish monthly pay period earnings. This claimant is considered a New Entrant to
Employment and 2011 earnings adjusted downward by the General Growth Factor will be used in lieu of Benchmark
Period earnings. Because the claimant is a salaried worker, no Industry Growth Factor is applicable.



Data Submitted by Claimant

                                                                                              2010           2011
  Annual Earnings per Tax Information Documents                                           $          -   $      55,200

  Pay Period Earnings
   January                                                                                $          -   $       4,600
   February                                                                               $          -   $       4,600
   March                                                                                  $          -   $       4,600
   April                                                                                  $          -   $       4,600
                                                          -----Compensation Period-----




                                                                                                                         -------Benchmark Period-------
   May                                                                                    $          -   $       4,600
   June                                                                                   $          -   $       4,600
   July                                                                                   $          -   $       4,600
   August                                                                                 $          -   $       4,600
   September                                                                              $          -   $       4,600
   October                                                                                $          -   $       4,600
   November                                                                               $          -   $       4,600
   December                                                                               $          -   $       4,600

Total Earnings                                                                            $          -   $      55,200

Step 1: Claimant Selects Compensation Period & Base Year
    Claimant has selected May 1, 2010 through December 31, 2010 as the Compensation Period, and 2011 is the Base
    Year as claimant is a New Entrant to Employment.

Step 2: Determine Benchmark Period Earnings Corresponding to the Compensation Period

    Benchmark Period earnings are the actual earnings during the period of the Base Year of the same length and
    dates corresponding to the Compensation Period. Given the selection in Step 1, the Benchmark Period earnings
    equal the earnings between May 1, 2011 and December 31, 2011, and is calculated as follows:

                         Earnings May 1-December 31, 2011                                                $      36,800 [a]




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Appendix E
                               Example of Compensation Calculation:
                         Category III Individual - New Entrant to Employment

Step 3: Determine Earnings Growth Factor(s)
  Because the claimant is a New Entrant to Employment, Benchmark Period earnings are discounted back to 2010
  using agreed upon Growth Factors. The General Growth Rate of 2.0% is applied, but since claimant is a salaried
  worker no Industry Growth Factor is applied.

Step 4: Calculate Expected Earnings
  Expected Earnings equals Benchmark Period earnings (calculated in Step 2) decreased back to 2010 levels using the
  applicable Growth Factors (from Step 3).

    Benchmark Period Earnings (from Step 2)                                        $         36,800 = [a]

    Reduce 2011 Earnings by General Growth Factor (from Step 3)                                -2.0% [b]

    Reduce 2011 Earnings by Industry Growth Factor (from Step 3)                                 n/a [c]

     Expected Earnings for the Compensation Period                                 $         36,064 [d]=[a]*(1+[b]+[c])
                        $36,064 = $36,800 x (1 - 0.02 + 0)
                           [d] =    [a] x (1 + [b] + [c])

Step 5: Determine Actual Earnings in the Compensation Period
  Actual Earnings in the claimant selected Compensation Period in this example includes all earnings between the
  period selected by the claimant in Step 1, May 1, 2010 through December 31, 2010.

    Actual Earnings (May 1 -December 31, 2010)                                     $             -    [e]


Step 6: Determine Claimant Lost Earnings
  Lost Earnings is the difference between the Expected Earnings (Step 4) and the Actual Earnings (Step 5) over the
  Compensation Period.

    Lost Earnings                                                                  $         36,064 [f]=[d]-[e]
                         $36,064 = $36,064 - 0
                           [f] = [d] - [e]




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Appendix E
                               Example of Compensation Calculation:
                         Category III Individual - New Entrant to Employment

Step 7: Calculate Final Claimant Compensation
  Final Claimant Compensation includes Lost Earnings increased by the agreed upon Risk Transfer Premium (Zone A
  Tourism= 2.5 RTP), then adjusted for any Employee-Related Benefits Loss (assume $2,000), any Reimbursable
  Training & Search Costs (assume $500 each for training and search) and any Spill Related Payments (assume
  $3,000).

  Lost Earnings (Step 6)                                                        $        36,064 =[f]
+ Lost Earnings Multiplied by Tourism RTP (2.5 in Zone A)                       $        90,160 [g]=[f] x RTP
+ Employment Related Benefits Losses                                            $         2,000 Given above.
+ Reimbursable Training Costs                                                   $           500 Given above.
+ Reimbursable Search Costs                                                     $           500 Given above.
- Spill Related Payments                                                        $        (3,000) Given above.

 Final Claimant Compensation                                                    $      126,224




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Appendix F
                            Example of Compensation Calculation:
                            Category III Individual - Career Changer

Category III Individual - Career Changer: In this example, the claimant has passed the causation
requirements and provides Tax Information Documents demonstrating annual earnings, and also provides
Pay Period Earnings Documentation sufficient to establish monthly/pay period earnings. The Individual
switched jobs at the end of 2009 and was employed in Zone B Tourism in 2010, and the Claimant Specific
Growth Factor exceeded 20%, so this claimant is considered a Career Changer and 2011 earnings adjusted
downward by the General Growth Factor will be used in lieu of a Benchmark Period. Because the claimant is
a salaried worker, no Industry Growth Factor is applicable.


Data Submitted by Claim

                                                           2009                                     2010           2011
 Annual Earnings per Tax Information Documents        $      36,000                             $     22,500   $     55,200

 Pay Period Earnings
  January                                             $       3,000                             $      4,500   $      4,600
  February                                            $       3,000                             $      4,500   $      4,600
  March                                               $       3,000                             $      4,500   $      4,600
  April                                               $       3,000                             $      4,500   $      4,600
  May                                                 $       3,000                             $      4,500   $      4,600
                                                                      --Compensation Period--




                                                                                                                              ----Benchmark Period----
  June                                                $       3,000                             $        -     $      4,600
  July                                                $       3,000                             $        -     $      4,600
  August                                              $       3,000                             $        -     $      4,600
  September                                           $       3,000                             $        -     $      4,600
  October                                             $       3,000                             $        -     $      4,600
  November                                            $       3,000                             $        -     $      4,600
  December                                            $       3,000                             $        -     $      4,600

Total Earnings                                        $      36,000                             $     22,500   $     55,200

Step 1: Claimant Selects Compensation Period & Base Year
   Claimant selects June 1, 2010 through December 31, 2010 as the Compensation Period, and 2011 is the
   Base Year for calculating Expected Earnings because claimant is a Career Changer.

Step 2: Determine Benchmark Period Earnings Corresponding to the Compensation Period

  Benchmark Period earnings are the actual earnings during the period of the Base Year of the same length
  and dates corresponding to the Compensation Period. Given the selection in Step 1, the Benchmark
  Period earnings equal the earnings between June 1, 2011 and December 31, 2011:

                       Earnings June 1-December 31, 2011                                        $     32,200

Step 3: Determine Earnings Growth Factor(s)




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Appendix F
                              Example of Compensation Calculation:
                              Category III Individual - Career Changer
 As illustrated below, the claimant's income changed by more than 20%, and, therefore, the claimant is a
 Career Changer, and the General Growth Factor (2%) applies. Since claimant is a salaried worker no Industry
 Growth Factor is applied.

  Determination of Claimant Specific Growth Factor
                                                               2009                 2010
  January - April Earnings                                $      12,000 [a] $         18,000         [b]

  Calculated Claimant Specific Growth Factor                                            50.0%        [c]=([b]-[a])/[a]
                      50.0% = ($18,000 - $12,000) / $12,000
                       [c] = ( [b] - [a] ) / [a]

  General Growth Factor                                                                   2.0%       [d]
      (Claimant earnings changed by more than 20%, therefore, 2011 becomes Base Year and growth rate defaults to
                                           General Growth Factor of 2%.)

Step 4: Calculate Expected Earnings
  Expected Earnings equals Benchmark Period earnings (calculated in Step 2) decreased back to 2010 levels
  using the applicable Growth Factors (from Step 3).

  2011 Benchmark Period Earnings                                               $       32,200 [e]

  Reduce 2011 Earnings by General Growth Factor (from Step 3)                            -2.0% [d]

  Reduce 2011 Earnings by Industry Growth Factor (from Step 3)                             n/a [f]

    Expected Earnings for the Compensation Period                              $       31,556 [g]=[e]*(1+[d]+[f])
                       $31,556 = $32,200 x (1 - 0.02 + 0)
                          [g] =    [e] x (1 - [d] + [f])

Step 5: Determine Actual Earnings in the Compensation Period
  Actual Earnings in the claimant selected Compensation Period in this example includes all earnings between
  the period selected by the claimant in Step 1, June 1, 2010 through December 31, 2010.

  Actual Earnings (June-December 2010)                                         $           -     [h]




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Appendix F
                             Example of Compensation Calculation:
                             Category III Individual - Career Changer

Step 6: Determine Claimant Lost Earnings
  Lost Earnings is the difference between the Expected Earnings (Step 4) and the Actual Earnings (Step 5) over
  the Compensation Period.

 Lost Earnings                                                             $      31,556 [i]=[g]-[h]
                        $31,556 = $31,556 - 0
                           [i] = [g] - [h]

Step 7: Calculate Final Claimant Compensation
 Final Claimant Compensation includes Lost Earnings increased by the agreed upon Risk Transfer Premium
 (Zone B Tourism= 2.0 RTP), then adjusted for any Employee-Related Benefits Loss (assume $2,000), any
 Reimbursable Training & Search Costs (assume $500 each for training and search) and any Spill Related
 Payments (assume $3,000).

  Lost Earnings (Step 6)                                                   $      31,556 =[i]
+ Lost Earnings Multiplied by Tourism RTP (2.0 in Zone B)                  $      63,112 [j]=[i] x RTP
+ Employment Related Benefits Losses                                       $       2,000 Given above.
+ Reimbursable Training Costs                                              $         500 Given above.
+ Reimbursable Search Costs                                                $         500 Given above.
- Spill Related Payments                                                   $      (3,000) Given above.

 Final Claimant Compensation                                               $      94,668




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Addendum Regarding Compensation Related to a Claimant’s Loss of Employment‐Related Benefits
Income as a Result of the DWH Spill

I.    Eligibility:

Only Eligible Claimants shall qualify for compensation pursuant to this Addendum. To be an Eligible
Claimant, a claimant must satisfy all of the following Eligibility Criteria:

      1. The claimant must qualify for compensation pursuant to Section I, Section II or Section III of the
         Framework for Individual Economic Loss Claims.

      2. Unless the claimant is a New Entrant to Employment, the claimant must have been covered by
         a health insurance and/or retirement plan provided by the claimant’s employer as of April 20,
         2010 (“Pre‐Spill Benefit Providing Employer”).

      3. If the claimant is a New Entrant to Employment, then as of April 20, 2010 the claimant must
         have had and accepted an offer from a Pre‐Spill Benefit Providing Employer which included
         healthcare insurance coverage and/or retirement benefits commencing within the period May
         1, 2010 through December 31, 2011.

      4. The claimant must demonstrate “Employment‐Related Benefit Losses”. Employment Related
         Benefits Losses shall consist of (i) Health Insurance Coverage Losses and/or (b) Retirement
         Benefit Losses (both of which are defined below) due to:
             a. The termination of the claimant’s employment by the Pre‐Spill Benefit Providing
                 Employer; or
             b. Other termination of claimant’s benefits (e.g., a change in employee’s eligibility); or
             c. A reduction in claimant’s compensation related to the DWH Spill; or
             d. For New Entrants to Employment, that the healthcare insurance and/or retirement
                 benefits became unavailable as a result of the offer being withdrawn or amended as a
                 result of the DWH Spill.

          “Health Insurance Coverage Losses” and “Retirement Benefit Losses” shall be defined as
          follows:

               a. Health Insurance Coverage Losses: The claimant’s post‐DWH Spill loss of income related
                  to the loss of coverage under a health insurance plan from a Pre‐Spill Benefit Providing
                  Employer in which the claimant was enrolled as of April 20, 2010 (or which was part of
                  the benefits package a New Entrant to Employment would have received from his or
                  her Pre‐Spill Benefit Providing Employer), including any medical, prescription drug,
                  dental and/or vision insurance plan coverages (“Pre‐Spill Insurance Plan Coverages”);1

                     AND/OR

1
 For purposes of this addendum, each individual health insurance policy coverage (i.e., medical, prescription drug,
dental, and/or vision) will be evaluated separately.
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           b. Retirement Benefit Losses: The claimant’s post‐DWH Spill loss of income related to the
              loss of or reduction in retirement or pension benefits provided by his or her Pre‐Spill
              Benefit Providing Employer, including employer pension payments, and/or other
              employer contributions related to a claimant’s 401(k) or 403(b) account, profit sharing
              plan or other type of retirement account (“Pre‐Spill Retirement Benefits”).

II. Supplemental Documentation

Each Eligible Claimant must provide the documentation set forth below (in addition to other
documentation required to establish their individual economic loss claim).

   A. Health Insurance Coverage Losses

       An Eligible Claimant seeking compensation for Health Insurance Coverage Losses must provide
       the following documentation:

       1. For all claimants other than New Entrants to Employment, documentation establishing that
          the Eligible Claimant participated in one or more Pre‐Spill Insurance Plan Coverage(s)
          provided by the Pre‐Spill Benefit‐Providing Employer as of April 20, 2010, and certain
          relevant information regarding the Pre‐Spill Insurance Plan Coverage(s), including the
          following:
               a. Documentation establishing whether the Eligible Claimant was enrolled in an
                    individual or family plan coverage for each of the Pre‐Spill Insurance Plan
                    Coverages.
               b. Documentation evidencing periodic (annual, monthly, etc.) premium costs to the
                    claimant, if any, in effect at the time of the DWH Spill for each Pre‐Spill Insurance
                    Plan Coverage.
               c. Documentation establishing the termination and effective termination date(s) of
                    any of Eligible Claimant’s Pre‐Spill Insurance Plan Coverages as a result of either (i)
                    the post‐Spill termination of the Eligible Claimant’s employment by the Pre‐Spill
                    Benefit‐Providing Employer, or (ii) a post‐Spill change in the Eligible Claimant’s
                    employment status with the Pre‐Spill Benefit‐Providing Employer leading to
                    termination of the Eligible Claimant’s coverage.
               d. If available, and if the Eligible Claimant so chooses, a Sworn Written Statement
                    from an authorized representative of the Pre‐Spill Benefit Providing Employer
                    indicating the amount of periodic premiums (pay period, monthly, annual, etc.) that
                    would have been paid for the Eligible Claimant’s Pre‐Spill Insurance Plan
                    Coverage(s) by the Pre‐Spill Benefit Providing Employer absent the DWH Spill.

           Documentation may include, for example, an April 2010 paystub evidencing premium
           deductions for qualifying Pre‐Spill Insurance Plan Coverages, insurance cards, and other
           relevant employer provided documentation, etc.

       2. For New Entrants to Employment, documentation establishing the following:

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            a. That the Eligible Claimant’s offer included Pre‐Spill Insurance Plan Coverage(s).
            b. That as of April 20, 2010, the New Entrant to Employment planned to participate in
               one or more of those Pre‐Spill Insurance Plan Coverage(s), including (i) specific
               identification of all relevant Pre‐Spill Insurance Plan Coverage(s), (ii) whether the
               Eligible Claimant intended to enroll as an individual or family, and (iii) the date on
               which the coverage would have begun, as relevant.
            c. The amount of periodic (annual, monthly, etc.) premium costs for which the
               claimant would have been responsible, if any, for each Pre‐Spill Insurance Plan
               Coverage.
            d. If the New Entrant to Employment’s offer was amended rather than withdrawn,
               that the inability to participate in the Pre‐Spill Insurance Plan Coverage(s) was due
               to the DWH Spill, including the specific basis.
            e. The New Entrant to Employment shall provide a Sworn Written Statement from an
               authorized representative of the Pre‐Spill Benefit Providing Employer indicating the
               amount of periodic premiums (pay period, monthly, annual, etc.) that would have
               been paid for the Eligible Claimant’s Pre‐Spill Insurance Plan Coverage(s) by the
               Pre‐Spill Benefit Providing Employer absent the DWH Spill if the following apply:
                   i.   If the New Entrant to Employment’s offer was withdrawn, or if the New
                        Entrant to Employment’s offer was only amended, but he or she was no
                        longer eligible for Pre‐Spill Insurance Plan Coverage; and
                  ii.   If the New Entrant to Employment did not obtain Replacement Health
                        Insurance Coverage or a New Employer Insurance Plan (as defined herein)
                        prior to December 31, 2011.

        Documentation may include, for example, the Eligible Claimant’s relevant offer letter,
        insurance plan information received from the Pre‐Spill Benefit‐Providing Employer, and/or
        a Sworn Written Statement from an authorized representative of the from the Pre‐Spill
        Benefit‐Providing Employer with relevant information regarding the Pre‐Spill Insurance
        Plan Coverage(s), such as premium information, the claimant’s eligibility, etc., as applicable.

     3. If, after the termination of any Pre‐Spill Insurance Plan Coverage, the Eligible Claimant
        obtained health insurance coverage through COBRA, the Eligible Claimant shall provide all
        of the following:
             a. Documents evidencing the period for which the Eligible Claimant was covered by
                  COBRA, including the first and last effective dates of coverage.
             b. Documents evidencing the COBRA premiums (and the period to which each
                  premium relates) through the earlier of (i) the termination of COBRA, or
                  (ii) December 31, 2011.
             c. Documents evidencing the claimant’s payment of any COBRA premiums for which
                  the Eligible Claimant seeks reimbursement.

     4. If, after the termination of any Pre‐Spill Insurance Plan Coverage, the Eligible Claimant
        obtained and paid for replacement health insurance other than in connection with COBRA,
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         new employment or an alternative health care insurance plan for which the claimant was
         eligible (as discussed below)(“Replacement Health Insurance Coverage”), the Eligible
         Claimant shall provide all of the following:
              a. Documents evidencing the period for which the Eligible Claimant procured any
                  Replacement Health Insurance Coverage, including the first and last effective dates
                  of coverage, provided that evidence of coverage beyond December 31, 2011 need
                  not be provided.
              b. Documents evidencing the premium amounts (and the period to which each
                  premium relates), as well as claimant’s payment of those premiums, for each policy
                  providing Replacement Health Insurance Coverage through the earlier of (i) the
                  termination of the policy providing Replacement Health Insurance Coverage, or
                  (ii) December 31, 2011.

     5. If, after the termination of any Pre‐Spill Insurance Plan Coverages, the Eligible Claimant
        was offered but did not accept health insurance coverage pursuant to COBRA or a policy
        providing Replacement Health Insurance Coverage, the Eligible Claimant shall provide
        contemporaneous documents evidencing the terms of any offer of COBRA coverage,
        including the corresponding premium. If the Eligible Claimant was not eligible for COBRA
        because the Pre‐Spill Benefit‐Providing Employer no longer provided health insurance to its
        existing employees, or because it was not required by law to provide such coverage, the
        claimant should certify in writing that no COBRA coverage was offered.

     6. If the Eligible Claimant obtained or was covered by health insurance from a new or former
        employer, or by an alternative health care insurance plan for which the claimant was eligible
        (through, for example, a spouse, domestic partner, parent, legal guardian, veteran’s or other
        plan, as applicable) after the termination of the Pre‐Spill Insurance Plans, but prior to
        December 31, 2011 (“Post‐Spill Employer Insurance Plan Coverage”), the Eligible Claimant
        shall provide documents setting forth the type and effective date(s) of any Post‐Spill
        Employer Insurance Plan Coverages.

  B. Retirement Benefit Losses

     An Eligible Claimant seeking compensation for Retirement Benefit Losses must provide the
     following documentation:

     1. Documentation establishing that the Eligible Claimant was enrolled, eligible for and
        receiving vested Pre‐Spill Retirement Benefits from the Pre‐Spill Benefit‐Providing
        Employer as of April 20, 2010. Documentation evidencing Pre‐Spill Retirement Benefits
        could include, for example, a paystub including matching contributions, investment
        statement, or other third party document evidencing the employer’s contributions to or
        payment of Pre‐Spill Retirement Benefits on behalf of the Eligible Claimant, and the vesting
        schedule.


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     2. Documentation establishing that the Eligible Claimant’s Pre‐Spill Retirement Benefits were
        terminated after April 20, 2010 as a result of either (i) the post‐Spill termination of the
        Eligible Claimant’s employment by the Pre‐Spill Benefit‐Providing Employer, or (ii) a post‐
        Spill change in the Eligible Claimant’s employment status with the Pre‐Spill Benefit‐
        Providing Employer.

     3. Documentation evidencing the amount of vested Pre‐Spill Retirement Benefits contributed
        on behalf of the Eligible Claimant by the Pre‐Spill Benefit‐Providing Employer between May
        1, 2009 and the documented termination date of the Pre‐Spill Retirement Benefits. To the
        extent the Eligible Claimant had been employed with the Pre‐Spill Benefit‐Providing
        Employer for less than twelve months, he or she should provide the requested information
        from his or her start date with the Pre‐Spill Benefit‐Providing Employer through the date
        Pre‐Spill Retirement Benefits ceased.

     4. If the Eligible Claimant’s Pre‐Spill Retirement Benefits were terminated, the claimant shall
        provide documentation evidencing the termination of the Eligible Claimant’s Pre‐Spill
        Retirement Benefits, including the effective date of termination.

     5. If the Eligible Claimant experienced a post‐DWH Spill reduction in Pre‐Spill Retirement
        Benefits, the claimant shall provide the following:

             a. Documents regarding any retirement benefits provided by the Pre‐Spill Benefit‐
                Providing Employer after the DWH Spill (“Actual Post‐Spill Retirement Benefits”);
                and
             b. If applicable, any documents evidencing a change in the terms by which the Pre‐Spill
                Benefit‐Providing Employer provided the Pre‐Spill Retirement Benefits (e.g., such
                as an elimination of employer matching) or a change in vesting schedule terms
                unrelated to the DWH Spill (“Unrelated Plan Change”). It will be assumed that any
                plan change is unrelated to the DWH Spill for purposes of this addendum, unless the
                claimant provides documentation establishing that the plan change was due to or
                resulting from the DWH Spill (“Spill‐Related Plan Change”). Documentation could
                include, for example, contemporaneous notification received from, or a Sworn
                Written Statement provided by an authorized representative of, the Pre‐Spill
                Benefit Providing Employer.

     7. For New Entrants to Employment, documentation establishing all of the following:
            a. That the Eligible Claimant’s offer included Pre‐Spill Retirement Benefits.
            b. That as of April 20, 2010, the New Entrant to Employment planned to participate in
               the offered Pre‐Spill Retirement Benefits.
            c. The amount of Pre‐Spill Retirement Benefits for which the Eligible Claimant would
               have been eligible, the vesting schedule for such benefits, and, if the amount or


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                      vesting of Pre‐Spill Retirement Benefits was contingent upon the Eligible Claimant’s
                      contributions, the planned contributions of the Eligible Claimant.
                   d. If the New Entrant to Employment’s offer was amended rather than withdrawn, the
                      Eligible Claimant’s and his or her Pre‐Spill Benefit Providing Employer’s actual post‐
                      DWH Spill contributions to the Pre‐Spill Retirement Plan.

               Documentation may include, for example, the Eligible Claimant’s relevant offer letter,
               retirement plan information received from the Pre‐Spill Benefit‐Providing Employer, and/or
               a Sworn Written Statement from an authorized representative of the Pre‐Spill Benefit‐
               Providing Employer with relevant information regarding the Pre‐Spill Retirement Benefits,
               such as contribution terms and conditions, the claimant’s eligibility, etc.

          6. If the Eligible Claimant obtained retirement benefits from a new employer after the
             termination of the Pre‐Spill Retirement Benefits, but prior to December 31, 2011 (“New
             Employer Retirement Benefits”), the claimant shall provide documents setting forth the
             effective date(s) of any New Employer Retirement Benefits.

III. Compensation for Health Insurance Coverage Losses

      Eligible Claimants who assert Health Insurance Coverage Losses shall be eligible for compensation
      pursuant to one of the following methodologies, if applicable:

      1. Compensation Based on COBRA or Replacement Health Insurance Coverage Premiums2: The
         Eligible Claimant may be reimbursed based on premium(s) paid for COBRA, or the premium(s)
         paid for policies providing Replacement Health Insurance Coverage in which the Eligible
         Claimant enrolled after the termination of a corresponding Pre‐Spill Insurance Plan Coverage.
         The total loss of income will equal (i) the daily rate for such COBRA or Replacement Health
         Insurance Coverage, less the daily rate for the Eligible Claimant’s portion of the premium on the
         Pre‐Spill Insurance Plan Coverages, multiplied by (ii) the total number of days in the period for
         which the Eligible Claimant qualifies for Health Insurance Coverage Losses, provided that if the
         result in (i) is negative, no compensation will be paid to the Eligible Claimant. Health Insurance
         Coverage Losses will be calculated over the period extending from:

               a. The termination of the Pre‐Spill Insurance Plan Coverage or, for New Entrants to
                  Employment, the date on which the Pre‐Spill Insurance Plan Coverage would have
                  begun absent the DWH Spill, until
               b. The earlier of (i) the Eligible Claimant’s enrollment in a New Employer Insurance Plan,
                  or (ii) December 31, 2011.

          OR



2
 Eligible Claimants who qualify for compensation pursuant to Option 1 may alternatively be compensated on the
basis of Option 2 (if the appropriate information is provided).
                                                      6


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      2. Compensation Based on Documentation Regarding Premiums Paid by the Pre‐Spill Benefit
         Providing Employer3: If the Eligible Claimant provides a Sworn Written Statement from an
         authorized representative of the Pre‐Spill Benefit Providing Employer, the Eligible Claimant
         may be reimbursed based on the premium(s) paid for the Pre‐Spill Insurance Plan Coverage(s)
         by the Pre‐Spill Benefit Providing Employer. The total loss of income will equal (i) the daily rate
         funded by the Pre‐Spill Benefit Providing Employer multiplied by (ii) the total number of days in
         the period for which the Eligible Claimant qualifies for Health Insurance Coverage Losses.
         Health Insurance Coverage Losses will be calculated over the period extending from:

               a. The termination of the Pre‐Spill Insurance Plan Coverage or, for New Entrants to
                  Employment, the date on which the Pre‐Spill Insurance Plan Coverage would have
                  begun absent the DWH Spill, until
               b. The earlier of (i) the Eligible Claimant’s enrollment in a New Employer Insurance Plan,
                  or (ii) December 31, 2011.

          OR

      3. Compensation Based on Estimated Premiums Paid by the Pre‐Spill Benefit Providing
         Employer4: An Eligible Claimant who did not replace coverage through COBRA or Replacement
         Health Insurance Coverage, the Eligible Claimant’s Health Insurance Coverage Losses will be
         calculated as follows:

               a. Step 1: Establish the Pre‐Spill Employer Premium
                       i. For all Eligible Claimants who were not New Entrants to Employment:
                              1. Identify the participating premiums paid by the Eligible Claimant as
                                   evidenced by payroll deductions for the relevant Pre‐Spill Insurance
                                   Plan Coverage in April 2010, or other relevant documentation
                                   evidencing the Eligible Claimant’s premiums related to the Pre‐Spill
                                   Insurance Plan Coverage(s).
                              2. If the Eligible Claimant participated in an individual plan, divide the
                                   premium by 0.2, and if the premium related to a family plan, divide the
                                   premium by 0.45 to calculate the “Gross Premium” associated with the
                                   Pre‐Spill Insurance Plan Coverage, inclusive of both the portion funded
                                   by the claimant and the portion funded by the employer.




3
  Eligible Claimants who qualify for compensation pursuant to Option 2 may alternatively be compensated on the
basis of Option 1 (if the appropriate information is provided).
4
  Option 3 will only be used in circumstances where the Eligible Claimant is unable to provide the information
necessary to perform the calculations set forth in Options 1 or 2.
5
  These factors represent the approximate portion of healthcare insurance premiums funded by employees based
on data from the Bureau of Labor Statistics Employee Benefits Survey.
                                                       7


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                             3. Multiply the Gross Premium by 0.8 for claimants with individual plans
                                  and 0.6 for claimants with family plans6 to estimate the portion of the
                                  premium funded by the employer (“Pre‐Spill Employer Premium”).
                     ii. For all New Entrants to Employment:
                             1. The Pre‐Spill Employer Premium will be the premium that would have
                                  been funded by the Pre‐Spill Benefit Providing Employer for the New
                                  Entrant to Employment’s Pre‐Spill Insurance Plan Coverage absent the
                                  DWH Spill according to the Sworn Written Statement from the Pre‐Spill
                                  Benefit Providing Employer.
              b. Step 2: Calculate the Daily Pre‐Spill Employer: Divide the Pre‐Spill Employer Premium
                 by the number of days covered by the premium to calculate a “Daily Employer
                 Premium”.
              c. Step 3: Calculate Health Insurance Coverage Losses:
                      i. For all Eligible Claimants who were not New Entrants to Employment:
                             1. Multiply the Daily Employer Premium by the number of days between
                                  the effective termination date of the relevant Pre‐Spill Insurance Plan
                                  Coverage and the earlier of (i) the effective date of any corresponding
                                  Post‐Spill Employer Insurance Plan Coverage, if applicable7, or (ii)
                                  December 31, 2011.
                     ii. For all New Entrants to Employment:
                             1. Multiply the Daily Employer Premium by the number of days between
                                  the day on which the Pre‐Spill Insurance Plan Coverage would have
                                  taken effect absent the DWH Spill, and the earlier of (i) the effective
                                  date of any corresponding Post‐Spill Employer Insurance Plan
                                  Coverage, if applicable, or (ii) December 31, 2011.

      No RTP will be applied to any calculated Health Insurance Coverage Losses.


IV. Compensation for Retirement Benefit Losses

      Eligible Claimants who claim Retirement Benefit Losses shall be compensated in an amount equal
      to the Pre‐Spill Retirement Benefits contributed on behalf of or paid to the Eligible Claimant by the
      Pre‐Spill Benefit‐Providing Employer for a period extending from:

              a. The termination of or reduction to the Pre‐Spill Retirement Benefits or, for New
                 Entrants to Employment, the date on which the Pre‐Spill Retirement Benefits would
                 have begun absent the DWH Spill, to


6
  These factors represent the approximate portion of healthcare insurance premiums funded by employees based
on data from the Bureau of Labor Statistics Employee Benefits Survey.
7
  For example, if the Eligible Claimant received coverage from Post‐Spill Employer Insurance Plan Coverage as of
the date of the termination of the Eligible Claimant’s Pre‐Spill Insurance Plan Coverage, the claimant will not have
suffered a compensable loss and will therefore not receive compensation.
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          b. The earlier of (i) the effective date of any New Employer Retirement Benefits, or (ii)
             December 31, 2011.

  The Eligible Claimant’s Retirement Benefit Losses shall be determined as follows:

  1. Step 1: Establish Daily Retirement Benefits Rate(s)
         a. If the Eligible Claimant’s Pre‐Spill Retirement Benefits were eliminated as described
             above, calculate the “Pre‐Spill Daily Retirement Benefits Rate” by dividing (i) by (ii), as
             described below:
                  i. The total vested portion of the Pre‐Spill Retirement Benefits contributed on
                      behalf of the Eligible Claimant by the Pre‐Spill Benefit‐Providing Employer
                      between the later of May 1, 2009 or the commencement date of the Eligible
                      Claimant’s employment with the Pre‐Spill Benefit‐Providing Employer, and the
                      documented date on which the Pre‐Spill Retirement Benefits were reduced or
                      terminated, by
                 ii. The total number of days in that period.
         b. If the Eligible Claimant’s Pre‐Spill Retirement Benefits were reduced, then:
                  i. If there was no post‐DWH Spill Plan Change, the Pre‐Spill Retirement Benefits
                      Rate calculated in (a) above will apply for all relevant periods; or
                 ii. If there was a post‐DWH Spill Plan Change, then:
                          1. The Pre‐Spill Daily Retirement Benefits Rate calculated as in (a) above
                              will apply for the relevant period prior to the Plan Change, and
                          2. For the relevant period after the Plan Change, the “Revised Daily
                              Retirement Benefits Rate” will be the expected daily rate based on the
                              Pre‐Spill Benefit Providing Employer’s revised contribution terms
                              relative to the Eligible Claimant’s pre‐DWH Spill earnings.
         c. If the Eligible Claimant was a New Entrant to Employment, the “New Entrant
             Retirement Benefits Rate” will be calculated as the Pre‐Spill Benefit Providing
             Employer’s expected average daily contribution on behalf of the Eligible Claimant based
             on documents provided by the Eligible Claimant.

  2. Step 2: Calculate Expected Post‐ Spill Retirement Benefits
         a. If the Eligible Claimant’s Pre‐Spill Retirement Benefits were eliminated as described
             above, the Eligible Claimant’s employer‐funded retirement benefits expected in the
             absence of the DWH Spill (“Expected Post‐Spill Retirement Benefits”) are calculated by
             multiplying the Pre‐Spill Daily Retirement Benefits Rate calculated in (1) by the total
             number of days between:
                  i. The termination of the Eligible Claimant’s Pre‐Spill Retirement Benefits, and
                 ii. The earlier of (i) the effective date of any New Employer Retirement Benefits,
                      or (ii) December 31, 2011.
         b. If the Eligible Claimant’s Pre‐Spill Retirement Benefits were reduced rather than
             eliminated, then:


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                  i. If there was no post‐DWH Spill Plan Change, the Eligible Claimant’s Expected
                      Post‐Spill Retirement Benefits shall calculated as in (a) above.
                 ii. If there was a post‐DWH Spill Plan Change, the Eligible Claimant’s Expected
                      Post‐Spill Retirement Benefits shall be calculated as the sum of the following:
                           1. The Pre‐Spill Daily Retirement Benefits Rate shall be multiplied by the
                                number of days between (i) the Eligible Claimant’s post‐DWH Spill
                                reduction in Pre‐Spill Retirement Benefits, and (ii) the documented
                                change in the terms of the Pre‐Spill Benefit Providing Employer’s
                                retirement contributions; and
                           2. The Revised Daily Retirement Benefits Rate shall be multiplied by the
                                number of days between:
                                     a. The effective date of the Pre‐Spill Benefit Providing Employer’s
                                        post‐DWH Spill Plan Change; and
                                     b. The earlier of (i) the effective date of any New Employer
                                        Retirement Benefits, or (ii) December 31, 2011.
         c. If the Eligible Claimant was a New Entrant to Employment, the Eligible Claimant’s
            Expected Post‐Spill Retirement Benefits are calculated by multiplying the New Entrant
            Retirement Benefits Rate calculated in subpart (c) of Step 1 above by the total number
            of days between:
                  i. The date on which the Eligible Claimant’s vested Pre‐Spill Retirement Benefits
                      would have begun absent the DWH Spill, or the date on which the reduced
                      benefits actually began, and
                 ii. The earlier of (i) the effective date of any New Employer Retirement Benefits,
                      or (ii) December 31, 2011.

  3. Step 3: Calculate Eligible Claimant’s Retirement Benefit Losses
         a. If the Eligible Claimant’s Pre‐Spill Retirement Benefits were terminated as a result of
             the DWH Spill, the Eligible Claimant’s Retirement Benefit Losses shall be equal to the
             Expected Post‐Spill Retirement Benefits; or
         b. If the Eligible Claimant’s Pre‐Spill Retirement Benefits were reduced as a result of the
             DWH Spill, the Eligible Claimant’s Retirement Benefit Losses shall be equal to the
             difference between Expected Post‐Spill Retirement Benefits and the Eligible Claimant’s
             Actual Post‐Spill Retirement Benefits for the same period.
         c. If the Eligible Claimant was a New Entrant to Employment, the Eligible Claimant’s
             Retirement Benefit Losses shall be equal to the Expected Post‐Spill Retirement
             Benefits calculated in subpart (c) of Step 2.

  No RTP will be applied to any calculated Retirement Benefit Losses.




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                                 Addendum to Individual Framework
I.        Individual Periodic Vendors (“IPV”)1

          A.       Eligibility

                   An IPV is a Natural Person claiming economic loss during a period in May through
                   December 2010 who satisfies all of the following criteria:

                   1.       Regularly sold at retail during 2009 and 2010 any of the legal food, souvenir, art,
                            tourist-related or water-related goods or services listed in Attachment A or
                            substantially equivalent items (“Covered Sales”) to CONSUMERS in Zones A, B or
                            C during May through December 2009 and/or May through December 2010.

                   2.       Made such Covered Sales, primarily to non-local CONSUMERS,2 except that
                            water-related Covered Sales, need not be primarily made to non-local
                            CONSUMERS.

                   3.       Did not maintain a permanent business location in a building at which the
                            claimant made Covered Sales.

                   4.       Held any licenses required by law.

                   5.       Was not employed by an employer in connection with such Covered Sales.

                   6.       Does not have Tax Information Documents sufficient to support a claim under
                            the Business Compensation Framework for this claimed loss.

          B.       Causation

                   1.       Causation shall be presumed for claimed losses associated with lost Covered
                            Sales in Zones A and B. If the claimant alleges lost Covered Sales in Zone C, the
                            claimant must provide either:

                            a.      Documents establishing a decline of 5% or more in net earnings from
                                    the claimant’s Covered Sales in Zone C during the claimant-selected
                                    period of 3 consecutive months or more during May through December
                                    2010 (“Compensation Period”), compared to the same 3 or more
                                    consecutive month period in 2009; OR



1
      This section is not intended to compensate losses associated with vendors who do not qualify for
      compensation pursuant to Sections I – V and whose claimed losses relate to income from Festivals (as defined
      herein). Festival-related losses are addressed in a separate section of this document. Claimants may,
      however, file separate claims for compensation associated with Festival-related losses and IPV-related losses,
      as applicable.
2
      CONSUMER shall have the meaning in the Economic and Property Damages Settlement Agreement. A
      CONSUMER shall be considered a “non-local CONSUMER” if they reside more than 60 miles from the location
      at which claimant made the Covered Sale.


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                  b.      A statement from an Adjacent Business as defined in Section I(C)4(e)
                          below, that the Adjacent Business experienced a decline in sales to non-
                          local CONSUMERS during May through December 2010 compared to
                          May through December 2009 due to or resulting from the DWH Spill.

     C.    Documentation Requirements

           An IPV under this Section must provide the documents indicated below:

           1.      Records Regarding Covered Sales

                  a.      Documents regarding the IPV’s Covered Sales in Zones A, B or C to
                          CONSUMERS, including non-local CONSUMERS, from May through
                          December 2009 and May through December 2010. The information
                          must be sufficient for the Claims Administrator to determine that the
                          IPV was in the business of regularly making such Covered Sales prior to
                          April 20, 2010, and includes all information regarding the IPV’s revenues
                          from Covered Sales from May through December 2009 and May
                          through December 2010, as well as corresponding expenses. Such
                          documentation could include, but is not limited to, the following:

                          i.       Sales logs, sales tax receipts, cash receipts registers, credit card
                                  registers, bank statements or other contemporaneous records;
                                  and/or

                          ii.     Receipts from third-party vendors or other sources related to
                                  the purchase of materials or equipment related to the Covered
                                  Sales; and/or

                          iii.    Documents establishing any wages paid to employees or
                                  amounts paid to other individuals who assisted in making the
                                  Covered Sales, or any other expenses incurred in connection
                                  with the Covered Sales.

                  b.      Photographs and other documentation (including but not limited to
                          news articles, sales flyers or advertisements) reflecting (i) the goods or
                          services sold in Covered Sales by the IPV, (ii) the location(s) at which the
                          IPV sold the goods or services (including any documents providing
                          information regarding an Adjacent Business), (iii) the prices charged for
                          Covered Sales of goods or services, and/or other product information,
                          and (iv) any biographical or other background information on the IPV
                          selling the goods or services. The IPV shall also provide the date(s) of
                          any photographs and the locations depicted. If the exact date is not
                          available, the IPV may provide the month, or range of months, and year.

                  c.      Documents establishing the IPV’s total earned income from Covered
                          Sales (net of all variable expenses) for May through December 2009 and
                          May through December 2010.


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                            d.       Any available documents showing that the IPV made Covered Sales to
                                     non-local CONSUMERS in each period, with supporting information
                                     and/or documentation sufficient to permit the Claims Administrator to
                                     reasonably conclude that the IPV made sales to non-local CONSUMERS
                                     in each period.

                                     i.       For IPVs selling in Zones A and B, sales to non-local CONSUMERS
                                              shall be presumed.

                                     ii.      For Covered Sales in Zone C, the IPV may provide IPV’s receipts
                                              reflecting purchasers’ addresses, and/or documentation
                                              establishing that the Covered Sales were made on an interstate
                                              highway or other highway in Zone C or in an area generally
                                              visited by Tourist such as a museum, zoo, or historic site.

                            e.       Documents identifying by name, address and telephone number any
                                     employee in connection with the Covered Sales of claimant during 2009
                                     or 2010.

                   2.       Licensing Documentation: If a government-issued license/permit was required
                            to make any Covered Sales, IPV shall provide a copy of valid 2009 and 2010
                            licenses,3 or evidence such existed, such as:

                            •    Business license.
                            •    Vendor’s license.
                            •    Peddlers license.
                            •    Itinerant Vendor license.
                            •    Commercial/recreational fishing license.
                            •    Occupational license.
                            •    Sales tax license.
                            •    Other licenses & permits related to income sources.
                            •    Canceled check for license or affidavit from issuing government body.




                   3.       IPV Employability Documentation4: The IPV must provide both:

3
      To the extent a state or municipality or other governmental agency agrees to provide the Claims
      Administrator with access to any official database sufficient for the Claims Administrator to confirm the
      claimant possessed a valid 2009 and 2010 license, the Claims Administrator need not require from the
      claimant a copy of the valid license. Rather, the Claims Administrator is authorized to accept from the
      claimant the license number as sufficient to satisfy this subpart, and the Claims Administrator will use the
      database to confirm claimant’s license is valid.

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                           a.       A copy of a Social Security card, government issued identification,
                                    temporary worker visa, or green card that was valid as of April 20, 2010
                                    or verification of existence of at least one such document from a public
                                    database providing the same information as would be provided from
                                    the original document;

                                    AND

                           b.       Evidence that the IPV was at least 16 years of age as of April 20, 2010.
                                    Acceptable evidence includes a copy of a valid driver’s license, a valid
                                    passport, or the IPV’s birth certificate, other government issued
                                    identification indicating date of birth, or verification of existence of at
                                    least one such document from a public database providing the same
                                    information as would be provided from the original document.

                   4.      IPV Sworn Written Statement: The IPV must submit a Sworn Written
                           Statement that sets forth all of the following:

                           a.       Verification that the IPV does not have available, and is not able to
                                    provide, Tax Information Documents sufficient to support a claim as a
                                    business under the Business Compensation Framework for the claimant
                                    Covered Sales.

                           b.       A description of the Covered Sales made by the IPV, including a
                                    description of the relevant goods or services sold by the IPV.

                           c.       A statement that (i) the IPV possessed and has attached copies of all
                                    required licenses as set forth in section IC.2., or (ii) the reason no such
                                    license(s) were required.

                           d.       A statement that all available documentation regarding revenue and
                                    expenses related to Covered Sales during the periods (i) May through
                                    December 2009 and (ii) May through December 2010 that the IPV
                                    possesses or has access to has been provided in support of the claim.

                           e.       The name, address, telephone number and a brief description of at least
                                    one business satisfying the Tourism definition and located on a parcel of
                                    property with a boundary within 100 yards of any location at which the
                                    IPV made or arranged for Covered Sales (“Adjacent Business”), and a
                                    Sworn Written Statement from an owner or employee of such business


4
      To the extent the state or federal government agrees to provide the Claims Administrator with access to any
      official database sufficient for the Claims Administrator to confirm that a claimant possessed valid
      documentation of the type required in subparts 3(a) and 3(b). The Claims Administrator may not require
      from the claimant a copy of the requested document. Rather, the Claims Administrator is authorized to
      accept from the claimant the relevant government issued number as sufficient to satisfy this subpart 3, and
      the Claims Administrator shall utilize the database to confirm the claimant’s government issued numbered is
      valid.

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                        in support of the claim. If no such Adjacent Business exists, the IPV
                        shall so state.

                 f.     To the extent the IPV is not able to provide documents demonstrating
                        the revenue associated with Covered Sales, the IPV should estimate the
                        Covered Sales revenues in each of Zone A, B or C for both May through
                        December 2009 and May through December 2010, and explain the basis
                        for the estimates provided (e.g., “Sold __ bags of peanuts at ___ per
                        unit”). To the extent documentation exists in support of the earned
                        income estimate (or components thereof), copies of such
                        documentation must be provided.

                 g.     To the extent the IPV is not able to provide documents demonstrating
                        the expenses associated with the Covered Sales, the IPV should provide
                        (i) a description of any materials purchased by the IPV in connection
                        with making the Covered Sales, including the name and address of the
                        provider of the materials, and the estimated costs of such materials in
                        total and/or for each good or service sold in Covered Sales, (ii) an
                        estimate of any wages paid to employees or amounts paid to other
                        individuals who assisted in making the Covered Sales and an
                        identification of the period to which such payments relate, and (iii) a
                        description and estimate of any other expenses incurred in connection
                        with the Covered Sales.

                 h.     A description of any cash or in-kind payments made by the IPV in 2009,
                        2010 and/or 2011 to an Adjacent Business in consideration of such
                        Adjacent Business permitting or facilitating IPV’s Covered Sales.

                 i.     An explanation sufficient to permit the Claims Administrator to
                        determine that any reduction of IPV’s net earnings from Covered Sales
                        from May through December 2010 compared to prior periods was due
                        to or resulting from the DWH Spill.

           5.    Adjacent Business Sworn Written Statement:

                 The IPV must procure and submit a Sworn Written Statement from an owner or
                 employee of an Adjacent Business(es) (“Adjacent Business Affiant”), setting
                 forth the following:

                 a.     The name, address, telephone number of the Adjacent Business Affiant
                        and relationship to the Adjacent Business; and

                 b.     The business name, address(es), telephone number(s), and website(s) of
                        the Adjacent Business, and a description of the nature of the business;
                        and

                 c.     A description of any cash or other payments made by the IPV in 2009,
                        2010 and/or 2011 to the Adjacent Business in consideration of such
                        Adjacent Business permitting or facilitating the IPV’s sales; and

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                   d.      A statement setting forth the dates and other information regarding the
                           IPV’s Covered Sales witnessed by the Adjacent Business Affiant – e.g.,
                           “I observed IPV selling _____ [TYPE OF GOODS OR SERVICES] at
                           [LOCATION] during approximately [DAYS OR WEEKS] during [PRE-SPILL
                           PERIOD] and I observed the IPV selling _____ [TYPE OF GOODS OR
                           SERVICES at [LOCATION] during approximately [DAYS OR WEEKS] during
                           [the Compensation Period].” If the IPV made Covered Sales in multiple
                           locations during the pre-DWH Spill period, and wishes to rely upon all of
                           those sales, the IPV should submit an Adjacent Business Sworn Written
                           Statement with respect to each such location; and

                   e.      For an IPV alleging losses in Zone C who does not submit
                           documentation establishing a decline of 5% or more in net earnings
                           from Covered Sales in Zone C during the Compensation Period,
                           compared to the same 3 or more consecutive month period in 2009,
                           then the Adjacent Business Affiant must set forth the following
                           additional information:

                           i.      A statement from the Adjacent Business Affiant that the
                                   Adjacent Business experienced a decline in sales to non-local
                                   CONSUMERS during the same three or more consecutive
                                   months in May through December 2010 compared to the same
                                   three or more consecutive months in May through December
                                   2009;

                           ii.     A description of the amount and time period of such decline,
                                   the Adjacent Business Affiant’s basis for such statements; and

                           iii.    An explanation of how the decline was due to or resulting from
                                   the DWH Spill.

     D.    Compensation Calculation

           Consistent with the Causation provisions of Section B.1., the Claims Administrator shall
           evaluate the sufficiency and reliability of information provided by IPV and the
           supporting Adjacent Business Affiant(s), including the sworn claim form, Sworn Written
           statements, interviews (if any) and/or any supplemental information the Claims
           Administrator may require, to determine whether (i) the IPV engaged in Covered Sales
           to non-local CONSUMERS and such non-local Covered Sales declined in the
           Compensation Period and/or (ii) the IPV experienced any other decline in Covered Sales
           due to or resulting from the DWH Spill. Compensation may be awarded where the
           Claims Administrator determines that causation has been established based upon the
           above-described information as well as sufficient documentation for the Claims
           Administrator to determine that the Covered Sales identified by the claimant occurred
           during the periods indicated (“Sufficient Documentation”). Examples of such Sufficient
           Documentation include:

           1.      A summary spreadsheet with accompanying supporting schedules reflecting the
                   total revenues and total expenses associated with Covered Sales; or

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                   2.       Documents from persons or entities unrelated to the claimant that reflect the
                            total revenues and total expenses associated with Covered Sales.

                   The IPV Earnings from Covered Sales shall be calculated as the difference between a)
                   the IPV’s total revenues less corresponding total expenses related to Covered Sales for
                   any claimant selected Compensation Period of three or more consecutive months
                   between May 1 and December 31, 2010, and b) the same months in 2009.

                   The IPV’s Lost Earnings shall be calculated as the IPV Earnings from Covered Sales for
                   the Base Period minus the IPV Earnings from Covered Sales for the Compensation
                   Period.

                   The IPV’s Compensation Amount shall be equal to the lesser of the IPV’s Lost Earnings
                   or $12,000. An RTP of 1 shall be applicable.

                  If the Claims Administrator has reason to question the reliability of the information
          provided or if the Claims Administrator feels that the information supplied is insufficient for a
          determination of the IPV’s loss to be made under this Section I, then the Claims Administrator
          may request an interview of the IPV and/or the Adjacent Business Affiant(s) consistent with the
          Interview Procedures set forth in the Addendum Regarding Interviews of Claimants Alleging
          Individual Economic Loss.5

                  The Claims Administrator shall determine the Final Compensation Amount based on the
          information provided by the IPV and the supporting Adjacent Business Affiant(s), including the
          sworn claim form, affidavits, interviews, any supplemental information the Claims Administrator
          may require the IPV to provide to support the claim, and/or any other information the Claims
          Administrator may determine to be relevant and reliable. The Claims Administrator may rely on
          his credibility and reliability determinations in determining the Final Compensation amount, if
          any, to be provided to the IPV.

II.       FESTIVAL VENDORS6

          A.       Eligibility

                   A “Canceled Festival” is a Festival that occurred at any time from May through
                   December 2009 and was originally scheduled to occur at any time between May
                   through December 2010, but was canceled after April 20, 2010 as a result of the DWH
                   Spill.


5
      Nothing in this Individual Economic Loss Framework shall in any way limit the right and obligation of the
      Claims Administrator to investigate fully all suspicions of fraudulent conduct by or on behalf of any claimant,
      including but not limited to conducting any interviews and obtaining any documents the Claims Administrator
      deems necessary.
6
      For purposes of this document, IPVs and Festival Vendors are considered to be separate claimants, but
      nothing precludes a claimant from making a claim both as a IPV and as a Festival Vendor.
6
      The Parties shall seek a Court Order authorizing them to obtain from relevant state and local authorities
      information regarding examples of Festivals that may be presented at the Fairness Hearing.

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           A “Festival” includes organized street festivals, tournaments or major sporting events,
           outdoor art exhibitions, carnivals or other similar events of the type set forth in
           Attachment B held in Zone A, B or C at any time during May through December 2009
           and/or May through December 2010.

           “Festival Sales” are legal sales of items defined as Covered Sales made at retail at
           Festivals.

           A “Replacement Festival” includes any organized street festival, tournament or major
           sporting event, outdoor art exhibition, carnival or other similar event of the type set
           forth in Attachment B, regardless of where that event was held, in which the claimant
           participated between May and December 2010 in lieu of a Canceled Festival.

           “Replacement Festival Sales” are legal sales of items defined as Covered Sales made at
           retail at Replacement Festivals.

           A claimant must be an eligible Festival Vendor to qualify for compensation pursuant to
           this Section II. A “Festival Vendor” (also referred to herein as “claimant”) is a Natural
           Person claiming economic loss for a period in May through December 2010 who
           satisfied all of the following criteria below:

           1.      Regularly made Festival Sales prior to April 20, 2010; and

           2.      Held any and all licenses and/or permits required by law; and

           3.      Was not employed by an employer in connection with such sales; and

           4.      Does not have Tax Information Documents sufficient to support a claim under
                   the Business Compensation Framework; and

           5.      Claims a loss of revenue and earnings related to a Festival in which the Festival
                   Vendor participated or would have participated absent the DWH Spill.

     B.    Causation

           1.      Causation shall be presumed for claimed losses associated with Festival Sales in
                   Zones A and B.

           2.      If the claimant alleges lost eligible Festival Sales in Zone C, the claimant must
                   provide all of the following:

                   a.      A Festival Vendor Sworn Written Statement that includes the
                           information required in Section I(C)5(g); and

                   b.      Certain relevant documentation specified herein; and

                   c.      A Festival Coordinator Sworn Written Statement by a Festival
                           Coordinator of each Festival at which the Festival Vendor planned to,
                           or did, make Festival Sales. The terms Festival Coordinator Sworn


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                         Written Statement and Festival Coordinator are defined in Sections
                         II(C)5 below.

     C.   Documentation Requirements

          A Festival Vendor under this Section must provide the documents indicated below:

          1.     Records Regarding Festival Sales

                 a.      Documents regarding the Festival Vendor’s Festival Sales, from both
                         May through December 2009 and May through December 2010, and for
                         any Replacement Festival Sales from May through December 2010.
                         The information must be sufficient for the Claims Administrator to
                         determine that the Festival Vendor was in the business of regularly
                         making Festival Sales prior to April 20, 2010, and includes all
                         information regarding the Festival Vendor’s revenues and expenses
                         from Festival Sales from May through December 2009 and May through
                         December 2010, and for Replacement Festival Sales from May through
                         December 2010. Such documentation could include, but is not limited
                         to, the following:

                         i.       Sales logs, sales tax receipts, cash receipts registers, credit card
                                 registers, bank statements or other contemporaneous records;
                                 and/or

                         ii.     Receipts from vendors or other sources related to product
                                 costs, material purchases, and/or equipment purchases related
                                 to the Festival Sales and Replacement Festival Sales; and/or

                         iii.    Documents establishing any wages paid to employees or
                                 amounts paid to other individuals who assisted in making the
                                 Festival Sales or Replacement Festival Sales, or any other
                                 expenses incurred in connection with the Festival Sales or
                                 Replacement Festival Sales.

                 b.      Documents evidencing participation in any and all Festivals during the
                         period May through December 2009 and May through December 2010,
                         and all Replacement Festivals from May through December 2010,
                         including but not limited to (i) records of payment made by Festival
                         Vendor to participate in each Festival or Replacement Festival, if
                         applicable, and (ii) entry or registration forms, or other documents
                         showing all booth or stall assignments, if applicable.

                 c.      If applicable, documents evidencing Festival Vendor’s intended
                         participation in a Canceled Festival, including but not limited to (i)
                         records of payment made by Festival Vendor to participate in each
                         Festival and returned due to the Canceled Festival being canceled, and
                         (ii) entry or registration forms, or other documents showing all booth or
                         stall assignments, and (iii) any documents notifying the Festival Vendor
                         that the Canceled Festival was canceled. The Festival Vendor shall also
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                                     identify any Replacement Festival in which the Festival Vendor
                                     participated and the corresponding Canceled Festival. If the Festival
                                     Vendor did not participate in any Replacement Festivals, the Festival
                                     Vendor should so state.

                            d.       Documents identifying by name, address and telephone number any
                                     employee in connection with the Festival Sales or Replacement Festival
                                     Sales of claimant during 2009 or 2010.

                   2.       Licensing Documentation7: If a government-issued license/permit was required
                            to make any Festival Sales or Replacement Festival Sales, Festival Vendor shall
                            provide a copy of valid 2009 and 2010 licenses, such as:

                            •    Business license.
                            •    Vendor’s license.
                            •    Commercial/recreational fishing license.
                            •    Occupational license.
                            •    Peddler’s license.
                            •    Itinerant Vendor license.
                            •    Sales tax license.
                            •    Other licenses & permits related to income sources.


                   3.       Festival Vendor’s Employability Documentation8: The Festival Vendor must
                            provide both:

                            a.       A copy of a Social Security card, government issued identification or
                                     card, temporary worker visa, or green card that was valid as of April 20,
                                     2010 or a verification of existence of at least one such document from a
                                     public database providing the same information as would be provided
                                     from the original document;

7
      To the extent a state or municipality or other governmental agency agrees to provide the Claims
      Administrator with access to any official database sufficient for the Claims Administrator to confirm the
      claimant possessed a valid 2009 and 2010 license, the Claims Administrator need not require from the
      claimant a copy of the valid license. Rather, the Claims Administrator is authorized to accept from the
      claimant the license number as sufficient to satisfy this subpart, and the Claims Administrator will use the
      database to confirm claimant’s license is valid.
8
      To the extent the state or federal government agrees to provide the Claims Administrator with access to any
      official database sufficient for the Claims Administrator to confirm that a claimant possessed valid
      documentation of the type required in subparts 3(a) and 3(b). The Claims Administrator may not require
      from the claimant a copy of the requested document. Rather, the Claims Administrator is authorized to
      accept from the claimant the relevant government issued number as sufficient to satisfy this subpart 3, and
      the Claims Administrator shall utilize the database to confirm the claimant’s government issued numbered is
      valid.

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                       AND

                b.     Evidence that the Festival Vendor was at least 16 years of age as of
                       April 20, 2010. Acceptable evidence includes a copy of a valid driver’s
                       license, a valid passport, or a copy of the Festival Vendor’s birth
                       certificate or verification of existence of at least one such document
                       from a public database providing the same information as would be
                       provided from the original document.

          4.    Festival Vendor Sworn Written Statement: The Festival Vendor must submit a
                Festival Vendor Sworn Written Statement setting forth all of the items below:

                a.     Verification that the Festival Vendor does not have available, and is not
                       able to provide, Tax Information Documents sufficient to support a
                       claim as a business under the Business Compensation Framework.

                b.     A description of the Festival Sales and Replacement Festival Sales,
                       made by the Festival Vendor, including a description of the relevant
                       goods or services sold by the Festival Vendor.

                c.     A statement that (i) the Festival Vendor possessed and has attached
                       copies of all required licenses and/or permits as set forth in Section
                       II(C)2, or (ii) that no such license(s) were required.

                d.     A statement that all available receipts or records of Festival Sales
                       and/or Replacement Festival Sales from (i) May through December
                       2009 and (ii) May through December 2010 that Festival Vendor
                       possesses or has access to have been provided in support of the claim.

                e.     A list of each Festival and Replacement Festival in which the Festival
                       Vendor participated as a vendor in 2009 and 2010, and each Canceled
                       Festival. The Festival Vendor must also provide the following in writing,
                       as well as the supporting documentation identified above:

                       i.      the name, date(s) and location(s) of each Festival, or
                               Replacement Festival, and, for Canceled Festivals, the name
                               and originally planned date(s) and location(s);

                       ii.     the name, address, business telephone number, and a brief
                               description of any sponsor or organizer of each Festival,
                               Canceled Festival and Replacement Festival;

                       iii.    a description of all fees paid in connection with participation or
                               exhibition in each Festival, Canceled Festival or Replacement
                               Festival; and

                       iv.     for each Festival or Replacement Festival, a statement that
                               provides all booth or stall assignments, records of payment
                               made by Festival Vendor to participate in each Festival or
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                                              Replacement Festival, and sales tax receipts obtained by the
                                              Festival Vendor in connection with their participation.

                            f.       To the extent the Festival Vendor is unable to provide documents
                                     demonstrating the revenue associated with Festival Sales and/or
                                     Replacement Festival Sales, the Festival Vendor should estimate the
                                     revenue from Festival Sales for both May through December 2009 and
                                     May through December 2010 and for Replacement Festival Sales from
                                     May through December 2010, and explain the basis for the estimates
                                     provided (e.g., “Sold __ bags of peanuts at ___ per unit”). To the extent
                                     documentation exists in support of the earned income estimate (or
                                     components thereof), provide copies of such documentation.

                            g.       To the extent the Festival Vendor is not able to provide documents
                                     demonstrating all expenses associated with the Festival Sales or
                                     Replacement Festival Sales, the Festival Vendor should provide a
                                     description of any materials purchased by Festival Vendor in connection
                                     with making the Festival Sales or Replacement Festival Sales, including
                                     the name and address of the provider of the materials, the actual or
                                     estimated costs of such materials in total and/or for each good or
                                     service item sold.

                            h.       An explanation sufficient to permit the Claims Administrator to
                                     determine that any reduction of Festival Vendor Earnings from Festival
                                     Sales or Replacement Festival Sales in May through December 2010
                                     compared to Festival Vendor Earnings from the same Festivals (and any
                                     Festivals canceled in 2010 due to the DWH Spill) was due to or resulting
                                     from the DWH Spill, where “Festival Vendor Earnings” shall be
                                     calculated as the Festival Vendor’s total revenues less total expenses
                                     associated with Festival Sales.

                   5.       Festival Coordinator Sworn Written Statement(s): A Sworn Written Statement
                            from an individual representing the entity or committee responsible for
                            organizing the Festival (“Festival Coordinator”) for each Festival, Canceled
                            Festival or Replacement Festival for which loss is claimed setting forth all of the
                            following:9

                            a.       The name, address, telephone number of the Festival Coordinator
                                     affiant.

                            b.       The name, date and location of each Festival or Replacement Festival
                                     for which the affiant served as a Festival Coordinator and in which the
                                     Festival Vendor applied to participate, and the name, address and

9
      If the Festival Coordinator is willing to provide at one time information identified in subparts 5(c), 5(d) and
      5(e) for all Festival Vendors at one time, then a single Festival Coordinator Sworn Written Statement shall be
      sufficient for all claims by Festival Vendors. Alternatively, the Festival Coordinator may prefer to provide
      separate Festival Coordinator Sworn Written Statements for each Festival Vendor containing the information
      required in subparts 5(c), 5(d) and 5(e), and this shall likewise be acceptable.

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                        business telephone number of any sponsor or organizer of each such
                        Festival, Canceled Festival or Replacement Festival.

                c.      Identification of each Festival or Replacement Festival in which the
                        Festival Vendor (i) submitted an application, and (ii) paid a deposit or
                        fee, and (iii) either (a) participated, or (b) did not participate because it
                        was a Canceled Festival. If the Festival Coordinator is providing
                        information regarding a Canceled Festival that was canceled after April
                        20, 2010, and therefore (i) no application was submitted by the Festival
                        Vendor, and/or (ii) no deposit or fee was paid by the Festival Vendor
                        for the Canceled Festival, the Festival Coordinator need only provide
                        the requested information regarding the Festival Vendor’s participation
                        in the same Festival in prior periods, as well as any information
                        available to the Festival Coordinator regarding the Festival Vendor’s
                        expected participation in the Canceled Festival.

                d.      Copies of any application, or record of deposit or fee or notice of
                        cancellation identified in (c) above.

                e.      Any applicable permit required to hold any Festival or Replacement
                        Festival, and, if available, any Canceled Festival, in which the Festival
                        Vendor applied to participate.

                f.      Attendance data (or an estimate) for each Festival in which the Festival
                        Vendor participated and, if the same Festival was held in a prior year,
                        attendance data (or an estimate) for the nearest prior year or period
                        prior to the DWH Spill.

                g.      Only if the Festival is located in Zone C, the Festival Coordinator must
                        also set forth that the Festival was a Canceled Festival or experienced a
                        decline in attendance, compared to either the prior year or projected
                        attendance, due to or resulting from the DWH Spill. The Festival
                        Coordinator must include (i) a statement describing the reasons for the
                        cancellation or the amount of decline, and the affiant’s basis for such
                        statements, and (ii) a statement that the Festival Coordinator affiant
                        believes that the cancellation of a Canceled Festival, or the decline in
                        attendance at a Festival during the period May 1 through December 31,
                        2010 was due to or resulting from the DWH Spill.

          6.    Sponsor Sworn Written Statement: If no Festival Coordinator affiant is
                available, submit a Sworn Written Statement from another person other than a
                relative who has personal knowledge of the Festival Vendor’s participation in a
                Festival or non-participation in a Canceled Festival (including but not limited to
                a customer, fellow Festival Vendor, or operator of a business located within 100
                feet of the Festival Vendor’s sales location at the Festival), providing details
                regarding the Festival or Canceled Festival and the Festival Vendor’s
                relationship to such Sponsor that shall set forth all of the following:

                a.      Name, address, phone and e-mail of the Sponsor.

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                 b.      Basis for the personal knowledge.

                 c.      Description of the Festival or Canceled Festival.

                 d.      Information regarding the Festival Vendor’s participation in the Festival
                         (including date(s), location(s) and the description of the Festival Sales, if
                         applicable).

                 e.      Information regarding Canceled Festival in which the Festival Vendor
                         was scheduled and registered to participate (including date(s),
                         location(s) and the description of the Festival Sales, if applicable) but
                         did not participate because it was a Canceled Festival, and how the
                         cancellation was due to or resulting from the DWH Spill.

          7.     The Claims Administrator shall evaluate the sufficiency and reliability of
                 information provided by Festival Vendor and the supporting Festival
                 Coordinator affiant(s), including the sworn claim form, the Festival Vendor
                 Sworn Written Statement, the Festival Coordinator Sworn Written
                 Statement(s), the Sponsor Sworn Written Statement(s) and/or any
                 supplemental information the Claims Administrator may require, to determine
                 whether (i) Festival Vendor engaged in Festival Sales and (ii) such sales declined
                 in the period May through December 2010.

    D.    Compensation Calculation

          Where the Claims Administrator determines that causation has been established based
          upon (i) the Zone, or (ii) the Festival Vendor Sworn Written Statement and either (a)
          Festival Coordinator Sworn Written Statement(s) or (b) Sponsor Sworn Written
          Statement(s), as well as other documentation, a Festival Vendor relying on this Section
          II may receive compensation as follows:

          1.     Festival Vendors with Documentation Establishing Loss of Earnings from
                 Festivals

                 a.      Step 1: Specify Festivals or Canceled Festivals for which claimant
                         incurred economic loss related to the DWH Spill.

                         The Festival Vendor will be eligible for compensation for losses
                         associated with each Eligible Festival. An “Eligible Festival” shall be
                         defined as a Festival or Canceled Festival that satisfies all of the
                         following criteria:

                         i.      The Festival Vendor must demonstrate losses associated with
                                 the Festival.

                         ii.     The Festival must have taken place (or for a Canceled Festival,
                                 must have been originally scheduled to take place) between
                                 May 1, 2010 and December 31, 2010.



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                             iii.    Claimant must have participated in the Festival in 2010, or, for
                                     Canceled Festivals, the claimant must provide documents
                                     establishing the cancellation, and that the claimant participated
                                     in same Festival in 2009.

                             iv.     Documentation (including Festival Coordinator Sworn Written
                                     Statement(s)) must be sufficient to establish loss.

                     b.      Step 2: Determine Festival Vendor Earnings in May through December
                             2009 from Eligible Festivals identified in Step 1.

                     c.      Step 3: Determine Festival Vendor Earnings from Eligible Festival(s) or
                             Replacement Festival(s) in May through December 2010.

                     d.      Step 4: Calculate Festival Vendor Lost Earnings

                             Festival Vendor Lost Earnings will be calculated as the difference
                             between Festival Vendor Earnings from Eligible Festival(s) from May
                             through December 2009 (determined in Step 2) less Festival Vendor
                             Earnings from Eligible Festival(s) or Replacement Festival(s) from May
                             through December 2010 (determined in Step 3).

                             Total Festival Vendor Lost Earnings may not exceed $12,000. An RTP of
                             an amount agreed upon by the arties not to exceed 1 shall be
                             applicable.

             2.      Festival Vendor Without Sufficient Documentation Of Earnings From Festival
                     Sales Who Relies On Festival Coordinator Sworn Statements.

                     For a Festival Vendor without documentation sufficient to demonstrate and
                     calculate Festival Vendor Earnings from Eligible Festival(s), and who relies on a
                     Sworn Written Statement(s) by a Festival Coordinator, such Festival Vendor
                     will be compensated up to $10,000, based upon the Claims Administrator’s
                     assessment of the credibility and reliability of the information provided by the
                     Festival Vendor in support of the claim (including financial performance,
                     completeness and accuracy of documentation, interview results, and any other
                     relevant information). No RTP shall be applicable.

             If the Claims Administrator has reason to question the reliability of the information
     provided or if the Claims Administrator feels that the information supplied in insufficient for a
     determination of the Festival Vendor’s loss under this Section II. Then the Claims Administrator
     may request an interview of the Festival Vendor and/or the Festival Coordinator, consistent
     with the Interview Procedures set forth in the Addendum Regarding Interviews of Claimants
     Alleging Economic Loss.

            The Claims Administrator shall determine the Final Compensation Amount based on the
    information provided by the Festival Vendor and the supporting Festival Coordinator affiant(s),
    including the sworn claim form, the Festival Vendor Sworn Written Statement, the Festival
    Coordinator Sworn Written Statement(s), the Sponsor Sworn Written Statement(s), interviews
    and/or any supplemental information the Claims Administrator may require the Festival
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     Vendor to provide to support the claim. The Claims Administrator may rely on his credibility
     and reliability determinations in determining the Final Compensation Amount, if any, to be
     provided to the Festival Vendor.




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                                                                                              Attachment A
                                             COVERED SALES

       1.      Peanuts (boiled or roasted) or popcorn

       2.      Hot dogs

       3.      Ice Cream

       4.      Snow Cones

       5.      Tattoos

       6.      Snakes

       7.      Beads

       8.      Fresh fish or shellfish

       9.      Jams, jellies and preserves, and other canned fruit and vegetables

       10.     Fruit

       11.     Small wood carvings such as wood clocks, statues or wall hangings

       12.     Shell jewelry

       13.     Street artists, caricaturists, or facepainters

       14.     Street performers, mimes and magicians

       15.     Sellers of clothing specifically promoting the city, beaches or other tourism activities
               (sports teams, fishing, etc.)

       16.     Hair-weaving and braiding (not including cutting and hairdressing)

       17.     Shallow Water Divers in portions of the Gulf contained in the Class Definition

       18.     Boat Repair Divers in portions of the Gulf contained in the Class Definition

       19.     Swamp Boat and Air Boat Operators in portions of the Gulf contained in the Class
               Definition

       20.     Parasail, scuba and snorkel teachers/operators in portions of the Gulf contained in the
               Class Definition

Expressly excluded from this Framework are Deepwater Divers and any individuals working on an Oil Rig.




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                                                                                       Attachment B
                                  INCLUDED IN FESTIVALS

     1.   Street festivals or fairs (excluding neighborhood block parties or garage sales or flea
          markets)

     2.   Outdoor art exhibitions (same exclusions)

     3.   Fishing tournaments

     4.   Golf tournaments

     5.   Boating tournaments

     6.   Rodeos

     7.   4-H competitions

     8.   Major college or professional sports events (not including regular season games, local
          club or K-12 school events)

     9.   Carnivals




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Addendum Regarding Interviews Of Claimants Alleging Individual Economic Loss
And Other Individuals Providing Sworn Statements In Support Of Such A Claim

        The Parties agree to the following proposed Addendum, which applies where it is referenced in
the Framework for Individual Economic Loss Claims, subject to the understanding that it is contingent on
the concurrence of the selected Claims Administrator1 that the terms, conditions and deadlines set forth
in the addendum are realistic and achievable.

If, after reviewing the Claim Form, and other information submitted by or on behalf of the claimant
(collectively, the “Claim Submission”), the Claims Administrator believes there is a reasonable basis to
question the credibility and reliability of information in the Claim Submission, the Claims Administrator
may interview the claimant and/or any other individual providing a sworn statement in support of the
claimant’s claim, in order to resolve any such question regarding reliability. Such interviews may, at the
Claims Administrator’s option, be conducted in-person, by telephone or electronically (e.g., via Skype).

      1. Deadline To Conduct Interviews. The Claims Administrator shall use their best efforts to
         conduct any interview of a claimant, and/or any other individual providing a sworn statement in
         support of the claimant’s claim, within 45 (forty-five) days of the Claims Administrator’s
         acknowledgment of a complete Claim Submission, provided that such 45-day limit cannot start
         to run until after the announced opening of the Class Action Settlement Facility.2 At the
         Claimant’s option, the interview period can be extended further; any such extension request by
         the claimant and agreed-upon extension shall be documented by the Claims Administrator. If
         at any time the Claims Facility receives and/or has pending a number of claims within Category
         IV of the Individual Compensation Framework such that the above deadline cannot be met
         despite the Claims Administrator’s good faith compliance with all of the other provisions of this
         Addendum , the Claims Administrator will promptly so advise Lead Class Counsel and BP
         Counsel so that the parties can seek resolution of the issue through the Claims Administration
         Panel.

      2. Timing And Location Of Interviews. The Claims Administrator shall use their best efforts to
         arrange to conduct interviews at a time and location convenient to the claimant and/or other
         interviewee. The claimant may provide the Claims Administrator with reasonable advance
         notice of convenient times and locations and the Claims Administrator shall seek in good faith
         to honor such scheduling and location requests.

      3. Interviewing Staff. The Claims Administrator shall use their best efforts to recruit and train a
         claims staff that is of diverse races, ethnicities, and genders matching the communities served
         by the Claims Facility and its offices, and who have the cultural background, training and
         language skills required to interview claimants or other individuals in their native languages,
         including but not limited to Vietnamese, Khmer, and Native American languages and cultures.
         To the extent claimants, or other individuals providing a sworn statement in support of claims,


1
 As explained in Economic and Property Damages Settlement Agreement §§ 3.3.3 and 3.3.6, the Claims
Administrator is responsible for overseeing the Claims Administration Vendors who process claims.
2
    The Claims Administrator will determine the opening date of the Claims Facility.




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      and they or their representatives request that any interview be conducted by an individual of
      the same ethnic background, the Claims Administrator shall endeavor in good faith to comply
      with that request. If and to the extent the Claims Administrator concludes compliance with
      this provision are causing significant delay in claims processing, they shall bring the issue to the
      attention of Lead Class Counsel and BP Counsel so that the parties can seek resolution of the
      issue through the Claims Administration Panel.

  4. Limitations on interviews. To the extent provisions of the Individual Compensation Framework
     impose limitations on the number of interviews that may be conducted of claimants in certain
     categories, or individuals supporting their claims, for purposes of resolving questions of
     reliability, the Claims Administrator shall comply with such limitations.

  5. The Claims Administrator shall maintain records documenting their compliance with the
     requirements of this Addendum.

  6. Nothing in this paragraph or in the Individual Compensation Framework is intended, nor shall it
     be construed, to limit in any way the right and obligation of the Claims Administrator and/or
     Claims Administrator to investigate fully all suspicions of fraudulent conduct by or on behalf of
     any claimant, including but not limited to conducting any interviews and obtaining any
     documents the Claims Administrator deems necessary.




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                                    Framework For Subsistence Claims

A.        Eligibility

          1.       Only claimants who satisfy the “Subsistence Claimant” definition shall be
                   eligible for compensation pursuant to this Framework for Subsistence Claims.

          2.       “Subsistence Claimant” shall be defined as follows: (i) a Natural Person who
                   satisfies the Class Definition, (ii) who fishes or hunts to harvest, catch, barter,
                   consume or trade Gulf of Mexico natural resources (including Seafood and
                   Game1), in a traditional or customary manner, to sustain his or her basic personal
                   or family dietary, economic security, shelter, tool, or clothing needs2, and (iii)who
                   relied upon subsistence resources that were diminished or restricted in the
                   geographic region used by the claimant due to or resulting from the DWH Spill.

          3.       The Subsistence Claimant definition includes claimants who satisfy the
                   definitions of a Commercial Fisherman and Seafood Crew, provided such
                   claimants satisfy the other elements of the Subsistence Claimant definition and
                   provide the documentation listed below.3

          4.       The Subsistence Claimant definition does not include Recreational Fishermen
                   or Recreational Hunters. “Recreational Fishermen” shall be defined as
                   Natural Persons who fish for pleasure or sport. “Recreational Hunters” shall be
                   defined as Natural Persons who hunt for pleasure or sport. The Subsistence
                   Claimant definition does include claimants who hold a Recreational Fishing
                   license, provided such claimants satisfy the other elements of the Subsistence
                   Claimant definition and provide the documentation listed below.

B.        Compensation

          1.       Identify the time period of loss of subsistence use consistent with the closure or
                   impairment of geographic areas relied upon by the Claimant between April 20,
                   2010 and December 31, 2011.

          2.       Identify the quantity of lost natural resources, including Seafood and Game. This
                   will include quantity of natural resources given to members of Claimant’s
                   extended family unit for their personal consumption or for the purposes of barter.
                   In making the determination, the Claims Administrator must evaluate any lost

1
      “Game” is defined as nutria, mink, otters, raccoons, muskrats, alligators, and other wetlands and coastal
      wildlife.
2
      This definition is derived from various statutory and regulatory sources (e.g., ANILCA, Coast Guard) revised to
      reflect the socio-economic realities of the Gulf Coast ethnic, traditional, and customary subsistence
      communities and individuals.
3
      The definitions of Seafood, Commercial Fisherman and Seafood Crew from the Seafood Distribution Chain
      Definitions document shall apply herein.




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            earnings claim also submitted by the claimant for compensation under the
            Seafood Program to ensure that any in-kind Seafood compensation received by
            the claimant is appropriately allocated between the claimant’s lost earnings and
            subsistence claims. For example, Seafood sold by the claimant, rather than used
            for barter should be allocated toward lost earnings which shall be compensated
            through the Seafood Program.

            a.      Quantity of lost natural resources will be determined based on information
                    provided by the claimant in intake forms and interviews with the Claims
                    Administrator.

            b.      Quantity of lost natural resources will be calculated in, or converted to,
                    measures of consumable retail product by the Claims Administrator.

            c.      Quantities of lost natural resources shall not exceed reasonable
                    consumption rates as determined by the Claims Administrator.

     3.     Calculate the Total Value of Loss of Subsistence Use of Natural Resources by
            multiplying the quantity in pounds by average post-spill retail price or, if
            unavailable, an estimated retail price based on a reasonable proxy. Average post-
            spill retail prices, and any proxies there for, will be determined the Parties based
            on, where available, data on retail prices for Gulf of Mexico natural resources,
            and be subject to approval by the Claims Administration Panel. The Parties shall
            provide a chart of the approved, mutually agreed-upon prices to the Claims
            Administrator for use in calculation of Subsistence claims.

     4.     Claimant will receive a Risk Transfer Premium (“RTP”) of 2.25, in order to
            compensate for factors including value of Subsistence use, including damage to
            subsistence family and community customs and culture.

     5.     Claimant’s compensation pursuant to this Framework For Subsistence Claims
            shall be equal to the sum of (i) the Claimant’s Total Value of Lost Natural
            Resources calculated in B(3) plus (ii) the Claimant’s Total Value of Lost
            Natural Resources multiplied by 2.25.

C.   Documentation Requirements

     The Claimant must provide sufficient information for the Claims Administrator to
     determine (1) that the claimant satisfies the Subsistence Claimant definition and, (2) the
     quantity of Gulf of Mexico natural resources from within the Class Definition
     geographic area lost by the Subsistence Claimant during the time period April 20, 2010
     to December 31, 2011. The required documents shall include:

     1.     The Gulf of Mexico location(s) within the Class Definition geographic area
            where claimant fished or hunted or utilized Gulf of Mexico natural resources
            immediately prior to the oil spill.

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                    a.       Type of documentation: (1) Identification on map and narrative
                             description on claims form; (2) narrative description on claims form of
                             equipment used to fish or hunt; and (3) affidavit verifying location of
                             claimant’s fishing or hunting grounds.

           2.       The location where the claimant fished or hunted or utilized Gulf of Mexico
                    natural resources between April 20, 2010 and December 31, 2011.

                    a.       Type of documentation: Information provided by claimant on claims
                             form.

           3.       Length of time that fishing or hunting areas were closed or impaired as a result of
                    the spill.

                    a.       Type of documentation: Information provided by claimant on claims
                             form, to be confirmed by claims facility by reference to closure maps and
                             other relevant reports.

           4.       Prior to spill, claimant relied upon the fishing or hunting area at issue for
                    subsistence purposes as defined above.

                    a.       Type of documentation: (1) Claimant to specify on claims form number
                             of people in the extended family unit who rely on natural resources caught
                             by the Subsistence Claimant, the specific species and amounts of natural
                             resources relied upon, the percentage of subsistence source that natural
                             resources from closed or impaired areas provided prior to the spill, and (2)
                             a supporting affidavit.4 Following an interview with the claimant,
                             members of the claims administration staff may, at their discretion, require
                             an additional affidavit from a third party or other appropriate supporting
                             information.

           5.       Copy of state and/or federal commercial or recreational fishing and/or hunting
                    license. Deckhands or others that are not required to possess a fishing license are
                    excused from this requirement.

D.         Court-Appointed Distribution Agents Audit Process

           BP, the PSC and the Claims Administrator shall jointly propose a Court-Appointed
           Distribution Agent (“CADA”). Upon approval, the CADA shall work under the direction
           and supervision of the Claims Administrator. The CADA shall establish a dedicated
           team to assist Subsistence claimants in completing the claim form and collecting
           supporting documentation, and will also confirm the eligibility status of the claimants.
           The CADA will conduct subsistence interviews with claimants and apply the
4
    The Parties shall collaborate on a form affidavit for Subsistance Claimants, which shall be subject to approval by
      the Claims Administrator Panel.

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     compensation formula. The CADA team shall establish a physical presence and a
     reasonable operating schedule to allow claimants to be interviewed in their geographical
     area including at Landing Dock locations.

E.   Field Visits

     There is no pre-set cap on payment amounts for Subsistence claims. However, the
     CADA will not pay Subsistence claims with a base amount greater than $10,000 per
     extended family unit without conducting a field visit and investigation as to the accuracy
     of the claim prior to the payment.

F.   RTP

     An RTP of 2.25 shall be applied to the base compensation amount.




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                               SEAFOOD COMPENSATION PROGRAM

                                                  OVERVIEW

The Seafood Compensation Program shall cover and compensate Commercial Fishermen,
Seafood Boat Captains, all other Seafood Crew, Oyster Leaseholders, and Seafood Vessel
Owners for economic loss claims relating to Seafood.1 All economic loss claims by Commercial
Fishermen, Seafood Boat Captains, all other Seafood Crew, Oyster Leaseholders, and Seafood
Vessel Owners relating to Seafood will be part of and must be brought under the Seafood
Compensation Program.2

The Seafood Compensation Program is divided into the following compensation categories and
claim types:

                                                     TABLE 1

                     CATEGORY                                         COMPENSABLE CLAIMS
Shrimp                                                      •        Vessel Owner/Commercial Fisherman
                                                                     Vessel Lessee claims
                                                            •        Boat Captain claims
Oyster                                                      •        Leaseholder Interest claims
                                                            •        Leaseholder Lost Income claims
                                                            •        Vessel Owner/Oyster Harvester Vessel
                                                                     Lessee claims
                                                            •        Boat Captain claims
Finfish                                                     •        Vessel Owner/Commercial Fisherman
                                                                     Vessel Lessee claims
                                                            •        Boat Captain claims
                                                            •        Individual Fishing Quota holder claims
Blue Crab/Other Seafood                                     •        Vessel Owner/Commercial Fisherman
                                                                     Vessel Lessee claims (including crab
                                                                     trap damage)
                                                            •        Boat Captain claims




1
      The terms Commercial Fisherman, Seafood Boat Captains, Seafood Crew, Oyster Leaseholders and Seafood
      Vessel Owners as defined in the “Seafood Distribution Chain Definitions” (Exhibit 3 to the Deepwater Horizon
      Economic and Property Damages Settlement Agreement) shall apply in this Seafood Compensation Program.
2
      To the extent terms herein are defined in the Deepwater Horizon Economic And Property Damages Settlement
      Agreement, those definitions shall apply in the Seafood Compensation Program. Nevertheless, any term
      specifically defined within the Seafood Compensation Program, shall be interpreted as set forth in this Seafood
      Compensation Program, notwithstanding any contrary definition in the Deepwater Horizon Economic And
      Property Damages Settlement Agreement.




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                CATEGORY                                 COMPENSABLE CLAIMS
Seafood Crew (excluding Boat Captains) for         •    Crew claimants with standard
all Seafood industries                                  documentation
                                                   •    Crew claimants with documentation
                                                        supplied by employer
                                                   •    Crew claimants with documentation
                                                        supplied by non-employers


For each category and compensable claim type, a Claimant will have to establish that the
Claimant is a Class Member and meets the separate eligibility requirements defined below. In
addition, Claimants are subject to the requirements of the Deepwater Horizon Economic And
Property Damages Settlement Agreement and any applicable Court order, except as otherwise
modified or provided by the Seafood Compensation Program.

Claimants are able to file a single Seafood Compensation Program Sworn Claim Form seeking
compensation for multiple compensable claims. A Claimant filing a claim under the different
plan in the Seafood Compensation Program, may be required to use different historical
information for the Benchmark Period and must review the definition of Benchmark Period in
each plan. For example, the Claimant may use a different Benchmark Period for the Claimant’s
claim under the Shrimp Compensation Plan and the Claimant’s claim under the Oyster
Compensation Plan. The following provides a non-exhaustive list of examples in which a single
claimant might be eligible to receive compensation for multiple compensable claims:

•      A shrimp Vessel Owner/Commercial Fisherman Vessel Lessee who is also a shrimp Boat
       Captain may be eligible to receive compensation both as a shrimp Vessel
       Owner/Commercial Fisherman Vessel Lessee and shrimp Boat Captain.
•      An oyster leaseholder may be eligible to receive compensation for both Leaseholder
       Interest and Leaseholder Lost Income claims. If the oyster leaseholder claimant is also a
       Vessel Owner/Commercial Fisherman Vessel Lessee and a Boat Captain, that claimant
       may be eligible to receive compensation as both an oyster Vessel Owner/Commercial
       Fisherman Vessel Lessee and an oyster Boat Captain.
•      A claimant who is a Boat Captain for vessel(s) in both the blue crab industry and shrimp
       industry may be eligible to receive compensation under applicable blue crab and shrimp
       categories.

Seafood Compensation Program Sworn Claim Forms may be submitted at any time after entry of
the Preliminary Approval Order, but no later than thirty (30) days from the date of entry of the
Final Order and Judgment of the District Court ruling upon final approval of the Settlement (Bar
Date). Claims will be processed and paid as expeditiously as possible by the Claims
Administrator.

It is expressly acknowledged that the fact that a Claimant has made a claim and/or received
compensation under the Seafood Compensation Program, does not preclude that claimant from
making an independent claim and/or receiving compensation under the Deepwater Horizon
Economic And Property Damages Settlement Agreement.

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Compensation received by an eligible Claimant under the Seafood Compensation Program will
be reduced by the amount of prior Seafood Spill-Related Payments as described in the Seafood
Spill Related Payment Reduction Procedures in this document.3 No other reductions to the
compensation amount under the Seafood Compensation Program will be taken, including
compensation received for work in the VoO Program or compensation for VoO Damages under
the Settlement.

The Seafood Compensation Program shall cover and compensate the economic loss claims for
Commercial Fishermen, Seafood Crew, Oyster Leaseholders, and Seafood Vessel Owners. It
does not cover subsistence claims.

      General Framework and Overview of Seafood Compensation Program Distribution

The Seafood Compensation Program is estimated to result in prompt claims payments totaling
more than $1.9 billion representing approximately 83% of the $2.3 billion Seafood
Compensation Program Amount. After applying the terms of the Deepwater Horizon Economic
And Property Damages Settlement Agreement (including determining the Seafood
Compensation Program Amount) and paying the eligible Seafood Compensation Program
claims, the Claims Administrator shall determine the amount of funds, if any, constituting the
remaining Seafood Compensation Program Amount. In the event there are Seafood
Compensation Program Amount funds remaining, such funds will be distributed to claimants that
received compensation from the Seafood Compensation Program. The balance will be
distributed to each Claimant in proportion to the Claimant’s gross compensation expressed as a
share of the gross compensation paid by the Claims Administrator to all claimants under the
Seafood Compensation Program.4 Gross compensation reflects compensation paid by the Claims
Administrator prior to deduction for Seafood Spill-Related Payments. If, however, the Court-
Appointed Neutral determines that a distribution other than purely proportional would be more
appropriate in light of the information available at the time of the second distribution, he may
recommend to the Court that the second distribution be reallocated in an alternative fashion.
Any such reallocation will be subject to court approval.




3
      Seafood Spill-Related Payments are defined as compensation paid to a claimant through the OPA Process, by
      BP, the GCCF, or through the Transition Facility for economic loss claims relating to Seafood.
4
      All claimants who receive compensation under the Seafood Compensation Program are entitled to a share of the
      distribution of the balance whether or not their individual claims have been characterized as “lump sum” or a
      similar term, and whether or not they are members of Categories II and III of the Seafood Crew Compensation
      Plan (each of which provides for an Aggregate Compensation Amount, which shall not apply as a limitation to a
      Claimant’s entitlement to a share of the balance to be distributed).


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                            SHRIMP COMPENSATION PLAN

Generally Applicable Provisions of the Shrimp Compensation Plan:

1.    Eligible Claimants shall be comprised of Class Members (i) who do not fall within the
      exclusions to the Economic Loss and Property Class Definition, (ii) who are Vessel
      Owners, Commercial Fishermen who lease Seafood Vessels (Commercial Fisherman
      Vessel Lessee), and/or Seafood Boat Captains that derive earnings from commercial
      shrimping and (iii) who meet the additional criteria listed in this Shrimp Compensation
      Plan.

2.    It is understood that in some instances, the Vessel Owner is also the Commercial
      Fisherman; however, it may be the case that the Vessel Owner leased the vessel to a
      Commercial Fisherman. In those instances where the vessel was leased during the time
      period of April 20, 2010 to December 31, 2010, the Vessel Owner and Commercial
      Fisherman Vessel Lessee must file the vessel claim jointly in order to receive
      compensation prior to the Bar Date, and they shall share any Vessel Owner/Commercial
      Fisherman Vessel Lessee compensation provided for in this Shrimp Compensation Plan.
      If at the time of the Bar Date either the Vessel Owner or the Commercial Fisherman
      Vessel Lessee has not filed a claim, the one that has filed the claim shall receive the full
      Vessel Owner/Commercial Fisherman Vessel Lessee compensation for the vessel. The
      allocation of compensation between Vessel Owner and Commercial Fisherman Vessel
      Lessee shall be determined as provided in Section V. If the vessel was not leased to a
      Commercial Fisherman Vessel Lessee during the time period of April 20, 2010 to
      December 31, 2010, the Vessel Owner is entitled to the full Vessel Owner/Commercial
      Fisherman Vessel Lessee compensation for the vessel.

3.    It is understood that in some instances, the Vessel Owner and/or the Commercial
      Fisherman Vessel Lessee is also the Boat Captain. In those instances where the Vessel
      Owner and/or the Commercial Fisherman Vessel Lessee were also the Boat Captain, they
      shall be eligible to receive the Boat Captain compensation portion for the vessel under the
      Shrimp Compensation Plan as set forth below. If the Vessel Owner and/or Commercial
      Fisherman Vessel Lessee employed a Boat Captain on the vessel and did not serve as a
      Boat Captain on that vessel, the hired Boat Captain is eligible for the Boat Captain
      compensation, not the Vessel Owner or Commercial Fisherman Vessel Lessee.

4.    To establish eligibility to participate in the Shrimp Compensation Plan, a Vessel Owner
      Claimant must provide for each vessel(s) for which the Claimant is seeking
      compensation:

      A.     Proof of ownership of the vessel during the time period of April 20, 2010 to
             December 31, 2010.

      B.     Proof that as of April 20, 2010 there was a government license (even if it had
             expired before that date) that authorized that vessel to commercially fish for
             shrimp in the Specified Gulf Waters for the 2009 season or the 2010 season.
             However, a Vessel Owner who did not have such a license for the vessel can

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             participate in the Shrimp Compensation Plan for that vessel if the Claimant can
             establish the criteria for the New Entrant Compensation Method as described in
             Section III below.

      C.     The vessel name and any applicable federal and/or state vessel registration
             numbers.

      D.     Proof that either:

             1.     the vessel was home ported in the Gulf Coast Areas at any time from
                    April 20, 2010 to April 16, 2012; or,

             2.     the vessel landed shrimp in the Gulf Coast Areas at any time from
                    April 20, 2009 to April 16, 2012.

      E.     A sworn statement attesting as to whether or not the vessel was leased during the
             time period April 20, 2010 to December 31, 2010. If the vessel was leased during
             this time period, the Vessel Owner must provide a copy of the lease agreement.

      F.     A sworn statement attesting as to whether or not the Vessel Owner was the Boat
             Captain for that vessel during January 1, 2007 through December 31, 2009. If the
             Vessel Owner was not the sole Boat Captain for that vessel for some portion of
             January 1, 2007 through December 31, 2009, to the extent possible, the Claimant
             shall identify all other Boat Captains employed on the vessel and the time periods
             for which the Boat Captains were employed.

5.    To establish eligibility to participate in the Shrimp Compensation Plan, a Commercial
      Fisherman Vessel Lessee must provide for each vessel for which the claimant seeks
      compensation:

      A.     Proof that during the period of April 20, 2010 through December 30, 2010 the
             Claimant leased the vessel to be used for commercial shrimping.

      B.     Proof that as of April 20, 2010 there was a government license (even if it had
             expired before that date) that authorized that vessel to commercially fish for
             shrimp in the Specified Gulf Waters for the 2009 season or the 2010 season.
             However, a Commercial Fisherman Vessel Lessee who did not have such a
             license for the vessel can participate in the Shrimp Compensation Plan for that
             vessel if the Claimant can establish the criteria for the New Entrant Compensation
             Method as described in Section III below.

      C.     The vessel name and any applicable federal and/or state vessel registration
             identification numbers.

      D.     Proof that either:

             1.     the vessel was home ported in the Gulf Coast Areas at any time from
                    April 20, 2010 to April 16, 2012; or,

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                  2.      the vessel landed shrimp in the Gulf Coast Areas at any time from
                          April 20, 2009 to April 16, 2012.

          E.      A sworn statement, attesting that the Commercial Fisherman Vessel Lessee leased
                  the vessel during the time period of April 20, 2010 to December 31, 2010. The
                  Commercial Fisherman Vessel Lessee must also provide a copy of the lease
                  agreement for the vessel.

          F.      A sworn statement attesting as to whether or not the Commercial Fisherman
                  Vessel Lessee was the Boat Captain for that vessel during January 1, 2007
                  through December 31, 2009. If the Commercial Fisherman Vessel Lessee was not
                  the sole Boat Captain for that vessel for some portion of January 1, 2007 through
                  December 31, 2009, to the extent possible, the Claimant shall identify all other
                  Boat Captains employed on the vessel and the time periods for which the Boat
                  Captains were employed.

6.        To establish eligibility to participate in the Shrimp Compensation Plan a Boat Captain
          must provide:

          A.      Proof that as of April 20, 2010 the Boat Captain held a governmental license
                  (even if it had expired before that date) authorizing the Claimant to operate as a
                  Boat Captain and/or to commercially fish for shrimp in the Specified Gulf Waters
                  for the 2009 season or the 2010 season.

          B.      Proof that either the Boat Captain worked:

                  1.      on one or more commercial shrimping vessels home ported in the Gulf
                          Coast Areas at any time from April 20, 2010 to April 16, 2012; or,

                  2.      on one or more commercial shrimping vessels that landed shrimp in the
                          Gulf Coast Areas at any time from April 20, 2009 to April 16, 2012.

7.        A Vessel Owner/Commercial Fisherman Vessel Lessee who does not have either a 2009
          or 2010 fishing license or proof of shrimp landings in 2009, 2010 or 2011 can participate
          in the Shrimp Compensation Program if that Vessel Owner can establish the criteria for
          the New Entrant Compensation Method as defined in Section III below. Additionally, a
          Boat Captain who had not previously worked as a Boat Captain for a commercial
          shrimping vessel in the Gulf Coast Areas and who prior to April 20, 2010 had a written
          job offer for employment as a Boat Captain on a vessel home ported in the Gulf Coast
          Areas for the 2010 shrimping season may be able to establish the criteria for the New
          Entrant Compensation Method as defined in Section III below.

8.        A Sworn Statement attesting whether or not the Claimant received any Seafood Spill-
          Related Payments. If the Claimant received Seafood Spill-Related Payments, the
          Claimant shall provide documents5 sufficient to establish the timing, amount and source
5
      When documents are requested in the Seafood Compensation Program, Claimant may provide either legible
      copies or originals of the documents.

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          of Seafood Spill-Related Payments, including documents providing the claimant’s
          BP/GCCF/Transition Facility Claim Number, if applicable, and any corresponding
          payments.

Shrimp Compensation Plan Definitions:

Benchmark Period6 is selected by the Claimant and can be (i) 2009, (ii) 2008 and 2009, or (iii)
2007, 2008 and 2009. If the Claimant elects to use years 2008 and 2009 or 2007, 2008, and
2009, the annual revenue amounts shall be averaged. In the event the Claims Administrator
determines that the Claimant (individual or vessel) did not participate at the same level of effort
in shrimp harvesting due to circumstances beyond the Claimant’s control (such as illness,
disability or major mechanical failure), the Claims Administrator may at his discretion allow the
Claimant to exclude one or more years of the Benchmark Period.

A Vessel Owner or Commercial Fisherman Vessel Lessee must submit separate Vessel
Owner/Commercial Fisherman Vessel Lessee claims for each vessel they owned or leased and
may select different Benchmark Periods for different vessels.

A Boat Captain’s claim reflects the Claimant’s activities on all vessels, and the Boat Captain
must select a single Benchmark Period for the Claimant’s claim.

A Vessel Owner or Commercial Fisherman Vessel Lessee who also submits a Boat Captain
claim may select different Benchmark Periods for the Claimant’s Vessel Owner/Commercial
Fisherman Vessel Lessee claim and the Claimant’s Boat Captain claim.

Compensation Plan Methods:

There are four methods for a Vessel Owner/Commercial Fisherman Vessel Lessee and/or Boat
Captain to be compensated under the Shrimp Compensation Plan. The options are:

•         Expedited Compensation Method
•         Reduced Expedited Compensation Method
•         New Entrant Compensation Method
•         Historical Revenue Method

A Vessel Owner or Commercial Fisherman Vessel Lessee may select different Compensation
Plan Methods for different vessels. There is no qualifying revenue level required for the
Historical Revenue Method. The qualifying vessel revenue for the Expedited Compensation
Method and Reduced Expedited Compensation Method is summarized in the second column of
Table 2 and the compensation amount is summarized in the third column. The eligibility,
documentation and details of each method are described more fully in Sections I and II below.


6
      For the Seafood Compensation Program, the Benchmark Period is defined independently for each Seafood
      Compensation Program Plan and is set forth within the specific Plan. Definitions of Benchmark Period in any
      other frameworks in the Deepwater Horizon Economic And Property Damages Settlement Agreement do not
      apply in the Seafood Compensation Program.


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A Boat Captain must select a single Compensation Method for his claim. There is no qualifying
revenue for the Historical Revenue Method. The qualifying vessel revenue for the Expedited
Compensation Method and Reduced Expedited Compensation Method must be made based on
revenue for a single vessel size and type category (but not necessarily for a single vessel). The
qualifying revenue for the Expedited Compensation Method and Reduced Expedited
Compensation Method is summarized in the second column of Table 2 and the compensation
amount is summarized in the third and fourth columns. The eligibility, documentation and
details of each method are described more fully in Sections I and II below.

                                           TABLE 2

                Qualifying Vessel Revenue and Compensation for Expedited
                             and Reduced Expedited Methods

                                                          Vessel
                                                    Owner/Commercial
                                   Qualifying        Fisherman Vessel
                                     Vessel               Lessee      Boat Captain
       Vessel Size                  Revenue           Compensation    Compensation

       Expedited Method:
         < 30 feet                      $32,500               $104,063           $92,813
         30 - 44 feet                   $40,000               $135,281          $107,250
         45 - 74 feet (Ice)             $90,000               $270,563          $160,875
         45 - 74 feet (Freezer)        $275,000               $478,688          $284,625
         75+ feet (Ice)                $225,000               $416,250          $206,250
         75+ feet (Freezer)            $400,000               $582,750          $288,750

       Reduced Expedited Method:
         < 30 feet                     N/A                 N/A                 N/A
         30 - 44 feet                   $25,000                $62,438          $49,500
         45 - 74 feet (Ice)             $50,000               $145,688          $86,625
         45 - 74 feet (Freezer)        $200,000               $333,000         $198,000
         75+ feet (Ice)                $150,000               $291,375         $144,375
         75+ feet (Freezer)            $290,000               $457,875         $226,875



I.     Expedited Compensation Method

        A.     Eligibility Requirements

              1.      Vessel Owner/Commercial Fisherman Vessel Lessee

In order to qualify for compensation under the Expedited Compensation Method, the Vessel
Owner/Commercial Fisherman Vessel Lessee must provide for each vessel:



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                   a.     A copy of the 2009 or 2010 governmental issued vessel
                          registration for each of Claimant’s vessel(s) establishing the home
                          port of the vessel was within the states of Louisiana, Mississippi
                          and Alabama or a Florida registered vessel with its home port in
                          the counties of Escambia, Santa Rosa, Okaloosa, Walton, Holmes,
                          Washington, Bay, Jackson, Calhoun, Gulf, Liberty, Franklin,
                          Gadsden, Leon, Wakulla in the State of Florida; and,

                   b.     Proof of revenue from commercial shrimping equal to or greater
                          than the Qualifying Revenue in Table 3 based on vessel size and
                          type for the Benchmark Period.

             2.    Boat Captains

In order to qualify for compensation under the Expedited Compensation Method, the Boat
Captain must provide for each vessel:

                   a.     Proof that during the Benchmark Period:

                          i.     the Claimant was a Boat Captain on a commercial
                                 shrimping vessel with the home port of the vessel that was
                                 within the states of Louisiana, Mississippi and Alabama or
                                 a Florida registered vessel with its home port in the
                                 counties of Escambia, Santa Rosa, Okaloosa, Walton,
                                 Holmes, Washington, Bay, Jackson, Calhoun, Gulf,
                                 Liberty, Franklin, Gadsden, Leon, Wakulla in the State of
                                 Florida; and,

                          ii.    the vessel had revenue from commercial shrimping equal to
                                 or greater than the Qualifying Revenue in Table 3 based on
                                 vessel size and type for the Benchmark Period. A Boat
                                 Captain may combine vessel revenue from multiple vessels
                                 of the same size and type for the Benchmark Period; and,

                          iii.   the Claimant was the Boat Captain of the vessel during the
                                 time period for which the vessel generated the revenue on
                                 which the Claimant relies to establish the Qualifying
                                 Revenue for the Benchmark Period reported in Table 3.




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                                          TABLE 3

              VESSEL SIZE                           QUALIFYING VESSEL REVENUE
                  <30 feet                                    $32,500
                 30-44 feet                                   $40,000
               45-74 feet Ice                                 $90,000
             45-74 feet Freezer                              $275,000
                75+ feet Ice                                 $225,000
              75+ feet Freezer                               $400,000

        B.     Documentation Required

              1.     Vessel Owners/Commercial Fisherman Vessel Lessees

Vessel Owners/Commercial Fisherman Vessel Lessees seeking compensation under the
Expedited Compensation Method must provide documents sufficient to prove eligibility pursuant
to the applicable paragraphs of the “Generally Applicable Provisions of the Shrimp
Compensation Plan” and the requirements in Section I.A.1, and to determine compensation
pursuant to Section I.C below, including the following:

                     a.     Trip Tickets or their equivalents such as dealer forms, which show
                            the volume of shrimp harvested and the sales price as shown on the
                            trip tickets or their equivalents for the Benchmark Period. The total
                            volume multiplied by the price will be the applicable gross
                            revenue.

                            – OR –

                     b.     Federal or state tax and financial information as follows:

                            i.       If Claimant is an entity, federal or state tax returns and
                                     sufficient documentation to identify those components of
                                     gross revenue derived from commercial shrimp harvesting
                                     by vessel for the Benchmark Period for each vessel for
                                     which the Claimant submits a Vessel Owner/Commercial
                                     Fisherman Vessel Lessee claim.

                            ii.      If Claimant is an individual, federal form 1040 including
                                     Schedules C, E and F or state tax forms with supporting
                                     documents, as well as sufficient documentation to identify
                                     those components of earnings derived from commercial
                                     shrimp harvesting by vessel for the Benchmark Period.

                            iii.     In addition, the Claimant must provide sufficient
                                     documentation for the Claims Administrator to be able to
                                     identify (i) Claimant’s revenue from shrimping as

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                                      compared to other sources, (ii) Claimant’s revenue from
                                      landings in the Gulf Coast Areas. If necessary, the Claims
                                      Administrator may require supplemental information from
                                      the Claimant in order to make these determinations.

                      c.     Also, the Claimant must provide documentation sufficient to
                             establish the vessel size and type for each vessel for which the
                             Claimant seeks compensation.

                      d.     In addition, if available, it is requested that the Claimant also
                             provide the following documents, to assist the Claims
                             Administrator:

                             i.       Vessel log book

                             ii.      Share sheets

                             iii.     Sales or other production reports maintained in the normal
                                      course of business.

              2.      Boat Captains

Boat Captains seeking compensation under the Expedited Compensation Method must provide
documents sufficient to prove eligibility pursuant to the applicable paragraphs of the “Generally
Applicable Provisions of the Shrimp Compensation Plan” and the eligibility requirements in
Section I.A.2, and to determine compensation pursuant to Section I.C below, including the
following:

                      a.     Trip Tickets or their equivalents for each vessel, which show the
                             volume of shrimp harvested and the sales price as shown on the
                             trip tickets or their equivalents for the Benchmark Period. The
                             total volume multiplied by the price will be the applicable gross
                             revenue.

                             – OR –

                      b.     Federal tax returns, including Schedules C, E and F, W-2s, and
                             1099s or state tax returns and supporting documents for the
                             Benchmark Period and sufficient documentation to identify those
                             components of earnings derived from commercial shrimp
                             harvesting for the Benchmark Period for the vessel(s) selected by
                             the Claimant. In addition, the Claimant must provide sufficient
                             documentation for the Claims Administrator to be able to identify
                             revenue from shrimp landings in the Gulf Coast Areas for each
                             vessel while the Claimant was Boat Captain. If necessary, the
                             Claims Administrator may require supplemental information from
                             the Claimant in order to make these determinations.


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                     c.      Also, the Claimant must provide documentation sufficient to
                             establish the vessel size and type for the vessel(s) for which the
                             Claimant seeks compensation.

                     d.      In addition, if available, it is requested that the Claimant also
                             provide the following documents, to assist the Claims
                             Administrator:

                             i.     Captain’s log book

                             ii.    Vessel log book

                             iii.   Share sheets

                             iv.    Sales or other production reports maintained in the normal
                                    course of business.

        C.     Compensation Amounts

              1.     Vessel Owner/Commercial Fisherman Vessel Lessee Compensation

If the Claims Administrator determines that the Vessel Owner or Commercial Fisherman Vessel
Lessee has provided necessary proof of eligibility and the required documentation, the Claimant
shall receive the Vessel Owner/Commercial Fisherman Vessel Lessee Compensation for the
vessel set forth in Table 4. The Vessel Owner/Commercial Fisherman Vessel Lessee
Compensation includes an RTP of 8.25. A Claimant may have more than one vessel and is
eligible for compensation for each vessel for which the Claimant independently satisfies the
eligibility and documentation requirements.

                                          TABLE 4

              VESSEL SIZE                          VESSEL OWNER/COMMERCIAL
                                                    FISHERMAN VESSEL LESSEE
                                                         COMPENSATION
                  <30 feet                                  $104,063
                 30-44 feet                                 $135,281
               45-74 feet Ice                               $270,563
             45-74 feet Freezer                             $478,688
                75+ feet Ice                                $416,250
              75+ feet Freezer                              $582,750

              2.     Boat Captain Compensation

If the Claims Administrator determines that the Boat Captain has provided necessary proof of
eligibility and the required documentation for a vessel, the Claimant shall receive the Boat


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Captain Compensation set forth in Table 5. The Boat Captain Compensation includes an RTP of
7.25.

                                          TABLE 5

             VESSEL SIZE                          BOAT CAPTAIN COMPENSATION
                 <30 feet                                    $92,813
                30-44 feet                                  $107,250
              45-74 feet Ice                                $160,875
            45-74 feet Freezer                              $284,625
               75+ feet Ice                                 $206,250
             75+ feet Freezer                               $288,750

II.    Reduced Expedited Compensation Method

If a Claimant does not qualify for the Expedited Compensation Method, the Claimant may
qualify for the Reduced Expedited Compensation Method for each vessel.

       A.      Eligibility Requirements

              1.     Vessel Owner/Commercial Fisherman Vessel Lessee

In order to qualify for compensation under the Reduced Expedited Compensation Method, the
Vessel Owner/Commercial Fisherman Vessel Lessee must provide for each vessel:

                     a.     A copy of the 2009 or 2010 governmental issued vessel
                            registration for each of Claimant’s vessel(s) establishing the home
                            port of the vessel was within the states of Louisiana, Mississippi
                            and Alabama or a Florida registered vessel with its home port in
                            the counties of Escambia, Santa Rosa, Okaloosa, Walton, Holmes,
                            Washington, Bay, Jackson, Calhoun, Gulf, Liberty, Franklin,
                            Gadsden, Leon, Wakulla in the State of Florida; and,

                     b.     Proof of revenue from commercial shrimping equal to or greater
                            than the Qualifying Revenue in Table 6 based on vessel size and
                            type for the Benchmark Period.

              2.     Boat Captains

In order to qualify for compensation under the Reduced Expedited Compensation Method, the
Boat Captain must provide for each vessel:

                     a.     Proof that during the Benchmark Period:

                            i.     the Claimant was a Boat Captain on a commercial
                                   shrimping vessel with the home port of the vessel that was

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                                    within the states of Louisiana, Mississippi and Alabama or
                                    a Florida registered vessel with its home port in the
                                    counties of Escambia, Santa Rosa, Okaloosa, Walton,
                                    Holmes, Washington, Bay, Jackson, Calhoun, Gulf,
                                    Liberty, Franklin, Gadsden, Leon, Wakulla in the State of
                                    Florida; and,

                             ii.    the vessel had revenue from commercial shrimping equal to
                                    or greater than the Qualifying Revenue in Table 6 based on
                                    vessel size and type for the Benchmark Period, a Boat
                                    Captain may combine vessel revenue from multiple vessels
                                    of the same size and type for the Benchmark Period; and,

                             iii.   the Claimant was the Boat Captain of the vessel during the
                                    time period for which the vessel generated the revenue on
                                    which the Claimant relies to establish the Qualifying
                                    Revenue for the Benchmark Period reported in Table 6.

                                          TABLE 6

               VESSEL SIZE                          QUALIFYING VESSEL REVENUE
                   <30 feet                                     n/a
                  30-44 feet                                  $25,000
                45-74 feet Ice                                $50,000
              45-74 feet Freezer                             $200,000
                 75+ feet Ice                                $150,000
               75+ feet Freezer                              $290,000

        B.     Documentation Required

              1.     Vessel Owners/Commercial Fisherman Vessel Lessees

See documentation requirements for Vessel Owner/Commercial Fisherman Vessel Lessee
Claimants under Expedited Compensation Method in Section I above.

              2.     Boat Captains

See documentation requirements for Boat Captain Claimants under Expedited Compensation
Method in Section I above.

       C.     Compensation Amounts

              1.     Vessel Owner/Commercial Fisherman Vessel Lessee Compensation

If the Claims Administrator determines that the Vessel Owner or Commercial Fisherman Vessel
Lessee has provided necessary proof of eligibility and the required documentation for a vessel,

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the Claimant shall receive the Vessel Owner/Commercial Fisherman Vessel Lessee
Compensation set forth in Table 7. The Vessel Owner/Commercial Fisherman Vessel Lessee
Compensation includes an RTP of 8.25. A Claimant may have more than one vessel and is
eligible for compensation for each vessel for which the Claimant independently satisfies the
eligibility and documentation requirements.

                                          TABLE 7

             VESSEL SIZE                           VESSEL OWNER/COMMERCIAL
                                                    FISHERMAN VESSEL LESSEE
                                                         COMPENSATION
                 <30 feet                                      n/a
                30-44 feet                                   $62,438
              45-74 feet Ice                                $145,688
            45-74 feet Freezer                              $333,000
               75+ feet Ice                                 $291,375
             > 75 feet Freezer                              $457,875

              2.     Boat Captain Compensation

If the Claims Administrator determines that the Boat Captain has provided necessary proof of
eligibility and the required documentation, the Claimant shall receive the Boat Captain
Compensation set forth in Table 8. The Boat Captain Compensation includes an RTP of 7.25.

                                          TABLE 8

             VESSEL SIZE                           BOAT CAPTAIN COMPENSATION
                 <30 feet                                       n/a
                30-44 feet                                    $49,500
              45-74 feet Ice                                  $86.625
            45-74 feet Freezer                               $198,000
               75+ feet Ice                                  $144,375
             75+ feet Freezer                                $226,875

III.   New Entrant Compensation Method

       A.      Eligibility Requirements

              1.     Vessel Owner

In order to qualify for the New Entrant Compensation Method, the Vessel Owner/Commercial
Fisherman Vessel Lessee must establish for each vessel that as of April 20, 2010:

                     a.     If the vessel is over 30 feet:

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                           i.      the Claimant owned or leased the vessel and the vessel was
                                   specifically designed for commercial shrimping, such as a
                                   trawler, freezer boat, or ice boat, and

                           ii.     the Claimant had expenditures in excess of $25,000 within
                                   12 months prior to April 20, 2010 for purchase or repair of
                                   the vessel.

                    b.     If the vessel is less than or equal to 30 feet:

                           i.      the Claimant owned or leased a vessel and intended to use
                                   the vessel predominantly as a shrimping boat, and

                           ii.     the Claimant had expenditures for the vessel on shrimping
                                   gear, such as trawls, nets, iceboxes, or winches, in excess
                                   of $6,000 within 12 months prior to April 20, 2010.

             2.     Boat Captains

A Claimant may receive Boat Captain compensation under the New Entrant Compensation
Method if the Claimant: (i) qualifies for compensation as a Vessel Owner/Commercial
Fisherman Vessel Lessee under the New Entrant Compensation Method for the same vessel and
(ii) has not submitted a separate claim for compensation as a Boat Captain under any Shrimp
Compensation Plan. Such Claimant cannot qualify as a Boat Captain for more than one vessel
under the New Entrant Compensation Method.

Additionally, a Claimant who had not previously worked as a Boat Captain for a commercial
shrimping vessel home ported in the Gulf Coast Areas may receive Boat Captain compensation
under the New Entrant Compensation Method if the Claimant provides proof:

                    a.     of an agreement entered prior to April 20, 2010 with a Vessel
                           Owner/Commercial Fisherman Vessel Lessee for employment as a
                           Boat Captain on a commercial shrimping vessel home ported in the
                           Gulf Coast Areas during April 20, 2010 to December 31, 2010 that
                           is supported by some written documentation that pre-dates April
                           20, 2010.

                    b.     information sufficient to establish the proposed compensation,
                           such as proposed start and end dates, wage rates, projected hours
                           or Boat Captain’s share of the shrimping vessel revenue, and

                    c.     that offer for employment as a Boat Captain on a commercial
                           shrimping vessel home ported in the Gulf Coast Areas was
                           rescinded or withdrawn as a result of the Deepwater Horizon Oil
                           Spill.




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                      d.      Information regarding the employer, including: (i) employer’s
                              business name, address(es), telephone number(s), website(s) (if
                              available), and a description of the nature of the business.

The Claims Administrator shall have the right to interview the Claimant and potential employer
if the Claims Administrator determines an interview is appropriate.

        B.      Documentation Required

               1.     Vessel Owner/Commercial Fisherman Vessel Lessee

Vessel Owners and Commercial Fisherman Vessel Lessees seeking compensation under the New
Entrant Compensation Method must provide documents sufficient to prove eligibility pursuant to
the applicable paragraphs of the “Generally Applicable Provisions of the Shrimp Compensation
Plan” and the eligibility requirements in Section III.A.1, and to determine compensation pursuant
to Section III.C below, including proof of (i) vessel size and type, (ii) expenditures for purchase
and/or repair of the vessel, or (iii) purchases of shrimping gear.

               2.     Boat Captains

Boat Captains seeking compensation under the New Entrant Compensation Method must provide
documents sufficient to prove eligibility pursuant to the applicable paragraphs of the “Generally
Applicable Provisions of the Shrimp Compensation Plan” and the eligibility requirements in
Section III.A.2, and to determine compensation pursuant to Section III.C below.

        C.      Compensation Amount

               1.     Vessel Owner/Commercial Fisherman Vessel Lessee

If the Claims Administrator determines that the Vessel Owner/Commercial Fisherman Vessel
Lessee has provided necessary proof of eligibility and the required documentation for a vessel,
the Claimant shall receive the Vessel Owner/Commercial Fisherman Vessel Lessee
Compensation set forth in Table 9. The Vessel Owner/Commercial Fisherman Vessel Lessee
Compensation includes an RTP of 8.25.

                                            TABLE 9

               VESSEL SIZE                           VESSEL OWNER/COMMERCIAL
                                                      FISHERMAN VESSEL LESSEE
                                                           COMPENSATION
                  <30 feet                                     $26,016
                 30-44 feet                                    $33,820
               45-74 feet Ice                                  $67,641
             45-74 feet Freezer                               $119,672
                75+ feet Ice                                  $104,063
              > 75 feet Freezer                               $145,688

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              2.     Boat Captains

If the Claims Administrator determines that a Claimant seeking compensation as a Boat Captain
has provided necessary proof of eligibility and the required documentation, the Claimant shall
receive the Boat Captain Compensation set forth in Table 10. The Boat Captain Compensation
includes an RTP of 7.25.

                                          TABLE 10

              VESSEL SIZE                          BOAT CAPTAIN COMPENSATION
                  <30 feet                                   $23,203
                 30-44 feet                                  $26,813
               45-74 feet Ice                                $40,219
             45-74 feet Freezer                              $71,156
                75+ feet Ice                                 $51,563
              75+ feet Freezer                               $72,188

IV.    Historical Revenue Method

        A.     Eligibility Requirements

              1.     Vessel Owner/Commercial Fisherman Vessel Lessee

To be eligible under the Historical Revenue Method, a Vessel Owner/Commercial Fisherman
Vessel Lessee must meet the eligibility requirements of the applicable paragraphs of the
“Generally Applicable Provisions of the Shrimp Compensation Plan” and provide evidence to
demonstrate the Claimant’s commercial shrimping revenue during the selected Benchmark
Period.

              2.     Boat Captains

To be eligible under the Historical Revenue Method, a Boat Captain must meet the eligibility
requirements of the applicable paragraphs of the “Generally Applicable Provisions of the Shrimp
Compensation Plan” and provide evidence to demonstrate the Claimant’s earnings from
commercial shrimping on vessels for which the Claimant served as Boat Captain during the
selected Benchmark Period.

        B.     Documentation Required

              1.     Vessel Owners/Commercial Fisherman Vessel Lessees

Vessel Owners/Commercial Fisherman Vessel Lessees seeking compensation under the
Historical Revenue Method must provide documents sufficient to prove the eligibility
requirements in Section IV.A and to determine compensation pursuant to Section IV.C below,
including the following:

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                a.    Trip Tickets or their equivalents for each vessel for which
                      Claimant seeks compensation, which show the volume of shrimp
                      harvested and the sales price as shown on the trip tickets or their
                      equivalents for the Benchmark Period for shrimp landed in the
                      Gulf Coast Areas.       The Claimant must provide sufficient
                      documentation for the Claims Administrator to be able to identify
                      gross revenue derived for each vessel solely for shrimp catch
                      landed in the Gulf Coast Areas during the Benchmark Period. The
                      total volume multiplied by price will be the applicable gross
                      revenue.

                      – OR –

                b.    Federal or state tax and financial information as follows:

                      i.       If Claimant is an entity, federal or state tax returns, and
                               sufficient documentation to identify those components of
                               gross revenue derived from commercial shrimp harvesting
                               by vessel for the Benchmark Period for each vessel for
                               which the Claimant submits a Vessel Owner/Commercial
                               Fisherman Vessel Lessee claim.

                      ii.      If Claimant is an individual, federal form 1040 including
                               Schedules C, E and F or state tax forms and supporting
                               documents, as well as sufficient documentation to identify
                               those components of earnings derived from commercial
                               shrimp harvesting by vessel for the Benchmark Period.

                      iii.     In addition, the Claimant must provide sufficient
                               documentation for the Claims Administrator to be able to
                               identify (i) Claimant’s revenue from shrimping as
                               compared to other sources, (ii) Claimant’s revenue from
                               landings in the Gulf Coast Areas. If necessary, the Claims
                               Administrator may require supplemental information from
                               the Claimant in order to make these determinations.

                c.    Also, the Claimant must provide documentation sufficient to
                      establish the vessel size and type for each vessel for which the
                      Claimant seeks compensation.


                d.    In addition, if available, it is requested that the Claimant also
                      provide the following documents, to assist the Claims
                      Administrator:

                      i.       Vessel log book

                      ii.      Share sheets
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                            iii.     Sales or other production reports maintained in the normal
                                     course of business.

              2.     Boat Captains

Boat Captains seeking compensation under the Historical Revenue Method must provide
documents sufficient to prove the eligibility requirements in section IV.A.2 and to determine
compensation pursuant to Section IV.C below, including the following:

                     a.     Trip tickets or their equivalents for each vessel for which Claimant
                            seeks compensation which show the volume of shrimp harvested
                            and the sales price as shown on the trip tickets or their equivalents
                            for the Benchmark Period for shrimp landed in the Gulf Coast
                            Areas. The total volume multiplied by price will be the applicable
                            gross revenue.

                            – OR –

                     b.     Federal tax returns, including Schedules C, E and F, W-2s, and
                            1099s or state tax returns with supporting documents for the
                            Benchmark Period and sufficient documentation to identify those
                            components of earnings derived from commercial shrimp
                            harvesting for the Benchmark Period for the vessel(s) selected by
                            the Claimant. In addition, the Claimant must provide sufficient
                            documentation for the Claims Administrator to be able to identify
                            revenue from shrimp landings in the Gulf Coast Areas for each
                            vessel while the Claimant was Boat Captain. If necessary, the
                            Claims Administrator may require supplemental information from
                            the Claimant in order to make these determinations.

                     c.     Also, the Claimant must provide documentation sufficient to
                            establish the vessel size and type for each vessel for which the
                            Claimant seeks compensation.

                     d.     In addition, if available, it is requested that the Claimant also
                            provide the following documents, to assist the Claims
                            Administrator:

                            i.       Captain’s log book

                            ii.      Vessel log book

                            iii.     Share sheets

                            iv.      Sales or other production reports maintained in the normal
                                     course of business



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     C.    Compensation Calculations

           1.    Calculate Benchmark Shrimp Revenue

                 a.     If trip tickets or their equivalents are used, the volume and price of
                        shrimp on the trip tickets or their equivalents are used to calculate
                        gross revenue from shrimp landed in the Gulf Coast Areas. If the
                        Claimant is a Vessel Owner/Commercial Fisherman Vessel Lessee,
                        the Claimant may provide trip tickets for the Benchmark Period for
                        each vessel for which compensation is being sought. If the
                        Claimant is a Boat Captain, the Claimant may provide trip tickets
                        or their equivalents for all vessels the Claimant served as a Captain
                        during the Benchmark Period.

                        – OR –

                 b.     The Claims Administrator may determine the gross vessel revenue
                        or Boat Captain earnings from shrimp landings in the Gulf Coast
                        Areas based on the Claimant’s tax returns, monthly profit and loss
                        statements, or financial information if the Claims Administrator
                        has sufficient information to determine: (i) Claimant’s revenue
                        from shrimping as compared to other sources, and (ii) Claimant’s
                        revenue from shrimp landings in the Gulf Coast Areas.           If
                        necessary, the Claims Administrator may require supplemental
                        information from the Claimant in order to make these
                        determinations.

           2.    Calculate Additional Catch Adjusted Benchmark Shrimp Revenue by
                 multiplying Benchmark Shrimp Revenue by the Additional Catch Factor.
                 The Additional Catch Factor is presented in Table 11 and is intended to
                 compensate for lost undocumented catch and in-kind payments.

 Additional Catch Adjusted Benchmark Shrimp Revenue = (Benchmark Shrimp Revenue *
                               Additional Catch Factor)

                                       TABLE 11

                   VESSEL SIZE                 ADDITIONAL CATCH
                                                    FACTOR
                       <30 feet                       1.25
                      30-44 feet                      1.20
                    45-74 feet Ice                    1.15
                  45-74 feet Freezer                  1.05
                     75+ feet Ice                     1.05
                   75+ feet Freezer                   1.05


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            3.    Calculate Total Adjusted Benchmark Shrimp Revenue by multiplying the
                  Additional Catch Adjusted Benchmark Shrimp Revenue by 1.2, the
                  Adjustment for Changes in 2010-11 Prices.

Total Adjusted Benchmark Shrimp Revenue = (Additional Catch Adjusted Benchmark Shrimp
                  Revenue * Adjustment for Changes in 2010-11 Prices).

            4.    If (i) the Claimant is a Vessel Owner/Commercial Fisherman Vessel
                  Lessee or (ii) the Claimant is a Boat Captain and Benchmark Revenue was
                  calculated using trip tickets or their equivalents, calculate Benchmark
                  Shrimp Cost. Benchmark Shrimp Cost is calculated by multiplying
                  Benchmark Shrimp Revenue by the Shrimp Cost Percentage. The Shrimp
                  Cost Percentage, presented in Table 12, is expressed as a percentage of
                  revenue and reflects standard industry non-labor variable costs. If the
                  Claimant is a Boat Captain and Benchmark Revenue was calculated based
                  upon his earnings, such as from tax return or financial information, then
                  no Shrimp Cost Percentage is applied, skip to step 5.

    Benchmark Shrimp Cost = (Benchmark Shrimp Revenue * Shrimp Cost Percentage)

                                        TABLE 12

                    VESSEL SIZE                     SHRIMP COST
                                                    PERCENTAGE
                        <30 feet                        42%
                       30-44 feet                       39%
                     45-74 feet Ice                     39%
                   45-74 feet Freezer                   42%
                      75+ feet Ice                      54%
                    75+ feet Freezer                    52%

            5.    Calculate the Base Shrimp Loss using the Shrimp Loss Percentage of
                  35%.

                  a.     If (i) the Claimant is a Vessel Owner/Commercial Fisherman
                         Vessel Lessee or (ii) the Claimant is a Boat Captain and Total
                         Adjusted Benchmark Shrimp Revenue was calculated using trip
                         tickets or their equivalents, the Base Loss is calculated as follows:

      Base Shrimp Loss = (Total Adjusted Benchmark Shrimp Revenue – Benchmark Shrimp
                                      Cost) * 35%




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                   b.     If the Claimant is a Boat Captain and Total Adjusted Benchmark
                          Shrimp Revenue was calculated using a different source than trip
                          tickets or their equivalents, the Base Loss is calculated as follows:

          Base Shrimp Loss = Total Adjusted Benchmark Shrimp Revenue * 35%

            6.     Determine Base Compensation by multiplying Base Shrimp Loss by the
                   appropriate Vessel Owner/Commercial Fisherman Vessel Lessee or Boat
                   Captain share. Vessel Owner and Boat Captain shares differ by boat size
                   and type and are presented in Table 13.

                   a.     Base Compensation for Vessel Owners/Commercial Fisherman
                          Vessel Lessees is calculated as:

              Base Compensation = Base Shrimp Loss * Shrimp Vessel Share

                   b.     Base Compensation for Shrimp Boat Captains is calculated as:

                          i.     If Shrimp Boat Captain Compensation is calculated based
                                 on trip tickets then the Base Compensation for Shrimp Boat
                                 Captains is calculated as:

          Base Compensation = Base Shrimp Loss * Shrimp Boat Captain Share

                          ii.    If Shrimp Boat Captain Compensation is calculated based
                                 on tax returns and financial records, then the Base
                                 Compensation for Shrimp Boat Captains is calculated as:

                         Base Compensation = Base Shrimp Loss


                                       TABLE 13

VESSEL TYPE AND SIZE               SHRIMP VESSEL               SHRIMP BOAT CAPTAIN
                                OWNER/COMMERCIAL                      SHARE
                                 FISHERMAN VESSEL
                                    LESSEE SHARE
         <30 feet                        45%                                45%
        30-44 feet                       45%                                40%
      45-74 feet Ice                     45%                                30%
    45-74 feet Freezer                   45%                                30%
       75+ feet Ice                      45%                                25%
     75+ feet Freezer                    45%                                25%




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              7.     Apply the RTP to Base Compensation in order to determine Final
                     Compensation. Base Compensation is specific to Claimant type and is
                     found in Table 14.

           Final Compensation = Base Compensation + (Base Compensation * RTP)

                                        TABLE 14

                                      VESSEL                        BOAT CAPTAINS
                                OWNERS/COMMERCIAL
                                 FISHERMAN VESSEL
                                      LESSEES
            RTP                         8.25                                7.25


V.     Vessel Lease Compensation Allocation

To the extent the vessel was leased by the Vessel Owner to the Commercial Fisherman Vessel
Lessee as of April 20, 2010, compensation will be allocated between the parties based upon
Benchmark Revenue, as calculated above and Annual Lease Payment. The Annual Lease
Payment shall be calculated as the annual payment to the Vessel Owner by the Commercial
Fisherman Vessel Lessee for the lease in effect as of April 20, 2010. The ratio of the Annual
Lease Payment to Benchmark Revenue multiplied by the Final Compensation determines the
Vessel Owner Share of Final Compensation. The Commercial Fisherman Vessel Lessee’s Share
of Compensation is Final Compensation less the Vessel Owner’s Share of Final Compensation.

Vessel Owner Share of Final Compensation = Final Compensation * (Annual Lease Payment /
Benchmark Revenue)

Commercial Fisherman Vessel Lessee’s Share of Final Share of Compensation = Final
Compensation - Vessel Owner Share of Final Compensation.




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                             OYSTER COMPENSATION PLAN

The Oyster Compensation Plan provides compensation to Oyster Leaseholders and Oyster
Harvester Claimants. Oyster Harvesters eligible under the Oyster Compensation Plan are (i)
Seafood Vessel Owners, (ii) Oyster Harvester lessees of Seafood Vessels, and (iii) Seafood Boat
Captains. Oyster Leaseholders can submit Leaseholder Property Claims and/or Leaseholder Lost
Income Claims. Oyster Harvesters can submit Harvester Lost Income Claims. A single
Claimant can qualify as both an Oyster Leaseholder and an Oyster Harvester. Compensation
plans for each of these claim types are set forth below.

In some instances, Oyster Leaseholders earn income solely from allowing another natural person
or entity to harvest oysters from their oyster leaseholds. In other instances, Oyster Leaseholders
may be combined such that they both own oyster leaseholds and harvest from those and other
leaseholds. For purposes of the Oyster Compensation Plan, Claimants should submit claims
reflecting both their harvesting and leaseholder claims together. A combined Oyster
Leaseholder/Oyster Harvester is eligible for compensation as both an Oyster Leaseholder and an
Oyster Harvester.

Generally Applicable Provisions of the Oyster Compensation Plan:

1.     Eligible Claimants shall be comprised of Class Members (i) who do not fall within the
       exclusions to the Economic Loss and Property Class Definitions; (ii) who are Oyster
       Leaseholders or Oyster Harvesters; and (iii) who meet the following additional criteria.

2.     An Oyster Leaseholder Claimants shall be an entity or individual with an oyster leasehold
       interest.

3.     Oyster Leaseholder Claimants are eligible to receive compensation for leaseholds that are
       located within Zone A, B or C as reflected on the Oyster Leasehold Compensation Zone
       Map attached hereto, as Exhibit 1. Oyster Harvesters are eligible to receive
       compensation for oysters landed in the Gulf Coast Areas.

4.     It is understood that in some instances, the Vessel Owner is also the Oyster Harvester;
       however, it may be the case that the Vessel Owner leased the vessel to an Oyster
       Harvester Vessel Lessee. In those instances where the vessel was leased during the time
       period of April 20, 2010 to December 31, 2010, the Vessel Owner and Oyster Harvester
       Vessel Lessee must file the vessel claim jointly in order to receive compensation prior to
       the Bar Date, and they shall share any Vessel Owner/Oyster Harvester Vessel Lessee
       compensation provided for in this Oyster Compensation Plan. If at the time of the Bar
       Date either the Vessel Owner or the Oyster Harvester Vessel Lessee has not filed a claim,
       the one that has filed the claim shall receive the full Vessel Owner/Oyster Harvester
       Vessel Lessee compensation for the vessel. The allocation of compensation between
       Vessel Owner and Oyster Harvester Vessel Lessee shall be determined as provided in
       Section 4. If the vessel was not leased to an Oyster Harvester Vessel Lessee during the
       time period of April 20, 2010 to December 31, 2010, the Vessel Owner is entitled to the
       full share of the Vessel Owner/ Oyster Harvester Vessel Lessee compensation.



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5.    It is understood that in some instances, the Vessel Owner or the Oyster Harvester Vessel
      Lessee is also the Boat Captain. In those instances where the Vessel Owner and/or the
      Oyster Harvester Vessel Lessee were also the Boat Captain, the Claimant shall be eligible
      to receive the Boat Captain compensation under the Oyster Compensation Plan as set
      forth below. If the Vessel Owner and/or Oyster Harvester Vessel Lessee employed a
      Boat Captain on the vessel and did not serve as a Boat Captain on that vessel, the hired
      Boat Captain is eligible for the Boat Captain compensation, not the Vessel Owner or
      Oyster Harvester Vessel Lessee.

6.    To establish eligibility to participate in the Oyster Compensation Plan, an Oyster
      Leaseholder Claimant must provide:

      A.     Valid oyster lease entered into by Claimant that establishes, as of April 20, 2010,
             the Claimant as the lessee of the oyster leasehold, or a copy of the actual title for
             the leasehold. Claimants are required to provide documentation that their
             leasehold interest is in good standing, such as proof of renewal.

      B.     Information sufficient to ascertain the geographic boundaries of the oyster
             leasehold, including the oyster lease ID number.

7.    To establish eligibility to participate in the Oyster Compensation Plan, a Vessel Owner
      Claimant must provide for each vessel for which the Claimant is seeking compensation:

      A.     Proof of ownership of the vessel during the time period of April 20, 2010 to
             December 31, 2010.

      B.     Proof that as of April 20, 2010 there was a government license (even if it had
             expired as of that date) that authorized that vessel to harvest and land oysters in
             the Gulf Coast Areas for the 2009 season or the 2010 season.

      C.     The vessel name and any applicable federal and/or state vessel registration
             identification numbers.

      D.     Proof that the vessel landed oysters in the Gulf Coast Areas in 2009 or 2010. For
             example, this can be demonstrated using trip tickets (or equivalent documents
             such as dealer forms) or Federal or state tax returns.

      E.     A sworn statement attesting as to whether or not the vessel was leased during the
             time period April 20, 2010 to December 31, 2010. If the vessel was leased during
             this time period, the Vessel Owner must provide a copy of the lease agreement.

8.    To establish eligibility to participate in the Oyster Compensation Plan, an Oyster
      Harvester who leases a Seafood Vessel (Oyster Harvester Vessel Lessee) must provide
      for each vessel for which the Claimant is seeking compensation:

      A.     Proof that during the time period of April 20, 2010 to December 31, 2010 the
             Claimant leased a vessel to be used for oyster harvesting.


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          B.      Proof that as of April 20, 2010 there was a government license (even if it had
                  expired as of that date) that authorized the vessel to harvest and land oysters in the
                  Gulf Coast Areas for the 2009 season or the 2010 season.

          C.      Proof that the vessel landed oysters in the Gulf Coast Areas in 2009 or 2010. For
                  example, this can be demonstrated using trip tickets (or equivalent documents
                  such as dealer forms) or Federal or State tax returns.

          D.      A sworn statement attesting that the Claimant leased the vessel from the Vessel
                  Owner during the time period of April 20, 2010 to December 31, 2010. The
                  Oyster Harvester Vessel Lessee must also provide a copy of the lease agreement.

9.        Oyster Boat Captain Claimants must provide:

          A.      Proof that as of April 20, 2010 the Boat Captain held a governmental license
                  (even if it had expired before that date) authorizing the Claimant to operate as a
                  Boat Captain and/or to commercially harvest and land oysters in the Gulf Coast
                  Areas.

          B.      Proof that Claimant landed oysters in the Gulf Coast Areas in 2009 or 2010. This
                  can be demonstrated using trip tickets (or equivalent documents such as dealer
                  forms) or federal or state tax returns.

10.       A Sworn Statement attesting whether or not the Claimant received any Seafood Spill-
          Related Payments. If the Claimant received Seafood Spill-Related Payments, the
          Claimant shall provide documents7 sufficient to establish the timing, amount and source
          of Seafood Spill-Related Payments, including documents providing the claimant’s
          BP/GCCF/Transition Facility Claim Number, if applicable, and any corresponding
          payments:

Oyster Compensation Plan Methods Available:

There are two types of claims available to Oyster Leaseholders:

      •   Leaseholder Interest Compensation

      •   Leaseholder Lost Income Compensation

There is one type of claim available to Oyster Harvesters:

      •   Historical Revenue Compensation




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      When documents are requested in the Seafood Compensation Program, Claimant may provide either legible
      copies or originals of the documents.


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A given Claimant may submit claims for more than one form of compensation, for example a
combined Oyster Leaseholder/Oyster Harvester may submit claims for all three forms of
compensation.

Oyster Compensation Plan Definition:

The Benchmark Period for the Claimant is the combination of 2007, 2008 and 2009. All
calculations of Benchmark Period revenues, costs or payments use the average of annual figures
across 2007, 2008 and 2009. In the event that a Claimant entered the oyster industry after 2007,
then the Benchmark Period will include all full years since the Claimant entered the oyster
harvesting industry, so 2008-2009 or 2009. In the event the Claims Administrator determines
that the Claimant (individual or vessel) did not participate at the same level of effort in oyster
harvesting due to circumstances beyond the Claimant’s control (such as illness, disability or
major mechanical failure), the Claims Administrator may at his discretion allow the Claimant to
exclude one or more years of the Benchmark Period.

                        1. Oyster Leaseholder Interest Compensation

Oyster Leaseholder Interest Compensation provides all eligible Oyster Leaseholders with
compensation on a per acre basis for their leaseholds. Compensation shall be determined by the
geographic location of the oyster leasehold as set forth below.

1.1    Eligibility for Oyster Leaseholder Property Claim

Eligible leaseholds are those located within Zone A, B or C as reflected on the Oyster Leasehold
Compensation Zone Map.

1.2    Documentation Requirement for Oyster Leaseholder Interest Compensation

The Oyster Leaseholder must provide the documentation required under the Generally
Applicable Provisions of the Oyster Compensation Plan.

1.3    Calculation of Oyster Leaseholder Interest Compensation

The Oyster Leaseholder Claimant shall receive compensation on a per acre basis based upon
where the lease is located on the Oyster Leaseholder Compensation Zone Map. The per acre
compensation amounts for each zone are as follows:

       Zone A:        $2,000

       Zone B:        $1,000

       Zone C:        $400

If a lease crosses two zones, compensation will be determined based on the number of acres of
the lease in each zone. For example, if a lease covers 20 acres in Zone A and 30 acres in
Zone B, then compensation will be calculated as: (20 acres * $2,000) + (30 acres * $1,000) =
$70,000.

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The per acre payment is not subject to any RTP.

                     2. Oyster Leaseholder Lost Income Compensation

The Oyster Leaseholder Lost Income Compensation provides eligible Oyster Leaseholders with
compensation for income earned through payments from another natural person or entity that
harvests oysters on their leases. This Section 2 describes compensation for an Oyster
Leaseholder that is not also an Oyster Vessel Owner/Oyster Harvester Vessel Lessee. If the
Oyster Leaseholder is also a Vessel Owner/Oyster Harvester Vessel Lessee, the Oyster
Leaseholder shall receive compensation for a combined Oyster Leaseholder and Vessel
Owner/Oyster Harvester Vessel Lessee, as described in Section 3.5.

2.1    Eligibility Requirements for Oyster Leaseholder Lost Income Claims

Oyster Leaseholder Claimants who meet the eligibility requirements set forth in the applicable
paragraphs of the “Generally Applicable Provisions of the Oyster Compensation Plan” and
Section 1.1 above are eligible to receive Oyster Leaseholder Lost Income Claims Compensation.

2.2    Documentation Requirements for Oyster Leaseholder Lost Income Claims

To receive Oyster Leaseholder Lost Income Compensation, a Claimant must provide:

       A.      Tax returns, financial statements or business documents establishing revenue
               earned by the Claimant during the Benchmark Period from another natural person
               or entity that harvests oysters on their leaseholds located in Zones A, B or C, as
               reflected on the Oyster Leasehold Compensation Zone Map.

       B.      Contracts or agreements between the Oyster Leaseholder and another natural
               person or entity that harvests oysters from their leaseholds located in Zones A, B
               or C, as reflected on the Oyster Leasehold Compensation Zone Map.

In addition, if available, it is requested that the Claimant also provide the following documents,
to assist the Claims Administrator:

       A.      A list of all Oyster Harvesters who harvested oysters on Claimant’s leasehold(s)
               during 2007 through 2009.

2.3    Calculation of Oyster Leaseholder Lost Income Compensation

For all Oyster Leaseholder Claimants, the Oyster Leaseholder Lost Income Compensation is
calculated as follows:

       A.      Calculate Benchmark Revenue as the average annual revenue earned by the
               Claimant during the Benchmark Period from other natural people or entities that
               harvest oysters on the Claimant’s leaseholds that are located in Zones A, B or C,
               as reflected on the Oyster Leasehold Compensation Zone Map.




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       B.      Calculate Total Adjusted Benchmark Revenue by multiplying Benchmark
               Revenue by 1.1, the Adjustment For Changes in 2010-11 Prices.

                Total Adjusted Benchmark Revenue = Benchmark Revenue * 1.1

       C.      Calculate Base Compensation as Total Adjusted Benchmark Revenue multiplied
               by the Oyster Loss Percentage of 40%.

                   Base Compensation = Total Adjusted Benchmark Revenue * 40%

       D.      Apply an RTP of 8.75 to Base Compensation in order to determine Final
               Compensation.

            Final Compensation = Base Compensation + (Base Compensation * 8.75)

                                          TABLE 1

               Example of Compensation Calculation for Hypothetical Oyster
                           Leaseholder Lost Income Claimant

            Inputs
            Benchmark Revenue                          [A]                     $20,000
            Adjustment for Changes in 2010-2011
            Prices                                     [B]                        1.10
            Oyster Loss Percentage                     [C]                        40%
            RTP                                        [D]                        8.75

            Calculation
            Total Adjusted Benchmark Revenue           [E] = [A] * [B]         $22,000
            Base Compensation                          [F] = [E] * [C]          $8,800
            Final Compensation                         [G] = [F] + [F] * [D]   $85,800

                      3. Oyster Harvester Lost Income Compensation

An Oyster Harvester Claimant may seek compensation for the Claimant’s economic loss from
oyster harvesting by establishing historical revenue generated by Oyster Harvesting. Section 3.3
describes calculation of compensation for an oyster Boat Captain, Section 3.4 describes
calculation of compensation for a Vessel Owner/Oyster Harvester Vessel Lessee that is not also
an Oyster Leaseholder. If a Vessel Owner/Oyster Harvester Vessel Lessee is also an Oyster
Leaseholder, Section 3.5 describes the calculation of both Oyster Leaseholder Lost Income and
Oyster Harvester Lost Income for that Claimant.




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3.1    Eligibility and Documentation – Boat Captain

To be eligible to receive compensation for lost oyster harvesting earnings, a Boat Captain
Claimant (i) must meet the applicable paragraphs of the Generally Applicable Provisions of the
Oyster Compensation Plan and (ii) provide evidence to document the oyster harvesting revenue
earned by vessels on which the Claimant served as Boat Captain, or the earnings the Claimant
earned as Boat Captain of oyster harvesting vessels, during the Benchmark Period. This revenue
must be established using:

       A.      Trip tickets (or equivalent documents such as dealer forms) for each vessel for
               which Claimant seeks compensation which show the volume of oysters harvested
               and the sales price for the Benchmark Period for oysters landed in the Gulf Coast
               Areas. The total volume multiplied by the price will be the applicable gross
               revenue.

               -OR-

       B.      Federal or state tax returns, including Schedules C, E and F, W-2s, and 1099s for
               the Benchmark Period and sufficient documentation to identify those components
               of earnings derived from oyster harvesting for the Benchmark Period for the
               vessel(s) selected by the Claimant. In addition, the Claimant must provide
               sufficient documentation for the Claims Administrator to be able to identify
               revenue from oyster landings in the Gulf Coast Areas for each vessel while the
               Claimant was Boat Captain. If necessary, the Claims Administrator may require
               supplemental information from the Claimant in order to make these
               determinations.

In addition, if available, it is requested that the Claimant also provide the following documents to
assist the Claims Administrator:

       A.      Captain’s Log Book

       B.      Share Sheets

       C.      Vessel name and any applicable federal and/or state vessel registration
               identification numbers for any vessels the Claimant captained during the
               Benchmark Period

3.2    Eligibility and Documentation: Seafood Vessel Owner – Oyster Harvester Vessel
Lessee

To be eligible to receive compensation for lost harvesting income, a Vessel Owner/Oyster
Harvester Vessel Lessee must meet the eligibility requirements set forth in the applicable
paragraphs of the “Generally Applicable Provisions of the Oyster Compensation Plan” and
provide evidence to document harvesting revenue and certain costs associated with oyster
harvesting during their Benchmark Period for landings in the Gulf Coast Areas. Oyster



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harvesting gross revenue earned by Claimants during their Benchmark Period must be
established using:

        A.     Trip tickets (or equivalent documents such as dealer forms) for each vessel for
               which Claimant seeks compensation which show the volume of oysters harvested
               and the sales price for the Benchmark Period for oysters landed in the Gulf Coast
               Areas. The total volume multiplied by the price will be the applicable gross
               revenue.

               -OR-

        B.     Federal or state tax forms and financial information as follows:

               1.      If a Claimant is an entity, federal or state tax returns, and sufficient
                       documentation to identify those components of gross revenue derived
                       from oyster harvesting by vessel for the Benchmark Period for landings in
                       the Gulf Coast Areas for each vessel for which the Claimant submits a
                       Vessel Owner/Oyster Harvester Vessel Lessee claim.

               2.      If the Claimant is an individual, federal form 1040 including Schedules C,
                       E and F or state tax forms with supporting documents as well as sufficient
                       documentation to identify components of earnings derived from oysters
                       landed in the Gulf Coast Areas by vessel for the Benchmark Period.

               3.      In addition, the Claimant must provide sufficient documentation for the
                       Claims Administrator to be able to identify Claimant’s revenue from
                       oyster harvesting in the Gulf Coast Areas as compared to other sources of
                       revenue.     If necessary, the Claims Administrator may require
                       supplemental information from the Claimant in order to make these
                       determinations.

In addition, if available, it is requested that the Claimant also provide, for each vessel for which
the Claimant is seeking compensation, the following documents to assist the Claims
Administrator:

               1.      Vessel Log Book

               2.      Share Sheets

               3.      Names and periods of employment of Boat Captains employed on the
                       vessel during 2007, 2008 and 2009

3.3.1   Calculation of Harvester Lost Income Compensation for Boat Captains for Captains
        Using Trip Tickets to Document Claims

        A.     Calculate average annual revenue in Benchmark Period for (i) oysters harvested
               from public grounds (Public Benchmark Harvest Revenue) and (ii) oysters
               harvested from private leaseholds (Private Benchmark Harvest Revenue). Public

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            Benchmark Harvest Revenue and Private Benchmark Harvest Revenue shall be
            separately calculated as described above in 3.1. If the Claimant does not have
            information sufficient to establish the split between revenue from oysters
            harvested on public grounds and oysters harvested on private leaseholds, all
            oyster harvesting revenue shall be assumed to have come from private leaseholds.

     B.     Calculate Total Adjusted Benchmark Revenue by multiplying the sum of Public
            Benchmark Harvest Revenue and Private Benchmark Harvest Revenue by 1.1, the
            Adjustment For Changes in 2010-11 Prices.

    Total Adjusted Benchmark Revenue = (Public Benchmark Harvest Revenue + Private
                          Benchmark Harvest Revenue) * 1.1

     C.     Determine Variable Harvest Cost by multiplying the sum of Public Benchmark
            Revenue and Private Benchmark Revenue by 12%. If the Claimant establishes
            Benchmark Revenue through individual income tax forms, Variable Harvest Cost
            shall be zero ($0).

 Variable Harvest Cost = (Public Benchmark Revenue + Private Benchmark Revenue) * 12%

     D.     Calculate Leaseholder Payment Cost by multiplying Private Benchmark Revenue
            by Leaseholder Payment Percentage of 33%. If the Claimant establishes
            Benchmark Revenue through individual income tax forms, Variable Harvest Cost
            shall be zero ($0).

             Leaseholder Payment Cost = Private Benchmark Revenue * 33%

     E.     Calculate Base Harvest Margin as Total Adjusted Benchmark Oyster Revenue
            less Variable Harvest Cost and Leaseholder Payment Cost.

Base Harvest Margin = Total Adjusted Benchmark Oyster Revenue – Variable Harvest Cost –
                               Leaseholder Payment Cost

     F.     Determine Base Harvest Loss by multiplying Base Harvest Margin by Oyster
            Loss Percentage of 40%.

                     Base Harvest Loss = Base Harvest Margin * 40%

     G.     Multiply Base Harvest Loss by Boat Captain Share of 40% to determine Base
            Compensation.

                     Base Compensation = Base Harvest Loss * 40%

     H.     Apply an RTP of 7.75 to Base Compensation in order to determine Final
            Compensation.

          Final Compensation = Base Compensation + (Base Compensation * 7.75)


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                                         TABLE 2

   Example of Compensation Calculation for Hypothetical Boat Captain Harvester Lost
                      Income Claimant Who Uses Trip Tickets

   Inputs
   Public Benchmark Harvest Revenue                    [A]                        $50,000
   Private Benchmark Harvest Revenue                   [B]                       $100,000
   Adjustment for Changes in 2010-2011 Prices          [C]                           1.10
   Variable Harvest Cost Percentage                    [D]                           12%
   Leaseholder Payment Percentage                      [E]                           33%
   Oyster Loss Percentage                              [F]                           40%
   Boat Captain Share                                  [G]                           40%
   RTP                                                 [H]                           7.75

   Calculation
   Total Adjusted Benchmark Revenue                    [I] = ([A] + [B]) * [C]   $165,000
   Variable Harvest Cost                               [J] = ([A] + [B]) * [D]    $18,000
   Leaseholder Payment Cost                            [K] = [B] * [E]            $33,000
   Base Harvest Margin                                 [L] = [I] - [J] - [K]     $114,000
   Base Harvest Loss                                   [M] = [L] * [F]            $45,600
   Base Compensation                                   [N] = [M] * [G]            $18,240
   Final Compensation                                  [O] = [N] + [N] * [G]     $159,600


3.3.2   Calculation of Harvester Lost Income Compensation for Boat Captains for Captains
        Using Tax Returns and/or Financial Records to Document Claims.

        A.     Calculate Average Earnings in Benchmark Period for oysters landed in the Gulf
               Coast Areas.

        B.     Calculate Total Adjusted Earnings in Benchmark Period by multiplying Average
               Earnings in Benchmark Period by 1.1, the Adjustment For changes in 2010-11
               Prices.

        C.     Determine Base Earnings Loss by multiplying total Adjusted Earnings in
               Benchmark Period by Oyster Loss Percentage of 40%.

        Base Earnings Loss = Total Adjusted Earnings in Benchmark Period * 40%

        D.     Apply at RTP of 7.75 to Base Earnings Loss to determine Final Compensation

        Final Compensation = Base Earnings Loss + (Base Earnings Loss * 7.75)


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3.4  Calculation of Harvester Lost Income Compensation for Oyster Vessel
Owners/Oyster Harvester Vessel Lessees that Are Not Oyster Leaseholders

This Section 3.4 describes compensation for an Oyster Vessel Owner/Oyster Harvester Vessel
Lessee that is not also an Oyster Leaseholder.

       A.     Calculate average annual revenue in Benchmark Period for (i) oysters harvested
              from public grounds (Public Benchmark Harvest Revenue) and (ii) oysters
              harvested from private leaseholds (Private Benchmark Harvest Revenue). Public
              Benchmark Harvest Revenue and Private Benchmark Harvest Revenue shall be
              separately calculated as described above in 3.2. If the Claimant does not have
              information sufficient to establish the split between revenue from public grounds
              and private leaseholds, all oyster harvesting revenue shall be assumed to have
              come from private leaseholds.

       B.     Calculate Total Adjusted Benchmark Revenue by multiplying the sum of Public
              Benchmark Harvest Revenue and Private Benchmark Harvest Revenue by 1.1, the
              Adjustment For Changes in 2010-11 Prices.


     Total Adjusted Benchmark Revenue = (Public Benchmark Harvest Revenue + Private
                           Benchmark Harvest Revenue) * 1.1

       C.     Determine Variable Harvest Cost by multiplying the sum of Public Benchmark
              Revenue and Private Benchmark Revenue by 12%.

  Variable Harvest Cost = (Public Benchmark Revenue + Private Benchmark Revenue) * 12%

       D.     Determine Leaseholder Payment Cost by multiplying Private Benchmark
              Revenue by Leaseholder Payment Percentage of 33%.

               Leaseholder Payment Cost = Private Benchmark Revenue * 33%

       E.     Calculate Base Margin as Total Adjusted Benchmark Revenue less Variable
              Harvest Cost and Leaseholder Payment Cost.

     Base Harvest Margin = Total Adjusted Benchmark Revenue – Variable Harvest Cost –
                                 Leaseholder Payment Cost

       F.     Determine Base Harvest Loss by multiplying Base Harvest Margin by Oyster
              Loss Percentage of 40%.

                      Base Harvest Loss = Base Harvest Margin * 40%

       G.     Multiply Base Harvest Loss by Vessel Owner Share of 40% to determine Base
              Compensation.

                       Base Compensation = Base Harvest Loss * 40%

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       H.     Apply an RTP of 8.75 to Base Compensation in order to determine Final
              Compensation.

            Final Compensation = Base Compensation + (Base Compensation * 8.75)

                                      TABLE 3
       Example of Compensation Calculation for Hypothetical Vessel Owner / Oyster
                               Harvester Vessel Lessee
                          Harvester Lost Income Claimant

      Inputs
      Public Benchmark Harvest Revenue             [A]                          $50,000
      Private Benchmark Harvest Revenue            [B]                         $100,000
      Adjustment for Changes in 2010-2011 Prices   [C]                             1.10
      Variable Harvest Cost Percentage             [D]                             12%
      Leaseholder Payment Percentage               [E]                             33%
      Oyster Loss Percentage                       [F]                             40%
      Vessel Owner Share                           [G]                             40%
      RTP                                          [H]                             8.75

      Calculation
      Total Adjusted Benchmark Revenue             [I] = ([A] + [B]) *[C]      $165,000
      Variable Harvest Cost                        [J] = ([A] + [B]) * [D]      $18,000
      Leaseholder Payment Cost                     [K] = [B] * [E]              $33,000
      Base Harvest Margin                          [L] = [I] - [J] - [K]       $114,000
      Base Harvest Loss                            [M] = [L] * [F]              $45,600
      Base Compensation                            [N] = [M] * [G]              $18,240
      Final Compensation                           [O] = [N] + [N] * [H]       $177,840


3.5    Calculation of Harvester Lost Income Compensation for Oyster Vessel
       Owners/Oyster Harvester Vessel Lessees that are also Oyster Leaseholders

This section explains compensation for the Oyster Harvester that is also an Oyster Leaseholder
and includes compensation for a Claimant’s role as an Oyster Leaseholder and a Vessel
Owner/Oyster Harvester Vessel Lessee. If the Claimant is also a Boat Captain, the Claimant can
receive compensation based on the Boat Captain Compensation framework described in Section
3.3 above.

Compensation for an Oyster Leaseholder/Vessel Owner/Oyster Harvester Vessel Lessee’s role as
an Oyster Leaseholder and Vessel Owner/Oyster Harvester Vessel Lessee depends on Claimant’s
Total Benchmark Revenue less Total Benchmark Costs.

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Total Benchmark Revenue includes four types of revenues received by Claimant:

     •   Oyster Leaseholder Revenue, which reflects revenue received from another natural
         person or entity that harvests oysters on the Claimant’s leaseholds;
     •   Own Lease Harvest Revenue, which reflects revenue received from oysters harvested by
         Claimant on the Claimant’s leaseholds;
     •   Harvest Revenue from other private leaseholds, which reflects revenue received from
         oysters harvested from private leaseholds owned by others; and
     •   Public Harvest Revenue, which reflects revenue received from harvests from public
         oyster grounds.

Total Benchmark Cost includes three types of costs incurred by Claimant:

     •   Variable Harvest Cost
     •   Payments to Other Leaseholders as compensation for oysters harvested from their leases
     •   Payments to Boat Captains and Seafood Crew

The following steps describe calculation of compensation for Oyster Vessel Owners/Oyster
Harvester Vessel Lessees that are also Oyster Leaseholders. The calculation is summarized in
Table 4 below. Exhibit 2 presents a table summarizing the approach in additional detail and
includes a further example summarizing compensation for Lost Leaseholder Income and Lost
Harvester income when the claimant also acts as the sole Boat Captain.

Calculate Revenue:

1.       Calculate Oyster Leaseholder Benchmark Revenue which reflects revenue received from
         other harvesters as payment for oysters harvested from the claimant’s lease. Calculate
         Adjusted Oyster Leaseholder Benchmark Revenue as 1.1*Oyster Leaseholder
         Benchmark Revenue

2.       Calculate harvest revenues:

         A.     Calculate Private Benchmark Harvest Revenue, which reflects revenue generated
                from oysters harvested on private leaseholds, including leaseholds owned by the
                Claimant and leaseholds owned by others. Calculate Adjusted Private Benchmark
                Harvest Revenue as 1.1*Private Benchmark Harvest Revenue

         B.     Calculate Public Benchmark Harvest Revenue, which reflects revenue generated
                from oysters harvested on public grounds and Adjusted Public Benchmark
                Harvest Revenue as 1.1*Public Benchmark Harvest Revenue

         C.     Calculate Adjusted Total Harvest Benchmark Revenue as the sum of Adjusted
                Private Benchmark Harvest Revenue and Adjusted Public Benchmark Harvest
                Revenue.



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3.    Calculate Adjusted Total Benchmark Revenue as the sum of Adjusted Total Benchmark
      Harvest Revenue and Adjusted Oyster Benchmark Leaseholder Income.

Calculate Costs:

1.    Calculate Variable Harvest Cost as 12% multiplied by the sum of (i) Public Benchmark
      Harvest Revenue and (ii) Private Benchmark Harvest Revenue.

2.    Calculate Estimated Total Leaseholder Costs as Adjusted Benchmark Private Harvest
      Revenue *33%

3.    Calculate or estimate Claimant’s Lease Payments to Other Leaseholders based on tax
      returns, financial statements and business records provided by Claimant.

4.    Calculate Payments to Boat Captains and Seafood Crew

      A.     Calculate Claimant’s Adjusted Total Benchmark Harvest Revenue, minus
             Variable Harvest Cost, minus Estimated Total Leaseholder Costs

      B.     Multiply by 60% to determine Payments to Boat Captains and Seafood Crew

5.    Calculate Total Cost as Variable Harvest Cost plus Claimants’ Lease Payments to Other
      Leaseholders plus Payments to Boat Captains and Seafood Crew

Calculate Final Compensation:

1.    Calculate Total Margin as Adjusted Total Benchmark Revenue minus Total Cost

2.    Calculate Base Compensation as Total Margin multiplied by Oyster Loss Percentage of
      40%.

3.    Apply an RTP of 8.75 to Base Compensation in order to determine Final Compensation.

           Final Compensation = Base Compensation + (Base Compensation * 8.75)




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                                    TABLE 4

Example of Compensation Calculation for Hypothetical Oyster Leaseholder / Oyster
                               Harvester Claimant
         Calculation Determines Compensation for Lost Leaseholder Income
                            and Lost Harvester Income


Oyster Leaseholder Benchmark Revenue              [A]                     $10,000

Adjusted Oyster Leaseholder Benchmark             [B]=[A]*1.1             $11,000
Revenue

Private Benchmark Harvest Revenue                 [C]                     $75,000

Adjusted Private Benchmark Harvest Revenue        [D]=[C]*1.1             $82,500

Public Benchmark Harvest Revenue                  [E]                     $25,000

Adjusted Public Benchmark Harvest Revenue         [F]=[E]*1.1             $27,500

Adjusted Total Benchmark Harvest Revenue          [G]=[D]+[F]             $110,000

Adjusted Total Benchmark Revenue                  [H]=[B]+[G]             $121,000

Variable Harvest Cost                             [I]=([C]+[E])*12%       $12,000

Estimated Total Leaseholder Cost                  [J]=[D]*33%             $27,225

Claimants Lease Payments to Other Leaseholders [K]=[based on claimant     $10,000
                                               records]

Payments to Boat Captains and Seafood Crew        [L]=([G]-[I]-[J])*60%   $42,465

Total Cost                                        [M]=[I]+[K]+[L]         $64,465

Total Margin                                      [N]=[H]-[M]             $56,535

Base Compensation                                 [O]=[N]*40%             $22,614

Final Compensation                                [P]=[O]+[O]*8.75        $220,487




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                         4. Vessel Lease Compensation Allocation

To the extent the vessel was leased by the Vessel Owner to the Oyster Harvester Vessel Lessee
as of April 20, 2010, compensation will be allocated between the parties based upon Benchmark
Revenue, as calculated above at Section 3.4 or 3.5, and Annual Lease Payment. The Annual
Lease Payment shall be calculated as the annual payment to the Vessel Owner by the Oyster
Harvester Vessel Lessee for the lease in effect as of April 20, 2010. The ratio of the Annual
Lease Payment to Benchmark Revenue multiplied by the Final Compensation determines the
Vessel Owner Share of Final Compensation. The Oyster Harvester Vessel Lessee’s Share of
Compensation is Final Compensation less the Vessel Owner’s Share of Final Compensation.

                      Vessel Owner Share of Final Compensation =
            Final Compensation * (Annual Lease Payment / Benchmark Revenue)

          Oyster Harvester Vessel Lessee’s Share of Final Share of Compensation =
             Final Compensation - Vessel Owner Share of Final Compensation.


                                          TABLE 5

               Example of Vessel Lease Compensation Allocation Between
          Vessel Owner Claimant and Oyster Harvester Vessel Lessee Claimant

  Inputs (Based on Table 3)
  Benchmark Revenue                                       [A]                    $165,000
  Annual Lease Payment                                    [B]                     $55,000
  Final Compensation                                      [C]                    $177,840


  Calculation
  Annual Lease Payment / Benchmark Revenue                [D] = [B] / [A]              33%

  Vessel Owner's Share of Final Compensation              [E] = [C] * [D]           $59,280
  Oyster Harvester Vessel Lessee's Share of Final         [F] = [C] - [E]        $118,560
  Compensation




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                            FINFISH COMPENSATION PLAN

Generally Applicable Provisions of the Finfish Compensation Plan:

1.    Eligible Claimants shall be comprised of Class Members (i) who do not fall within the
      exclusions to the Economic Loss and Property Class Definition, (ii) who are Vessel
      Owners, Commercial Fishermen who lease Seafood Vessels (Commercial Fisherman
      Vessel Lessee), and/or Seafood Boat Captains that derive income from commercial
      finfishing, and (iii) who meet the additional criteria listed in this Finfish Compensation
      Plan.

2.    It is understood that in some instances, the Vessel Owner is also the Commercial
      Fisherman; however, it may be the case that the Vessel Owner leased the vessel to a
      Commercial Fisherman. In those instances where the vessel was leased during the time
      period of April 20, 2010 to December 31, 2010, the Vessel Owner and Commercial
      Fisherman Vessel Lessee must file the vessel claim jointly in order to receive
      compensation prior to the Bar Date, and they shall share any Vessel Owner/Commercial
      Fisherman Vessel Lessee compensation provided for in this Finfish Compensation Plan.
      If at the time of the Bar Date either the Vessel Owner or the Commercial Fisherman
      Vessel Lessee has not filed a claim, the one that has filed the claim shall receive the full
      Vessel Owner/Commercial Fisherman Vessel Lessee compensation for the vessel. The
      allocation of compensation between Vessel Owner and Commercial Fisherman Vessel
      Lessee shall be determined as provided in Section III. If the vessel was not leased to a
      Commercial Fisherman Vessel Lessee during the time period of April 20, 2010 to
      December 31, 2010, the Vessel Owner is entitled to the full Vessel Owner/Commercial
      Fisherman Vessel Lessee compensation for the vessel.

3.    It is understood that in some instances, the Vessel Owner and/or the Commercial
      Fisherman Vessel Lessee is also the Boat Captain. In those instances where the Vessel
      Owner and/or the Commercial Fisherman Vessel Lessee were also the Boat Captain, they
      shall be eligible to receive the Boat Captain compensation portion for the vessel under the
      Finfish Compensation Plan as set forth below. If the Vessel Owner and/or Commercial
      Fisherman Vessel Lessee employed a Boat Captain on the vessel and did not serve as a
      Boat Captain on that vessel, the hired Boat Captain is eligible for the Boat Captain
      compensation, not the Vessel Owner or Commercial Fisherman Vessel Lessee.

4.    To establish eligibility to participate in the Finfish Compensation Plan, a Vessel Owner
      Claimant must provide for each vessel(s) for which the Claimant is seeking
      compensation:

      A.     Proof of ownership of the vessel during the time period of April 20, 2010 to
             December 31, 2010.

      B.     Proof that as of April 20, 2010 there was a government license (even if it had
             expired before that date) that authorized that vessel to commercially fish for
             finfish in the Specified Gulf Waters for the 2009 season or the 2010 season.



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      C.     The vessel name and any applicable federal and/or state vessel registration
             identification numbers.

      D.     Proof that either:

             1.     the vessel was home ported in the Gulf Coast Areas at any time from
                    April 20, 2010 to April 16, 2012; or,

             2.     the vessel landed finfish in the Gulf Coast Areas at any time from
                    April 20, 2009 to April 16, 2012.

      E.     A sworn statement attesting as to whether or not the vessel was leased during the
             time period April 20, 2010 to December 31, 2010. If the vessel was leased during
             this time period, the Vessel Owner must provide a copy of the lease agreement.

      F.     A sworn statement attesting as to whether or not the Vessel Owner was the Boat
             Captain for that vessel during January 1, 2007 through December 31, 2009. If the
             Vessel Owner was not the sole Boat Captain for that vessel for some portion of
             January 1, 2007 through December 31, 2009, to the extent possible, the Claimant
             shall identify all other Boat Captains employed on the vessel and the time periods
             for which the Boat Captains were employed.

5.    To establish eligibility to participate in the Finfish Compensation Plan, a Commercial
      Fisherman Vessel Lessee must provide for each vessel for which he or she seeks
      compensation:

      A.     Proof that during the period of April 20, 2010 through December 31, 2010 he or
             she leased the vessel to be used for commercial finfishing.

      B.     Proof that as of April 20, 2010 there was a government license (even if it had
             expired before that date) that authorized that vessel to commercially fish for
             finfish in the Specified Gulf Waters for the 2009 season or the 2010 season.

      C.     The vessel name and any applicable federal and/or state vessel registration
             identification numbers.

      D.     Proof that either:

             1.     the vessel was home ported in the Gulf Coast Areas at any time from
                    April 20, 2010 to April 16, 2012; or,

             2.     the vessel landed finfish in the Gulf Coast Areas at any time from
                    April 20, 2009 to April 16, 2012.

      E.     A sworn statement, attesting that the Commercial Fisherman Vessel Lessee leased
             the vessel during the time period of April 20, 2010 to December 31, 2010. The
             Commercial Fisherman Vessel Lessee must also provide a copy of the lease
             agreement for the vessel.

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          F.      A sworn statement attesting as to whether or not the Commercial Fisherman
                  Vessel Lessee was the Boat Captain for that vessel during January 1, 2007
                  through December 31, 2009. If the Commercial Fisherman Vessel Lessee was not
                  the sole Boat Captain for that vessel for some portion of January 1, 2007 through
                  December 31, 2009, to the extent possible, the Claimant shall identify all other
                  Boat Captains employed on the vessel and the time periods for which the Boat
                  Captains were employed.

6.        To establish eligibility to participate in the Finfish Compensation Plan a Boat Captain
          must provide:

          A.      Proof that as of April 20, 2010 the Boat Captain held a governmental license
                  (even if it had expired before that date) authorizing the Claimant to operate as a
                  Boat Captain and/or to commercially fish for finfish in the Specified Gulf Waters
                  for the 2009 season or the 2010 season.

          B.      Proof that either the Boat Captain worked:

                  1.       on one or more commercial finfishing vessels that were home ported in the
                           Gulf Coast Areas from April 20, 2010 through the date of execution of the
                           Settlement Agreement; or,

                  2.       one or more commercial finfishing vessels that landed finfish in the Gulf
                           Coast Areas from April 20, 2009 through the date of execution of the
                           Settlement Agreement.

7.        A Sworn Statement attesting whether or not the Claimant received any Seafood Spill-
          Related Payments. If the Claimant received Seafood Spill-Related Payments, the
          Claimant shall provide documents8 sufficient to establish the timing, amount and source
          of Seafood Spill-Related Payments, including documents providing the claimant’s
          BP/GCCF/Transition Facility Claim Number, if applicable, and any corresponding
          payments.

Finfish Compensation Plan Definition:

Benchmark Period9 is selected by the Claimant and can be (i) 2009, (ii) 2008 and 2009, or
(iii) 2007, 2008 and 2009. If the Claimant elects to use years 2008 and 2009 or 2007, 2008, and
2009, the annual revenue amounts shall be averaged. In the event the Claims Administrator
determines that the Claimant (individual or vessel) did not participate at the same level of effort
in finfish harvesting due to circumstances beyond the Claimant’s control (such as illness,

8
      When documents are requested in the Seafood Compensation Program, Claimant may provide either legible
      copies or originals of the documents.
9
      For the Seafood Compensation Program, the Benchmark Period is defined independently for each Seafood
      Compensation Program Plan and is set forth within the specific Plan. Definitions of Benchmark Period in any
      other frameworks in the Deepwater Horizon Economic And Property Damages Settlement Agreement do not
      apply in the Seafood Compensation Program.


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disability or major mechanical failure), the Claims Administrator may at his discretion allow the
Claimant to exclude one or more years of the Benchmark Period.

A Vessel Owner or Commercial Fisherman Vessel Lessee must submit separate Vessel
Owner/Commercial Fisherman Vessel Lessee claims for each vessel they owned or leased and
may select different Benchmark Periods for different vessels.

A Boat Captain’s claim reflects the Claimant’s activities on all vessels, and the Claimant must
select a single Benchmark Period for the Boat Captain’s claim.

A Vessel Owner or Commercial Fisherman Vessel Lessee who also submits a Boat Captain
claim may select different Benchmark Periods for the Claimant’s Vessel Owner/Commercial
Fisherman Vessel Lessee claim and the Claimant’s Boat Captain claim.

Compensation Plan Method:

Vessel Owners/Commercial Fisherman Vessel Lessees and Boat Captains will be compensated
through the Historical Revenue Method. A Vessel Owner or Commercial Fisherman Vessel
Lessee must submit separate Vessel Owner/Commercial Fisherman Vessel Lessee claims for
each vessel they owned or leased.

Additionally, owners of Individual Fishing Quota (“IFQ”) shares may be eligible to receive
compensation for their IFQ shares under the IFQ Share Compensation Method.

I.     Historical Revenue Method

        A.     Eligibility Requirements

              1.      Vessel Owner/Commercial Fisherman Vessel Lessee

To be eligible under the Historical Revenue Method, a Vessel Owner/Commercial Fisherman
Vessel Lessee must meet the eligibility requirements of the applicable paragraphs of the
“Generally Applicable Provisions of the Finfish Compensation Plan” above and provide
evidence to demonstrate his or her commercial finfishing revenue during the selected Benchmark
Period.

              2.      Boat Captains

To be eligible under the Historical Revenue Method, a Boat Captain must meet the eligibility
requirements of the applicable paragraphs of the “Generally Applicable Provisions of the Finfish
Compensation Plan” above and provide evidence to demonstrate his or her commercial gross
earnings from commercial finfishing on vessels for which he or she served as Boat Captain
during the selected Benchmark Period.




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       B.     Documentation Required

             1.     Vessel Owners/Commercial Fisherman Vessel Lessees

Vessel Owners/Commercial Fisherman Vessel Lessees seeking compensation under the
Historical Revenue Method must provide documents sufficient to prove the eligibility
requirements in Section I.A.1 above and to determine compensation pursuant to Section I.C
below, including the following:

                    a.     Trip ticket or their equivalents, such as dealer forms, for each
                           vessel for which Claimant seeks compensation, which show the
                           volume of finfish harvested and the sales price as shown on the trip
                           tickets or their equivalents for the Benchmark Period for finfish
                           landed in the Gulf Coast Areas. The Claimant must provide
                           sufficient documentation for the Claims Administrator to be able to
                           identify gross revenue derived for each vessel solely for finfish
                           landed in the Gulf Coast Areas during the Benchmark Period. The
                           total volume multiplied by price will be the applicable gross
                           revenue.

                           – OR –

                    b.     Federal or state tax and financial information as follows:

                           i.       If Claimant is an entity, federal tax returns or state tax
                                    returns, and sufficient documentation to identify
                                    components of gross revenue derived from commercial
                                    finfish harvesting by vessel for the Benchmark Period for
                                    each vessel for which the Claimant submits a Vessel
                                    Owner/Commercial Fisherman Vessel Lessee claim.

                           ii.      If Claimant is an individual, federal form 1040 including
                                    Schedules C, E and F or state tax forms as well as sufficient
                                    documentation to identify those components of earnings
                                    derived from commercial finfish harvesting by vessel for
                                    the Benchmark Period.

                           iii.     In addition, the Claimant must provide sufficient
                                    documentation for the Claims Administrator to be able to
                                    identify (i) the Claimant’s revenue from finfishing as
                                    compared to other sources and (ii) Claimant’s revenue from
                                    landings in the Gulf Coast Areas. If necessary, the Claims
                                    Administrator may require supplemental information from
                                    the Claimant in order to make these determinations.

                    c.     In addition, if available, it is requested that the Claimant also
                           provide the following documents, to assist the Claims
                           Administrator:
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                              i.     Vessel log book

                              ii.    Share sheets

                              iii.   Proof of vessel size and type

                              iv.    Sales or other production reports maintained in the normal
                                     course of business

              2.     Boat Captains

Boat Captains seeking compensation under the Historical Revenue Method must provide
documents sufficient to prove the eligibility requirements in Section I.A.2 and to determine
compensation pursuant to Section I.C below, including the following:

                     a.       Trip tickets or their equivalents for each vessel for which the
                              Claimant seeks compensation, which show the volume of finfish
                              harvested and the sales price as shown on the trip tickets or their
                              equivalents for the Benchmark Period for finfish landed in the Gulf
                              Coast Areas. The total volume multiplied by price will be the
                              applicable gross revenue.

                     – OR –

                     b.       Federal tax returns, including Schedules C, E and F, W-2s, and
                              1099s or state tax returns with supporting documents for the
                              Benchmark Period and sufficient documentation to identify those
                              components of earnings derived from commercial finfish
                              harvesting for the Benchmark Period for the vessel(s) selected by
                              the Claimant. In addition, the Claimant must provide sufficient
                              documentation for the Claims Administrator to be able to identify
                              revenue from finfish landings in the Gulf Coast Areas for each
                              vessel while the Claimant was Boat Captain. If necessary, the
                              Claims Administrator may require supplemental information from
                              the Claimant in order to make these determinations.

                     c.       In addition, if available, it is requested that the Claimant also
                              provide the following documents, to assist the Claims
                              Administrator:

                              i.     Captain’s log book

                              ii.    Vessel log book

                              iii.   Share sheets

                              iv.    Proof of vessel size and type for Captained vessels


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                           v.     Sales or other production reports maintained in the normal
                                  course of business

     C.     Compensation Calculations

           1.     Calculate Benchmark Finfish Revenue.

                  a.       If trip tickets or their equivalents are used, the volume and price of
                           finfish on the trip tickets or their equivalents are used to calculate
                           gross revenue from finfish landed in the Gulf Coast Areas. If the
                           Claimant is a Vessel Owner/Commercial Fisherman Vessel Lessee,
                           the Claimant may provide trip tickets or their equivalents for the
                           Benchmark Period for each vessel for which compensation is being
                           sought. If the Claimant is a Boat Captain, the Claimant may
                           provide trip tickets or their equivalents for all vessels he or she
                           served as a Captain during the Benchmark Period.

                  – OR –

                  b.       The Claims Administrator may determine the gross vessel revenue
                           for Boat Captain earnings from finfish landings in the Gulf Coast
                           Areas based on the Claimant’s tax returns, or financial information
                           if the Claims Administrator has sufficient information to
                           determine: (i) Claimant’s revenue from finfish harvesting as
                           compared to other sources, (ii) Claimant’s revenue from finfish
                           landings in the Gulf Coast Areas. If necessary, the Claims
                           Administrator may require supplemental information from the
                           Claimant in order to make these determinations.

           2.      If (i) the Claimant is a Vessel Owner/Commercial Fisherman Vessel
                   Lessee or (ii) the Claimant is a Boat Captain and Benchmark Revenue
                   was calculated using trip tickets or their equivalents, calculate
                   Benchmark Finfish Cost. Benchmark Finfish Cost is calculated by
                   multiplying Benchmark Finfish Revenue by the Finfish Cost Percentage.
                   The Finfish Cost Percentage, 27%, is expressed as a percentage of
                   revenue and reflects standard industry non-labor variable costs. If the
                   Claimant is a Boat Captain and Benchmark Revenue was calculated
                   based upon his earnings, such as from tax returns or financial
                   information, then no Finfish Cost Percentage is applied, skip to step 3.

    Benchmark Finfish Cost = (Benchmark Finfish Revenue * Finfish Cost Percentage)

           3.     Calculate the Base Finfish Loss using the Finfish Loss Percentage of 25%.

                  a.       If (i) the Claimant is a Vessel Owner/Commercial Fisherman
                           Vessel Lessee or (ii) the Claimant is a Boat Captain and
                           Benchmark Revenue was calculated using trip tickets or their
                           equivalents, the Base Loss is calculated as follows:
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    Base Finfish Loss = (Benchmark Finfish Revenue – Benchmark Finfish Cost) * 25%

                     b.     If the Claimant is a Boat Captain and Benchmark Revenue was
                            calculated using a different source than trip tickets or their
                            equivalents, the Base Loss is calculated as follows:

                   Base Finfish Loss = Benchmark Finfish Revenue * 25%

           4.        Determine Base Compensation by multiplying Base Finfish Loss by the
                     appropriate Vessel Owner/Commercial Fisherman Vessel Lessee or Boat
                     Captain share. Vessel Owner/Commercial Fisherman and Boat Captain
                     shares are: 45% for the Vessel/Owner Commercial Fisherman and 35%
                     for the Finfish Boat Captain.

                     a.     Base Compensation for Vessel Owners/Commercial Fisherman
                            Vessel Lessees is calculated as below and found in Table 1:

                Base Compensation = Base Finfish Loss * Finfish Vessel Share

                                            TABLE 1

                        FINFISH VESSEL                       FINFISH BOAT
                     OWNERS/COMMERCIAL                      CAPTAIN SHARE
                      FISHERMAN VESSEL
                         LESSEE SHARE

                                     45%                            35%



                     b.     Base Compensation for Finfish Boat Captains is calculated as:

                            i.        If Finfish Boat Captain Compensation is calculated based
                                      on trip tickets, then the Base Compensation for the Finfish
                                      Boat Captain is calculated as:

          Base Compensation = Base Finfish Loss * Finfish Boat Captain Share

                            ii.       If Finfish Boat Captain Compensation is calculated based
                                      on tax returns and financial records, then the Base
                                      Compensation for the Finfish Boat Captain is calculated as:

                                  Base Compensation = Base Finfish Loss

           5.        Apply the RTP to Base Compensation in order to determine Final
                     Compensation. Base Compensation is specific to Claimant type and is
                     found in Table 2.

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            Final Compensation = Base Compensation + (Base Compensation * RTP)

                                          TABLE 2

                                   FINFISH VESSEL                      FINFISH BOAT
                                OWNERS/COMMERCIAL                        CAPTAINS
                                 FISHERMAN VESSEL
                                      LESSEES
             RTP                         6.0                                  5.0

II.   Compensation for IFQ Quota Holders

The Finfish Quota Allocation Method provides a fixed compensation amount to Claimants that
meet certain requirements and are Individual Fishing Quota (“IFQ”) shareholders.

       A.      Eligibility and Documentation Requirements

In order to be eligible to qualify for compensation under the Individual Fishing Quota
Shareholder Method, the Claimant must provide:

              1.     Proof of ownership as of April 20, 2010 of the Individual Fishing Quota
                     share for all species identified by IFQs, including Red Snapper, Gag
                     Grouper Red Grouper, Deep Water Grouper Shallow Water Grouper and
                     Tilefish.

       B.      Compensation Calculations

              1.     Individual Fishing Quota Shareholders that have provided the proof of
                     eligibility and the required documentation set forth in section II.A. above
                     shall receive the compensation based on the value of Individual Fishing
                     Quota shares held. IFQ shares are defined as the right to catch 0.0001% of
                     the pounds of the catch the relevant species that can be caught by
                     commercial fishermen under the relevant quota.

              2.     In the aggregate, IFQ holders will receive compensation of $50 million. If
                     the $50 million is not exhausted in payment of IFQ Shareholder claimants,
                     then any remaining amount shall be distributed as part of the balance
                     described in the “General Framework and Overview of Seafood
                     Compensation Program Distribution” section of this Seafood
                     Compensation Program.

              3.     IFQ Shareholder Claimants will be compensated in proportion to the
                     percentage of the total value of IFQ shares, calculated across all species.
                     The relevant prices and aggregate value of IFQ shares is summarized in
                     Table 2. The table reports NOAA 2010 IFQ data on the prices at which
                     IFQ shares were sold, with a “share” defined as 0.0001% of pounds of
                     catch allowed under the species-specific IFQ program.

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                                              TABLE 2

              Species                     Price per .0001% Share     Total Value ($Million)

              Red Snapper                          $44.90                       $44.9

              Gag Grouper                           $6.75                       $6.8

              Red Grouper                          $20.67                       $20.7

              Deep Water Grouper                    $4.99                       $5.0

              Shallow Water Grouper                 $1.64                       $1.6

              Tilefish                              $1.08                       $1.1

              Total                                                             $80.0


              4.      Compensation for IFQ share holders is calculated as follows:

                      a.     The value of a Claimant’s IFQ shares is calculated as the product
                             of the species-specific number of quota shares held and the
                             species-specific value per quota share, as reflected in Table 3.

                      b.     The compensation received by a Claimant is calculated by
                             multiplying the value of the Claimant’s share multiplied by 0.625.

              For example, a Claimant with 1,000 shares of Red Grouper would have a IFQ
              share value of $20,670 (1,000 shares * $20.67). The Claimant would then receive
              compensation of $12,918.75 ($20,670 * 0.625).

III.   Vessel Lease Compensation Allocation

To the extent the Vessel was leased by the Vessel Owner to the Commercial Fisherman Vessel
Lessee as of April 20, 2010, compensation will be allocated between the parties based upon
Benchmark Revenue, as calculated above and Annual Lease Payment. The Annual Lease
Payment shall be calculated as the annual payment to the Vessel Owner by the Commercial
Fisherman Vessel Lessee for the lease in effect as of April 20, 2010. The ratio of the Annual
Lease Payment to Benchmark Revenue multiplied by the Final Compensation determines the
Vessel Owner Share of Final Compensation. The Commercial Fisherman Vessel Lessee’s Share
of Compensation is Final Compensation less the Vessel Owner’s Share of Final Compensation.

Vessel Owner Share of Final Compensation = Final Compensation * (Annual Lease Payment /
Benchmark Revenue)


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     Commercial Fisherman Vessel Lessee’s Share of Final Share of Compensation = Final
     Compensation - Vessel Owner Share of Final Compensation.




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                   BLUE CRAB/OTHER SEAFOOD COMPENSATION PLAN

Generally Applicable Provisions of the Blue Crab/Other Seafood Compensation Plan:

1.       Eligible Claimants shall be comprised of Class Members (i) who do not fall within the
         exclusions to the Economic Loss and Property Class Definition, (ii) who are Vessel
         Owners, Commercial Fishermen who lease Seafood Vessels (Commercial Fisherman
         Vessel Lessee), and/or Seafood Boat Captains that derive income from commercial
         fishing for blue crab and/or Other Seafood,10 and (iii) who meet the additional criteria
         listed in this Blue Crab/Other Seafood Compensation Plan.

2.       It is understood that in some instances, the Vessel Owner is also the Commercial
         Fisherman; however, it may be the case that the Vessel Owner leased the vessel to a
         Commercial Fisherman. In those instances where the vessel was leased during the time
         period of April 20, 2010 to December 31, 2010, the Vessel Owner and Commercial
         Fisherman Vessel Lessee must file the vessel claim jointly in order to receive
         compensation prior to the Bar Date, and they shall share any Vessel Owner/Commercial
         Fisherman Vessel Lessee compensation provided for in this Blue Crab/Other Seafood
         Compensation Plan. If at the time of the Bar Date either the Vessel Owner or the
         Commercial Fisherman Vessel Lessee has not filed a claim, the one that has filed the
         claim shall receive the full Vessel Owner/Commercial Fisherman Vessel Lessee
         compensation for the vessel. The allocation of compensation between Vessel Owner and
         Commercial Fisherman Vessel Lessee shall be determined as provided in Section II. If
         the vessel was not leased to a Commercial Fisherman Vessel Lessee during the time
         period of April 20, 2010 to December 31, 2010, the Vessel Owner is entitled to the full
         Vessel Owner/Commercial Fisherman Vessel Lessee compensation for the vessel.

3.       It is understood that in some instances, the Vessel Owner and/or the Commercial
         Fisherman Vessel Lessee is also the Boat Captain. In those instances where the Vessel
         Owner and/or the Commercial Fisherman Vessel Lessee were also the Boat Captain, they
         shall be eligible to receive the Boat Captain compensation portion for the vessel under the
         Blue Crab/Other Seafood Compensation Plan as set forth below. If the Vessel Owner
         and/or Commercial Fisherman Vessel Lessee employed a Boat Captain on the vessel and
         did not serve as a Boat Captain on that vessel, the hired Boat Captain is eligible for the
         Boat Captain compensation, not the Vessel Owner or Commercial Fisherman Vessel
         Lessee.

4.       To establish eligibility to participate in the Blue Crab/Other Seafood Compensation Plan,
         a Vessel Owner Claimant must provide for each vessel(s) for which the Claimant is
         seeking compensation:

         A.       Proof of ownership of the vessel during the time period of April 20, 2010 to
                  December 31, 2010.

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     Other Seafood shall be defined to mean all forms of seafood included in the Exhibit 3 of the Deepwater Horizon
     Economic And Property Damages Settlement Agreement (Seafood Distribution Chain Definitions) including
     stone crab and spiny lobster, but excluding shrimp, oysters, finfish and blue crab.


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      B.     Proof that as of April 20, 2010 there was a government license (even if it had
             expired before that date) that authorized that vessel to commercially fish for blue
             crab or Other Seafood in the Specified Gulf Waters for the 2009 season or the
             2010 season.

      C.     The vessel name and any applicable federal and/or state vessel registration
             identification numbers.

      D.     Proof that either:

             1.     the vessel was home ported in the Gulf Coast Areas at any time from
                    April 20, 2010 to April 16, 2012; or,

             2.     the vessel landed blue crab and/or Other Seafood in the Gulf Coast Areas
                    at any time from April 20, 2009 to April 16, 2012.

      E.     A sworn statement attesting as to whether or not the vessel was leased during the
             time period April 20, 2010 to December 31, 2010. If the vessel was leased during
             this time period, the Vessel Owner must provide a copy of the lease agreement.

      F.     A sworn statement attesting as to whether or not the Vessel Owner was the Boat
             Captain for that vessel during January 1, 2007 through December 31, 2009. If the
             Vessel Owner was not the sole Boat Captain for that vessel for some portion of
             January 1, 2007 through December 31, 2009, to the extent possible, the Claimant
             shall identify all other Boat Captains employed on the vessel and the time periods
             for which the Boat Captains were employed.

5.    To establish eligibility to participate in the Blue Crab/Other Seafood Compensation Plan,
      a Commercial Fisherman Vessel Lessee must provide for each vessel for which the
      Claimant seeks compensation:

      A.     Proof that during the period of April 20, 2010 through December 31, 2010 the
             Claimant leased the vessel to be used for commercial blue crab and/or Other
             Seafood harvesting.

      B.     Proof that as of April 20, 2010 there was a government license (even if it had
             expired before that date) that authorized that vessel to commercially fish for blue
             crab and/or Other Seafood in the Specified Gulf Waters for the 2009 season or the
             2010 season.

      C.     The vessel name and any applicable federal and/or state vessel registration
             identification numbers.

      D.     Proof that either:

             1.     the vessel was home ported in the Gulf Coast Areas at any time from
                    April 20, 2010 to April 16, 2012; or,


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                 2.      the vessel landed blue crab and/or Other Seafood in the Gulf Coast Areas
                         at any time from April 20, 2009 to April 16, 2012.

         E.      A sworn statement, attesting that the Commercial Fisherman Vessel Lessee leased
                 the vessel during the time period of April 20, 2010 to December 31, 2010. The
                 Commercial Fisherman Vessel Lessee must also provide a copy of the lease
                 agreement for the vessel.

         F.      A sworn statement attesting as to whether or not the Commercial Fisherman
                 Vessel Lessee was the Boat Captain for that vessel during January 1, 2007
                 through December 31, 2009. If the Commercial Fisherman Vessel Lessee was not
                 the sole Boat Captain for that vessel for some portion of January 1, 2007 through
                 December 31, 2009, to the extent possible, the Claimant shall identify all other
                 Boat Captains employed on the vessel and the time periods for which the Boat
                 Captains were employed.

6.       To establish eligibility to participate in the Blue Crab/Other Seafood Compensation Plan
         a Boat Captain must provide:

         A.      Proof that as of April 20, 2010 the Boat Captain held a governmental license
                 (even if it had expired before that date) authorizing the Claimant to operate as a
                 Boat Captain and/or to commercially fish for blue crab and/or Other Seafood in
                 the Specified Gulf Waters for the 2009 season or the 2010 season.

         B.      Proof that either the Boat Captain worked:

                 1.      on one or more commercial blue crab or Other Seafood vessels that were
                         home ported in the Gulf Coast Areas at any time from April 20, 2010 to
                         April 16, 2012; or,

                 2.      on one or more commercial blue crab or Other Seafood vessels that landed
                         blue crab or Other Seafood in the Gulf Coast Areas at any time from
                         April 20, 2009 to April 16, 2012.

7.       A Sworn Statement attesting whether or not the Claimant received any Seafood Spill-
         Related Payments. If the Claimant received Seafood Spill-Related Payments, the
         Claimant shall provide documents11 sufficient to establish the timing, amount and source
         of Seafood Spill-Related Payments, including documents providing the claimant’s
         BP/GCCF/Transition Facility Claim Number, if applicable, and any corresponding
         payments.




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     When documents are requested in the Seafood Compensation Program, Claimant may provide either legible
     copies or originals of the documents.


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Blue Crab/Other Seafood Compensation Plan Definition:

Benchmark Period12 is selected by the Claimant and can be (i) 2009, (ii) 2008 and 2009, or
(iii) 2007, 2008 and 2009. If the Claimant elects to use years 2008 and 2009 or 2007, 2008, and
2009, the annual revenue amounts shall be averaged. In the event the Claims Administrator
determines that the Claimant (individual or vessel) did not participate at the same level of effort
in blue crab/other seafood harvesting due to circumstances beyond the Claimant’s control (such
as illness, disability or major mechanical failure), the Claims Administrator may at his discretion
allow the Claimant to exclude one or more years of the Benchmark Period.

A Vessel Owner or Commercial Fisherman Vessel Lessee must submit separate Vessel
Owner/Commercial Fisherman Vessel Lessee claims for each vessel they owned or leased and
may select different Benchmark Periods for different vessels.

A Boat Captain’s claim reflects the Claimant’s activities on all vessels, and the Boat Captain
must select a single Benchmark Period for the Claimant’s claim.

A Vessel Owner or Commercial Fisherman Vessel Lessee who also submits a Boat Captain
claim may select different Benchmark Periods for the Claimant’s Vessel Owner/Commercial
Fisherman Vessel Lessee claim and the Claimant’s Boat Captain claim.

Compensation Plan Method:

Vessel Owners/Commercial Fisherman Vessel Lessees and Boat Captains will be separately
compensated for blue crab claims and Other Seafood claims through the Historical Revenue
Method. Claimants may submit a claim for either or both blue crab or Other Seafood categories.
Compensation for blue crab claims is set forth in Section I.C and compensation for Other
Seafood claims is set forth in Section I.D. A Vessel Owner or Commercial Fisherman Vessel
Lessee must submit separate Vessel Owner/Commercial Fisherman Vessel Lessee claims for
each vessel they owned or leased.

Additionally, Vessel Owners and Commercial Fisherman Vessel Lessees that establish they
commercially fished for blue crab in the Benchmark Period and who satisfy the applicable
paragraphs of the Generally applicable Provisions of the Blue Crab/Other Seafood Compensation
Plan above and in Section I.A. below will receive a lump sum payment as set forth in Section I.




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     For the Seafood Compensation Program, the Benchmark Period is defined independently for each Seafood
     Compensation Program Plan and is set forth within the specific Plan. Definitions of Benchmark Period in any
     other frameworks in the Deepwater Horizon Economic And Property Damages Settlement Agreement do not
     apply in the Seafood Compensation Program.


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I.     Historical Revenue Method

        A.     Eligibility Requirements

              1.     Vessel Owner/Commercial Fisherman Vessel Lessee

To be eligible under the Historical Revenue Method, a Vessel Owner/Commercial Fisherman
Vessel Lessee must meet the eligibility requirements of the applicable paragraphs of the
“Generally Applicable Provisions of the Blue Crab/Other Seafood Compensation Plan” and
provide evidence to demonstrate the Claimant’s commercial blue crab and/or Other Seafood
revenue during the selected Benchmark Period.

              2.     Boat Captains

To be eligible under the Historical Revenue Method, a Boat Captain must meet eligibility
requirements of the applicable paragraphs of the “Generally Applicable Provisions of the Blue
Crab/Other Seafood Compensation Plan” requirements of the Blue Crab/Other Seafood
Compensation Plan and provide evidence to demonstrate the Claimant’s gross earnings from
commercial blue crab and/or Other Seafood harvesting on vessels for which the Claimant served
as Boat Captain during the selected Benchmark Period.

        B.     Documentation Required

              1.     Vessel Owners/Commercial Fisherman Vessel Lessees

Vessel Owners/Commercial Fisherman Vessel Lessees seeking compensation under the
Historical Revenue Method must provide documents sufficient to prove the eligibility
requirements in Section I.A.1 above and to determine compensation pursuant to Section I.C or
I.D below, including the following:

                     a.     Trip ticket or their equivalents, such as dealer forms, for each
                            vessel for which Claimant seeks compensation, which show the
                            volume of blue crab and/or Other Seafood harvested and the sales
                            price as shown on the trip tickets or their equivalents for the
                            Benchmark Period for blue crab and/or Other Seafood landed in
                            the Gulf Coast Areas. The Claimant must provide sufficient
                            documentation for the Claims Administrator to be able to identify
                            gross revenue derived for each vessel solely for blue crab and/or
                            Other Seafood landed in the Gulf Coast Areas during the
                            Benchmark Period. The total volume multiplied by price will be
                            the applicable gross revenue.

                            – OR –

                     b.     Federal or state tax returns and financial information as follows:

                            i.       If Claimant is an entity, federal tax returns, state tax returns
                                     and sufficient documentation to identify components of

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                                  gross revenue derived from commercial blue crab and/or
                                  Other Seafood harvesting by vessel for the Benchmark
                                  Period for each vessel for which the Claimant submits a
                                  Vessel Owner/Commercial Fisherman Vessel Lessee claim.

                           ii.    If Claimant is an individual, federal form 1040 including
                                  Schedules C, E and F or state tax forms and supporting
                                  documents as well as sufficient documentation to identify
                                  by vessel components of gross earnings derived from
                                  commercial blue crab and/or Other Seafood harvesting for
                                  the Benchmark Period for each vessel for which the
                                  Claimant submits a Vessel Owner/Commercial Fisherman
                                  Vessel Lessee claim.

                           iii.   In addition, the Claimant must provide sufficient
                                  documentation for the Claims Administrator to be able to
                                  identify (i) the Claimant’s revenue from blue crab and/or
                                  Other Seafood as compared to other sources and
                                  (ii) Claimant’s revenue from landings in the Gulf Coast
                                  Areas. If necessary, the Claims Administrator may require
                                  supplemental information from the Claimant in order to
                                  make these determinations.

                    c.     In addition, if available, it is requested that the Claimant also
                           provide the following documents, to assist the Claims
                           Administrator:

                           i.     Vessel log book

                           ii.    Share sheets

                           iii.   Proof of vessel size and type

                           iv.    Sales or other production reports maintained in the normal
                                  course of business

             2.     Boat Captains

Boat Captains seeking compensation under the Historical Revenue Method must provide
documents sufficient to prove the eligibility requirements in Section I.A.2 above and to
determine compensation pursuant to Section I.C. or I.D. below, including the following:

                    a.     Trip tickets or their equivalents for each vessel for which the
                           Claimant seeks compensation, which show the volume of blue crab
                           and/or Other Seafood harvested and the sales price as shown on the
                           trip tickets or their equivalents for the Benchmark Period for blue
                           crab and/or Other Seafood landed in the Gulf Coast Areas. The


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                             total volume multiplied by price will be the applicable gross
                             revenue.

                             – OR –

                     b.      Federal tax returns, including Schedules C, E and F, W-2s, and
                             1099s or state tax returns with supporting documents for the
                             Benchmark Period and sufficient documentation to identify those
                             components of gross earnings derived from commercial blue crab
                             and/or Other Seafood harvesting for the Benchmark Period for the
                             vessel(s) selected by the Claimant. In addition, the Claimant must
                             provide sufficient documentation for the Claims Administrator to
                             be able to identify revenue from blue crab and/or Other Seafood
                             landings in the Gulf Coast Areas for each vessel while the
                             Claimant was Boat Captain.            If necessary, the Claims
                             Administrator may require supplemental information from the
                             Claimant in order to make these determinations.

                     c.      In addition, if available, it is requested that the Claimant also
                             provide the following documents, to assist the Claims
                             Administrator:

                             i.       Captain’s log book

                             ii.      Vessel log book

                             iii.     Share sheets

                             iv.      Proof of vessel size and type for Captained vessels

                             v.       Sales or other production reports maintained in the normal
                                      course of business

        C.     Compensation Calculations for Blue Crab

The Claims Administrator shall determine compensation separately for blue crab and for Other
Seafood. The compensation for gross revenue or earnings attributable to blue crab is determined
as set forth in Section I.C. The separate and independent compensation for gross revenue or
earnings attributable to Other Seafood is determined as set forth in Section I.D.

              1.     Calculate Benchmark Blue Crab Revenue.

                     a.      If trip tickets or their equivalents are used, the volume and price of
                             blue crab on the trip tickets or their equivalents are used to
                             calculate gross revenue from blue crab landed in the Gulf Coast
                             Areas. If the Claimant is a Vessel Owner/Commercial Fisherman
                             Vessel Lessee, the Claimant may provide trip tickets for the
                             Benchmark Period for each Vessel for which compensation is

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                         being sought. If the Claimant is a Boat Captain, the Claimant may
                         provide trip tickets or their equivalents for all vessels the Claimant
                         served as a Captain during the Benchmark Period.

                         – OR –

                  b.     The Claims Administrator may determine the gross vessel revenue
                         or Boat Captain earnings from blue crab landings in the Gulf Coast
                         Areas based on the Claimant’s tax returns or financial information
                         if the Claims Administrator has sufficient information to
                         determine: (i) Claimant’s revenue from blue crab as compared to
                         other sources and (ii) Claimant’s revenue from blue crab landings
                         in the Gulf Coast Areas. If necessary, the Claims Administrator
                         may require supplemental information from the Claimant in order
                         to make these determinations.

           2.     Calculate Total Adjusted Benchmark Blue Crab Revenue by multiplying
                  the Adjusted Benchmark Blue Crab Revenue by 1.2, the Adjustment for
                  Changes in 2010-11 Prices.

                  Total Adjusted Benchmark Blue Crab Revenue =
      (Benchmark Blue Crab Revenue * Adjustment for Changes in 2010-11 Prices).

           3.     If (i) the Claimant is a Vessel Owner/Commercial Fisherman Vessel
                  Lessee or (ii) the Claimant is a Boat Captain and Benchmark Revenue was
                  calculated using trip tickets or their equivalents, calculate Benchmark Blue
                  Crab Cost. Benchmark Blue Crab Cost is calculated by multiplying
                  Benchmark Blue Crab Revenue by the Blue Crab Cost Percentage of 35%.
                  The Blue Crab Cost Percentage is expressed as a percentage of revenue
                  and reflects standard industry non-labor variable costs. If the Claimant is
                  a Boat Captain and Benchmark Revenue was calculated based upon his
                  earnings, such as from tax returns or financial information, then no Blue
                  Crab Cost Percentage is applied, skip to step 4.

Benchmark Blue Crab Cost = (Benchmark Blue Crab Revenue * Blue Crab Cost Percentage)

           4.     Calculate the Base Blue Crab Loss using the Blue Crab Loss Percentage of
                  35%.

                  a.     If (i) the Claimant is a Vessel Owner/Commercial Fisherman
                         Vessel Lessee or (ii) the Claimant is a Boat Captain and
                         Benchmark Revenue was calculated using trip tickets or their
                         equivalents, the Base Loss is calculated as follows:

                               Base Blue Crab Loss =
   (Total Adjusted Benchmark Blue Crab Revenue – Benchmark Blue Crab Cost) * 35%



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                  b.     If the Claimant is a Boat Captain and Total Adjusted Benchmark
                         Revenue was calculated using a different source than trip tickets or
                         their equivalents, the Base Loss is calculated as follows:

         Base Blue Crab Loss = Adjusted Benchmark Blue Crab Revenue * 35%

           5.     Determine Base Compensation by multiplying Base Blue Crab Loss by the
                  appropriate Vessel Owner/Commercial Fisherman Vessel Lessee share.
                  Vessel Owner and Boat Captain shares are presented in Table 1.

                  a.     Base Compensation for Vessel Owners/Commercial Fisherman
                         Vessel Lessees is calculated as:

                   Base Compensation = Base Blue Crab Loss * 50%

                  b.     Base Compensation for Blue Crab Boat Captains is calculated as:

                         i.     if Blue Crab Boat Captain Compensation is calculated
                                based on trip tickets, then the Base Compensation for Blue
                                Crab Boat Captain is calculated as:

                   Base Compensation = Base Blue Crab Loss * 30%

                         ii.    If Blue Crab Boat Captain Compensation is calculated
                                based on tax returns and financial records, Compensation
                                for Blue Crab Boat Captain is calculated as:

                          Base Compensation = Base Blue Crab Loss

                                      TABLE 1

                   BLUE CRAB VESSEL               BLUE CRAB BOAT
                  OWNER/COMMERCIAL                CAPTAIN SHARE
                   FISHERMAN VESSEL
                      LESSEE SHARE
                           50%                             30%


           6.     Apply the RTP to Base Compensation in order to determine Final
                  Compensation. Base Compensation is specific to Claimant type and is
                  found in Table 2.

    Final Blue Crab Compensation = Base Compensation + (Base Compensation * RTP)




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                                         TABLE 2

                                BLUE CRAB VESSEL                     BLUE CRAB BOAT
                               OWNERS/COMMERCIAL                        CAPTAINS
                                FISHERMAN VESSEL
                                     LESSEES
            RTP                        6.0                                     5.0


In addition, Vessel Owners/Commercial Fisherman Vessel Lessees who receive Final Blue Crab
Compensation shall also receive a lump sum payment of $7,500 per vessel.

      D.     Compensation Calculations for Other Seafood

             1.     Calculate Benchmark Other Seafood Revenue

                    a.     If trip tickets or their equivalents are used, the volume and price of
                           Other Seafood on the trip tickets or their equivalents are used to
                           calculate gross revenue from Other Seafood landed in the Gulf
                           Coast Areas. If the Claimant is a Vessel Owner/Commercial
                           Fisherman Vessel Lessee, the Claimant may provide trip tickets or
                           their equivalents for the Benchmark Period for each Vessel for
                           which compensation is being sought. If the Claimant is a Boat
                           Captain, the Claimant may provide trip tickets for all vessels the
                           Claimant served as a Captain during the Benchmark Period.

                           – OR –

                    b.     The Claims Administrator may determine the gross vessel revenue
                           or Boat Captain earnings from Other Seafood landings in the Gulf
                           Coast Areas based on the Claimant’s tax returns, monthly profit
                           and loss statements, or financial information if the Claims
                           Administrator has sufficient information to determine:
                           (i) Claimant’s revenue from Other Seafood as compared to other
                           sources and (ii) Claimant’s revenue from Other Seafood landings
                           in the Gulf Coast Areas. If necessary, the Claims Administrator
                           may require supplemental information from the Claimant in order
                           to make these determinations.

             2.     Calculate Total Adjusted Benchmark Other Seafood Revenue by
                    multiplying the Additional Catch Adjusted Benchmark Other Seafood
                    Revenue by 1.1, the Adjustment for Changes in 2010-11 Prices.

                  Total Adjusted Benchmark Other Seafood Revenue =
      (Benchmark Other Seafood Revenue * Adjustment for Changes in 2010-11 Prices).



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            3.    If (i) the Claimant is a Vessel Owner/Commercial Fisherman Vessel
                  Lessee or (ii) the Claimant is a Boat Captain and Benchmark Revenue was
                  calculated using trip tickets or their equivalents, calculate Benchmark
                  Other Seafood Cost. Benchmark Other Seafood Cost is calculated by
                  multiplying Benchmark Other Seafood Revenue by the Other Seafood
                  Cost Percentage of 35%. The Other Seafood Cost Percentage is expressed
                  as a percentage of revenue and reflects standard industry non-labor
                  variable costs. If the Claimant is a Boat Captain and Benchmark Revenue
                  was calculated based upon his earnings, such as from tax returns or
                  financial information, then no Other Seafood Cost Percentage is applied,
                  skip to step 5.

                          Benchmark Other Seafood Cost =
          (Benchmark Other Seafood Revenue * Other Seafood Cost Percentage)

            4.    Calculate the Base Other Seafood Loss using the Other Seafood Loss
                  Percentage of 10%.

                  a.     If (i) the Claimant is a Vessel Owner/Commercial Fisherman
                         Vessel Lessee or (ii) the Claimant is a Boat Captain and
                         Benchmark Revenue was calculated using trip tickets or their
                         equivalents, the Base Loss is calculated as follows

                              Base Other Seafood Loss =
(Total Adjusted Benchmark Other Seafood Revenue – Benchmark Other Seafood Cost) * 10%

                  b.     If the Claimant is a Boat Captain and Benchmark Revenue was
                         calculated using a different source than trip tickets or their
                         equivalents, the Base Loss is calculated as follows

   Base Other Seafood Loss = Total Adjusted Benchmark Other Seafood Revenue * 10%

            5.    Determine Base Compensation by multiplying Base Other Seafood Loss
                  by the appropriate Vessel Owner/Commercial Fisherman Vessel Lessee or
                  Boat Captain share. Vessel Owner and Boat Captain shares are presented
                  in Table 3.

                  a.     Base Compensation for Vessel Owners/Commercial Fisherman
                         Vessel Lessees is calculated as:

                 Base Compensation = Base Other Seafood Loss * 50%

                  b.     Base Compensation for Other Seafood Boat Captains is calculated
                         as:




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                            i.      If Other Seafood Boat Captain Compensation is calculated
                                    based on trip tickets, then Other Seafood Boat Captain Base
                                    Compensation is calculated as:

                    Base Compensation = Base Other Seafood Loss * 30%

                            ii.     If Other Seafood Boat Captain Compensation is calculated
                                    based on tax returns and financial records, then Other
                                    Seafood Boat Captain Base Compensation is calculated as:

                           Base Compensation = Base Other Seafood Loss

                                         TABLE 3

                     OTHER SEAFOOD                 OTHER SEAFOOD
                          VESSEL                    BOAT CAPTAIN
                   OWNER/COMMERCIAL                    SHARE
                    FISHERMAN VESSEL
                       LESSEE SHARE
                            50%                            30%


       6.     Apply the RTP to Base Compensation in order to determine Final Compensation.
              Base Compensation is specific to Claimant type and is found in Table 1.

            Final Compensation = Base Compensation + (Base Compensation * RTP)

                                         TABLE 4

                                    OTHER SEAFOOD                OTHER SEAFOOD BOAT
                                        VESSEL                        CAPTAINS
                                  OWNERS/COMMERCIAL
                                   FISHERMAN VESSEL
                                        LESSEES
             RTP                          5.5                                 4.5


II.    Vessel Lease Compensation Allocation

To the extent the Vessel was leased by the Vessel Owner to the Commercial Fisherman Vessel
Lessee as of April 20, 2010, compensation will be allocated between the parties based upon
Benchmark Revenue, as calculated above and Annual Lease Payment. The Annual Lease
Payment shall be calculated as the annual payment to the Vessel Owner by the Commercial
Fisherman Vessel Lessee for the lease in effect as of April 20, 2010. The ratio of the Annual
Lease Payment to Benchmark Revenue multiplied by the Final Compensation determines the


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Vessel Owner Share of Final Compensation. The Commercial Fisherman Vessel Lessee’s Share
of Compensation is Final Compensation less the Vessel Owner’s Share of Final Compensation.

Vessel Owner Share of Final Compensation = Final Compensation * (Annual Lease Payment /
Benchmark Revenue)

Commercial Fisherman Vessel Lessee’s Share of Final Share of Compensation = Final
Compensation - Vessel Owner Share of Final Compensation.




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 Seafood Crew Compensation Plan for Individuals Who Are Seafood First Mates, Seafood
              Second Mates, Seafood Boatswains, and Seafood Deckhands

Overview

This Seafood Crew Compensation Plan is for Class Members who are Seafood First Mates,
Seafood Second Mates, Seafood Boatswains and Seafood Deckhands claiming economic loss
from employment by a Commercial Fisherman due to or resulting from the Deepwater Horizon
oil spill. Claimants seeking compensation under Category I or III must show they were
employed by a Commercial Fisherman in 2009, and Claimants seeking compensation under
Category II must show that they were employed by a Commercial Fisherman in 2009 or that
they had accepted a job offer to work for a Commercial Fisherman in 2010.

Any eligible Claimant may receive compensation based upon one of the following three
categories (but no more than one of the three categories), provided the Claimant satisfies the
requirements outlined below.

I.     INDIVIDUAL CLAIMANTS WITH TAX INFORMATION OR PAY PERIOD
       EARNINGS DOCUMENTATION FOR 2009: Applies to Claimants providing Tax
       Information Documents or Pay Period Earnings Documentation for the selected Base
       Year(s). Requirements detailed in Section I must be fulfilled.

II.    INDIVIDUAL CLAIMANTS WITHOUT TAX INFORMATION OR PAY PERIOD
       EARNINGS DOCUMENTATION WHO SUBMIT A CLAIMANT SWORN WRITTEN
       STATEMENT AND EMPLOYER SWORN WRITTEN STATEMENT TO
       ESTABLISH EARNINGS: Applies to two types of Claimants: (i) those without
       sufficient Tax Information Documents or Pay Period Earnings Documentation
       regarding 2009 earnings, but who provide Sworn Written Statements (from both the
       Claimant and the Claimant’s employer) presenting employment and compensation
       information for 2009; and (ii) those with proof of an offer of employment in a Claiming
       Job for 2010. Requirements detailed in Section II must be fulfilled.

III.   INDIVIDUAL CLAIMANTS WITHOUT TAX INFORMATION OR PAY PERIOD
       EARNINGS DOCUMENTATION WHO SUBMIT A CLAIMANT SWORN WRITTEN
       STATEMENT, SPONSOR SWORN WRITTEN STATEMENT(S) AND ATTORNEY
       SWORN WRITTEN STATEMENT (IF APPLICABLE) TO ESTABLISH EARNINGS:
       Applies to Claimants without sufficient Tax Information Documents or Pay Period
       Earnings Documentation and without an Employer Sworn Written Statement to
       document earnings for 2009 but who provide at least three Sworn Written Statements
       presenting employment and compensation information for 2009. Requirements detailed
       in Section III must be fulfilled.




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Definitions

The following defined terms used in this Seafood Crew Compensation Plan shall have the
meanings set forth below and be presented in bold-faced type.13

         A.      Actual Earnings: Claimant’s Income actually earned from the Claiming Job.

         B.      Base Year(s): A Claimant selected period, applicable to Category I only, used for
                 historical comparison and defined as one of the following options, provided that
                 once selected, the same Base Year(s) shall be used in this Seafood Crew
                 Compensation Plan for all purposes for which a Base Year(s) is required for that
                 Claimant. Provided further, a Claimant is restricted to the following three options
                 in choosing the Claimant’s Base Year(s).

                 •   2009; or

                 •   The average of 2008 and 2009; or

                 •   The average of 2007, 2008 and 2009.

         C.      Benchmark Period: For purposes of this Seafood Crew Compensation Plan,
                 the Benchmark Period for claimants in Category I is the period of April 20
                 through December 31 of the year or years selected from the Base Year(s), and the
                 Benchmark Period for claimants in Categories II and III is April 20, 2009
                 through December 31, 2009. The Benchmark Period is used to establish
                 baseline earnings to be used in calculating the Claimant’s lost earnings arising out
                 of the harvesting of seafood due to the Deepwater Horizon oil spill.

         D.      Category II Aggregate Compensation Amount: $80 million is the Aggregate
                 Compensation Amount for Category II claims.

         E.      Category III Aggregate Compensation Amount: $50 million is the Aggregate
                 Compensation Amount available to pay Category III claims.

         F.      Claiming Job(s): The job held by the Claimant that meets the definition of
                 Seafood First Mate, Seafood Second Mate, Seafood Boatswain or Seafood
                 Deckhand.

         G.      Claims Administrator: The Claims Administrator and related staff appointed
                 pursuant to the Deepwater Horizon Economic And Property Damages Settlement
                 Agreement.

         H.      Income: Gross earnings from the Claiming Job.


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     These definitions apply to the Seafood Crew Compensation Plan only and not to other aspects of the Seafood
     Compensation Program generally.


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     I.   Pay Period Earnings Documentation: Documentation sufficient to establish a
          Claimant’s earnings from employment and hours worked during the applicable
          Benchmark Period. Documentation may include:

          •   Paycheck stubs; and/or

          •   Other employer records documenting actual amounts paid, if applicable;
              and/or

          •   Bank records showing income deposits and supporting documentation
              indicating the source of those deposits; and/or

          •   Receipts or records from check cashing or payday loan services and
              supporting documentation indicating the source of those funds; and/or

          •   Contracts for employment accompanied by documentation establishing that
              wages or other amounts to be paid pursuant to the contract, if applicable, were
              in fact paid; and/or

          •   Pay period earnings detail submitted under oath and included in court filings
              (for example, documentation provided in connection with divorce, child
              support, or wage garnishment proceedings).

     J.   Tax Information Documents: Tax Returns or Forms W-2 and/or 1099s.

     K.   Tax Returns: Federal or state income tax returns, including any relevant
          supporting schedules.

     L.   Sworn Claim Form: Each Claimant must complete and submit a Claim Form
          which the Claimant shall verify under penalties of perjury. The Claim Form
          shall direct the Claimant to provide information, including the Claimant’s chosen
          Base Year(s) for Category I. The Claimant shall attach required documents
          supporting the claim. All statements made in, and documents submitted with, the
          Sworn Claim Form may be verified as judged necessary by the Claims
          Administrator. The Claimant shall provide forms in which the Claimant shall
          authorize the Claims Administrator to: (1) verify employment and obtain copies
          of wage records, (2) obtain the relevant Tax Information Documents from the
          Internal Revenue Service and/or Social Security Administration, and (3) confirm
          any bank account information used in support of a claim, but the authorization for
          bank records shall be limited to the Claimant’s chosen Base Year(s). The Claim
          Form may be submitted in electronic fashion, including scanning of documents or
          copies of verification from public databases providing the same information as
          would be provided by the original document.




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I.    CATEGORY I: INDIVIDUAL CLAIMANTS WITH TAX INFORMATION OR
      PAY PERIOD EARNINGS DOCUMENTATION FOR 2009

      Category I is open to all eligible Class Members claiming economic loss arising out of
      the harvesting of Seafood where the Claimant was employed by a Commercial
      Fisherman in 2009, worked or anticipated to work harvesting Seafood in 2010, and can
      provide sufficient documentation as set forth below. Claimant must provide either:
      (i) Claimant’s federal or state Tax Information Documents (Tax Returns or Forms
      W-2 and/or 1099) for the selected Base Year(s) or (ii) Pay Period Earnings
      Documentation sufficient to establish earnings from the Claiming Job for the selected
      Base Year(s). The Claimant’s compensation shall be calculated as set forth in Section
      I.D below and shall be based on the earnings from the Benchmark Period and the
      applicable RTP.

      A.      Documentation Requirements

             1.     Documentation Establishing Employment Earnings: For each year
                    included in the selected Base Year(s), Individual Claimants must provide
                    at least one of the following Tax Information Documents:

                    •      Federal tax Form 1040 pages 1 and 2, all pages of Schedules C, E,
                           and F, and any supporting statements attached to the Form 1040
                           filing (including Form W-2s for joint returns); or

                    •      State tax return, including any supporting schedules or statements;
                           or

                    •      Forms W-2 documenting earnings from the Claiming Job; or

                    •      Forms 1099 documenting earnings from the Claiming Job.

                    AND/OR

             For each year included in the selected Base Year(s), Pay-Period Earnings
             Documentation sufficient to establish the source(s) and amounts of earnings,
             which may include as follows:

                    •      Bank records showing income deposits and supporting
                           documentation indicating the source of those deposits; and/or

                    •      Documents from BP/GCCF/Transition Facility showing payment
                           and the Claimant’s BP/GCCF/Transition Facility Claim Number;

                    •      Receipts or records from check cashing services or payday loan
                           services and supporting documentation indicating the source of the
                           funds; and/or



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                •     Other documents provided by an employer setting forth for such
                      other employment position(s): (i) required hours of work, (ii)
                      actual hours worked by Claimant, and (iii) compensation rate for
                      the Claiming Jobs.

          2.    Additional Claimant Documentation:

                a.    Claimant Employability Documentation: Consists of both:

                      i.     A copy of a Social Security card, government-issued
                             identification (for example, a valid driver’s license),
                             temporary worker visa, or green card that was valid as of
                             April 20, 2010 for the Claimant, or a print out from a public
                             database providing the same information as would be
                             provided by the original document;


                             AND

                      ii.    Evidence the Claimant was at least 16 years of age as of
                             April 20, 2010. Acceptable evidence includes a copy of a
                             valid driver’s license, a valid passport, a certified copy of
                             the Claimant’s birth certificate, or a print out from a public
                             database providing the same information as would be
                             provided by the original document.

                b.    Licensing Documentation: If Claimant’s employment requires a
                      government-issued license/permit, a copy of valid 2009 or 2010
                      licenses (even if it had expired), if appropriate, or a print out from
                      a public database providing the same information as would be
                      provided by the original document.

                c.    Work Availability: A statement and documentation sufficient to
                      establish that the Claimant was present and available to work in
                      close enough proximity to the location of employment to travel to
                      the job as frequently as required by the employer during the period
                      from April 21, 2010 through December 31, 2010.

                      i.     Documentation that could demonstrate presence and
                             availability includes, but is not limited to, the following:

                             (A)     Proof of home ownership and address; or

                             (B)     A lease or rental agreement; or

                             (C)     A sublease agreement; or

                             (D)     Contemporaneous utility bills.

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                           ii.    Documentation that could demonstrate location of
                                  employment includes, but is not limited to, the following:

                                  (A)     Employer’s business name and address; or

                                  (B)     Jobsite location; or

                                  (C)     Docking and port information for a vessel.

             3.     Seafood Spill-Related Payments:

      The Claimant shall provide a Sworn Written Statement attesting whether or not the
      Claimant received any Seafood Spill-Related Payments. If the Claimant received
      Seafood Spill-Related Payments, the Claimant shall provide documents sufficient to
      establish the timing, amount and source of Seafood Spill-Related Payments, including
      documents providing the claimant’s BP/GCCF/Transition Facility Claim Number, if
      applicable, and any corresponding payments.

      B.      Causation Requirements

      For Claimant’s who satisfy the Documentation Requirements, the DWH Spill shall be
      presumed to be the cause of the Claimant’s lost earnings for a Claiming Job.

      C.      RTP

      An RTP of 2.25 shall apply to all Claimants with claims that qualify for compensation
      under Category I of this Seafood Crew Compensation Plan.

      D.      Compensation Calculation

      The Claims Administrator shall use Tax Information Documents and/or Pay Period
      Earnings Documentation and/or other supporting documentation provided by the
      Claimant to calculate the Claimant’s lost earnings from the Claiming Job. The
      Claimant’s lost earnings shall be calculated as 37% of the average Actual Earnings from
      the Claiming Jobs held by the Claimant during the Benchmark Period. The Claimant
      shall receive a lump-sum payment of this amount. Claimants who provide documents
      sufficient to prove Work Availability as set forth in Section I.A.2.c above will also
      receive the applicable RTP.

II.   INDIVIDUAL CLAIMANTS WITHOUT TAX INFORMATION OR PAY
      PERIOD EARNINGS DOCUMENTATION WHO SUBMIT A CLAIMANT
      SWORN WRITTEN STATEMENT AND EMPLOYER SWORN WRITTEN
      STATEMENT TO ESTABLISH EARNINGS

      Category II is open to all eligible Class Members who anticipated working in the
      Seafood Industry in 2010 and can provide sufficient documentation as set forth below,
      through two alternative methods. First, any Claimant who does not have sufficient Tax
      Information Documents or Pay Period Earnings Documentation for the Claiming

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     Job evidencing the Claimant’s earnings during 2009 may instead establish lost earnings
     and causation by submitting, in addition to a Sworn Claim Form, (a) a Claimant Sworn
     Written Statement with specified contents (see below), (b) one or more Employer
     Sworn Written Statement(s) providing information for 2009, and (c) any other specified
     documentation (see below). If the Claimant submits an Employer Sworn Written
     Statement from a parent, grandparent, child, grandchild, spouse, brother, sister, aunt,
     uncle, niece, nephew, brother-in-law, sister-in-law, step-parent, step-brother, step-sister
     or step-child of the Claimant, then the Claimant shall submit an additional Sponsor
     Sworn Written Statement from a person not related to the Claimant. The Claimant’s
     compensation shall be calculated as set forth in Section II.D below and shall be based on
     the earnings from 2009 in the Benchmark Period and the applicable RTP.

     In addition, Claimants who can establish that they were offered and accepted
     employment in a Claiming Job prior to April 20, 2010 for the period of April 20, 2010
     through December 31, 2010 and that the offer was withdrawn or rescinded in whole or
     part after April 20, 2010 may establish lost earnings and causation by submitting, in
     addition to a Sworn Claim Form, (a) a Claimant Sworn Written Statement with
     specified contents (see below), (b) one or more Employer Sworn Written Statements(s)
     providing information related to the job offer, and (c) any other specific documentation
     (see below).

     All Claimants who seek compensation under Category II shall submit the Sworn Claim
     Form and all necessary documents in a final and complete form no later than the Bar
     Date. Any claim that is not filed as of the Bar Date shall be rejected, and the Claimant
     shall receive no compensation under this Settlement Agreement for the Claimant’s lost
     earnings for the Claiming Job.

     The Claims Administrator shall receive and process claims under Category II as
     required to allow for Claimant and/or the Claims Administrator to supplement the claim
     or acquire any additional necessary information or documentation. However, no
     Category II claim shall be paid until after the Bar Date. After the Bar Date, the Claims
     Administrator shall process as expeditiously as possible all timely submitted claims as
     described in further detail in Section II.C below.

     A.      Documentation And Causation Requirements:

     A Category II claimant must provide a Sworn Claim Form and the documents identified
     below. The Claims Administrator shall review and assess the documentation provided
     by the Claimant, including information from the Claimant’s employer(s), and any other
     information deemed relevant by the Claims Administrator, for purposes of determining
     whether the Claimant had earnings in 2009 from employment as a Seafood First Mate,
     Seafood Second Mate, Seafood Boatswain or Seafood Deckhand or whether the
     Claimant had a legitimate job offer that was rescinded or withdrawn in whole or in part
     for employment as a Seafood First Mate, Seafood Second Mate, Seafood Boatswain
     or Seafood Deckhand. The Claims Administrator shall rely on his assessment of the
     credibility and reliability of the information submitted in determining if the causation


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     requirement is satisfied and the amount of any lost earnings arising out of the harvesting
     of Seafood due to the Deepwater Horizon oil spill.

            1.     Claimant Sworn Written Statement: The Claimant shall submit a
                   Claimant Sworn Written Statement which sets forth all of the following
                   information and shall attach any relevant documents in Claimant’s
                   possession:

                   a.      The Claimant’s employment history with each employer,
                           including, for example, the nature of the work performed, number
                           of years worked, whether the employment is steady or seasonal,
                           year-round or intermittent, and the circumstances of the Claimant’s
                           departure and/or termination, if applicable. At a minimum, the
                           Claimant shall include for each of the Claimant’s employers in
                           2009, the business name, last known address and telephone
                           number.

                   b.      The Claimant’s income from all sources in 2009, and any other
                           earnings history that the Claimant believes is relevant to support
                           the claim, including any support for the Claimant’s belief that
                           these actual earned amounts are accurate.

                   c.      A statement attesting whether or not the Claimant received any
                           Seafood Spill-Related Payments. If the Claimant received Spill-
                           Related Payments, the Claimant shall provide documents sufficient
                           to establish the timing, amount and source of Seafood Spill-
                           Related Payments, including documents providing the claimant’s
                           BP/GCCF/Transition Facility Claim Number, if applicable, and
                           any corresponding payments.

                   d.      Work Availability: A statement and documents sufficient to
                           establish that the Claimant was present and available to work in
                           close enough proximity to the anticipated location of employment
                           to travel to the job as frequently as required by the employer
                           during the period from April 21, 2010 through December 31, 2010.

                           i.     To be potentially eligible for an RTP, the Claimant must
                                  satisfy the above requirement for the period April 21, 2010
                                  through December 31, 2010.

                           ii.    Documentation that could demonstrate presence and
                                  availability includes, but is not limited to, the following:

                                  (A)     A lease or rental agreement; or

                                  (B)     A sublease agreement; or

                                  (C)     Contemporaneous utility bills.

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                        iii.    Documentation that could demonstrate location of
                                employment includes, but is not limited to, the following:

                                (A)    Employer’s business name and address; or

                                (B)    Jobsite location; or

                                (C)    Docking and port information for a vessel.

                 e.     If the Claimant is seeking compensation based on a job offer, the
                        Claimant shall provide proof of an offer of employment made and
                        accepted prior to April 20, 2010 for employment between April 21
                        and December 31, 2010. The proof must include information
                        sufficient to establish proposed start and end dates, wage rates and
                        projected hours, and withdrawal in whole or part of the offer
                        during the period April 21 through December 31, 2010.

          2.     Claimant Employability Documentation:

          In order to prove employability, the Claimant should provide both:

                 a.     A copy of a Social Security card, government-issued identification
                        (for example, a valid driver’s license), temporary worker visa, or
                        green card that was valid as of April 20, 2010, or a print out from a
                        public database providing the same information as would be
                        provided by the original document.

                        AND

                 b.     Evidence that the Claimant was at least 16 years of age as of April
                        20, 2010. Acceptable evidence includes a valid driver’s license, a
                        valid passport, or a copy of the Claimant’s birth certificate, or a
                        print out from a public database providing the same information as
                        would be provided by the original document.

          3.     Licensing Documentation: If the Claimant’s employment in the
                 Claiming Job requires a government-issued license/permit, the Claimant
                 shall provide a copy of 2009 license(s) (even if it had expired), or a print
                 out from a public database providing the same information as would be
                 provided by the original document.

          4.     Employer Sworn Written Statement: The Claimant shall submit an
                 Employer Sworn Written Statement from at least one of the Claimant’s
                 employers for 2009, which sets forth the following information with any
                 relevant documents attached.




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                a.    Employer Information

                      i.      Employer’s business name

                      ii.     Address(es)

                      iii.    Telephone number(s)

                      iv.     Website(s), if available

                      v.      A description of the nature of the business

                      vi.     Compensation practices (for example, weekly or bi-weekly
                              pay periods), wage rates, and typical hours worked for
                              employees holding jobs comparable to the Claiming Job.

                      vii.    The size and scale of the employer’s business, such as:

                              (A)    Size of the vessel;

                              (B)    Best estimate of the number of customers;

                              (C)    Best estimate of the volume of product produced
                                     (such as volume of seafood harvested);

                              (D)    Best estimate of the number of full-time and part-
                                     time employees; or,

                              (E)    Financial information

                      viii.   The number of Employer Sworn Written Statements
                              submitted on behalf of any Seafood Crew Compensation
                              Plan.

                b.    Employee Information

                      i.      The Claimant’s employment history with employer,
                              including, for example, the nature of the work performed,
                              number of years worked, whether the employment is steady
                              or seasonal, year-round or intermittent, and the
                              circumstances of the Claimant’s departure and/or
                              termination, if applicable.

                      ii.     The Claimant’s wage rate and total compensation for 2009.
                              If the employer cannot provide precise actual dates and
                              times, it shall be sufficient for the employer to provide
                              more general information satisfying this standard – for
                              example, “Claimant was employed for 30 days at a rate of


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                                  $100 per day for 12 weeks during the months of June -
                                  August 2009”.

                           iii.   If the employer (i) employed the Claimant and/or
                                  (ii) offered the Claimant employment during the period
                                  from April 20, 2010 to December 31, 2010, the employer
                                  shall provide the following:

                                  (A)     How the employer (a) terminated the Claimant’s
                                          employment, (b) reduced the Claimant’s hours of
                                          work, (c) withdrew an offer of employment, (d) did
                                          not extend an offer of seasonal (partial year)
                                          employment to the Claimant, or (e) otherwise
                                          reduced employee’s compensation due to or
                                          resulting from the DWH Spill with sufficient detail
                                          to permit the Claims Administrator to calculate
                                          the Claimant’s lost hours of work and lost earnings
                                          from such employment during such period.

                                  (B)     A specific explanation of how (i) the reduction of
                                          Claimant’s hours of work, or (ii) the withdrawal of,
                                          or (iii) the failure to extend, an offer of employment
                                          was due to or resulting from the DWH Spill.

     The number of Employer Sworn Written Statements submitted by an employer on
     behalf of the Claimant and any other Claimants shall be monitored by the Claims
     Administrator for reasonableness in light of the employer’s operations. For example, it
     would be anticipated that a 45-foot boat would have approximately two full-time
     equivalent employees, or that a 75-foot boat would have approximately three full-time
     equivalent employees.

            5.     Sponsor Sworn Written Statement:

     If the Claimant submits an Employer Sworn Written Statement from a parent,
     grandparent, child, grandchild, spouse, brother, sister, aunt, uncle, niece, nephew,
     brother-in-law, sister-in-law, step-parent, step-brother, step-sister or step-child of the
     Claimant, the Claimant shall also submit a Sponsor Sworn Written Statement which
     sets forth the following information with any relevant documents attached.

                   a.      The sponsor’s name, address, daytime and evening telephone
                           numbers, Social Security number or government issued
                           identification number, and the length of time the sponsor has
                           resided at their current address.

                   b.      A statement that a true and correct copy of one (or more) of the
                           following forms of valid identification of the sponsor is attached:
                           valid driver’s license, Social Security card, valid U.S. Passport,


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                                  Green Card, and attached copies, or verification from a public
                                  database that the sponsor has one or more of the listed items.

                         c.       The sponsor’s relationship to the Claimant, which must be other
                                  than the parent, grandparent, child, grandchild, spouse, brother,
                                  sister, aunt, uncle, niece, nephew, brother-in-law, sister-in-law,
                                  step-parent, step-sister, step-brother or step-child of the Claimant
                                  and the basis for the sponsor’s personal knowledge of the
                                  Claimant’s employment.14

                         d.       A description of the Claimant’s employment prior to April 20,
                                  2010, if relevant, the Claimant’s expected employment as a
                                  Seafood First Mate, Seafood Second Mate, Seafood Boatswain,
                                  or Seafood Deckhand thereafter, and the sponsor’s basis of
                                  knowledge for these facts.

                                  i.      An explanation of how the reduction of Claimant’s hours of
                                          work, termination of the Claimant’s employment, or
                                          withdrawal of an offer of employment during the period
                                          from April 21, 2010 through December 31, 2010, was due
                                          to or resulting from the DWH Spill and the sponsor’s basis
                                          of knowledge for these facts.

                                  ii.     A representation that the sponsor has not submitted a
                                          Sponsor Sworn Written Statement for more than ten
                                          other claimants.

                                  iii.    A representation that the sponsor understands and
                                          acknowledges that the Claims Administrator will rely on
                                          statements in the Sponsor Sworn Written Statement,
                                          which acknowledgement the sponsor verifies under penalty
                                          of perjury is true and correct.

                                  iv.     A representation that the sponsor understands that
                                          fraudulent claims and statements will be prosecuted to the
                                          full extent of the law.

          B.      Interviews

                 1.      The Claims Administrator shall have the right to interview all Claimants,
                         employer(s) and sponsor(s) as the Claims Administrator deems
                         appropriate. For example, if an employer submits Employee Sworn
                         Statements on behalf of more employees than the Claims Administrator
                         determines could reasonably have been employed in the job by the

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     The standard to be applied is whether or not the Sponsor’s statement contains facts that would allow the
     Sponsor to testify under the Federal Rules of Evidence as being within the Sponsor’s personal knowledge.


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                   employer, then the Claims Administrator may determine an interview of
                   the employer is appropriate. The Claims Administrator shall follow the
                   Interview Guidelines contained in Exhibit 83 of the Deepwater Horizon
                   Economic and Property Settlement Agreement (Addendum to Individuals
                   Framework - Interviews of Claimants Alleging Individual Economic Loss
                   and Other Individuals Providing Sworn Statements in Support of Such a
                   Claim).

     C.      RTP

     An RTP of 2.25 shall apply only to Claimants with claims that qualify for compensation
     under Category II of this Seafood Compensation Plan and who provide documents
     sufficient to prove Work Availability as set forth in Section II.A.1.d above.

     D.      Description Of Compensation Calculation And Distribution Of Payments

     The Claims Administrator shall determine the amount of Claimant’s lost earnings
     relating to employment by a Commercial Fisherman due to or resulting from the
     Deepwater Horizon oil spill based on the totality of the information provided by the
     Claimant and the Claimant’s employer(s), including the Sworn Claim Form, the
     Claimant Sworn Written Statement, the Employer Sworn Written Statement(s), and,
     if applicable, the Sponsor Sworn Written Statement(s), and any other supporting
     documentation provided by the Claimant. The Claims Administrator cannot rely solely
     on the Claimant Sworn Written Statement for proof of lost earnings.

     The Claims Administrator shall receive and process claims under Category II as
     required to allow for Claimants and/or the Claims Administrator to supplement the
     claim or acquire any additional necessary information or documentation. No Category II
     claim shall be paid until after the Bar Date. After the Bar Date for Category II claims,
     the Claims Administrator shall determine whether each Claimant who timely submitted
     a Category II claim is eligible and qualified to receive compensation.

     The Claims Administrator shall determine compensation for Category II Claimants as
     follows. For claimants that establish a valid job offer, their lost potential earnings
     relating to potential employment by a Commercial Fisherman due to or resulting from
     the Deepwater Horizon oil spill shall be calculated as the wages that the Claims
     Administrator establishes would have been earned from April 21, 2010 through
     December 31, 2010. For example, if the Claimant validly established a qualifying job
     offer for 40 hours per week that was revoked, the Claimant could establish lost earnings
     of the hourly wage times 40 hours per week times 36 weeks.

     For Category II claimants, the Claimant’s base compensation shall be calculated as:
     (i) 37% of the Actual Earnings from the Claiming Jobs held by the Claimant during the
     Benchmark Period; or, (ii) as 37% of the Claimant’s potential earnings for April 20,
     2010 through December 31, 2010.

     The Claimant shall receive a lump-sum payment equal to the Claimant’s base
     compensation plus any applicable RTP.
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       No Claimant in Category II shall receive more than $9,500 in base compensation before
       application of the RTP. Further, if the total aggregate amount of Category II
       compensation claims for all claimants who have timely submitted eligible and qualifying
       Category II claims exceeds the Aggregate Compensation Amount for Category II,
       then Category II claimants will be subject to a pro rata reduction in compensation. If the
       Aggregate Compensation Amount for Category II is not exhausted, then any
       remaining amount within the Aggregate Compensation Amount for Category II shall
       be distributed as part of the balance described in the “General Framework and Overview
       of Seafood Compensation Program Distribution” Section of the Seafood Compensation
       Program.

       There are no appeal process rights available under Category II of the Seafood Crew
       Compensation Plan. The decision of the Claims Administrator is final and not
       appealable.

III.   CLAIMANTS WITHOUT TAX INFORMATION OR PAY PERIOD EARNINGS
       DOCUMENTATION WHO SUBMIT A CLAIMANT SWORN WRITTEN
       STATEMENT,    SPONSOR SWORN WRITTEN STATEMENT(S) AND
       ATTORNEY SWORN WRITTEN STATEMENT (IF APPLICABLE) TO
       ESTABLISH EARNINGS

       Any Claimant who does not have Tax Information Documents or Pay Period Earnings
       Documentation for the Claiming Job evidencing the Claimant’s earnings during 2009
       may instead establish lost earnings and causation, by submitting in addition to a Sworn
       Claim Form: (a) a Claimant Sworn Written Statement with specified contents,
       (b) one or more Sponsor Sworn Written Statement(s) and/or one or more Attorney
       Sworn Written Statements(s), and (c) any other specified documentation. In addition,
       the Claims Administrator may interview the Claimant and/or the sponsor(s) and/or the
       attorney(s) if the Claims Administrator determines an interview is appropriate.

       All Claimants who seek compensation under Category III shall submit the Sworn Claim
       Form and all necessary documents in a final and complete form no later than the Bar
       Date. Any claim that is not filed as of the Bar Date shall be rejected, and the Claimant
       shall receive no compensation under this Settlement Agreement for the Claimant’s lost
       earnings for the Claiming Job.

       The Claims Administrator shall receive and process claims under Category III as
       required to allow for Claimants and/or the Claims Administrator to supplement the
       claim or acquire any additional necessary information or documentation. However, no
       Category III claim shall be paid until after the Bar Date. After the Bar Date, the Claims
       Administrator shall process as expeditiously as possible all timely submitted claims as
       described in further detail in subsection C below.

       There are no appeal process rights available under Category III of the Seafood Crew
       Compensation Plan. The decision of the Claims Administrator is final and not
       appealable.


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     A.      Documentation And Causation Requirements:

     A Category III claimant must provide a Sworn Claim Form and all of the documents
     identified below. The Claims Administrator shall review and assess the documentation
     provided by the Claimant, including information from the Claimant’s sponsor(s) and/or
     attorney(s), and any other information deemed relevant by the Claims Administrator,
     for purposes of determining whether the Claimant had Actual Earnings in 2009 from
     employment as a Seafood First Mate, Seafood Second Mate, Seafood Boatswain or
     Seafood Deckhand. The Claims Administrator shall rely on his assessment of the
     credibility and reliability of the information submitted in determining if the causation
     requirement is satisfied and the amount of any lost earnings relating to employment by a
     Commercial Fisherman due to or resulting from the Deepwater Horizon oil spill.

            1.     Claimant Sworn Written Statement: The Claimant shall submit a
                   Claimant Sworn Written Statement which sets forth all of the following
                   information and shall attach any relevant documents in Claimant’s
                   possession:

                   a.     Information about each employer for whom a claimant worked at
                          any time in 2009 and/or 2010, including, for example, the nature of
                          the work performed, number of years worked, whether the
                          employment is steady or seasonal, year-round or intermittent, and
                          the circumstances of the Claimant’s departure and/or termination,
                          if applicable. At a minimum, the Claimant shall include the
                          following:

                          i.      The business name, last known address, and telephone
                                  number of each of Claimant’s employers for 2009 and/or
                                  2010.

                   b.     The Claimant’s actual earned income from all sources in 2009 and
                          2010, and any other earnings history that the Claimant believes is
                          relevant to support the claim, including any support for the
                          Claimant’s belief that these actual earned amounts are accurate.

                   c.     An explanation of how the reduction of Claimant’s hours of work,
                          termination of the Claimant’s employment, and/or withdrawal of
                          an offer of employment related to the Claiming Job(s) for the
                          period from April 21 through December 31, 2010 was due to or
                          resulting from the DWH Spill.

                   d.     The name, address and telephone number of any individual
                          submitting a Sponsor Sworn Written Statement and the
                          Claimant’s relationship to such sponsor and/or the name, address
                          and telephone number of an attorney submitting an Attorney
                          Sworn Written Statement.



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                 e.      A Sworn Statement attesting whether or not the Claimant received
                         any Seafood Spill-Related Payments. If the Claimant received
                         Seafood Spill-Related Payments, the Claimant shall provide
                         documents sufficient to establish the timing, amount and source of
                         Seafood Spill-Related Payments, including documents providing
                         the claimant’s BP/GCCF/Transition Facility Claim Number, if
                         applicable, and any corresponding payments.

                 f.      A statement and documents sufficient to establish that the
                         Claimant was present and available to work in close enough
                         proximity to the anticipated location of employment to travel to the
                         job as frequently as required by the employer during the period
                         from April 21, 2010 through December 31, 2010.

                         i.     Documentation that could demonstrate presence and
                                availability includes, but is not limited to, the following:

                                (A)     A lease or rental agreement; or

                                (B)     A sublease agreement; or

                                (C)     Contemporaneous utility bills.

                         ii.    Documentation that could demonstrate the location of
                                employment or anticipated location of employment
                                includes, but is not limited to, the following:

                                (A)     Employer’s business name and address; or

                                (B)     Jobsite location; or

                                (C)     Docking and port information for a vessel.

          2.     Claimant Employability Documentation:

          Consists of both:

                 a.      A copy of a Social Security card, government-issued identification
                         (for example, a valid driver’s license), temporary worker visa, or
                         green card that was valid as of April 20, 2010, or a print out from a
                         public database providing the same information as would be
                         provided by the original document.

                         AND

                 b.      Evidence that the Claimant was at least 16 years of age as of April
                         20, 2010. Acceptable evidence includes a valid driver’s license, a
                         valid passport, or a copy of the Claimant’s birth certificate, or a

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                       print out from a public database providing the same information as
                       would be provided by the original document.

          3.    Licensing Documentation: If the Claimant’s employment in the
                Claiming Job requires a government-issued license/permit, the Claimant
                shall provide a copy of valid 2009 and/or 2010 licenses (even if it had
                expired before that date), or a print out from a public database providing
                the same information as would be provided by the original document.

          4.    Sponsor Sworn Written Statements and/or Attorney Sworn Written
                Statement: In addition to the Claimant Sworn Statement, the Claimant
                must submit two additional Sworn Written Statements. The Claimant
                shall be required to submit an Attorney Sworn Written Statement if an
                attorney:

                a.     submitted or pursued a claim on the Claimant’s behalf in the OPA
                       Process, or,

                b.     submitted or pursued a claim on the Claimant’s behalf in the
                       Transition Process, or,

                c.     submitted or pursued any claim on the Claimant’s behalf in the
                       Deepwater Horizon Economic Litigation, such as a Plaintiff
                       Profile Form or Short Form Joinder, or

                d.     represents the Claimant for any claims arising from, or related to,
                       the Deepwater Horizon Incident.

                If the attorney for the Claimant has withdrawn his or her representation of
                the Claimant, then the Claimant will not be required to submit an
                Attorney Sworn Written Statement. In addition to the Attorney Sworn
                Written Statement, the Claimant shall also submit a Sponsor Sworn
                Written Statement. A sponsor who submits a Sponsor Sworn Written
                Statement may not be the parent, grandparent, child, grandchild, spouse,
                brother, sister, aunt, uncle, niece, nephew, brother-in-law, sister-in-law,
                step-parent, step-brother, step-sister or step-child of the Claimant, unless
                such sponsor employed the Claimant at some time during 2009 or 2010.

                If the Claimant is not required to submit an Attorney Sworn Written
                Statement as set forth above, the Claimant must submit either two
                Sponsor Sworn Written Statements (at least one sponsor must be
                unrelated to the Claimant) or a Sponsor Sworn Written Statement and
                an Attorney Sworn Written Statement.

                e.     Sponsor Sworn Written Statement: a Sponsor Sworn Written
                       Statement must include the following information:



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                                  i.      The sponsor’s name, address, daytime and evening
                                          telephone numbers, Social Security number or government
                                          issued identification number, and the length of time the
                                          sponsor has resided at their current address.

                                  ii.     A statement that a true and correct copy of one (or more) of
                                          the following forms of valid identification of the sponsor is
                                          attached: valid driver’s license, Social Security card, valid
                                          U.S. Passport, Green Card, and attached copies, or
                                          verification from a public database that the sponsor has one
                                          or more of the listed items.

                                  iii.    The sponsor’s relationship to the Claimant, which must be
                                          other than the parent, grandparent, child, grandchild,
                                          spouse, brother, sister, aunt, uncle, , niece, nephew,
                                          brother-in-law, sister-in-law, step-parent, step-sister, step-
                                          brother or step-child of the Claimant unless such person
                                          was the Claimant’s employer in 2009 or 2010 and the basis
                                          for the sponsor’s personal knowledge of the Claimant’s
                                          employment.15

                                  iv.     A description of the Claimant’s employment prior to
                                          April 20, 2010, and, if relevant, the Claimant’s expected
                                          employment as a Seafood First Mate, Seafood Second
                                          Mate, Seafood Boatswain, or Seafood Deckhand
                                          thereafter, and the sponsor’s basis of knowledge for these
                                          facts.

                                  v.      An explanation of how the reduction of Claimant’s hours of
                                          work, termination of the Claimant’s employment, or
                                          withdrawal of an offer of employment during the period
                                          from April 21, 2010 through December 31, 2010, was due
                                          to or resulting from the DWH Spill and the sponsor’s basis
                                          of knowledge for these facts.

                                  vi.     A representation that the sponsor has not submitted a
                                          Sponsor Sworn Written Statement for more than ten
                                          other claimants.

                                  vii.    A representation that the sponsor understands and
                                          acknowledges that the Claims Administrator will rely on
                                          statements in the Sponsor Sworn Written Statement,
                                          which acknowledgement the sponsor verifies under penalty
                                          of perjury is true and correct.

15
     The standard to be applied is whether or not the Sponsor’s statement contains facts that would allow the
     Sponsor to testify under the Federal Rules of Evidence as being within the Sponsors personal knowledge.


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                                    viii.    A representation that the sponsor understands that
                                             fraudulent claims and statements will be prosecuted to the
                                             full extent of the law.

                           f.       Attorney Sworn Written Statement: an Attorney Sworn
                                    Written Statement must include the following information:

                                    i.       The attorney’s full name, office address, office telephone
                                             number, and email address.

                                    ii.      The attorney’s Bar Association membership number.

                                    iii.     The attorney’s relationship to the Claimant, including a
                                             description of when the attorney began representation of
                                             the Claimant, and the scope of such representation.

                                    iv.      A representation that the attorney has made a reasonable
                                             investigation of the Claimant’s Sworn Claim Form and
                                             Claimant Sworn Written Statement and that the
                                             attorney’s findings are, to the best of the Attorney’s
                                             knowledge, reasonably consistent with the content of such
                                             Claim Form and Claimant Sworn Written Statement.
                                             Such investigation shall be made by the attorney or a
                                             member of the attorney’s staff. If a member of the
                                             attorney’s staff makes the investigation, the Attorney
                                             Sworn Written Statement shall identify the staff member.
                                             Furthermore, whether the attorney or a staff member makes
                                             the investigation, the Attorney Sworn Written Statement
                                             shall state with specificity what steps were taken in the
                                             investigation in conducting the investigation.

                                    v.       A representation that the attorney understands and
                                             acknowledges that the Claims Administrator will rely on
                                             statements in the Attorney Sworn Written Statement, which
                                             acknowledgement the attorney verifies under penalty of
                                             perjury is true and correct.

          B.       Interviews

                  1.       The Claims Administrator shall have the right to interview all Claimants
                           and related sponsor(s) and/or attorney(s) in this Category III if the Claims
                           Administrator determines an interview is appropriate.16 The Claims

16
     In addition, nothing in this Seafood Crew Compensation Program shall in any way limit the right and
     obligation of the Claims Administrator to investigate fully all suspicions of fraudulent conduct by or on behalf
     of any claimant, including but not limited to conducting any interviews and obtaining any documents the
     Claims Administrator deems necessary.


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                      Administrator shall follow the Interview Guidelines contained in the
                      Deepwater Horizon Economic and Property Settlement Agreement.

        C.     Description Of Compensation Calculation And Distribution Of Payments

The Claims Administrator shall determine whether the Claimant is eligible and qualified to
receive compensation for a Category III claim based on the totality of the information provided
by the Claimant, the Claimant’s sponsor(s), and the Claimant’s attorney, including the Sworn
Claim Form, the Claimant Sworn Written Statement, the Claimant Employability
Documentation, the Licensing Documentation, the Sponsor Sworn Written Statement
and/or the Attorney Sworn Written Statement, any other supporting documentation provided
by the Claimant, and any additional interviews or information as deemed appropriate by the
Claims Administrator. The Claimant is eligible and qualified to receive compensation for a
Category III claim if the Claims Administrator determines, based upon this information, that
the Claimant had actual earnings from employment as a Seafood First Mate, Seafood Second
Mate, Seafood Boatswain, or Seafood Deckhand during the time period of January 1, 2009
through April 20, 2010.

The Claims Administrator shall receive and process claims under Category III as required to
allow for Claimants and/or the Claims Administrator to supplement the claim or acquire any
additional necessary information or documentation. No Category III claim shall be paid until
after the Bar Date. After the Bar Date for Category III claims, the Claims Administrator shall
determine whether each Claimant who timely submitted a Category III claim is eligible and
qualified to receive compensation. If the Claims Administrator determines that a Claimant is
eligible and qualified to receive compensation for a Category III claim, the Claimant shall
receive a lump-sum payment of $5,000. If the total aggregate amount of Category III
compensation claims for all claimants who have timely submitted eligible and qualifying
Category III claims exceeds the Aggregate Compensation Amount for Category III, then
Category III Claimants will be subject to a pro rata reduction in compensation. If the Aggregate
Compensation Amount for Category III is not exhausted, then any remaining amount within
the Aggregate Compensation Amount for Category III shall be distributed as part of the
balance described in the “General Framework and Overview of Seafood Compensation Program
Distribution” Section of the Seafood Compensation Program.




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              SEAFOOD SPILL-PAYMENT REDUCTION PROCEDURES

If the Claims Administrator determines that the Claimant has received Seafood Spill-Related
Payments, the Claims Administrator shall offset any compensation under the Seafood
Compensation Program by the total of the Seafood Spill-Related Payment amount. If a Claimant
qualifies for compensation under multiple provisions of the Seafood Compensation Program, the
Seafood Spill-Related Payment is only applied once. For example, if a Claimant qualifies to
receive: (i) $275,563 under the Shrimp Reduced Expedited Compensation Program; (ii) $32,000
under the Blue Crab/Other Seafood Compensation Program; and (iii) received $25,000 in
Seafood Spill-Related Payments, his compensation under the Seafood Compensation Program
would be: $282,563 ($275,563 + $32,000 - $25,000).




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                 Compensation Framework for Coastal Real Property Claims

1. Eligibility Requirements

         A. Eligible Claimants shall be comprised of claimants who do not fall within the
            exclusions to the Economic Loss and Property Class Definition and who are
            owners or lessees of Eligible Parcels satisfying the following criteria:

                   i.    The claimant owned the Eligible Parcel during the time period April 20,
                         2010 to December 31, 2010; or

                  ii.    The claimant was a lessee of the Eligible Parcel, and the lease provided
                         for possession of the Eligible Parcel for a period of 60 days or longer
                         during the time period April 20, 2010 to December 31, 2010 and the lease
                         was executed prior to April 20, 2010.

                              i. The Claims Administrator shall determine whether an Eligible
                                 Claimant(s) is/are the owner(s) of an Eligible Parcel.

         B. Coastal Real Property Claim Zone shall be defined as the blue shaded portions of
            the Coastal Real Property Claim Zone Map attached as Appendix A. (See
            Appendix B for a description of the criteria used to establish the Coastal Real
            Property Claim Zone.)

         C. Eligible Parcels shall be comprised of the following two categories:

                   i.    Parcels located within the Coastal Real Property Claim Zone that have a
                         County Land Use Designation included on the list attached as Appendix
                         C. (A parcel is a specific tract of real property defined by a legal
                         description of boundaries used for taxing purposes.)

                  ii.    Deeded Boat Slips located within the Coastal Real Property Claim
                         Zone. Deeded Boat Slips shall be defined as boat slips for which the
                         Eligible Claimant paid real property tax during the time period April 20,
                         2010 to December 31, 2010.


         D. An Eligible Parcel shall be placed into one of four Compensation Categories1:

                        Compensation Category A1 shall consist of Eligible Parcels satisfying the
                        following two criteria: (i) the presence of oil was reported on the Eligible
                        Parcel by the Deepwater Horizon Unified Command Shoreline Cleanup

1
 Grand Isle, Louisiana and Dauphin Island, Louisiana are included in the Coastal Real
Property Claim Zone and will be placed into a Compensation Category consistent with
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                     Assessment Teams (SCAT) or a Pre-Assessment conducted as part of Phase
                     1 of the Natural Resources Damages Assessment process (“NRD Pre-
                     Assessment”) and (ii) the Eligible Parcel includes, or is situated upon, a
                     shoreline for which no portion of the shoreline has a primary
                     Environmental Sensitivity Index (“ESI”) classification of 10A (salt and
                     brackish (coastal marshes)), 10B (freshwater marshes), 10C (freshwater
                     swamps) or 10D (scrub-shrub wetlands (includes mangroves)) as
                     determined by the National Oceanic and Atmospheric Administration
                     (“NOAA”)2.

                     Compensation Category A2 shall consist of Eligible Parcels satisfying the
                     following two criteria: (i) the presence of oil was reported on the Eligible
                     Parcel by SCAT or an NRD Pre-Assessment and (ii) the Eligible Parcel
                     includes or is situated upon a shoreline for which some portion of the
                     shoreline has a primary ESI classification of 10A (salt and brackish (coastal
                     marshes)), 10B (freshwater marshes), 10C (freshwater swamps) or 10D
                     (scrub-shrub wetlands (includes mangroves)) as determined by the NOAA.

                     Compensation Category B1 shall consist of Eligible Parcels satisfying the
                     following two criteria: (i) no presence of oil was reported on the Eligible
                     Parcel by SCAT or an NRD Pre-Assessment and (ii) the Eligible Parcel
                     includes or is situated upon a shoreline for which no portion of the
                     shoreline has an ESI classification of 10A (salt and brackish (coastal
                     marshes)), 10B (freshwater marshes), 10C (freshwater swamps) or 10D
                     (scrub-shrub wetlands (includes mangroves)) as determined by the NOAA.

                     Compensation Category B2 shall consist of Eligible Parcels satisfying the
                     following two criteria: (i) no presence of oil was reported on the Eligible
                     Parcel by SCAT or an NRD Pre-Assessment and (ii) the Eligible Parcel
                     includes or is situated upon a shoreline for which some portion of the
                     shoreline has a primary ESI classification of 10A (salt and brackish (coastal
                     marshes)), 10B (freshwater marshes), 10C (freshwater swamps) or 10D
                     (scrub-shrub wetlands (includes mangroves)) as determined by the NOAA.

           i.   An Eligible Parcel shall be classified as having “the presence of oil” (a criteria
                for Compensation Categories A1 and A2) when any SCAT zone within the
                parcel has a maximum oiling classification other than “no oil observed” or (ii) an
                NRD Pre-Assessment conducted within the parcel reported the presence of oil on
                vegetation and/or sediment.



2
 Environmental Sensitivity Index numbers used by the National Oceanic and Atmospheric
Administration can be found at the following website:
http://archive.orr.noaa.gov/gallery_gallery.php?RECORD_KEY%28gallery_index%29=joinphot
ogal_id,gallery_id,photo_id&joinphotogal_id(gallery_index)=86&gallery_id(gallery_index)=4&
photo_id(gallery_index)=35
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      ii.    An Eligible Parcel is determined to have “no presence of oil” (a criteria for
             Compensation Categories B1 and B2) when (i) all SCAT zones within the
             parcel have a maximum oiling classification of “no oil observed” or (ii) no NRD
             Pre-Assessment conducted within the parcel reported the presence of oil on
             vegetation or sediment.

      iii.   Administrator’s Database: The Claims administrator shall maintain a
             Geographic Information Systems database (“Administrator’s Database”)
             containing the results of SCAT, NRD Pre-Assessment, NOAA ESI shoreline
             classifications, County Land Use Designations and the official parcel boundaries
             for all real property within the Coastal Real Property Claim Zone. The Claims
             Administrator shall determine the Compensation Category for each Eligible
             Parcel based upon the information in the Administrator’s Database and
             consistent with the criteria in this Section 1. D. Attached is a map classifying each
             known Eligible Parcel into a Compensation Category by applying the
             information in the Administrator’s Database as of the settlement date. This map
             shall be referred to as the Eligible Parcel Compensation Category Map, and a
             copy is attached as Appendix D. Administrator’s Database shall be periodically
             updated through the duration and term of the Settlement Agreement.
             Administrator’s Database is presumed to be the best available evidence,
             however, that presumption may be rebutted as outlined in Sections E., F., G. and
             H. below. The use of environmental data (including SCAT and NRDA data) as
             part of this Compensation Framework shall not constitute an admission or judicial
             determination related to the admissibility or interpretation of such data for any
             other purpose, and, further, the use of such data shall have no effect on, and shall
             be without prejudice to, the use, admissibility and interpretation of such data for
             any other purpose, including any claims for natural resource damages.

     E. A parcel not located within the Coastal Real Property Claim Zone may be added to
        the Coastal Real Property Claim Zone by the Claims Administrator only if the
        parcel is documented as oiled pursuant to SCAT or by an official assessment
        conducted by Natural Resource Trustees in connection with the DWH Spill. No other
        parcels outside the Coastal Real Property Claim Zone shall have the ability to
        become an Eligible Parcel.

     F. The Administrator’s Database contains the publicly available parcel boundary data
        released by county tax assessors for real property in the Coastal Real Property
        Claim Zone. In some instances, publicly available parcel boundary data may be
        incomplete or out-of-date. Accordingly, real property located in Coastal Real
        Property Claim Zone not identified as a parcel shall nonetheless be classified by the
        Claims Administrator as an Eligible Parcel provided the claimant documents the
        following:

               i.   Actual presence of the parcel in the Coastal Real Property Claim Zone.
                    Documentation of actual presence of parcel in the Coastal Real Property
                    Claim Zone must consist of an official document provided by the county

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                     tax assessor, Clerk of Court, Registrar of Lands or other governmental
                     lands office or agency such as a 2010 county tax notice or a professional
                     survey of the parcel.

      G. The Administrator’s Database contains publicly available County Land Use
         Designations for parcels within the Coastal Real Property Claim Zone. In some
         instances, publicly available County Land Use Designations may be incomplete or
         out-of-date. Accordingly, a parcel located within the Coastal Real Property Claim
         Zone for which the County Land Use Designation in the Administrator’s Database
         is not listed in Appendix C nonetheless shall be categorized as an Eligible Parcel if
         the claimant provides documentation from the county tax assessor, Clerk of Court,
         Registrar of Lands or other governmental lands office or agency sufficient to show
         that the parcel does in fact have a County Land Use Designation listed in Appendix
         C.

      H. An Eligible Parcel within the Coastal Real Property Claim Zone may be
         reclassified by the Claims Administrator into a different Compensation Category if
         one of the following conditions is satisfied:

                i.   An Eligible Parcel placed in Compensation Category B1 or
                     Compensation Category B2 pursuant to information in the
                     Administrator’s Database shall be reclassified by the Claims
                     Administrator into Compensation Category A1 or Compensation
                     Category A2 if the Eligible Claimant provides independent
                     documentation in the form of a government or academic report, not
                     commissioned by the Eligible Claimant or Eligible Claimant’s attorney
                     or agent, with said independent documentation establishing that the
                     Eligible Parcel contains the presence of oil released by the DWH Spill
                     even though no portion of the parcel is classified as oiled pursuant to
                     SCAT or NRD Pre-Assessment.

               ii.   An Eligible Parcel on a shoreline with a primary ESI classification of less
                     than 10 as determined by NOAA and classified into Compensation
                     Category A1 or Compensation Category B1 shall be reclassified into
                     Compensation Category A2 or Compensation Category B2 if the
                     Eligible Claimant provides documentation from NOAA showing that the
                     Eligible Parcel is on a shoreline with a primary ESI classification of 10A
                     (salt and brackish (coastal marshes)), 10B (freshwater marshes), 10C
                     (freshwater swamps) or 10D (scrub-shrub wetlands (includes mangroves)).

              iii.   The Claims Administrator shall undertake an investigation to determine
                     whether the information submitted pursuant to this Section satisfies the
                     criteria for reclassification set out H. i. and H. ii.

2. Compensation for Eligible Parcels


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         A. An Eligible Claimant must submit a Claim Form3, all required supporting
            documents and a Verification Statement to receive compensation for Eligible
            Parcels. The Claim Form, Document Requirements and Verification Statement
            are attached as Appendices E, F and G, respectively.

         B. An Eligible Claimant who satisfies the eligibility requirements of Section 1 and
            submits a Claim Form, all required supporting documents and a Verification
            Statement, shall be entitled to receive the appropriate Coastal Real Property
            compensation amount (“Coastal Real Property Compensation Amount”) for an
            Eligible Parcel depending upon the criteria outlined in this section. The particular
            Coastal Real Property Compensation Amount shall be calculated as follows using
            a specified percentage of the 2010 Applicable Property Tax4 for the Eligible
            Parcel5:

                          i.   For an Eligible Parcel in Compensation Category A1 the Coastal
                               Real Property compensation amount shall be 40% of the 2010
                               Applicable Property Tax.

                         ii.   For an Eligible Parcel in Compensation Category A2, the
                               Coastal Real Property Compensation Amount shall be 45% of
                               the 2010 Applicable Property Tax.

                        iii.   For an Eligible Parcel in Compensation Category B1, the
                               Coastal Real Property Compensation Amount shall be 30% of
                               the 2010 Applicable Property Tax.

                        iv.    For an Eligible Parcel in Compensation Category B2, the
                               Coastal Real Property compensation amount shall be 35% of
                               the 2010 Applicable Property Tax.

         C. For the Coastal Real Property Compensation Amount described in Section 2. B,
            “2010 Applicable Property Tax” shall be defined as an Eligible Parcel’s 2010
            County Appraised Value multiplied by 1.18% (“Applicable Real Property Tax
            Rate”).

         D. “County Appraised Value” shall mean the following for an Eligible Parcel
            depending on the state it is located in:

                      Florida: For an Eligible Parcel located in the Florida counties of
                      Escambia, Okaloosa, Santa Rosa, Walton, Bay, Gulf, Franklin and



3
 The Claim Administrator may prepare the final Claim Form consistent with Appendix E. In no
case shall the final Claim Form omit the substance of any question contained in Appendix E.
4
  2010 Applicable Property Tax is defined in Section 2. C.
5
  See Appendix H for example calculations of Coastal Real Property Compensation Amounts.
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                        Wakulla, County Appraised Value shall mean Just Value as determined
                        by the respective Florida County tax assessor.

                        Alabama: For an Eligible Parcel located in Baldwin County, Alabama,
                        County Appraised Value shall mean True Value as determined by the
                        Baldwin County tax assessor. For an Eligible Parcel located in Mobile
                        County, Alabama, County Appraised Value shall mean Market Value, as
                        determined by the Mobile County tax assessor.

                        Mississippi: For an Eligible Parcel located in Jackson County Mississippi,
                        County Appraised Value shall mean TOTALVAL as determined by
                        Jackson County tax assessor. For an Eligible Parcel located in Harrison
                        County, Mississippi, the County Appraised Value shall mean Total Value
                        as determined by the Harrison County tax assessor. For an Eligible Parcel
                        located in Hancock County, Mississippi the County Appraised Value
                        shall mean LRTOT as determined by the Hancock County tax assessor.

                        Louisiana: For an Eligible Parcel located in Grand Isle, Jefferson Parish,
                        Louisiana, County Appraised Value shall mean Fair Market Value as
                        determined by the Jefferson Parish tax assessor.

                   i.   If the County Appraised Value is net of a Homestead Exemption, the
                        amount of such Homestead Exemption shall be added to the County
                        Appraised Value for purposes of calculating the Coastal Real Property
                        Compensation Amount.

         E. An Eligible Parcel with a County Land Use Designation listed in Appendix I shall
            be entitled to the greater of (i) calculation in 2. B. above or (ii) a minimum as detailed
            below.6

                   i.   The minimum Coastal Real Property Compensation Amount shall be
                        as follows:

                            a. $1,000 for an Eligible Parcel in Compensation Category A1.

                            b. $1,100 for an Eligible Parcel in Compensation Category A2.

                            c. $800 for an Eligible Parcel in Compensation Category B1.

                            d. $800 for an Eligible Parcel in Compensation Category B2.

                  ii.   An Eligible Parcel for which the County Land Use Designation in the
                        Administrator’s Database is not listed in Appendix H, shall nonetheless

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 See Appendix J for an example calculation of a minimum Coastal Real Property
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                     be categorized as an Eligible Parcel for which the County Land Use
                     Designation is listed in Appendix H, if the claimant provides
                     documentation from the county tax assessor sufficient to show that the
                     parcel does in fact have a County Land Use Designation listed in
                     Appendix H.

      F. The Coastal Real Property Compensation Amount shall be allocated as follows:

                i.   For an Eligible Parcel for which there is only one Eligible Claimant, the
                     Eligible Claimant shall receive the entire portion of the applicable
                     Coastal Real Property Compensation Amount.

               ii.   For an Eligible Parcel for which there are more than one Eligible
                     Claimants, the Coastal Real Property Compensation Amount shall be
                     allocated based on the period of legal possession of the particular Eligible
                     Parcel by each Eligible Claimant between April 20, 2010, and December
                     31, 2010. The allocation shall be determined by dividing the Coastal Real
                     Property Compensation Amount by 255 days and then multiplying the
                     product by the number of days each Eligible Claimant had legal
                     possession of the Eligible Parcel.

              iii.   The Claims Administrator shall determine whether an Eligible
                     Claimant(s) is the owner of an Eligible Parcel

      G. An RTP of 2.5 shall be applied to the Coastal Real Property Compensation
         Amount. For example, a hypothetical Coastal Real Property Compensation
         Amount of $1,859 (refer to Appendix H), would receive an RTP equal to $4,648 for
         a total Coastal Real Property Compensation Amount of $6,507 inclusive of RTP.

3. Physical Damage to Real or Personal Property

      A. Physical Damage shall be defined as any physical damage that occurred to an
         Eligible Claimant’s real or personal property located on an Eligible Parcel(s) in
         connection with the DWH Spill or as a result of the response cleanup operations that
         were consistent with the National Contingency Plan or specifically ordered by the
         Federal On-Scene Coordinator or delegates thereof, with the exception of any damage
         claimed for intrusion of oil, dispersant or other substances onto the Eligible
         Claimant’s Eligible Parcel(s). Damages for claims of intrusion of oil, dispersants or
         other substances on an Eligible Parcel are addressed in Section 2. B. above.

                i.   Examples of Physical Damage includes, for example, physical damage
                     that occurred to landscaping, a structure, appurtenances, a dock, a
                     building, a patio, or a deck furniture located on an Eligible Parcel caused
                     by a vehicle, machinery or equipment in use for DWH Spill response
                     cleanup operations.


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     B. An Eligible Claimant must provide the Claims Administrator with satisfactory proof
        of all of the following items below in order to qualify to receive compensation for
        Physical Damage:

               i.   The claimant is an Eligible Claimant.

              ii.   The claimed Physical Damage occurred on an Eligible Parcel.

             iii.   The Physical Damage occurred between April 20, 2010 and the date the
                    Economic Injury and Property Claim Settlement Agreement is executed
                    by the parties.

             iv.    The condition of the real or personal property prior to the claimed physical
                    damage.

              v.    The Eligible Claimant owned the real or personal property for which
                    Physical Damage is claimed at the time the damage occurred. The
                    Claims Administrator shall determine whether an Eligible Claimant(s) is
                    the owner of the real or personal property for which Physical Damage is
                    claimed at the time the damage occurred.

             vi.    The Physical Damage was caused by DWH Spill response cleanup
                    operations.

             vii.   For an Eligible Claimant claiming to have incurred costs to repair or
                    replace the damaged property, evidence to establish that the costs were
                    incurred by the Eligible Claimant and that they were reasonable and
                    necessary.

            viii.   For an Eligible Claimant seeking compensation for costs not yet incurred
                    to repair or replace the damaged property, a cost estimate and proof the
                    costs are reasonable and necessary.

     C. An Eligible Claimant must comply with the Claim Form, Document
        Requirements and Verification Statement listed in Appendices E, F and G in order
        to qualify to receive compensation for Physical Damage.

     D. An Eligible Claimant who claims Physical Damage and satisfies Section 3. A, 3. B
        and 3. C above shall receive the lesser of the reasonable and necessary costs to repair
        or replace the damaged property.


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                i.   The Claims Administrator shall have the authority to verify the Eligible
                     Claimant’s estimate of repair and replacement costs, and to undertake an
                     investigation to determine the reasonableness of the costs to repair or
                     replace the damaged property, including obtaining an independent
                     estimate.

               ii.   In no event is an Eligible Claimant entitled to receive pursuant to this
                     Section 3 damages for intrusion of oil, dispersants or other substances onto
                     the Eligible Claimant’s Eligible Parcel(s). Compensation for claims of
                     intrusion of oil, dispersants or other substances on an Eligible Parcel are
                     addressed in Section 2. B above.

4. Federal and State Regulatory Requirements

      A. Nothing in this Compensation Framework for Coastal Real Property Claims shall
         alter, expand, or reduce BP’s obligations for cleanup, removal, spill response and
         remediation of real property under applicable federal, state, or local laws, regulations,
         orders, or agreements. Eligible Claimant shall acknowledge that any right to require
         any cleanup or remediation of the parcel shall not lie with the claimant, but solely
         with governmental authorities, and that the need for any cleanup or remediation, and
         the standards by which the need for or sufficiency of such remediation is decided,
         shall be determined by governmental regulators of the executive department in
         accordance with properly promulgated law, rules, regulations, orders or agreements.
         Such governmental regulators alone shall make such determinations, and the Eligible
         Claimant shall not employ regulatory proceedings as a means to seek the redress of
         claims, which are extinguished pursuant to this Settlement Agreement. It is expressly
         agreed that this acknowledgement of continued potential responsibility for
         governmental compliance on the part of the BP (and all other parties released) shall
         not grant the claimant any personal jurisdiction recourse with respect to the regulatory
         obligations of the released parties. In the event proceedings, formal or informal, occur
         before governmental authorities, the claimant agrees to cooperate fully with the
         released parties in addressing questions or concerns presented by such proceedings;
         the Eligible Claimant shall provide full and free access to the Eligible Parcel in
         connection therewith, and shall further cooperate with the released parties in
         undertaking and proposing by the released parties such remediation that the released
         parties deem most appropriate, desirable, and/or cost-effective in meeting regulatory
         requirements, irrespective of any personal claims, preferences, rights of use or similar
         considerations of the Eligible Claimant, it being understood that such personal
         claims and considerations fall within the scope of the claims released by the Eligible
         Claimant.




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              Compensation Framework for Coastal Real Property Claims
                                   Appendix A
                      Coastal Real Property Claim Zone Map


The Coastal Real Property Claim Zone Map is found in a separate document.




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              Compensation Framework for Coastal Real Property Claims
                                        Appendix B
             Criteria Used to Establish the Coastal Real Property Claim Zone


The following criteria were used to establish the Coastal Real Property Claim Zone.

   1. Areas directly intersected by the portions of shoreline assessed by SCAT teams (“SCAT
      Line”), regardless of whether or not the presence of oil was reported on that portion of
      the SCAT Line are included in the Coastal Real Property Claim Zone, as depicted
      below:




   2. Areas not directly intersected by the SCAT Line but touching a portion of the coast on
      which the SCAT line is located, regardless of whether or not the presence of oil was
      reported on that portion of the SCAT Line, are included in the Coastal Real Property
      Claim Zone, as depicted below:




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  3. Where portions of the SCAT Line showing the presence of oil terminated short of certain
     physical boundaries (such as waterways, bridges, or roads), parcels between the
     termination of the SCAT line and the particular physical boundary were included in the
     Coastal Real Property Claim Zone. An example is depicted below.




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            Compensation Framework for Coastal Real Property Claims
                                   Appendix C
  County Land Use Designations Required for a Parcel to Qualify as an Eligible Parcel
ABRASIVE, ASBESTOS, AND MISCELLANEO
ACREAGE NOT AGRICULTURAL
AGRICULTURAL
AIRPORTS, BUS TERMINALS, MARINE TERMINALS, PIERS, MARINAS
AIRPORTS, TERMINALS, MARINAS
AMUSEMENT-OTHER
APARTMENT (LOW RISE SINGLE BLDG)
APARTMENTS, DUPLEX
AUTO SALES, REPAIR, RENTAL, ETC.
BANK/FINANCIAL INSTITUTION
BARS AND TAVERNS
BOAT DOCKS, MARINAS, AND CAMPING AREA
BOAT HOUSE
BOWLING ALLEYS/SKATING RINKS
BUSINESS SERVICES
CAMPS
CANNING AND PRESERVING OF FRUITS, V
CASINOS
CHURCHES
CLUBS, LODGES, UNION HALLS
CLUBS/LODGES/UNION HALLS, ETC.
COMMERCIAL
COMMERCIAL PARKING
COMMERICAL FORESTRY PRODUCTION
COMMON AREAS
COMMUNITY SHOPPING CENTERS
CONCRETE, GYPSUM, AND PLASTER PRODU
CONDOMINIA
CONDOMINIUM
CONDOMINIUM RES.(HIGH RISE)
CONDOMINIUM RES.(LOW RISE)
CONDOMINIUM, MASTER CARD
CROPLAND (GOOD A1)
CULTURAL/ENTERTAIN/REC.-OTHER
DUPLEX RESIDENCE
ENCLOSED THEATRES/AUDITORIUMS
FARMS(GENERAL)
FINANCIAL INSTITUTIONS
FISHING ACTIVITIES AND RELATED SERV

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FOOD AND KINDRED PRODUCTS - MANUFAC
GENERAL MERCHANDISE
GOLF COURSES, DRIVING RANGES
HARDWARE,PLUMBING,HEATING EQUIP,AND
HIWAY AND STREET RIGHT OF WAY
HOTELS, MOTELS
HOTELS/MOTELS
HOTELS-RESIDENTIAL
HOUSEHOLD UNITS. (VAC)
HUNTING AND FISHING CLUBS
ISLAND
LAKES AND PONDS
LEASEHOLD INTERESTS
MACHINERY,EQUIPMENT AND SUPPLIES-WH
MANUFACTURING HOMES
MARINAS
MARINE REPAIR DOCKS
MASTER CARD
MEATS AND FISH MARKETS-RETAIL
MINITURE GOLF
MISCELLANEOUS RESIDENTIAL
MIXED USE
MOBILE HOME PARKS
MOBILE HOME PARKS OR COURT
MOBILE HOMES
MOBILE HOMES (SINGLE TRAILER)
MOTELS
MOTELS, TOURIST COURTS, ETC.
MULTI-FAMILY
MULTI-FAMILY (10 UNITS OR MORE)
MULTI-FAMILY (UNDER 10 UNITS)
MULTI-FAMILY 1O UNITS OR MORE
MULTI-FAMILY LESS THAN 10 UNITS
MULTI-USE AND MILTI-STORY BUILDING
NIGHTCLUBS, LOUNGES, BARS
NON AGRICULTURAL ACREAGE
NURSING HOMES
OFFICE (LOW RISE)
OFFICE BUILDINGS
OFFICE BUILDINGS - MULTI STORY
OFFICE BUILDINGS - ONE STORY
OFFICES-GENERAL
ONE FAMILY UNIT
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OPEN STORAGE/JUNK YARDS, ETC.
ORPHANAGES
OTHER FABRICATED METAL PRODUCTS - M
OTHER FINANCE,INSURANCE AND REAL ES
OTHER FOOD AND KINDRED PRODUCTS - M
OTHER FOOD PROCESSING
OTHER FOOD –RETAIL
OTHER FORESTRY ACTIVITIES AND RELAT
OTHER PUBLIC ASSEMBLY
OTHER RETAIL TRADE
PAINTS, VARNISHES, LACQUERS, ENAMEL
PARKING LOTS, MOBILE HOME PARKS
PARKS
PASTURELAND (GOOD B1)
PATIO HOME
POINT CADET DEVELOPMENT CORPORATION
PREFAB. METAL BUILDING (COMM.)
PREFAB. METAL BUILDING (FARM)
PROFESSIONAL SERVICE BUILDINGS
PROFESSIONAL SVCS. BUILDINGS
RECREATIONAL - CLASSIFIED USE
RECREATIONAL (LOW PARTITIONS)
RECREATIONAL ACTIVITIES
RELIGIOUS SERVICES
RENTAL-SERVICES
REPAIR SERVICE SHOPS
REPAIR SERVICES
REPAIR SHOPS (NOT AUTOMOTIVE)
RESIDENTIAL
RESTAURANT
RESTAURANTS
RESTAURANTS(ALCOHOLIC BEVERAGES)-RE
RESTAURANTS(CARRY-OUT SERVICE)-RETA
RESTAURANTS(CURB SERVICE)-RETAIL
RESTAURANTS, CAFETERIAS
RESTAURANTS-GENERAL
RETAIL TRADE-AUTOMOTIVE, MARINE CRA
RIGHTS-OF-WAY/STREETS/DITCHES
RIVERS AND LAKES
RIVERS/LAKES/SUBMERGED LANDS
SERVICE STATIONS
SERVICE STATIONS-RETAIL
SERVICES-OTHER
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SEWAGE DISPOSAL, SOLID WASTE, BORROW PITS, DRAINAGE RESERVOIRS,
WASTE LAND, MARSH, SAND DUNES, SWAMPS
SEWAGE DISPOSAL/LANDFILLS/MARSH
SINGLE FAMILY RESIDENCE
SINGLE FAMILY RESIDENTIAL
STORE (RETAIL TRADE)
STORES, ONE STORY
TIMBER (AVG)
TIMBER (GOOD)
TIMBER (POOR)
TIMBERLAND
TIMBERLAND (FAIR)
TIMBERLAND (POOR)
TIME SHARING COMPLEX
TOURIST ATTRACTIONS
TOWNHOUSE
TOWNHOUSE - SINGLE FAMILY
TWO FAMILY UNITS
UNDEFINED (DOR USE ONLY)
UNDEVELOPED AND UNUSED LAND
UNDEVELOPED LAND & WATER AREAS
UNION,FRATERNAL,CIVIC SERVICE FACIL
UNKNOWN COMMERCIAL
UNKNOWN LANDUSE
VACANT COMMERCIAL
VACANT FLOOR AREA, COMMERCIAL
VACANT INDUSTRIAL
VACANT IZ LAND (PAVE RD)
VACANT LAND NOT SUITABLE FOR DEVELO
VACANT LAND SUITABLE FOR DEVELOPMEN
VACANT MULTIFAMILY RESIDENTIAL
VACANT RESIDENTIAL
VACANT RESIDENTIAL LOT
VACANT RESIDENTIAL SUBDIVISION
VACANT ST RURAL LAND (NO ROAD)
VACANT ST RURAL LAND (PAVE RD)
VACANT WATERFRONT
VACANT/UNDEVELOPED LAND
WAREHOUSE
WAREHOUSING AND STORAGE
WAREHOUSING, DISTRIBUTION TERMINALS, TRUCKING TERMINALS
WAREHOUSING/TRUCKING TERMINALS
WATERFRONT IMPROVED

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              Compensation Framework for Coastal Real Property Claims
                                     Appendix D
                    Eligible Parcel Compensation Category Map


The Eligible Parcel Compensation Category Map is found in a separate document.




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                Compensation Framework for Coastal Real Property Claims
                                      Appendix E
                           Coastal Real Property Claim Form


1. Are you claiming you are entitled to compensation for one or more parcels you owned during
   the time period April 20, 2010 to December 31, 2010 under the Compensation Framework
   for Coastal Real Property Claims?


                                      ____ Yes      ____ No


2. Are you claiming you are entitled to compensation for one or more parcels you leased during
   the time period April 20, 2010 to December 31, 2010 under the Compensation Framework
   for Coastal Real Property Claims?
                                      ____ Yes      ____ No


3. If you answered yes to Question 1 or 2 above, are you also claiming you are entitled to
   compensation for physical damage that occurred to your real or personal property located on
   your parcel(s) in connection with the DWH Spill response clean-up operations during the
   time period April 20, 2010 to December 31, 2010?

                                      ____ Yes      ____ No


If you answered yes to any of the questions above, (i) answer the questions below, (ii) provide
the documentation required in the Document Requirements form (Appendix F), and (iii)
complete a Coastal Real Property Verification Statement (Appendix G).


4. What is the street address of the parcel(s)?

   ___________________________________________________________________________

   ___________________________________________________________________________


5. What is the tax assessment identification number of the parcel(s)?

   ___________________________________________________________________________

   ___________________________________________________________________________


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6. What is the parcel identification number of the parcel(s)?
   ___________________________________________________________________________

   ___________________________________________________________________________

7. If you owned the parcel(s) and leased it during the time period April 21, 2010 to
   December 31, 2010, when did the lease begin?

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

8. If you owned the parcel(s) and leased it during the time period April 21, 2010 to
   December 31, 2010, when did the lease end?

   ___________________________________________________________________________

   ___________________________________________________________________________

9. If you were a lessee of the parcel(s) and you leased it during some time period between
   April 21, 2010 and December 31, 2010, when did the lease begin?

   ___________________________________________________________________________

   ___________________________________________________________________________

10. If you were a lessee of the parcel(s) and you leased it during some time period between
    April 21, 2010 and December 31, 2010, when did the lease end?

   ___________________________________________________________________________

   ___________________________________________________________________________

You must only answer the following questions if you claim you are entitled to compensation for
physical damage that occurred to your real or personal property located on your parcel(s).




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11. Identify and describe the real or personal property that you claim was physically damaged in
    connection with the DWH Spill response cleanup operations.

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________


12. Describe the physical damage that you claim occurred to your real or personal property
    located on your parcel(s) in connection with the DWH Spill response clean-up operations.

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________


13. Where on your parcel was your real or personal property located when the damage occurred?

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________




14. When did the physical damage to your real or personal property occur?
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   ___________________________________________________________________________

   ___________________________________________________________________________


15. Describe in detail what caused the physical damage to your real or personal property.

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________


16. If you know, who caused the physical damage to your real or personal property?

   ___________________________________________________________________________

   ___________________________________________________________________________

17. If you know, were the DWH Spill response cleanup operations that you claim caused the
    physical damage to your real or personal property consistent with the National Contingency
    Plan or specifically ordered by the Federal On-Scene Coordinator or delegates thereof?

                       ____ Yes      ____ No          _____ I Don’t Know


18. Describe the condition of the real or personal property prior to the damage you claim
    occurred.

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

19. Did you own the real or personal property that you claim was damaged at the time the
    damage occurred?

                                     ____ Yes        ___ No

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20. Have you already incurred the cost to repair or replace the real or personal property that you
    claim was physically damaged?


                                       ____ Yes       ___ No
21. If your answer to Question 20 is yes, please identify the following:


       a. Was the damaged property repaired or replaced?
            ____________________________________________________________


       b. If the damaged property was replaced, state the reasons that the property was replaced
          instead of being repaired.

            _____________________________________________________________________

            _____________________________________________________________________

            _____________________________________________________________________



       c. If the damaged property was replaced, state the name and address of the individual or
          business from which the replacement was obtained and the cost you incurred to
          replace the property.
            _____________________________________________________________________

            _____________________________________________________________________

            _____________________________________________________________________


       d.    If the damaged property was repaired, state the name and address and telephone
            number of the individual or business that did the repairs, the cost you incurred to
            repair the property, and identify the repairs that were done.
            _____________________________________________________________________

            _____________________________________________________________________

            _____________________________________________________________________


22. If the answer to Question 20 is no, please identify the following:
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     a. State whether the damaged property can be repaired?


                                   ____ Yes       ___ No


     b. If the damaged property can be repaired, have you obtained a cost estimate to repair
        the damaged property?
                                   ____ Yes       ___ No


     c. If you have obtained a cost estimate to repair the damaged property, state the name
        address and phone number of the individual or entity that provided the cost estimate,
        what repairs are being done and the amount of the cost estimate for the repairs.


        _____________________________________________________________________

        _____________________________________________________________________

        _____________________________________________________________________


     d. If you claim that the damaged property cannot be repaired, explain the reasons for
        your claim.
        _____________________________________________________________________

        _____________________________________________________________________

        _____________________________________________________________________

        _____________________________________________________________________

        _____________________________________________________________________




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                  Compensation Framework for Coastal Real Property Claims
                                        Appendix F
                             Coastal Real Property Claim Form
                                 Document Requirements

To receive compensation under the Compensation Framework for Coastal Real Property
Claims you must provide copies of the documents described below.

1. Owners of parcel(s) seeking compensation under the Compensation Framework for
   Coastal Real Property Claims must provide the following:

         a. Official copy of the deed for the parcel for which you are seeking compensation
            showing that you are the owner of the parcel.

                  i. To the extent a state, county, municipality or other governmental agency
                     agrees to provide the Claims Administrator with access to an official database
                     sufficient for the Claims Administrator to confirm the claimant owned the
                     parcel for which they are seeking compensation, the Claims Administrator
                     need not require from the claimant an official copy of the deed or official copy
                     of the 2010 property tax assessment notice for the parcel for which they are
                     seeking compensation. Rather, the Claims Administrator is authorized to
                     accept from the claimant the street address and tax identification number or
                     parcel identification number for the parcel for which they are seeking
                     compensation as sufficient to satisfy this subpart, and the Claims
                     Administrator will use the database to confirm the claimant’s valid ownership
                     during the time period April 20, 2010 to December 31, 2010

         b.    Official copy of the 2010 property tax assessment notice for the parcel for which you
              are seeking compensation.7

                  i. To the extent a state, parish, municipality or other governmental agency
                     agrees to provide the Claims Administrator with access to an official database
                     sufficient for the Claims Administrator to confirm the claimant owned the
                     parcel for which they are seeking compensation, the Claims Administrator
                     need not require from the claimant an official copy of the deed or official copy
                     of the 2010 property tax assessment notice for the parcel for which they are
                     seeking compensation. Rather, the Claims Administrator is authorized to
                     accept from the claimant the street address and tax identification number or
                     parcel identification number for the parcel for which they are seeking
                     compensation as sufficient to satisfy this subpart, and the Claims

7
 In some counties, issuance of 2010 tax assessment notices may occur prior to April 20, 2010
such that the correct owner of the eligible parcel may not be reflected, (for example if notices
were mailed January 2010 but ownership changed February 2010). In such a case, a claimant
may provide other documentation such as a copy of the real estate closing/settlement statement
from a sale, in order to prove ownership.
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                Administrator will use the database to confirm the claimant’s valid ownership
                during the time period April 20, 2010 to December 31, 2010

     c. If you owned a parcel that you leased for a period of 60 days or longer during the
        time period April 20, 2010 and December 31, 2010 and the lease was executed prior
        to April 20, 2010, provide copies of the executed lease for any time period during
        April 20, 2010 and December 31, 2010.

     d. If you believe your parcel should be added to the Coastal Real Property Claim
        Zone (see Section 1. E.), documentation showing a parcel contains the presence of oil
        pursuant to SCAT or by an official assessment conducted by the Natural Resource
        Trustees in connection with the DWH Spill.

     e. If your parcel is not identified in the Coastal Real Property Claim Zone and should
        be (see Section 1. F. i.), an official document provided by the county tax assessor,
        Clerk of Court, Registrar of Lands or other governmental lands office or agency, or a
        professional survey of the parcel showing actual presence of the parcel within the
        Coastal Real Property Claim Zone.

     f. If your parcel has a County Land Use Designation listed in Appendix C but that is not
        reflected in the Administrator’s Database (see Section 1. G.), documentation for the
        county tax assessor, Clerk of Court, Registrar of Lands or other governmental lands
        office or agency sufficient to show that the parcel does in fact have a County Land
        Use Designation listed in Appendix C.

     g. If you believe your parcel should be reclassified from Compensation Category B1
        or B2 to Compensation Category A1 or A2 (see Section 1. H. i.), independent
        documentation in the form of a government or academic report, not commissioned by
        the Eligible Claimant or the Eligible Claimant’s attorney or agent, with said
        independent documentation establishing that the Eligible Parcel contains the
        presence of oil released by the DWH Spill.

     h. If you believe your parcel is on a shoreline with a primary ESI classification of 10A
        (salt and brackish (coastal marshes)), 10B (freshwater marshes), 10C (freshwater
        swamps) or 10D (scrub-shrub wetlands (includes mangroves)) as determined by the
        NOAA, but that is not reflected in the Administrator’s Database (see Section 1. H.
        ii.), documentation from NOAA showing that the Eligible Parcel is on a shoreline
        with a primary ESI classification of 10A, 10B, 10C or 10D.

     i. If you believe your parcel’s County Appraised Value is net of a Homestead
        Exemption (See Section 2. D. i.), documentation showing the Eligible Parcel’s
        County Appraised Value is net of a Homestead Exemption, and the amount of such
        Homestead Exemption.

     j. If your parcel has a County Land Use Designation listed in Appendix H but that is not
        reflected in the Administrator’s Database (See Section 2. E. ii.), documentation

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          from the county tax assessor, Clerk of Court, Registrar of Lands or other
          governmental lands office or agency that the parcel does in fact have a County Land
          Use Designation listed in Appendix H.

      k. Completed Verification Statement.

2. Lessees of Parcel(s) seeking compensation under the Compensation Framework for
   Coastal Real Property Claims must provide the following:

      a. Executed lease agreement showing possession of the Eligible Parcel for a period of
         60 days or longer during the time period April 20, 2010 and December 31, 2010 and
         was executed prior to April 20, 2010.

      b. Documents reflecting the lease payment(s) made for any time period during April 20,
         2010 and December 31, 2010.

      c. If you believe your parcel should be added to the Coastal Real Property Claim
         Zone (see Section 1. E.), documentation showing a parcel contains the presence of oil
         pursuant to SCAT or by an official assessment conducted by the Natural Resource
         Trustees in connection with the DWH Spill.

      d. If your parcel is not identified in the Coastal Real Property Claim Zone and should
         be (see Section 1. F. i.), an official document provided by the county tax assessor,
         Clerk of Court, Registrar of Lands or other governmental lands office or agency, or a
         professional survey of the parcel showing actual presence of the parcel within the
         Coastal Real Property Claim Zone.

      e. If your parcel has a County Land Use Designation listed in Appendix C but that is not
         reflected in the Administrator’s Database (see Section 1. G.), documentation for the
         county tax assessor, Clerk of Court, Registrar of Lands or other governmental lands
         office or agency sufficient to show that the parcel does in fact have a County Land
         Use Designation listed in Appendix C.

      f. If you believe your parcel should be reclassified from Compensation Category B1
         or B2 to Compensation Category A1 or A2 (see Section 1. H. i.), independent
         documentation in the form of a government or academic report, not commissioned by
         the Eligible Claimant or the Eligible Claimant’s attorney or agent, with said
         independent documentation establishing that the Eligible Parcel contains the
         presence of oil released by the DWH Spill.

      g. If you believe your parcel is on a shoreline with a primary ESI classification of 10A
         (salt and brackish (coastal marshes)), 10B (freshwater marshes), 10C (freshwater
         swamps) or 10D (scrub-shrub wetlands (includes mangroves)) as determined by the
         NOAA, but that is not reflected in the Administrator’s Database (see Section 1. H.
         ii.), documentation from NOAA showing that the Eligible Parcel is on a shoreline
         with a primary ESI classification of 10A, 10B, 10C or 10D.
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 Case
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       h. If you believe your parcel’s County Appraised Value is net of a Homestead
          Exemption (See Section 2. D. i.), documentation showing the Eligible Parcel’s
          County Appraised Value is net of a Homestead Exemption, and the amount of such
          Homestead Exemption.

       i. If your parcel has a County Land Use Designation listed in Appendix H but that is not
          reflected in the Administrator’s Database (See Section 2. E. ii.), documentation
          from the county tax assessor, Clerk of Court, Registrar of Lands or other
          governmental lands office or agency that the parcel does in fact have a County Land
          Use Designation listed in Appendix H.

       j. Completed Verification Statement.

3. Owners or Lessees of parcel(s) seeking compensation for physical damage to real or personal
   property pursuant to Section 3. B. of the Compensation Framework for Coastal Real
   Property Claims, must provide the Claims Administrator proof of the items below. Proof
   may consist of documents, receipts, photographs, videotaped footage, a sworn statement
   from the claimant and/or sworn statements from a witness(es).

       a. The claimed physical damage to your real or personal property occurred on a parcel
          listed in the Claim Form.

       b. The physical damage occurred between April 20, 2010 and [date of settlement
          agreement].

       c. The condition of the real or personal property prior to the claimed physical damage.

       d. You owned the real or personal property at the time the physical damage occurred.

       e. The physical damage was caused by DWH Spill response cleanup operations.

       f. If you claim to have incurred costs to repair or replace the damaged property,
          evidence to establish that the costs were incurred by you and that they were
          reasonable and necessary.

       g. If you are seeking compensation for costs not yet incurred to repair or replace the
          damaged property, a cost estimate and proof the costs are reasonable and necessary.




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                Compensation Framework for Coastal Real Property Claims
                                     Appendix G
                     Coastal Real Property Verification Statement

For parcel owners, please check the box that applies:



               1. I owned and did not lease my parcel at any time during the period April 20, 2010
                  to December 31, 2010.



               2. I owned and did lease my parcel for more than 60 days during the time period
                  April 20, 2010 to December 31, 2010.



For parcel owners, if you checked box #2, please provide the name(s) of the lessee(s) and time
period of the lease(s).

                                   Name of Lessee                               Dates of Lease

   1.

   2.

   3.

   4.



For parcel lessees, please check the box if applicable:



               1. I leased my parcel for more than 60 days during the time period April 20, 2010
                  to December 31, 2010.




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For parcel lessees, please provide the name of the owner of the parcel and time period of the
lease.

                                    Name of Owner                                Dates of Lease

       1

       2

       3

       4




I declare and affirm under penalty of perjury under the laws of the United States of America that
the foregoing are true and correct.



_______________________________________
Name



________________________________________
Signature


________________________________________
Date




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                   Compensation Framework for Coastal Real Property Claims
                                          Appendix H
             Calculation Examples for Coastal Real Property Compensation Amounts8
                                                   Compensation Category A1
                         A                  B            C            D             E              F
                                                                  D=B*C                        F=D *E
                                                     Applicable     2010         Applicable   Coastal Real
                                       2010 County
                                                        Real      Applicable   Percentage for  Property
                     Property           Appraised
                                                    Property Tax Property      Compensation Compensation
                                          Value
                                                        Rate        Taxes       Category A1     Amount

                Property A - ESI 2B     $350,000       1.18%        $4,130        40.0%         $1,652




                                                   Compensation Category A2
                         A                  B            C            D             E              F
                                                                  D=B*C                        F=D *E
                                                    Applicable       2010        Applicable   Coastal Real
                                       2010 County
                                                       Real       Applicable   Percentage for  Property
                     Property           Appraised
                                                   Property Tax    Property    Compensation Compensation
                                          Value
                                                       Rate         Taxes       Category A2     Amount

                Property B - ESI 10B    $350,000       1.18%        $4,130        45.0%         $1,859




                                                   Compensation Category B1
                         A                  B            C            D             E              F
                                                                  D=B*C                        F=D *E
                                                     Applicable     2010         Applicable   Coastal Real
                                       2010 County
                                                        Real      Applicable   Percentage for  Property
                     Property           Appraised
                                                    Property Tax Property      Compensation Compensation
                                          Value
                                                        Rate        Taxes       Category B1     Amount

                Property C - ESI 6A     $350,000       1.18%        $4,130        30.0%         $1,239




                                                   Compensation Category B2
                         A                  B            C            D             E              F
                                                                  D=B*C                        F=D *E
                                                     Applicable     2010         Applicable   Coastal Real
                                       2010 County
                                                        Real      Applicable   Percentage for  Property
                     Property           Appraised
                                                    Property Tax Property      Compensation Compensation
                                          Value
                                                        Rate        Taxes       Category B1     Amount

                Property D - ESI 10D    $350,000       1.18%        $4,130        35.0%         $1,446


8
    The final compensation amount shown in this Appendix is exclusive of an RTP of 2.50.
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              Compensation Framework for Coastal Real Property Claims
                                  Appendix I
        County Land Use Designations Eligible for Minimum Compensation
APARTMENT (LOW RISE SINGLE BLDG)
APARTMENTS, DUPLEX
COMMON AREAS
CONDOMINIA
CONDOMINIUM
CONDOMINIUM RES.(HIGH RISE)
CONDOMINIUM RES.(LOW RISE)
CONDOMINIUM, MASTER CARD
DUPLEX RESIDENCE
MANUFACTURING HOMES
MASTER CARD
MISCELLANEOUS RESIDENTIAL
MOBILE HOMES
MOBILE HOMES (SINGLE TRAILER)
MULTI-FAMILY
MULTI-FAMILY (UNDER 10 UNITS)
MULTI-FAMILY 1O UNITS OR MORE
MULTI-FAMILY LESS THAN 10 UNITS
ONE FAMILY UNIT
PATIO HOME
RESIDENTIAL
SINGLE FAMILY RESIDENCE
SINGLE FAMILY RESIDENTIAL
TOWNHOUSE
TOWNHOUSE - SINGLE FAMILY
TWO FAMILY UNITS
WATERFRONT IMPROVED
MULTI-FAMILY (10 UNITS OR MORE)




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                  Compensation Framework for Coastal Real Property Claims
                                       Appendix J
      Calculations Examples for Minimum Coastal Real Property Compensation Amounts9
                                                           Compensation Category A1
                A                  B              C             D               E            F              G              H
                                                            D=B*C                        F=D *E
                                           Applicable          2010        Applicable   Coastal Real Minimum Coastal Actual Coastal
                              2010 County
                                              Real          Applicable   Percentage for   Property    Real Property Real Property
             Property          Appraised
                                          Property Tax       Property    Compensation Compensation Compensation Compensation
                                 Value
                                              Rate            Taxes       Category A1     Amount      Amount (A1)      Amount *

        Property A - ESI 7      $180,000        1.18%         $2,124          40.0%           $850            $1,000            $1,000

      * The higher between the Coastal Real Property Compensation Amount and the Minimum Coastal Real Property Compensation Amount (A1)




                                                       Compensation Category A2
                A                  B              C         D             E            F              G              H
                                                        D=B*C                      F=D *E
                                           Applicable      2010       Applicable  Coastal Real Minimum Coastal Actual Coastal
                              2010 County
                                              Real      Applicable Percentage for   Property    Real Property Real Property
             Property          Appraised
                                          Property Tax   Property   Compensation Compensation Compensation Compensation
                                 Value
                                              Rate        Taxes      Category A2    Amount      Amount (A2)      Amount *

       Property B - ESI 10A     $180,000        1.18%         $2,124          45.0%           $956            $1,100            $1,100

      * The higher between the Coastal Real Property Compensation Amount and the Minimum Coastal Real Property Compensation Amount (A2)




                                                       Compensation Category B1
                A                  B              C         D             E            F              G              H
                                                        D=B*C                      F=D *E
                                           Applicable      2010       Applicable  Coastal Real Minimum Coastal Actual Coastal
                              2010 County
                                              Real      Applicable Percentage for   Property    Real Property Real Property
             Property          Appraised
                                          Property Tax   Property   Compensation Compensation Compensation Compensation
                                 Value
                                              Rate        Taxes      Category B1    Amount      Amount (B1)      Amount *

        Property C - ESI 3B     $180,000        1.18%         $2,124          30.0%           $637             $800              $800

      * The higher between the Coastal Real Property Compensation Amount and the Minimum Coastal Real Property Compensation Amount (B1)




                                                       Compensation Category B2
                A                  B              C         D             E            F              G              H
                                                        D=B*C                      F=D *E
                                           Applicable      2010       Applicable  Coastal Real Minimum Coastal Actual Coastal
                              2010 County
                                              Real      Applicable Percentage for   Property    Real Property Real Property
             Property          Appraised
                                          Property Tax   Property   Compensation Compensation Compensation Compensation
                                 Value
                                              Rate        Taxes      Category B1    Amount      Amount (B2)      Amount *

       Property D - ESI 10C     $180,000        1.18%         $2,124          35.0%           $743             $800              $800

      * The higher between the Coastal Real Property Compensation Amount and the Minimum Coastal Real Property Compensation Amount (B2)



9
    The final compensation amount shown in this Appendix is exclusive of an RTP of 2.50.
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Appendix A to Compensation Framework for
      Coastal Real Property Claims:
  Coastal Real Property Claim Zone Map




                          Appendix A: Coastal Real Property Claim
                                                                                     1
                                        Zone Map

                                                                                         025288
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              Louisiana, Mississippi, Alabama, Florida




                      Appendix A: Coastal Real Property Claim
                                                                                 2
                                    Zone Map

                                                                                     025289
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                Hancock County, MS (Entire County)




                      Appendix A: Coastal Real Property Claim
                                                                                 3
                                    Zone Map

                                                                                     025290
Case
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             Hancock County, MS (Detailed Portion 1)




                      Appendix A: Coastal Real Property Claim
                                                                                 4
                                    Zone Map

                                                                                     025291
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             Hancock County, MS (Detailed Portion 2)




                      Appendix A: Coastal Real Property Claim
                                                                                 5
                                    Zone Map

                                                                                     025292
Case
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             Hancock County, MS (Detailed Portion 3)




                      Appendix A: Coastal Real Property Claim
                                                                                 6
                                    Zone Map

                                                                                     025293
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                Harrison County, MS (Entire County)




                      Appendix A: Coastal Real Property Claim
                                                                                 7
                                    Zone Map

                                                                                     025294
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             Harrison County, MS (Detailed Portion 1)




                      Appendix A: Coastal Real Property Claim
                                                                                 8
                                    Zone Map

                                                                                     025295
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             Harrison County, MS (Detailed Portion 2)




                     Appendix A: Coastal Real Property Claim
                                                                             9
                                   Zone Map

                                                                                 025296
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             Harrison County, MS (Detailed Portion 3)




                     Appendix A: Coastal Real Property Claim
                                                                             10
                                   Zone Map

                                                                                  025297
Case
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             Harrison County, MS (Detailed Portion 4)




                     Appendix A: Coastal Real Property Claim
                                                                             11
                                   Zone Map

                                                                                  025298
Case
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             Harrison County, MS (Detailed Portion 5)




                     Appendix A: Coastal Real Property Claim
                                                                             12
                                   Zone Map

                                                                                  025299
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                Jackson County, MS (Entire County)




                     Appendix A: Coastal Real Property Claim
                                                                             13
                                   Zone Map

                                                                                  025300
Case
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             Jackson County, MS (Detailed Portion 1)




                     Appendix A: Coastal Real Property Claim
                                                                             14
                                   Zone Map

                                                                                  025301
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             Jackson County, MS (Detailed Portion 2)




                     Appendix A: Coastal Real Property Claim
                                                                             15
                                   Zone Map

                                                                                  025302
Case
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             Jackson County, MS (Detailed Portion 3)




                     Appendix A: Coastal Real Property Claim
                                                                             16
                                   Zone Map

                                                                                  025303
Case
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             Jackson County, MS (Detailed Portion 4)




                     Appendix A: Coastal Real Property Claim
                                                                             17
                                   Zone Map

                                                                                  025304
Case
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                Mobile County, AL (Entire County)




                     Appendix A: Coastal Real Property Claim
                                                                             18
                                   Zone Map

                                                                                  025305
Case
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              Mobile County, AL (Detailed Portion 1)




                     Appendix A: Coastal Real Property Claim
                                                                             19
                                   Zone Map

                                                                                  025306
Case
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              Mobile County, AL (Detailed Portion 2)




                     Appendix A: Coastal Real Property Claim
                                                                             20
                                   Zone Map

                                                                                  025307
Case
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              Mobile County, AL (Detailed Portion 3)




                     Appendix A: Coastal Real Property Claim
                                                                             21
                                   Zone Map

                                                                                  025308
Case
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              Mobile County, AL (Detailed Portion 4)




                     Appendix A: Coastal Real Property Claim
                                                                             22
                                   Zone Map

                                                                                  025309
Case
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      2:10-md-02179-CJB-SS Document 8963-3 Filed
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                Baldwin County, AL (Entire County)




                     Appendix A: Coastal Real Property Claim
                                                                             23
                                   Zone Map

                                                                                  025310
Case
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             Baldwin County, AL (Detailed Portion 1)




                     Appendix A: Coastal Real Property Claim
                                                                             24
                                   Zone Map

                                                                                  025311
Case
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             Baldwin County, AL (Detailed Portion 2)




                     Appendix A: Coastal Real Property Claim
                                                                             25
                                   Zone Map

                                                                                  025312
Case
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               Escambia County, FL (Entire County)




                     Appendix A: Coastal Real Property Claim
                                                                             26
                                   Zone Map

                                                                                  025313
Case
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      2:10-md-02179-CJB-SS Document 8963-3 Filed
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             Escambia County, FL (Detailed Portion 1)




                     Appendix A: Coastal Real Property Claim
                                                                             27
                                   Zone Map

                                                                                  025314
Case
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      2:10-md-02179-CJB-SS Document 8963-3 Filed
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             Escambia County, FL (Detailed Portion 2)




                     Appendix A: Coastal Real Property Claim
                                                                             28
                                   Zone Map

                                                                                  025315
Case
 Case2:10-md-02179-CJB-DPC Document 6430-24
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              Santa Rosa County, FL (Entire County)




                     Appendix A: Coastal Real Property Claim
                                                                             29
                                   Zone Map

                                                                                  025316
